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          INTERNATIONAL                                       ISO/IEC
          STANDARD                                           23009-1

                                                                     Third edition
                                                                         2019-08




          Information technology — Dynamic
          adaptive streaming over HTTP
          (DASH) —
          Part 1:
          Media presentation description and
          segment formats
          Technologies de l'information — Diffusion en flux adaptatif
          dynamique sur HTTP (DASH) —
          Partie 1: Description de la présentation et formats de remise des médias




                                                                Reference number
                                                         ISO/IEC 23009-1:2019(E)


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Foreword
ISO (the International Organization for Standardization) and IEC (the International Electrotechnical
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technical committees established by the respective organization to deal with particular fields of
technical activity. ISO and IEC technical committees collaborate in fields of mutual interest. Other
international organizations, governmental and non-governmental, in liaison with ISO and IEC, also
take part in the work.
The procedures used to develop this document and those intended for its further maintenance are
described in the ISO/IEC Directives, Part 1. In particular, the different approval criteria needed for
the different types of document should be noted. This document was drafted in accordance with the
editorial rules of the ISO/IEC Directives, Part 2 (see www​.iso​.org/directives).
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For an explanation of the voluntary nature of standards, the meaning of ISO specific terms and
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.org/iso/foreword​.html.
This document was prepared by Joint Technical Committee ISO/IEC JTC 1, Information technology,
Subcommittee SC 29, Coding of audio, picture, multimedia and hypermedia information.
This third edition cancels and replaces the second edition (ISO/IEC 23009-1:2014), which has been
technically revised. It also incorporates the Technical Corrigenda ISO/IEC 23009-1:2014/Cor.1:2015
and ISO/IEC 23009-1:2014/Cor.2:2015 and the Amendments ISO 23009-1:2014/Amd.1:2015,
ISO 23009-1:2014/Amd.2:2015 and ISO 23009-1:2014/Amd.3:2016. The main changes compared to the
previous edition are as follows:
— signaling a server timing source was added;
— the ability to label different structures with human readable identifiers was included;
— signaling of properly prepared media at Period boundaries for continuous playback across Periods
  was added;
— the concept of Preselections was added in order to combine different Adaptation Sets into a single
  decoding and user experience;
— the ability to offer segments which are not starting with SAP types 1 or 2, but still provide consistent
  random access and switching points on MPD level, including a new profile suitable for Broadcast TV,
  was added;
— MPD chaining to enable sequencing MPDs, for example to support pre-roll content to live services,
  was added;
— the ability to separate a long on-Demand Asset in multiple Periods, possibly including Periods with
  other content such as ads, was added;
— spatial Relationship Description was added to signal the logical combination of multiple Adaptation
  Sets into a single experience;


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— the ability to add URL Parameters to HTTP requests in flexible and interoperable manner was
  included.
A list of all parts in the ISO/IEC 23009 series can be found on the ISO website.
Any feedback or questions on this document should be directed to the user’s national standards body. A
complete listing of these bodies can be found at www​.iso​.org/members​.html.




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Introduction
Dynamic adaptive streaming over HTTP (DASH) is intended to support a media-streaming model for
delivery of media content in which control lies exclusively with the client. Clients may request data using
the HTTP protocol from standard web servers that have no DASH-specific capabilities. Consequently,
this document focuses not on client or server procedures but on the data formats used to provide a
DASH Media Presentation.
The International Organization for Standardization (ISO) and International Electrotechnical
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Electronics & Telecommunications Research Institute
161, Gajeong-dong, Yuseong-gu, Daejeon, Korea
Intellectual Property Management Team, ETRI


EMBLAZE LTD.
9 1-lamenofim Street
Herzeliya Pituach 46725, Israel P.O.Box 2216


Sony Corporation
1-7-1 Knonan, Minato-Kyu, Tokyo, 108-0075


Intel Corporation
2200 Mission College Blvd., MS: RNB-4-150 Santa Clara, CA 95054


Koninklijke KPN N.V.
Maanplein 55, 2516 CK, The Hague, The Netherlands


Sharp Corporation
2613-1 Ichinomoto-cho, Tenri-shi, Nara Prefecture 632-8567, Japan


Huawei Technologies Co., Ltd



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Administration Building, Huawei Technologies Co., Ltd Bantian Longgang District
Shenzhen 518129, China


Samsung Electronics Co., Ltd
Maetan dong 129, Samsung-ro, Yeongtong-gu, Suwon-si,
Gyconggi-do 443-742, Korea Republic


Fraunhofer-Gesellschaft
Hansastr. 27c
80686 München


Google Inc.
1600 Amphitheatre Parkway
Mountain View, CA 94043


Nokia Technologies Oy
Joensuunkatu 7E, FIN-24100 Salo, Finland


Qualcomm Incorporated
5775 Morehouse Drive
San Diego, CA 92121


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INTERNATIONAL STANDARD                                                        ISO/IEC 23009-1:2019(E)




Information technology — Dynamic adaptive streaming
over HTTP (DASH) —
Part 1:
Media presentation description and segment formats

1 Scope
This document primarily specifies formats for the Media Presentation Description and Segments for
dynamic adaptive streaming delivery of MPEG media over HTTP. It is applicable to streaming services
over the Internet.


2 Normative references
The following documents are referred to in the text in such a way that some or all of their content
constitutes requirements of this document. For dated references, only the edition cited applies. For
undated references, the latest edition of the referenced document (including any amendments) applies.
ISO/IEC 13818-1, Information technology — Generic coding of moving pictures and associated audio
information — Part 1: Systems
ISO/IEC 14496-12:—1), Information technology — Coding of audio-visual objects — Part 12: ISO base
media file format
ISO/IEC 23001-8, Information technology — MPEG systems technologies — Part 8: Coding-independent
code points
IETF RFC 1738, Uniform Resource Locators
IETF RFC 2397, The “data” URL scheme
IETF RFC 3629, UTF-8, a transformation format of ISO 10646
IETF RFC 3986:2005, Uniform Resource Identifier (URI): Generic Syntax
IETF RFC 4122, A Universally Unique IDentifier (UUID) URN Namespace
IETF RFC 4337, MIME Type Registration for MPEG-4
IETF RFC 4648, The Base16, Base32, and Base64 Data Encodings
IETF RFC 5234, Augmented BNF for Syntax Specifications: ABNF
IETF RFC 5261, An Extensible Markup Language (XML) Patch Operations Framework Utilizing XML Path
Language (XPath) Selectors
IETF RFC 5646, Tags for Identifying Languages
IETF RFC 6381:2011, The ′Codecs′ and ′Profiles′ Parameters for “Bucket” Media Types
IETF RFC 6838:2013, Media Type Specifications and Registration Procedures
IETF RFC 7231:2014, Hypertext Transfer Protocol (HTTP/1.1): Semantics and Content

1) Under preparation. Stage at the time of publication: ISO/IEC/DIS 14496-12:2017. This document is technically
identical to ISO/IEC 15944-12 (withdrawn).

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IETF RFC 7233:2014, Hypertext Transfer Protocol (HTTP/1.1): Range Requests
IETF RFC 8141:2017, URN Syntax
HTML 4.01 Specification, W3C Recommendation, 24 December 1999
W3C XLINK, XML Linking Language (XLink) Version 1.1, W3C Recommendation 06, May 2010
W3C Media Fragments URI 1.0 (basic), W3C Recommendation, 25 September 2012


3 Terms, definitions, symbols and abbreviated terms

3.1 Terms and definitions
For the purposes of this document, the following terms and definitions apply.
ISO and IEC maintain terminological databases for use in standardization at the following addresses:
— ISO Online browsing platform: available at https:​//www​.iso​.org/obp
— IEC Electropedia: available at http:​//www​.electropedia​.org/
3.1.1
access unit
unit of a media stream (3.1.29) with an assigned Media Presentation time
3.1.2
accessibility
degree to which a media content or certain media content components (3.1.22) are available to as many
people as possible
3.1.3
Adaptation Set
set of interchangeable encoded versions of one or several media content components (3.1.22)
3.1.4
asset
content including media and metadata together with the rights to use the content by the content
provider
3.1.5
associated Representation
Representation (3.1.38) which provides supplemental or descriptive information for at least one other
Representation
3.1.6
available Segment
Segment (3.1.39) that is accessible at its assigned HTTP-URL (3.1.18) and a possibly assigned byte range
that is the request with an HTTP GET results in a reply of the Segment and 2xx status code
3.1.7
Bitstream Switching Segment
Segment (3.1.39) that if present contains essential data to switch to the Representation (3.1.38) it is
assigned to
3.1.8
bundle
set of media components which can be consumed jointly by a single decoder instance




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3.1.9
complementary Representation
Representation (3.1.38) which complements at least one dependent Representation (3.1.13)
3.1.10
continuous media
media with an inherent notion of time
EXAMPLE          Speech, audio, video, timed text or timed metadata.

3.1.11
DASH metric
metric computed by the DASH Client and uniquely identified by a key
3.1.12
data URL
URL with a fixed scheme “data”
3.1.13
dependent Representation
Representation (3.1.38) for which Segments (3.1.39) from its complementary Representations (3.1.9) are
necessary for presentation and/or decoding of the contained media content components (3.1.22)
3.1.14
earliest presentation time
smallest presentation time (3.1.36) of any access unit (3.1.1) of a Media Segment (3.1.28) or Subsegment
(3.1.49) for a media stream (3.1.29)
3.1.15
event
aperiodic sparse media-time related auxiliary information to the DASH Client or to an application
3.1.16
event stream
sequence of related events (3.1.15)
3.1.17
group
collection of Adaptation Sets (3.1.3) that are not expected to be presented simultaneously
3.1.18
HTTP-URL
URL with a fixed scheme of “http” or “https”
3.1.19
Index Segment
Segment (3.1.39) that primarily contains indexing information for Media Segments (3.1.28)
3.1.20
Initialization Segment
Segment (3.1.39) containing metadata that is necessary to present the media streams (3.1.29)
encapsulated in Media Segments (3.1.28)
3.1.21
media content
single media content period (3.1.24) or contiguous sequence of media content periods
3.1.22
media content component
single continuous component of the media content (3.1.21) with an assigned media content component
type (3.1.23)


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3.1.23
media content component type
single type of media content (3.1.21)
EXAMPLE       Audio, video, or text.

3.1.24
media content period
set of media content components (3.1.22) that have a common timeline as well as relationships on how
they can be presented
3.1.25
Media Presentation
collection of data that establishes a bounded or unbounded presentation of media content (3.1.21)
3.1.26
Media Presentation Description
MPD
formalized description for a Media Presentation (3.1.25) for the purpose of providing a streaming service
3.1.27
Media Presentation timeline
concatenation of the timeline of all Periods (3.1.34) which itself is common to all Representations (3.1.38)
in the Period
3.1.28
Media Segment
Segment (3.1.39) that complies with media format in use and enables playback when combined with
zero or more preceding Segments and an Initialization Segment (3.1.20) (if any)
3.1.29
media stream
encoded version of a media content component (3.1.22)
3.1.30
Media Subsegment
Subsegment (3.1.49) that only contains media data but no Segment Index (3.1.43)
3.1.31
message
part of an event (3.1.15) containing information that is exclusively handled by the event handler
3.1.32
MPD start time
approximate presentation start time of a Media Segment (3.1.28) signalled in MPD (3.1.26)
3.1.33
MPD duration
approximate presentation duration of a Media Segment (3.1.28) signalled in MPD (3.1.26)
3.1.34
Period
interval of the Media Presentation (3.1.25), where a contiguous sequence of all Periods constitutes the
Media Presentation
3.1.35
Preselection
subset of media component in a bundle (3.1.8) that are expected to be consumed jointly




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3.1.36
presentation time
time associated to an access unit (3.1.1) that maps it to the Media Presentation timeline (3.1.27)
3.1.37
remote element entity
entity that contains one or more elements and is referenced in the MPD (3.1.26) with an HTTP-URL
(3.1.18) contained in an @xlink:​href attribute, referred to as "remote resource" by XLink
3.1.38
Representation
collection and encapsulation of one or more media streams (3.1.29) in a delivery format and associated
with descriptive metadata
3.1.39
Segment
unit of data associated with an HTTP-URL (3.1.18) and optionally a byte range that are specified by an
MPD (3.1.26), or with a data URL (3.1.12)
3.1.40
Segment availability start time
latest time instant in wall-clock time (3.1.51) at which a Segment (3.1.39) becomes an available
Segment (3.1.6)
3.1.41
adjusted Segment availability start time
time instant in wall-clock time (3.1.51) at which a Segment (3.1.39) becomes an available Segment (3.1.6)
3.1.42
Segment availability end time
time instant in wall-clock time (3.1.51) at which a Segment (3.1.39) ceases to be an available Segment (3.1.6)
3.1.43
Segment Index
compact index of the time range to byte range mapping within a Media Segment (3.1.28) separately
from the MPD (3.1.26)
3.1.44
Segment Sequence
sequence of Segments (3.1.39) that are sharing a common number address
3.1.45
Spatial Object
media content component (3.1.22) corresponding to a region in a coordinate system associated to this
media content component
3.1.46
stream access point
SAP
position in a Representation (3.1.38) enabling playback of a media stream (3.1.29) to be started using
only the information contained in Representation data starting from that position onwards [preceded
by initializing data in the Initialization Segment (3.1.20), if any]
3.1.47
sub-asset
media content component (3.1.22) (or part thereof) identified as corresponding to a part of an asset (3.1.4)
3.1.48
Sub-Representation
part of a Representation (3.1.38) described in the MPD (3.1.26) that is present in the entire Period
(3.1.34)

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3.1.49
Subsegment
unit within Media Segments (3.1.28) that is indexed by a Segment Index (3.1.43)
3.1.50
valid Segment URL
HTTP-URL (3.1.18) that is promised to reference a Segment (3.1.39) during its Segment availability period
3.1.51
wall-clock time
time as stated by UTC

3.2 Symbols and abbreviated terms
For the purposes of this document, the following symbols and abbreviated terms apply.

ABNF         Augmented Backus-Naur Form

AVC          advanced video coding

CAT          conditional access table

CDN          content delivery network

DASH         dynamic adaptive streaming over HTTP

DM           DASH Metrics

DRM          digital rights management

ECM          entitlement control message

EMM          entitlement management message

EPT          earliest presentation time

GDR          gradual decoder refresh

GOP          group of pictures

GPS          global positioning system

HEVC         high efficiency video coding

HTML         hypertext markup language

HTTP         hypertext transfer protocol

IAB          interactive advertising bureau

IDR          instantaneous decoding refresh

IP           internet protocol

ISOBMFF      ISO base media file format

MBT          minimum buffer time

MPD          Media Presentation Description

MVC          multi-view video coding


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NGA             next generation audio

NTP             network time protocol

OATC            open authentication technical committee

OAuth           open standard for authorization

OMAP            online multimedia authorization protocol

PAT             program association table

PCR             program clock reference

PES             packetized elementary stream

PID             packet identifier

PMT             program map table

PSI             program specific information

PTS             presentation time stamp

RAP             random access point

SAML            security assertion markup language

SAP             stream access point

SEI             supplementary enhancement information

SNTP            simple NTP

SRD             Spatial Relationship Description

SVC             scalable video coding

TCP             transmission control protocol

TLS             transport layer security

TS              transport stream

URI             uniform resource identifier

URL             uniform resource locator

URN             uniform resource name

UTC             coordinated universal time

UUID            universally unique identifier

VAST            video ad serving template

VOD             video-on-demand

XML             extensible mark-up language




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3.3 Conventions
The following naming conventions apply in this document.
— Elements in an XML document are identified by an upper-case first letter and in bold face as Element.
  To express that an element Element1 is contained in another element Element2, the following format
  is used: Element2.Element1. If an element's name consists of two or more combined words, camel-
  casing is typically used, e.g. ImportantElement. Elements may be present either exactly once, or the
  minimum and maximum occurrence is defined by <minOccurs> ... <maxOccurs>.
— Attributes in an XML document are identified by a lower-case first letter as well as they are preceded
  by an '@'-sign, e.g. @attribute. To point to a specific attribute @attribute contained in an element
  Element, one may write Element@attribute. If an attribute's name consists of two or more combined
  words, camel-casing is typically used after the first word, e.g. @veryImportantAttribute. Attributes
  may have assigned a status in the XML as mandatory (M), optional (O), optional with default value
  (OD) and conditionally mandatory (CM).
— Namespace qualification of elements and attributes is used as per XML standards, in the form of
  namespace:Element or @namespace:attribute. The fully qualified namespace is provided in the
  schema fragment associated with the declaration. External specifications extending the namespace
  of DASH are expected to document the element name in the semantic table with an extension
  namespace prefix.
— Variables defined in the context of this document are specifically highlighted with italics, e.g.
  InternalVariable.
— Structures that are defined as part of the hierarchical data model are identified by an upper-case
  first letter, e.g. Period, Adaptation Set, Representation, Segment, etc.
— The term "this clause" refers to the entire clause included within the same first heading number.
  The term "this subclause" refers to all text contained in the subclause with the lowest hierarchy
  heading.
— For improved interoperability, this document uses ABNF notation according to IETF RFC 5234 to
  specify certain underdefined values of XML attributes and elements.


4 Overview

4.1 System description
Dynamic adaptive streaming over HTTP (DASH) specifies XML and binary formats that enable delivery
of continuous media content from standard HTTP servers to HTTP clients and enable caching of content
by standard HTTP caches.
This document primarily defines two formats:
— The Media Presentation Description (MPD) describes a Media Presentation, i.e. a bounded or
  unbounded presentation of continuous media content. In particular, it defines formats to announce
  resource identifiers for Segments and to provide the context for these identified resources within
  a Media Presentation. These resource identifiers are HTTP-URLs possibly combined with a byte
  range, or with a data URL.
— The Segment formats specify the formats of the entity body of the HTTP response to an HTTP
  GET request or a partial HTTP GET with the indicated byte range using HTTP/1.1 as defined in
  IETF RFC 7233 to a resource identified in the MPD. Segments typically contain efficiently coded
  media data and metadata conforming to or at least closely aligned with common media formats.
The MPD provides sufficient information for a client to provide a streaming service to the user by
accessing the Segments through the protocol specified in the scheme of the defined resources. In the
context of this document, the assumed protocol is HTTP/1.1. Such a client is referred to as a DASH Client

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in the remainder of this document. However, this document does not provide a normative specification
for such a client.
Figure 1 shows a possible deployment architecture in which the formats defined in this document may
be used. Boxes with solid lines indicate devices that are mentioned in this document as they host or
process the formats defined in this document whereas dashed boxes are conceptual or transparent. This
document deals with the definition of formats that are accessible on the interface to the DASH Client,
indicated by the solid lines. Any other formats or interfaces are outside the scope of this document.
In the considered deployment scenario, it is assumed that the DASH Client has access to an MPD. The
MPD provides sufficient information for the DASH Client to provide a streaming service to the user by
requesting Segments from an HTTP server and demultiplexing, decoding and rendering the included
media streams.




                                Figure 1 — Example system for DASH formats

Although the formats are initially designed to be used in the above deployment scenario, their
application is obviously not restricted to this scenario. The particular aspect on "HTTP" in DASH is the
usage of HTTP-URLs in the MPD for the purpose to refer to Segments. The usage of HTTP-URLs enables
unique location information and it provides well-defined methods to access the resources, in particular
HTTP GET and HTTP partial GET.

4.2 DASH Client model
The design of the formats defined in this document is based on the informative client model as shown in
Figure 2. The figure illustrates the logical components of a conceptual DASH Client model and the relation
to other components in a media streaming application. In this figure, the DASH access engine receives
the Media Presentation Description (MPD), constructs and issues requests and receives Segments or
parts of Segments. The DASH Client may use metadata provided in the MPD for the selection of media
components by communication with the media streaming application. Such metadata may for example
include codec capability information, language codes, accessibility information and other information
for the selection of media components. In the context of this document, the output of the DASH access
engine consists of media in MPEG container formats (ISO/IEC 14496-12 ISO base media file format or
ISO/IEC 13818-1 MPEG-2 Transport Stream), or parts thereof, together with timing information that
maps the internal timing of the continuous media to the timeline of the Media Presentation. In Annex F,
guidance on enabling the use of this document with other container formats is provided. In addition,
the DASH access client may also receive and extract Events that are related to the media time. The
events may be processed in the DASH Client or may be forwarded to an event processing application in
the execution environment of the DASH Client.




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                                  Figure 2 — DASH Client model


4.3 DASH data model overview
DASH is intended to support a media-streaming model for delivery of continuous media content in
which control lies primarily with the client. Clients may request data using the HTTP protocol from
standard web servers that have no DASH-specific capabilities. Consequently, this document focuses not
on client or server procedures but on the data formats used to provide a DASH Media Presentation.
The collection of encoded and deliverable versions of continuous media content and the appropriate
description of these form a Media Presentation. Media content is composed of a single or multiple
contiguous media content periods in time. Content in different media content periods may be
completely independent or certain periods of a Media Presentation may belong to the same Asset,
for example a Media Presentation is a collection of main program composed of multiple periods, each
assigned to the same Asset, and interleaved with inserted advertisement periods. Each media content
period is composed of one or multiple media content components, for example audio components in
various languages, different video components providing different views of the same program, subtitles
in different languages, etc. Each media content component has an assigned media content component
type, for example audio or video. The same asset over multiple periods may be identified by a DASH
descriptor enabling DASH Clients to maintain the continuity across periods' boundaries. Furthermore,
sub-assets composing the same asset may also be identified using a similar method. For instance, if an
asset is composed of multiple video components, sub-assets enable selecting the previously selected
video component after an ad insertion.
Each media content component may have several encoded versions, referred to as media streams. Each
media stream inherits the properties of the media content, the media content period, the media content
component from which it was encoded and, in addition, it gets assigned the properties of the encoding
process such as sub-sampling, codec parameters, encoding bitrate, etc. This describing metadata is
relevant for static and dynamic selection of media content components and media streams.




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                                    Figure 3 — DASH High-Level Data Model

DASH is based on a hierarchical data model aligned with the presentation in Figure 3. In the horizontal
domain, this shows the sequence in time of the Media Presentation, and in the horizontal domain it
shows the choices offered in a Media Presentation, to be selected by the DASH Client in a static and
dynamic manner. A DASH Media Presentation is described by a Media Presentation Description
document. This describes the sequence of Periods (see subclause 5.3.2) in time that make up the Media
Presentation. A Period typically represents a media content period during which a consistent set of
encoded versions of the media content is available i.e. the set of available bitrates, languages, captions,
subtitles etc. does not change during a Period.
Within a Period, material is arranged into Adaptation Sets (see subclause 5.3.3). An Adaptation Set
represents a set of interchangeable encoded versions of one or several media content components (see
subclause 5.3.4). For example, there may be one Adaptation Set for the main video component and a
separate one for the main audio component. If there is other material available, for example captions or
audio descriptions, then these may each have a separate Adaptation Set. Material may also be provided
in multiplexed form, in which case interchangeable versions of the multiplex may be described as a
single Adaptation Set, for example an Adaptation Set containing both the main audio and main video
for a Period. Each of the multiplexed components may be described individually by a media content
component description. In the third edition, the concept of Preselections (see subclause 5.3.11) was
added in order to enable the combination of different Adaptation Sets into a single decoding and user
experience.
An Adaptation Set contains a set of Representations (see subclause 5.3.5). A Representation
describes a deliverable encoded version of one or several media content components. A Representation
includes one or more media streams (one for each media content component in the multiplex). Any
single Representation within an Adaptation Set is sufficient to render the contained media content

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components. By collecting different Representations in one Adaptation Set, the Media Presentation
author expresses that the Representations represent perceptually equivalent content. Typically, this
means that clients may switch dynamically from Representation to Representation within an Adaptation
Set in order to adapt to network conditions or other factors. Switching refers to the presentation of
decoded data up to a certain time t, and presentation of decoded data of another Representation from
time t onwards. If Representations are included in one Adaptation Set, and the client switches properly,
the Media Presentation is expected to be perceived seamless across the switch. Clients may ignore
Representations that rely on codecs or other rendering technologies they do not support or that are
otherwise unsuitable.
Within a Representation, the content may be divided in time into Segments (see subclause 5.3.9 and
Clause 6) for proper accessibility and delivery. In order to access a Segment, a URL is provided for each
Segment. Consequently, a Segment is the largest unit of data that can be retrieved with a single HTTP
request. For segmented Representations, two types of Segments are differentiated: Initialization
Segments contain static metadata for the Representation, Media Segments contain media samples
and advanced the timeline. Media may also be organized by a single self-initialitizing Segment which
contains then both initialization information as well as media data.
NOTE       This is not strictly true, since the MPD can also include a byte range with the URL, meaning that the
Segment is contained in the provided byte range of some larger resource. An intelligent client can in principle
construct a single request for multiple Segments, but this is not the typical case.

DASH defines different timelines. One of the key features in DASH is that encoded versions of different
media content components share a common timeline. The presentation time of each access unit within
the media content is mapped to the global common presentation timeline for synchronization of
different media components and to enable seamless switching of different coded versions of the same
media components. This timeline is referred as Media Presentation timeline. The Media Segments
themselves contain accurate Media Presentation timing information enabling synchronization of
components and seamless switching.
A second timeline is used to signal to clients the availability time of Segments at the specified HTTP-
URLs. These times are referred to as Segment availability times and are provided in wall-clock
time. Clients typically compare the wall-clock time to Segment availability times before accessing
the Segments at the specified HTTP-URLs in order to avoid erroneous HTTP request responses. For
static Media Presentations, the availability times of all Segments are identical. For dynamic Media
Presentations, the availability times of segments depend on the position of the Segment in the Media
Presentation timeline, i.e. the Segments get available over time. Whereas static Media Presentations
are suitable to offer On-Demand content, dynamic Media Presentations are mostly suitable to offer live
services.
Segments are assigned a duration, which is the duration of the media contained in the Segment when
presented at normal speed. Typically, all Segments in a Representation have the same or a roughly
similar duration. However, Segment duration may differ from Representation to Representation. A
DASH presentation can be constructed with relative short segments (for example a few seconds), or
longer Segments including a single Segment for the whole Representation.
Short Segments are usually required in the case of live content, where there are restrictions on end-to-
end latency. The duration of a Segment is typically a lower bound on the end-to-end latency. DASH does
not support the possibility for Segments to be extended over time: a Segment is treated as an object as
a complete and discrete unit that is made available in its entirety. However, this does not prevent from
applying advanced HTTP transfer modes such as chunked transfer to optimize deployments and reduce
end-to-end latency.
In particular, self-initializing Segments may be further subdivided into Subsegments each of
which contains a whole number of complete access units. There may also be media-format-specific
restrictions on Subsegment boundaries; for example, in the ISO base media file format, a Subsegment
contains a whole number of complete movie fragments. If a Segment is divided into Subsegments,
they are described by a compact Segment index, which provides the presentation time range in the
Representation and corresponding byte range in the Segment occupied by each Subsegment. Clients
may download this index in advance and then issue requests for individual Subsegments.

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Clients may switch from Representation to Representation within an Adaptation Set at any point in
the media. However, switching at arbitrary positions can be complex because of coding dependencies
within Representations and other factors, potentially requiring parallel download and decoding in the
DASH Client. It is also desirable to avoid download of 'overlapping' data i.e. media for the same time
period from multiple Representations. Usually, switching is simplest at a stream access point (SAP)
in the new stream. In order to formalize requirements related to switching, DASH defines a codec-
independent concept of stream access points and identifies various types of stream access points.
Segmentation and Subsegmentation may be performed in ways that make switching simpler. For
example, in the very simplest cases, each Segment or Subsegment begins with a SAP and the boundaries
of Segments or Subsegments are aligned across the Representations of one Adaptation Set. In this
case, switching Representation involves playing to the end of a (Sub)Segment of one Representation
and then playing from the beginning of the next (Sub)Segment of the new Representation. The Media
Presentation Description and Segment Index provide various indications, which describe properties of
the Representations that may make switching simpler. Profiles of this document can then require these
indicators to be set in certain ways, making implementation of clients for those profiles simpler at the
cost of requiring the media data to obey the indicated constraints.
For On-Demand services, the Media Presentation Description is typically a static document describing
the various aspects of the Media Presentation. All Segments of the Media Presentation are available on
the server once any Segment is available. For live services, however, Segments become available with
time as the content is produced and therefore, dynamic Media Presentations are suitable. The Media
Presentation Description may be updated regularly to reflect changes in the presentation over time,
for example Segment URLs for new segments may be added to the MPD and those for old, no longer
available Segments may be removed. However, if Segment URLs are described using a template, this
updating may not be necessary except for some redundancy/failover cases.
Events may be provided in the MPD or within a Representation in order to signal aperiodic information
to the DASH Client or to an application. Events are timed, i.e. each event starts at a specific media
presentation time and typically has a duration. Events include DASH specific signalling or application-
specific events. Examples for events are indication of MPD updates on the server, possibly providing the
detailed update as part of the messages. The event mechanisms may also be used to deliver media time
related application events, for example information about ad insertion opportunities, etc.

4.4 Protocols
This document may be deployed in a system according Figure 1 for which
— the DASH Client includes a client as specified in IETF RFC 7230[22], IETF RFC 7231, IETF RFC 7232[23],
  IETF RFC 7233, IETF RFC 7234[24] and IETF RFC 7235[25], and
— the HTTP Server hosting the DASH Segments complies with a server as specified in IETF RFC 7230,
  IETF RFC 7231, IETF RFC 7232, IETF RFC 7233, IETF RFC 7234 and IETF RFC 7235.
DASH Clients typically use the HTTP GET method or the HTTP partial GET method, as specified in
IETF RFC 7231:2014, subclause 4.3, to access Segments or parts thereof.
The use of HTTP as a transport protocol inherently provides many advanced features such as caching
(IETF RFC 7233), redirection (IETF RFC 7231) or authentication (IETF RFC 7235). As another example,
transport security in HTTP-based delivery may be achieved by using HTTP over TLS as specified in
IETF RFC 2818. Yet another example is the use of HTTP state management mechanisms (also known as
Cookies) as defined in IETF RFC 6265[21].
However, the formats defined in this document may also be used with other protocols. In particular, the
objects may be delivered with any object delivery protocol that provides a binding between an HTTP-
URL and the delivered object.




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4.5 Media stream and Representation properties

4.5.1   Switching and Random Access Support

The formats defined in this document are designed for providing good user experience even in case the
access bandwidth between the DASH segment delivery function or the cache varies. A key functionality
is the ability of the DASH Client to seamlessly switch across different Representations of the same
media component without severely impacting the user experience.
Assume two Representations A and B. A switch from Representation A to Representation B at media
time t is considered seamless, if the result of the presentation after this switch is applied is the same as
if Representation A was decoded from the beginning and presented up to time t and Representation B is
decoded from the beginning and presented from time t onwards.
Media Presentations may provide different Representations in one Adaptation Set representing the
same media component. If such Representations are properly time-aligned (as expected by the Media
Presentation), then DASH Clients may apply seamless switching across different Representations
provided in one Adaptation Set at any time t to obtain a perceptually continuous experience.
However, in practical implementations, the operation of seamless switching can be complex, as
switching at time t can require parallel download and decoding of two Representations. Therefore,
providing suitable switching opportunities in regular time intervals simplifies client implementations.
This document provides means for providing suitable switching opportunities and in addition provides
abilities to signal the position and media time of the switching opportunities.
For this purpose, this subclause defines three relevant concepts to support seamless switching:
— Media stream access points in subclause 4.5.2 to signal positions where to easily switch to a
  Representation, and in addition where to suitable access a Representation at start-up or seek.
— Non-overlapping Segments and Subsegments in subclause 4.5.3 to signal that, at the signalled
  stream access points, no overlap decoding of Representations is necessary in order to provide a
  continuous switch.
— Bitstream concatenation in subclause 4.5.4 to signal that the concatenation of two Representations
  at a switch point results in a conforming bitstream.
These three properties are neither sufficient nor necessary for seamless switching, but certain
implementation or profiles may use these properties in order to simplify practical implementations.

4.5.2   Media stream access points

To be able to access a Representation, each of the media streams that are contained in the Representation
requires media stream access points (SAPs). SAPs in the context of this document refer to the SAP
definition in ISO/IEC 14496-12:—, Annex I. ISO/IEC 14496-12:—, Annex I.3 defines different types of
SAPs that provide a relationship between the position where a stream can be accessed, relative to the
start of a Segment or Subsegment, its presentation time and the presentation times and position of
other access unit in the stream. The same SAP type definitions shall apply for this document.
A SAP is a position in a Representation that enables playback of a media stream to be started using only
the information contained in Representation data starting from that position onwards (preceded by
initializing data in the Initialization Segment, if any).
For each SAP, the properties, ISAP, TSAP, ISAU, TDEC, TEPT, and TPTF, are identified and defined in
ISO/IEC 14496-12:—, Annex I.2.




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In particular, TSAP is defined to be the earliest presentation time of any access unit of the media stream
such that all access units of the media stream with presentation time greater than or equal to TSAP can be
correctly decoded using data in the Representation starting at byte position ISAP and no data before ISAP.
NOTE       The type of SAP is dependent only on which access units are correctly decodable and their arrangement
in presentation order. The types informally correspond with some common terms:

—     Type 1 corresponds to what is known in some coding schemes as a “Closed GoP random access point” (in which
      all access units, in decoding order, starting from ISAP can be correctly decoded, resulting in a continuous time
      sequence of correctly decoded access units with no gaps) and in addition the access unit in decoding order is
      also the first access unit in presentation order.

—     Type 2 corresponds to what is known in some coding schemes as a “Closed GoP random access point”, for
      which the first access unit in decoding order in the media stream starting from ISAU is not the first access unit
      in presentation order.

—     Type 3 corresponds to what is known in some coding schemes as an “Open GoP random access point”, in
      which there are some access units in decoding order following ISAU that cannot be correctly decoded and
      have presentation times less than TSAP.

—     Type 4 corresponds to what is known in some coding schemes as a "gradual decoder refresh (GDR) random
      access point”, in which there are some access units in decoding order starting from and following ISAU that
      cannot be correctly decoded and have presentation times less than TSAP.

—     Type 5 corresponds to the case for which there is at least one access unit in decoding order starting from ISAP
      that cannot be correctly decoded and has presentation time greater than TDEC and where TDEC is the earliest
      presentation time of any access unit starting from ISAU.

—     Type 6 corresponds to the case for which there is at least one access unit in decoding order starting from
      ISAP that cannot be correctly decoded and has presentation time greater than TDEC and where TDEC is not the
      earliest presentation time of any access unit starting from ISAU.

SAPs are mostly relevant for two purposes in this document:
1) For randomly accessing a Media Presentation, for example at the startup of the Media Presentation,
   after a seeking operation or after an error event especially in live cases.
2) To permit switching between two Representations whereby for seamless switching each media
   stream i in the switch-from Representation is presented up to TSAP(i) and each media stream i
   in the switch-to Representation is presented from the media stream access point starting from
   TSAP(i).
There are obvious benefits for the client to be able to identify SAPs and one or several of their properties,
in particular ISAP and TSAP for each media stream without requiring to access data at positions following
ISAP. DASH provides functionalities to explicitly signal such information by using signals in the MPD or
the Segment Index or combinations of the two.

4.5.3     Non-overlapping Segments and Subsegments

Segments and Subsegments represent units for which the client has an exact map on how to access and
download the unit using HTTP GET or HTTP partial GET methods.
Segments (respectively Subsegments) are typically generated by segmenting encoded media streams
into appropriate units. If the generation of Segments (respectively Subsegments) adheres to certain
rules, then the sequential decoding and presentation of Media Segments (respectively Subsegments)
results in a correct presentation of all contained media streams. To define such rules the notion of “non-
overlapping” segments (respectively Subsegments) is defined as follows.
Let
— TE(S,i) be the earliest presentation time of any access unit in stream i of a Segment or Subsegment S,
  and


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— TL(S,i) be the latest presentation time of any access unit in stream i of a Segment or Subsegment S.
Then two segments (respectively Subsegments), A and B, which may or may not be of different
Representations, are non-overlapping if TL(A,i) < TE(B,i) for all media streams i in A and B or if
TL(B,i) < TE(A,i) for all streams i in A and B where i refers to the same media component.
The property of “non-overlapping” segments (respectively Subsegments) is used to define the terms
Segment alignment and Subsegment alignment.

4.5.4   Bitstream concatenation

A sequence of Segments (respectively Subsegments) is a “conforming Segment (respectively
Subsegment) sequence” if the concatenation of all Segments (respectively Subsegments) in the sequence
of Segments (respectively Subsegments) results in a bitstream that conforms to the media formats in
use (including container and codecs).
NOTE      This implies that a player conforming to the media format can play the resulting bitstream.

4.6 Brands
The ISO base media file format, ISO/IEC 14496-12, defines the concept of brands; brand values identify
specifications or conformance points. This document specifies several brands, as listed in Table 1.

                             Table 1 — Brands defined in this document
 Brand identifier    Clause in this document                       Informative description
emsg                          5.10.3.3           Event message box.
msdh                           6.3.4.2           Media Segment conforming to the general format type for
                                                 ISO base media file format.
msix                           6.3.4.3           Media Segment conforming to the Indexed Media Segment
                                                 format type for ISO base media file format.
sims                           6.3.4.4           Media Segment conforming to the Sub-Indexed Media Seg-
                                                 ment format type for ISO base media file format.
dsms                           6.3.5.1           Media Segment conforming to the DASH Self-Initializing
                                                 Media Segment format type for ISO base media file format.
dash                           6.3.5.2           ISO base media file format file specifically designed for DASH
                                                 including movie fragments and Segment Index.
sisx                           6.4.6.2           Single Index Segment used to index MPEG-2 TS based Media
                                                 Segments.
risx                           6.4.6.3           Representation Index Segment used to index MPEG-2 TS
                                                 based Media Segments.
ssss                           6.4.6.4           Subsegment Index Segment used to index MPEG-2 TS based
                                                 Media Segments.
lmsg                            7.3.1            Last Media Segment indicator for ISO base media file format.
dums                           8.11.3            Segment sequence indicator in ISO base media file format
                                                 broadcast TV profile.

4.7 Schemes
This document specifies several schemes as listed in Table 2.




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                                 Table 2 — Schemes defined in this document
                     Scheme identifier                    Clause in          Informative description
                                                         this docu-
                                                            ment
urn:mpeg:dash:schema:mpd:2011                             Annex B     The namespace of the XML schema for
                                                                      the MPD.
urn:mpeg:dash:period-continuity:2015                      5.3.2.4     Period continuity signaling.
urn:mpeg:dash:period-connectivity:2015                    5.3.2.4     Period connectivity signaling.
urn:mpeg:dash:adaptation-set-switching:2016               5.3.3.5     Scheme Identifier for switching across
                                                                      Adaptation Sets.
urn:mpeg:dash:preselection:2016                           5.3.11.2    Preselection descriptor.
urn:mpeg:dash:reset:2016                                   5.4.2      MPD reset indicator.
urn:mpeg:dash:resolve-to-zero:2013                         5.5.3      xlink resolution to zero element.
urn:mpeg:dash:mp4protection:2011                          5.8.5.2     Protection schemes identified by the
                                                                      Scheme Type within the Scheme Type
                                                                      Box of the Protection Scheme Informa-
                                                                      tion Box of ISO/IEC14496-12.
urn:mpeg:dash:13818:1:CA_descriptor:2011                  5.8.5.2     Conditional Access System used for
                                                                      ISO/IEC 13818-1 (MPEG-2 Transport
                                                                      Stream).
urn:mpeg:dash:14496:10:frame_packing_                     5.8.5.3     Frame-packing arrangement.
arrangement_type:2011
urn:mpeg:dash:13818:1:stereo_video_format_                5.8.5.3     Frame-packing arrangement.
type:2011
urn:mpeg:dash:23003:3:audio_channel_                      5.8.5.4     Channel configuration.
configuration:2011
                                                                      Legacy format for backward-compat-
                                                                      ibility, it is recommended to use the
                                                                      signaling as defined in ISO/IEC 23001-8
                                                                      instead.
urn:mpeg:dash:outputChannelPositionList:2012              5.8.5.4     A list of output channel position to
                                                                      signal individual speaker positions as
                                                                      defined in ISO/IEC 23001-8.
                                                                      Legacy format for backward-compat-
                                                                      ibility, it is recommended to use the
                                                                      signalling as defined in ISO/IEC 23001-8
                                                                      instead.
urn:mpeg:dash:role:2011                                   5.8.5.5     DASH role scheme.
urn:mpeg:dash:stereoid:2011                               5.8.5.6     Scheme for multiple views media con-
                                                                      tent description.
urn:mpeg:dash:utc:ntp:2014                                5.8.5.7     UTC Timing scheme for NTP servers.
urn:mpeg:dash:utc:sntp:2014                               5.8.5.7     UTC Timing scheme for SNTP servers.
urn:mpeg:dash:utc:http-head:2014                          5.8.5.7     UTC Timing scheme for HTTP date
                                                                      headers.
urn:mpeg:dash:utc:http-xsdate:2014                        5.8.5.7     UTC Timing scheme for HTTP server
                                                                      with xsdate format.
urn:mpeg:dash:utc:http-iso:2014                           5.8.5.7     UTC Timing scheme for HTTP server
                                                                      with ISO timing format.
urn:mpeg:dash:utc:http-ntp:2014                           5.8.5.7     UTC Timing scheme for HTTP server
                                                                      with NTP format.
urn:mpeg:dash:utc:direct:2014                             5.8.5.7     UTC Timing scheme for direct inclusion
                                                                      of time.
urn:mpeg:dash:audio-receiver-mix:2014                     5.8.5.8     Scheme identifier for receiver mix.
urn:mpeg:dash:mpd-as-linking:2015                         5.8.5.9     MPD Adaptation Set Linking scheme.


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                                        Table 2 (continued)
               Scheme identifier                      Clause in           Informative description
                                                     this docu-
                                                        ment
urn:mpeg:dash:sai:2015                                5.8.5.10    Sub-Asset Scheme Identifier.
urn:mpeg:dash:client-authentication:2015              5.8.5.11    Client Authentication scheme.
urn:mpeg:dash:content-authorization:2015              5.8.5.11    Content Access Authorization scheme.
urn:mpeg:dash:audio-interactivity:2016                5.8.5.12    Scheme to indicate content interactivity.
urn:mpeg:dash:event:2012                               5.10.4     DASH event signalling scheme.
urn:mpeg:dash:event:callback:2015                     5.10.4.5    DASH call back event.
urn:mpeg:dash:event:ttfn:2016                         5.10.4.6    Presentation Termination Event.
urn:mpeg:dash:chaining:2016                            5.11.1     MPD chaining descriptor.
urn:mpeg:dash:fallback:2016                            5.11.2     MPD fallback descriptor.
urn:mpeg:dash:profile:full:2011                         8.2       Identifier for Full profile.
urn:mpeg:dash:profile:isoff-on-demand:2011              8.3       Identifier for ISO Base media file format
                                                                  On Demand profile.
urn:mpeg:dash:profile:isoff-live:2011                   8.4       Identifier for ISO Base media file format
                                                                  live profile.
urn:mpeg:dash:profile:isoff-main:2011                   8.5       Identifier for ISO Base media file format
                                                                  main profile.
urn:mpeg:dash:profile:mp2t-main:2011                    8.6       Identifier for MPEG-2 TS main profile.
urn:mpeg:dash:profile:mp2t-simple:2011                  8.7       Identifier for MPEG-2 TS simple profile.
urn:mpeg:dash:profile:isoff-ext-live:2014               8.8       Identifier for ISO Base media file format
                                                                  extended live profile.
urn:mpeg:dash:profile:isoff-ext-on-                     8.9       Identifier for ISO Base media file format
demand:2014                                                       extended On Demand profile.
urn:mpeg:dash:profile:isoff-common:2014                 8.10      Identifier for ISO Base media file format
                                                                  common profile.
urn:mpeg:dash:profile:isoff-broadcast:2015              8.11      Identifier for ISO Base media file format
                                                                  broadcast TV profile
urn:mpeg:dash:srd:2014                                  H.1       Scheme identifier for Spatial Relation-
                                                                  ship Description. If signalled in an
                                                                  Adaptation Set, the Adaptation Set shall
                                                                  follow the description in Annex H.
urn:mpeg:dash:srd:dynamic:2016                          H.1       Scheme to signal dynamic SRD. If
                                                                  signalled in an Adaptation Set, the Adap-
                                                                  tation Set shall follow the description in
                                                                  Annex H.
urn:mpeg:dash:urlparam:2014                             I.2       Scheme identifier for indicating usage of
                                                                  the flexible insertion of URL query pa-
                                                                  rameters. If signalled in an Adaptation
                                                                  Set, the Adaptation Set shall follow the
                                                                  description in Annex I.
urn:mpeg:dash:urlparam:2016                             I.3       Scheme identifier for indicating usage of
                                                                  the extended parameterization scheme.
                                                                  If signalled in an Adaptation Set, the Ad-
                                                                  aptation Set shall follow the description
                                                                  in Annex I.
urn:mpeg:dash:resolutionSwitching:2016                Annex J     Descriptor for Open GOP resolution
                                                                  change




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5 Media Presentation

5.1 General
A Media Presentation is a collection of data that is accessible to a DASH Client to provide a streaming
service to the user.
A Media Presentation is described by an MPD including possible updates of the MPD. The MPD is defined
in subclause 5.2 and the MPD update mechanism is defined in subclause 5.4. Assembly of a fragmented
MPD is defined in subclause 5.5. The data model that constitutes a Media Presentation is defined in
subclause 5.3. In subclause 5.6, the formats and processing of URLs in the MPD is introduced. Program
information is defined in subclause 5.7. Descriptors associated to Representations or collections thereof
are provided in subclause 5.8. DASH metric collection description is specified in subclause 5.9.

5.2 Media Presentation Description

5.2.1    General

The Media Presentation Description (MPD) is a document that contains metadata required by a DASH
Client to construct appropriate HTTP-URLs to access Segments and to provide the streaming service to
the user.
NOTE 1    Actual playback of the media streams included in the Representations is not controlled by the MPD
information. Playback is controlled by the media engine operating on the media streams contained in the
Representations in the usual way.

The format of URLs in the MPD and the process to generate HTTP GET and partial GET requests from
URLs provided in the MPD is defined in subclause 5.6.
The MPD is an XML document that shall be formatted according to the XML schema provided in the files
referenced in Annex B. Some context on the schema is provided in subclause 5.2.2.
The extension of the DASH XML schema (as provided in the files referenced in Annex B), in particular
the addition of XML attributes or elements in the DASH namespace, is reserved to ISO/IEC. Elements
and attributes that have been added to the namespace compared to earlier revisions of this document
are documented in subclause 5.2.3.
The MPD shall be authored such that, after XML attributes or elements in the DASH namespace but not
in the XML schema documented in the files referenced in Annex B are removed, the result is a valid XML
document formatted according to that schema and that conforms to this document.
In addition, the MPD shall be authored such that, after XML attributes or elements in the other
namespaces than the DASH namespace are removed, the result is a valid XML document formatted
according to that schema and that conforms to this document.
NOTE 2     Based on the last two paragraphs, if DASH Clients remove all XML attributes and elements from the
MPD in the DASH namespace and in other namespaces that are not in the XML schema referenced in Annex B,
the MPD results in a valid XML document which complies with this document. The DASH Client can use such a
resulting MPD for presentation of a conforming Media Presentation.

In addition, rules for authoring of MPDs conforming to a specific profile are provided in Clause 8.
Certain profiles as defined in Clause 8 may permit ignoring certain elements and attributes. However,
this has no effect on the general MPD conformance rules defined in this subclause.
Following XML rules, the MPD document shall contain exactly one MPD element as specified in
subclause 5.3.
The MIME type of the MPD document is defined in Annex C.
The encoding of the MPD shall be UTF-8 as defined in IETF RFC 3629. All data provided in extension
namespaces shall be UTF-8 as defined in IETF RFC 3629. If binary data needs to be added, it shall be

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included in Base64 as described in IETF RFC 4648 within a UTF-8 encoded element with a proper name
space or identifier, such that an XML parser knows how to process or ignore it.
The delivery of the MPD is outside the scope of this document. However, if the MPD is delivered over
HTTP, then the MPD document may be transfer encoded for transport, as described in IETF RFC 7230.
NOTE 3     As an example, the GZip algorithm as defined in IETF RFC 1952[3] can be used for Transfer-encoding.

NOTE 4     MPD encryption is not a normative part of this document. However, if operating in an insecure
environment and required by the content/service provider, elements and attributes of MPD can be encrypted to
protect their confidentiality by using the syntax and processing rules specified in the “XML Encryption Syntax
and Processing” by W3C[8].

NOTE 5      MPD integrity protection is not a normative part of this document. However, if operating in an insecure
environment and required by the content/service provider, the digital signing and verification procedures
specified in the “XML Signature Syntax and Processing” by W3C[9] can be used to protect data origin authenticity
and integrity of the MPD.

Selected MPD examples are provided in Annex G.

5.2.2    Schema

The initial part of the XML schema of the MPD is provided below, including namespace and other
definitions. Specific types, elements and attributes are introduced in the remainder of this subclause.
The complete normative MPD schema is provided in the files referenced in Annex B. In case of
inconsistencies, the schema in the files of Annex B takes precedence both over the XML syntax snippets
provided in this clause and all prose text in this document.
Implementors are supported by files available at: https:​//standards​.iso​.org/iso​-iec/23009/​-1/ed​-3/en.
These files include the schema as well as all examples provided in Annex G.

<?xml version="1.0"?>
<xs:schema xmlns:xs=http://www.w3.org/2001/XMLSchema
xmlns:xlink="http://www.w3.org/1999/xlink" xmlns="urn:mpeg:dash:schema:mpd:2011"
targetNamespace="urn:mpeg:dash:schema:mpd:2011" elementFormDefault="qualified"
attributeFormDefault="unqualified">
      <xs:import namespace="http://www.w3.org/1999/xlink" schemaLocation="xlink.xsd"/>
      <xs:annotation>
           <xs:appinfo>Media Presentation Description</xs:appinfo>
           <xs:documentation xml:lang="en">
         This Schema defines the Media Presentation Description for MPEG-DASH.
      </xs:documentation>
      </xs:annotation>
      <!-- MPD: main element -->
      <xs:element name="MPD" type="MPDtype"/>
      <!-- MPD Type -->
      <xs:complexType name="MPDtype">




   ...


</xs:schema>




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5.2.3     Elements and Attributes added in revisions and amendments

5.2.3.1     Overview

In amendments and revisions of this document, the schema defined in the files referenced in Annex B
may have been extended. In order to track this, subclause 5.2.3 tracks the addition of elements and
attributes.
By following the rules in subclause 5.2.1, a single MPD can be authored for clients that implement
different versions of this document.

5.2.3.2 Elements and Attributes added in the second edition of this document (ISO/
IEC 23009-1:2014)

This revision added the following elements and attributes to the schema defined in the files referenced
in Annex B compared to the 2012 edition (ISO/IEC 23009-1:2012/Cor 1:2013):
— MPD@publishTime
— MPD.EssentialProperty
— MPD.SupplementalProperty
— Period.AssetIdentifier
— Period.EventStream
— Period.SupplementalProperty
— RepresentationBase.InbandEventStream
— SegmentBase@availabilityTimeOffset
— SegmentBase@availabilityTimeComplete
— BaseURL@availabilityTimeOffset
— BaseURL@availabilityTimeComplete
— Subset@id
— SegmentTimeline.S@n

5.2.3.3     Elements and Attributes added in this revision

This revision adds the following elements and attributes to the schema defined in the files referenced in
Annex B compared to the 2014 revision (ISO/IEC 23009-1:2014) of this document:
— MPD.UTCTiming
— Period.GroupLabel
— Period.Preselection
— Period.EmptyAdaptationSet
— RepresentationBase.Switching
— RepresentationBase.RandomAccess
— RepresentationBase.GroupLabel
— RepresentationBase.Label

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— RepresentationBase@selectionPriority
— Representation@tag
— Representation@associationId
— Representation@associationType
— SegmentBase@presentationDuration
— SegmentBase@timeShiftBufferDepth
— SegmentTimeline.S@n
— SegmentTimeline.S@k

5.3 Hierarchical data model

5.3.1     General

5.3.1.1     Overview

A Media Presentation as described in the MPD consists of a sequence of one or more Periods as described
in subclause 5.3.2.
— Each Period contains one or more Adaptation Sets as described in subclause 5.3.3. In case an
  Adaptation Set contains multiple media content components, then each media content component is
  described individually as defined in subclause 5.3.4.
— Each Adaptation Set contains one or more Representations as described in subclause 5.3.5.
— Adaptation Sets, Representations and Sub-Representations share common attributes and elements
  that are described in subclause 5.3.7.
— Each Period may contain one or more Subsets that restrict combination of Adaptation Sets for
  presentation. Subsets are described in subclause 5.3.8.
— Each Representation consists of one or more Segments described in Clause 6. Segment Information
  is introduced in subclause 5.3.9. Segments contain media data and/or metadata to access, decode
  and present the included media content. Representations may also include Sub-Representations as
  defined in subclause 5.3.6 to describe and extract partial information from a Representation.
— Each Segment consists of one or more Subsegments. Subsegments are described in subclause 6.2.3.2.
The summary of the semantics of the attributes and elements within an MPD element are provided in
Table 3. The XML syntax of the MPD element is provided in subclause 5.3.1.3.

5.3.1.2     Semantics

                                         Table 3 — Semantics of MPD element
           Element or Attribute Name                      Use                                 Description
MPD                                                                  The root element that carries the Media Presentation Descrip-
                                                                     tion for a Media Presentation.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>…<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                                    Table 3 (continued)
              Element or Attribute Name                   Use                                    Description
      @id                                                  O          specifies an identifier for the Media Presentation. It is recom-
                                                                      mended to use an identifier that is unique within the scope in
                                                                      which the Media Presentation is published.
                                                                      If not specified, no MPD-internal identifier is provided. Howev-
                                                                      er, for example the URL to the MPD may be used as an identifier
                                                                      for the Media Presentation.
      @profiles                                            M          specifies a list of Media Presentation profiles as described in
                                                                      Clause 8.
                                                                      The contents of this attribute shall conform to either the pro-
                                                                      simple or pro-fancy productions of IETF RFC 6381:2011,
                                                                      subclause 4.5, without the enclosing DQUOTE characters, i.e.
                                                                      including only the unencodedv or encodedv elements
                                                                      respectively. As profile identifier, the URI defined for the con-
                                                                      forming Media Presentation profiles as described in Clause 8
                                                                      shall be used.
      @type                                                OD       specifies the type of the Media Presentation. For static Media
                                                                    Presentations (@type="static"), all Segments are available
                                                    default: static between the @availabilityStartTime and the
                                                                    @availabilityEndTime. For dynamic Media Presentations
                                                                    (@type="dynamic"), Segments typically have different availa-
                                                                    bility times. For details, refer to subclause 5.3.9.5.3.
                                                                      In addition, the Media Presentation Description may be updated
                                                                      in dynamic Media Presentations, i.e. the
                                                                      @minimumUpdatePeriod may be present.
                                                                      NOTE   Static Media Presentations are typically used for On-De-
                                                                      mand services, whereas dynamic Media Presentations are used
                                                                      for live services.
      @availabilityStartTime                              CM        For @type='dynamic', this attribute shall be present. In this
                                                                    case, it specifies the anchor for the computation of the earliest
                                                        shall be    availability time (in UTC) for any Segment in the Media Pres-
                                                      present for @ entation.
                                                    type='dynamic'
                                                                    For @type=“static” if present, it specifies the Segment
                                                                    availability start time for all Segments referred to in this MPD.
                                                                    If not present, all Segments described in the MPD shall become
                                                                    available at the time the MPD becomes available.
      @publishTime                                        OD       specifies the wall-clock time when the MPD was generated
                                                                   and published at the origin server. MPDs with a later value of @
                                                       shall be    publishTime shall be an update as defined in subclause 5.4 to
                                                     present for @ MPDs with earlier @publishTime.
                                                    type=′dynamic′
      @availabilityEndTime                                 O          specifies the latest Segment availability end time for any Seg-
                                                                      ment in the Media Presentation. When not present, the value is
                                                                      unknown.
      @mediaPresentationDuration                           O          specifies the duration of the entire Media Presentation. If the
                                                                      attribute is not present, the duration of the Media Presentation
                                                                      is unknown.
                                                                      This attribute shall be present when neither the attribute MPD@
                                                                      minimumUpdatePeriod nor the Period@duration of the
                                                                      last Period are present.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>…<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                                    Table 3 (continued)
               Element or Attribute Name                  Use                                     Description
      @minimumUpdatePeriod                                 O           If this attribute is present, it specifies the smallest period
                                                                       between potential changes to the MPD. This can be useful to
                                                                       control the frequency at which a client checks for updates.
                                                                       From a client perspective, after a client fetches an MPD, it spec-
                                                                       ifies the minimum period during which the MPD remains valid.
                                                                       Validity is defined in subclause 5.4.
                                                                       If this attribute is not present, it indicates that the MPD does
                                                                       not change.
                                                                       If MPD@type is not 'dynamic', @minimumUpdatePeriod
                                                                       shall not be present.
                                                                       Details on the use of the value of this attribute are specified in
                                                                       subclause 5.4.
      @minBufferTime                                       M           specifies a common duration used in the definition of the Rep-
                                                                       resentation data rate (see @bandwidth attribute in subclauses
                                                                       5.3.5.2 and 5.3.5.4).
      @timeShiftBufferDepth                                O           specifies the duration of the smallest time shifting buffer for any
                                                                       Representation in the MPD that is guaranteed to be available for
                                                                       a Media Presentation with type 'dynamic'. When not present,
                                                                       the value is infinite. This value of the attribute is undefined if
                                                                       the type attribute is equal to 'static'.
      @suggestedPresentationDelay                          O           When @type is 'dynamic', it specifies a fixed delay offset in
                                                                       time from the presentation time of each access unit that is sug-
                                                                       gested to be used for presentation of each access unit. For more
                                                                       details, refer to subclause 7.2.1. When not specified, then no value
                                                                       is provided and the client is expected to choose a suitable value.
                                                                       When @type is 'static'the value of the attribute is unde-
                                                                       fined and may be ignored.
      @maxSegmentDuration                                  O           specifies the maximum duration of any Segment in any Rep-
                                                                       resentation in the Media Presentation, i.e. documented in this
                                                                       MPD and any future update of the MPD. If not present, then the
                                                                       maximum Segment duration shall be the maximum duration of
                                                                       any Segment documented in this MPD.
      @maxSubsegmentDuration                               O           specifies the maximum duration of any Media Subsegment in
                                                                       any Representation in the Media Presentation. If not present,
                                                                       the same value as for the maximum Segment duration is implied.
      ProgramInformation                                  0…N          specifies descriptive information about the program. For more
                                                                       details, refer to the description in subclause 5.7.
      BaseURL                                             0…N          specifies a Base URL that can be used for reference resolution
                                                                       and alternative URL selection. For more details, refer to the
                                                                       description in subclause 5.6.
      Location                                            0…N          specifies a location at which the MPD is available.
      Period                                              1…N          specifies the information of a Period. For more details, refer to
                                                                       the description in subclause 5.3.2.
      Metrics                                            0 ... N       specifies the DASH Metrics.
                                                                       For more details, see subclause 5.9.
   EssentialProperty                                     0…N           specifies information about the containing element that is consid-
                                                                       ered essential by the Media Presentation author for processing
                                                                       the containing element.
                                                                       For details, see subclause 5.8.4.8.
   SupplementalProperty                                  0…N           specifies supplemental information about the containing
                                                                       element that may be used by the DASH Client optimizing the
                                                                       processing.
                                                                       For details, see subclause 5.8.4.9.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>…<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                                    Table 3 (continued)
           Element or Attribute Name                      Use                                   Description
   UTCTiming                                             0 ... N       specifies information on ways to obtain a synchronization to
                                                                       wall-clock time as used in this Media Presentation. The order
                                                                       of the elements expresses a preference of choice by the Media
                                                                       Presentation author. For more details, refer to subclause
                                                                       5.8.4.11.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>…<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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5.3.1.3    XML syntax

<!-- MPD Type -->
<xs:complexType name="MPDtype">
      <xs:sequence>
        <xs:element name="ProgramInformation" type="ProgramInformationType" minOccurs="0"
axOccurs="unbounded"/>
        <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Location" type="xs:anyURI" minOccurs="0"
maxOccurs="unbounded"/>
           <xs:element name="Period" type="PeriodType" maxOccurs="unbounded"/>
        <xs:element name="Metrics" type="MetricsType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="EssentialProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="UTCTiming" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
            <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="id" type="xs:string"/>
      <xs:attribute name="profiles" type="xs:string" use="required"/>
      <xs:attribute name="type" type="PresentationType" default="static"/>
      <xs:attribute name="availabilityStartTime" type="xs:dateTime"/>
      <xs:attribute name="availabilityEndTime" type="xs:dateTime"/>
      <xs:attribute name="publishTime" type="xs:dateTime"/>
      <xs:attribute name="mediaPresentationDuration" type="xs:duration"/>
      <xs:attribute name="minimumUpdatePeriod" type="xs:duration"/>
      <xs:attribute name="minBufferTime" type="xs:duration" use="required"/>
      <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
      <xs:attribute name="suggestedPresentationDelay" type="xs:duration"/>
      <xs:attribute name="maxSegmentDuration" type="xs:duration"/>
      <xs:attribute name="maxSubsegmentDuration" type="xs:duration"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


<!-- Presentation Type enumeration -->
<xs:simpleType name="PresentationType">
      <xs:restriction base="xs:string">
           <xs:enumeration value="static"/>
           <xs:enumeration value="dynamic"/>
      </xs:restriction>
</xs:simpleType>




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5.3.2     Period

5.3.2.1     Overview

A Media Presentation consists of one or more Periods. A Period is defined by a Period element in the MPD
element.
Three types of Periods are defined:
— Regular Period,
— Early Available Period,
— Early Terminated Period.
The type of the Period, as well as the PeriodStart time of a regular Period or early terminated Period is
determined as follows:
— If the attribute @start is present in the Period, then the Period is a regular Period or an early
  terminated Period and the PeriodStart is equal to the value of this attribute.
— If the @start attribute is absent, but the previous Period element contains a @duration attribute
  then this new Period is also a regular Period or an early terminated Period. The start time of the
  new Period PeriodStart is the sum of the start time of the previous Period PeriodStart and the value
  of the attribute @duration of the previous Period.
— If (i) @start attribute is absent, and (ii) the Period element is the first in the MPD, and (iii) the MPD@
  type is 'static′, then the PeriodStart time shall be set to zero.

— If (i) @start attribute is absent, and (ii) the previous Period element does not contain a @duration
  attribute or the Period element is the first in the MPD, and (iii) the MPD@type is ′dynamic′, then this
  Period is an Early Available Period (see below for details).
— If (i) @duration attribute is present, and (ii) the next Period element contains a @start attribute or
  the @minimumUpdatePeriod is present, then this Period is an Early Terminated Period (see below for
  details).
For any regular Period and early terminated Period, the following holds: PeriodStart reflects the
actual time that should elapse after playing the media of all prior Periods in this Media Presentation
relative to the PeriodStart time of the first Period in the Media Presentation. The Period extends
until the PeriodStart of the next Period, or until the end of the Media Presentation in the case of the
last Period. For regular Periods, the difference between the PeriodStart time of a Period and either
the PeriodStart time of the following Period, if this is not the last Period, or the value of the MPD@
mediaPresentationDuration if this is the last one, is the presentation duration in Media Presentation
time of the media content represented by the Representations in this Period. For Early Terminated
Periods, the value of the Period@duration is the presentation duration in Media Presentation time of
the media content represented by the Representations in this Period.
Early Available Periods may be used to advertise initialization of other non-media data before the media
data itself is available. Period elements documenting early available Periods shall not occur before
any Period element documenting a regular Period. For Early Available Periods, any resources that are
announced in such a Period element shall be available. The data contained in such a Period element
does not represent a Period in the Media Presentation. Only when the PeriodStart time becomes known
through an update of the MPD, such a Period element represents a regular Period. However, an update
of the MPD may even remove a Period element representing an Early Available Period in later updates
of the MPD as long as no PeriodStart time is associated with the Period.To avoid dereferencing of a
remote element entity containing a Period element solely to determine the Period timeline, e.g. in case
of seeking, Period@start or previous Period′s Period@duration should be present in the MPD.
The semantics of the attributes and elements within a Period element are provided in Table 4 of
subclause 5.3.2.2. The XML syntax of the Period element is provided in subclause 5.3.2.3.

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5.3.2.2       Semantics

                                   Table 4 — Semantics of Period element
      Element or Attribute Name            Use                                 Description
   Period                                            specifies the information of a Period.
        @xlink:href                          O       specifies a reference to a remote element entity that is
                                                     either empty or contains one or multiple top-level elements
                                                     of type Period.
        @xlink:actuate                      OD       specifies the processing instructions, which can be either
                                                     "onLoad" or "onRequest".
                                         default:
                                       onRequest This attribute shall not be present if the @xlink:href at-
                                                     tribute is not present.
        @id                                  O       specifies an identifier for this Period. The identifier shall be
                                                     unique within the scope of the Media Presentation.
                                                     If the MPD@type is "dynamic", then this attribute shall be
                                                     present and shall not change in case the MPD is updated.
                                                     If not present, no identifier for the Period is provided.
        @start                               O       if present, specifies the PeriodStart time of the Period. The
                                                     PeriodStart time is used as an anchor to determine the MPD
                                                     start time of each Media Segment as well as to determine the
                                                     presentation time of each access unit in the Media Presenta-
                                                     tion timeline.
                                                     If not present, refer to the details in subclause 5.3.2.1.
                                                     The value of PeriodStart, together with the value of the MPD@
                                                     availabilityStartTime enables to derive the Segment
                                                     availability times for dynamic media presentations. For
                                                     details, refer to subclause 5.3.9.
        @duration                            O       if present, specifies the duration of the Period to determine
                                                     the PeriodStart time of the next Period.
                                                     If not present, refer to the details in subclause 5.3.2.1.
        @bitstreamSwitching                 OD       When set to 'true', this is equivalent as if the
                                                     AdaptationSet@bitstreamSwitching for each Adaptation
                                         Default:
                                          false
                                                     Set contained in this Period is set to ′true′. In this case, the
                                                     AdaptationSet@bitstreamSwitching attribute shall not
                                                     be set to 'false' for any Adaptation Set in this Period.
        BaseURL                            0…N       specifies a base URL that can be used for reference resolu-
                                                     tion and alternative URL selection. For more details, refer to
                                                     the description in subclause 5.6.
        SegmentBase                        0...1     specifies default Segment Base information.
                                                     Information in this element is overridden by information in
                                                     AdaptationSet.SegmentBase and
                                                     Representation.SegmentBase, if present.
                                                     For more details, see subclause 5.3.9.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.




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                                                   Table 4 (continued)
    Element or Attribute Name              Use                                  Description
      SegmentList                          0...1       specifies default Segment List information.
                                                       Information in this element is overridden by information
                                                       in AdaptationSet.SegmentList and Representation.
                                                       SegmentList, if present.
                                                       For more details, see subclause 5.3.9.
      SegmentTemplate                      0...1       specifies default Segment Template information.
                                                       Information in this element is overridden by information in
                                                       AdaptationSet.SegmentTemplate and Representation.
                                                       SegmentTemplate, if present.
                                                       For more details, see subclause 5.3.9.
      AssetIdentifier                      0...1       specifies that this Period belongs to a certain asset.
                                                       For more details, see subclause 5.8.5.7.
      EventStream                          0...N       specifies an event stream.
                                                       For more details, see subclause 5.10.2.
      AdaptationSet                        0...N       specifies an Adaptation Set.
                                                       At least one Adaptation Set shall be present in each Period
                                                       unless the value of the @duration attribute of the Period is
                                                       set to zero.
                                                       For more details, see subclause 5.3.3.
      Subset                               0...N       specifies a Subset. For more details, see subclause 5.3.8.
      SupplementalProperty                 0...N       specifies supplemental information about the containing
                                                       element that may be used by the DASH Client optimizing the
                                                       processing.
                                                       For details, see subclause 5.8.4.9.
      EmptyAdaptationSet                   0...N       specifies an Adaptation Set that does not contain any
                                                       Representation element. The empty Adaptation Set is of
                                                       the same type as a regular Adaptation Set but shall neither
                                                       contain an xlink nor contain any Representation element.
                                                       This element shall only be present, if an Essential Descriptor
                                                       is present with @schemeIDURI set to "urn:mpeg:dash:mpd-
                                                       as-linking:2015".
                                                       For more details, see subclause 5.8.5.8.
      GroupLabel                          0…N          A summary label for a group of Labels.
                                                       For more details, refer to subclause 5.3.10.
      Preselection                        0…N          specifies a preselection, i.e. a combination of Adaptation Sets
                                                       that form a specific experience and can be selected for joint
                                                       decoding and rendering.
                                                       For more details, refer to subclause 5.3.11.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.




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5.3.2.3    XML syntax

<!-- Period -->
<xs:complexType name="PeriodType">
      <xs:sequence>
        <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
maxOccurs="unbounded"/>
           <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
           <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
           <xs:element name="SegmentTemplate" type="SegmentTemplateType" minOccurs="0"/>
           <xs:element name="AssetIdentifier" type="DescriptorType" minOccurs="0"/>
        <xs:element name="EventStream" type="EventStreamType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="AdaptationSet" type="AdaptationSetType" minOccurs="0"
maxOccurs="unbounded"/>
           <xs:element name="Subset" type="SubsetType" minOccurs="0" maxOccurs="unbounded"/>
        <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="EmptyAdaptationSet" type="AdaptationSetType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="GroupLabel" type="LabelType" minOccurs="0"
maxOccurs="unbounded"/>
           <xs:element name="Preselection" type="PreselectionType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute ref="xlink:href"/>
      <xs:attribute ref="xlink:actuate" default="onRequest"/>
      <xs:attribute name="id" type="xs:string"/>
      <xs:attribute name="start" type="xs:duration"/>
      <xs:attribute name="duration" type="xs:duration"/>
      <xs:attribute name="bitstreamSwitching" type="xs:boolean" default="false"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.3.2.4    Content offering with multiple Periods

Content with multiple Periods may be created for different reasons, for example:
— to enable splicing of content, for example for ad insertion,
— to provide synchronization in segment numbering, e.g. compensate non-constant segment durations,
— to remove or add certain Representations in an Adaptation Set,
— to remove or add certain Adaptation Sets,
— to remove or add content offering on certain CDNs,
— to enable signalling of shorter segments, if produced by the encoder.




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Periods provide opportunities for resync, for ad insertion, for adding and removing Representations.
However, in certain circumstances, the content across Period boundaries is continuous and, in this
case, continuous playout of the client is expected.
In certain circumstances, the Media Presentation is offered such that the next Period is a continuation
of the content in the previous Period, possibly the immediately following Period or in a later Period
(e.g. after an advertisement Period had been inserted).
The content provider may express that the media components contained in two Adaptation Sets in
two different Periods are associated by assigning equivalent Asset Identifiers to both Periods and by
identifying both Adaptation Sets with identical value for the attribute @id. Association expresses a
logical continuation of the media component in the next Period and may for example be used by the
client to continue playing an associated Adaptation Set in the new Period.
In addition, two Adaptation Sets in one MPD are period-continuous if all the following holds:
— The Adaptation Sets are associated.
— The sum of the value of the @presentationTimeOffset and the presentation duration of all
  Representations in one Adaptation Set are identical to the value of the @presentationTimeOffset of
  the associated Adaptation Set in the next Period.
— If Representations in both Adaptation Sets have the same value for @id, then they shall have
  functionally equivalent Initialization Segments, i.e. the Initialization Segment may be used to
  continue the play-out of the Representation. The concatenation of the Initialization Segment of the
  first Period, if present, and all consecutive Media Segments in the Representation in the first Period
  and subsequently the concatenation with all consecutive Media Segments in the Representation
  of the second Period shall represent a conforming Segment sequence as defined in subclause 4.5.4
  conforming to the media type as specified in the @mimeType attribute for the Representation in the
  first Period. Additionally, the @mimeType attribute for the Representation in the next Period shall be
  the same as one of the first Period.
Media Presentations should signal period-continuous Adaptation Sets by using a supplemental descriptor
on Adaptation Set level with @schemeIdUri set to "urn:mpeg:dash:period-continuity:2015" with
— the @value of the descriptor matching the value of an @id of a Period that is contained in the MPD, and
— the value of the AdaptationSet@id being the same in both Periods.
MPD should signal period-continuous Adaptation Sets if the MPD contains Periods with identical Asset
Identifiers.
There exist special cases for which the media in one Adaptation Set is a continuation of the previous
one, but the timestamps are not continuous. Examples are timestamp wrap around, encoder reset,
splicing, or other aspects. Two Adaptation Sets in one MPD are period-connected if all conditions
from period-continuity from above hold, except that the timestamps across Period boundaries may
be non-continuous but adjusted by the value of the @presentationTimeOffset at the Period boundary.
However, for example the Initialization Segment is equivalent within the two Adaptation Sets. Media
Presentations should signal period-connected Adaptation Sets by using a supplemental descriptor on
Adaptation Set level with @schemeIdUri set to "urn:mpeg:dash:period-connectivity:2015".
Period continuity implies period connectivity.
For appropriate client behaviour, please refer to A.9.

5.3.3     Adaptation Sets

5.3.3.1     Overview

Each Period consists of one or more Adaptation Sets. An Adaptation Set is described by an AdaptationSet
element. AdaptationSet elements are contained in a Period element.

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An Adaptation Set contains alternate Representations, i.e. only one Representation within an Adaptation
Set is expected to be presented at a time. All Representations contained in one Adaptation Set represent
the same media content components and therefore contain media streams that are considered to be
perceptually equivalent. The Adaptation Set and the contained Representations shall be prepared
and contain sufficient information such that seamless switching (as defined in subclause 4.5.1) across
different Representations in one Adaptation Set is enabled. If an Adaptation Set is expected to be
consumed by DASH Clients with restrictions in terms of switching, then the Media Presentation author
should provide sufficient means to enable seamless switching under these restrictions.
Representations are arranged into Adaptation Sets according to the media content component
properties of the media content components present in the Representations, namely:
— the language as described by the @lang attribute,
— the media component type described by the @contentType attribute,
— the picture aspect ratio as described by the @par attribute,
— the role property as described by the Role elements,
— the accessibility property as described by the Accessibility elements,
— the viewpoint property as described by the Viewpoint elements,
— the rating property as described by the Rating elements.
Representations shall appear in the same Adaptation Set if and only if they have identical values for all
of these media content component properties for each media content component.
The values for the elements Role, Accessibility, Viewpoint and Rating are generally not provided
within the scope of this document. However, a number of simple schemes are defined in subclause 5.8.5.
If there exist multiple media content components then the properties of each media content component
shall be described by a separate ContentComponent element as defined in subclause 5.3.4. The
ContentComponent element shares common elements and attributes with the AdaptationSet element.
Default values, or values applicable to all media content components, may be provided directly in
the AdaptationSet element. Attributes present in the AdaptationSet shall not be repeated in the
ContentComponent element.

The AdaptationSet element may contain default values for elements and attributes associated to the
contained Representations. The list of possible present elements and attributes that are common to
AdaptationSet and Representation (and also SubRepresentation) are collected in subclause 5.3.7.
Any of the common attributes shall only be present either in the AdaptationSet element or in the
Representation element, but not in both.

The AdaptationSet element also supports the description of ranges for the @bandwidth, @width, @height
and @frameRate attributes associated to the contained Representations, which provide a summary of
all values for all the Representations within this Adaptation Set. The Representations contained within
an Adaptation Set shall not contain values outside the ranges documented for that Adaptation Set.
Adaptation Sets may be further arranged into groups using the @group attribute. The semantics of this
grouping is that the media content within one Period is represented by:
1) either one Representation from group 0, if present,
2) or the combination of at most one Representation from each non-zero group.
If the AdaptationSet@group attribute is not present then all Representations in this Adaptation Set are
assigned to a non-zero group specific to this Adaptation Set.
The semantics of the attributes and elements within an AdaptationSet element are provided in Table 5.
The XML syntax of the AdaptationSet element is provided in subclause 5.3.3.3.


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5.3.3.2     Semantics

                                Table 5 — Semantics of AdaptationSet element
      Element or Attribute Name                 Use                                 Description
       AdaptationSet                                          Adaptation Set description.
           @xlink:href                           O            specifies a reference to a remote element enti-
                                                              ty that shall contain exactly one element of type
                                                              AdaptationSet.
           @xlink:actuate                        OD           specifies the processing instructions, which can be
                                                              either "onLoad" or "onRequest".
                                              default:
                                           'onRequest'
           @id                                   O            specifies a unique identifier for this Adaptation Set
                                                              in the scope of the Period. The attribute shall be a
                                                              unique unsigned integer value in the scope of the
                                                              containing Period.
                                                              The attribute shall not be present in a remote ele-
                                                              ment entity.
                                                              If not present, no identifier for the Adaptation Set is
                                                              specified.
           @group                                O            specifies an identifier for the group that is unique in
                                                              the scope of the containing Period. The value is an
                                                              unsigned integer.
                                                              For details, refer to subclause 5.3.3.1.
           CommonAttributesElements              —            specifies the common attributes and elements (attrib-
                                                              utes and elements from base type RepresentationBa-
                                                              seType). For details, see subclause 5.3.7.
           @lang                                 O            Declares the language code for this Adaptation Set.
                                                              The syntax and semantics according to IETF RFC 5646
                                                              shall be used.
                                                              If not present, the language code may be defined for
                                                              each media component or it may be unknown.
                                                              If the language is unknown, the 'und' code for unde-
                                                              termined primary language or the 'zxx' (Non-Lin-
                                                              guistic, Not Applicable) code can be used.
           @contentType                          O            specifies the media content component type for this
                                                              Adaptation Set. A value of the top-level Content-type
                                                              'type' value as defined in IETF RFC 6838:2013, Clause
                                                              4 shall be taken.
                                                              If not present, the media content component type may
                                                              be defined for each media component or it may be
                                                              unknown.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
referring to those taken from the Base type that has been extended by this type.




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                                               Table 5 (continued)
      Element or Attribute Name                 Use                                 Description
         @par                                    O            specifies the picture aspect ratio of the video media
                                                              component type, in the form of a string consisting of
                                                              two integers separated by ':', e.g. "16:9". When this
                                                              attribute is present, and the attributes @width and @
                                                              height for the set of Representations are also present,
                                                              the picture aspect ratio as specified by this attribute
                                                              shall be the same as indicated by the values of @width,
                                                              @height, and @sar, i.e. it shall express the same ratio
                                                              as (@width * sarx): (@height * sary), with sarx the
                                                              first number in @sar and sary the second number.
                                                              If not present, the picture aspect ratio may be defined
                                                              for each media component or it may be unknown.
         @minBandwidth                           O            specifies the minimum @bandwidth value in all Rep-
                                                              resentations in this Adaptation Set. This value has the
                                                              same units as the @bandwidth attribute.
                                                              If not present, the value is unknown.
         @maxBandwidth                           O            specifies the maximum @bandwidth value in all Rep-
                                                              resentations in this Adaptation Set. This value has the
                                                              same units as the @bandwidth attribute.
                                                              If not present, the value is unknown.
         @minWidth                               O            specifies the minimum @width value in all Representa-
                                                              tions in this Adaptation Set. This value has the same
                                                              units as the @width attribute.
                                                              If not present, the value is unknown.
         @maxWidth                               O            specifies the maximum @width value in all Representa-
                                                              tions in this Adaptation Set. This value has the same
                                                              units as the @width attribute.
                                                              If not present, the value is unknown.
         @minHeight                              O            specifies the minimum @height value in all Rep-
                                                              resentations in this Adaptation Set. This value has the
                                                              same units as the @height attribute.
                                                              If not present, the value is unknown.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
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                                               Table 5 (continued)
      Element or Attribute Name                 Use                                Description
          @maxHeight                             O            specifies the maximum @height value in all Rep-
                                                              resentations in this Adaptation Set. This value has the
                                                              same units as the @height attribute.
                                                              If not present, the value is unknown.
          @minFrameRate                          O            specifies the minimum @framerate value in all Rep-
                                                              resentations in this Adaptation Set. This value is en-
                                                              coded in the same format as the @frameRate attribute.
                                                              If not present, the value is unknown.
          @maxFrameRate                          O            specifies the maximum @framerate value in all Rep-
                                                              resentations in this Adaptation Set. This value is en-
                                                              coded in the same format as the @frameRate attribute.
                                                              If not present, the value is unknown.
          @segmentAlignment                      OD           When not set to 'false', this specifies that for any two
                                                              Representations, X and Y, within the same Adaptation
                                              default:
                                               false
                                                              Set, the m-th Segment of X and the n-th Segment of Y
                                                              are non-overlapping (as defined in subclause 4.5.3)
                                                              whenever m is not equal to n.
                                                              For Adaptation Sets containing Representations with
                                                              multiple media content components, this attribute
                                                              value shall be either 'true' or 'false'.
                                                              For Adaptation Sets containing Representations
                                                              with a single media content component, when two
                                                              AdaptationSet elements within a Period share the
                                                              same integer value for this attribute, then for any two
                                                              Representations, X and Y, within the union of the two
                                                              Adaptation Sets, the m-th Segment of X and the n-th
                                                              Segment of Y are non-overlapping (as defined in sub-
                                                              clause 4.5.3) whenever m is not equal to n.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
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                                               Table 5 (continued)
      Element or Attribute Name                 Use                                       Description
         @bitstreamSwitching                     O            When this flag is set to 'true', the following applies:
                                                              —   All Representations in the Adaptation Set shall
                                                                  have the same number M of Media Segments;

                                                              —   Let R1, R 2, ..., RN be all the Representations within
                                                                  the Adaptation Set.

                                                              —   Let

                                                                  —     Si,j, for j > 0, be the jth Media Segment in the ith
                                                                        Representation (i.e. Ri)

                                                                  —     if present, let Si,0 be the Initialization Segment
                                                                        in the ith Representation, and

                                                                  —     if present, let Bi be the Bitstream Switching
                                                                        Segment in the ith Representation.

                                                              —   The sequence of

                                                                  —     any Initialization Segment, if present, in the
                                                                        Adaptation Set, with,

                                                                  —     if Bitstream Switching Segments are present,

                                                                               Bi(1), Si(1),1, Bi(2), Si(2),2, ..., Bi(k),
                                                                               Si(k),k, ..., Bi(M), Si(M),M

                                                                  —     else

                                                                               Si(1),1, Si(2),2, ..., Si(k),k, ..., Si(M),M,

                                                                        wherein any i(k) for all k values in the range
                                                                        of 1 to M, respectively, is an integer value in
                                                                        the range of 1 to N,

                                                                  results in a "conforming Segment sequence" as
                                                                  defined in subclause 4.5.4 with the media format
                                                                  as specified in the @mimeType attribute.
                                                              More detailed rules may be defined for specific media
                                                              formats.
                                                              For more details, refer to subclause 5.3.3.4.
                                                              NOTE   When this attribute is set to true, the DASH
                                                              Client can continue decoding without re-initialization.
                                                              When this attribute is set to FALSE, then seamless
                                                              switching across Representations can be achieved
                                                              without re-initialization of the decoder. Content au-
                                                              thors are encouraged to set this attribute to true only if
                                                              the media content components across Representations
                                                              do not need the media decoder to be re-initialized.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
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                                                Table 5 (continued)
      Element or Attribute Name                  Use                                 Description
          @subsegmentAlignment             OD                  If the @subsegmentAlignment for an Adaptation Set is
                                                               set to other than 'false', all following conditions shall
                                           default:
                                           false
                                                               be satisfied:
                                                               —   Each Media Segment shall be indexed (i.e. either
                                                                   it contains a Segment index or there is an Index
                                                                   Segment providing an index for the Media
                                                                   Segment).

                                                               —   For any two Representations, X and Y, within the
                                                                   same Adaptation Set, the m-th Subsegment of X
                                                                   and the n-th Subsegment of Y are non-overlapping
                                                                   (as defined in subclause 4.5.3) whenever m is not
                                                                   equal to n.

                                                               —   For Adaptation Sets containing Representations
                                                                   with a single media content component, when
                                                                   two AdaptationSet elements within a Period
                                                                   share the same integer value for this attribute,
                                                                   then for any two Representations, X and Y, within
                                                                   the union of the two Adaptation Sets, the m-th
                                                                   Subsegment of X and the n-th Subsegment of Y are
                                                                   non-overlapping (as defined in subclause 4.5.3)
                                                                   whenever m is not equal to n.
          @subsegmentStartsWithSAP                OD           when greater than 0, specifies that each Subseg-
                                                               ment with SAP_type greater than 0 starts with
                                                default:
                                                   0
                                                               a SAP of type less than or equal to the value of @
                                                               subsegmentStartsWithSAP. A Subsegment starts with
                                                               SAP when the Subsegment contains a SAP, and for the
                                                               first SAP, ISAU is the index of the first access unit that
                                                               follows ISAP, and ISAP is contained in the Subsegment.
                                                               The semantics of @subsegmentStartsWithSAP equal
                                                               to 0 are unspecified.
          Accessibility                          0…N           specifies information about accessibility scheme
                                                               For more details, refer to subclauses 5.8.1 and 5.8.4.3.
          Role                                   0…N           specifies information on role annotation scheme
                                                               For more details, refer to subclauses 5.8.1 and 5.8.4.2.
          Rating                                 0…N           specifies information on rating scheme.
                                                               For more details, refer to subclauses 5.8.1 and 5.8.4.4.
          Viewpoint                              0…N           specifies information on viewpoint annotation scheme.
                                                               For more details, refer to subclauses 5.8.1 and 5.8.4.5.
          ContentComponent                       0…N           specifies the properties of one media content compo-
                                                               nent contained in this Adaptation Set.
                                                               For more details, refer to subclause 5.3.4.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
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                                               Table 5 (continued)
      Element or Attribute Name                 Use                                 Description
         BaseURL                                0…N           specifies a base URL that can be used for reference res-
                                                              olution and alternative URL selection. For more details,
                                                              refer to the description in subclause 5.6.
         SegmentBase                            0...1         specifies default Segment Base information.
                                                              Information in this element is overridden by informa-
                                                              tion in the Representation.SegmentBase, if present.
                                                              For more details, see subclause 5.3.9.
         SegmentList                            0...1         specifies default Segment List information.
                                                              Information in this element is overridden by informa-
                                                              tion in the Representation.SegmentList, if present.
                                                              For more details, see subclause 5.3.9.
         SegmentTemplate                        0...1         specifies default Segment Template information.
                                                              Information in this element is overridden by informa-
                                                              tion in the Representation.SegmentTemplate, if
                                                              present.
                                                              For more details, see subclause 5.3.9.
         Representation                        0…N            specifies a Representation.
                                                              At least one Representation element shall be present in
                                                              each Adaptation Set. The actual element may however
                                                              be part of a remote element entity if xlink is used on
                                                              the containing AdaptationSet element.
                                                              For more details, refer to subclause 5.3.5.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
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5.3.3.3     XML syntax

<!-- Adaptation Set -->
<xs:complexType name="AdaptationSetType">
      <xs:complexContent>
           <xs:extension base="RepresentationBaseType">
                 <xs:sequence>
                <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Role" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Rating" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
                      <xs:element name="ContentComponent" type="ContentComponentType"
minOccurs="0" maxOccurs="unbounded"/>
                <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
maxOccurs="unbounded"/>
                      <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                      <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                      <xs:element name="SegmentTemplate" type="SegmentTemplateType"
minOccurs="0"/>
                <xs:element name="Representation" type="RepresentationType" minOccurs="0"
maxOccurs="unbounded"/>
                 </xs:sequence>
                 <xs:attribute ref="xlink:href"/>
                 <xs:attribute ref="xlink:actuate" default="onRequest"/>
                 <xs:attribute name="id" type="xs:unsignedInt"/>
                 <xs:attribute name="group" type="xs:unsignedInt"/>
                 <xs:attribute name="lang" type="xs:language"/>
                 <xs:attribute name="contentType" type="IETFRFC6838ContentTypeType"/>
                 <xs:attribute name="par" type="RatioType"/>
                 <xs:attribute name="minBandwidth" type="xs:unsignedInt"/>
                 <xs:attribute name="maxBandwidth" type="xs:unsignedInt"/>
                 <xs:attribute name="minWidth" type="xs:unsignedInt"/>
                 <xs:attribute name="maxWidth" type="xs:unsignedInt"/>
                 <xs:attribute name="minHeight" type="xs:unsignedInt"/>
                 <xs:attribute name="maxHeight" type="xs:unsignedInt"/>
                 <xs:attribute name="minFrameRate" type="FrameRateType"/>
                 <xs:attribute name="maxFrameRate" type="FrameRateType"/>
                 <xs:attribute name="segmentAlignment" type="xs:boolean" default="false"/>
                 <xs:attribute name="subsegmentAlignment" type="xs:boolean" default="false"/>




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               <xs:attribute name="subsegmentStartsWithSAP" type="SAPType" default="0"/>
               <xs:attribute name="bitstreamSwitching" type="xs:boolean"/>
           </xs:extension>
      </xs:complexContent>
</xs:complexType>


<!-- Ratio Type for sar and par -->
<xs:simpleType name="RatioType">
      <xs:restriction base="xs:string">
           <xs:pattern value="[0-9]*:[0-9]*"/>
      </xs:restriction>
</xs:simpleType>


<!-- Type for Frame Rate -->
<xs:simpleType name="FrameRateType">
      <xs:restriction base="xs:string">
           <xs:pattern value="[0-9]*[0-9](/[0-9]*[0-9])?"/>
      </xs:restriction>
</xs:simpleType>


<!-- Type for IETF RFC6838 Content Type -->
<xs:simpleType name="IETFRFC6838ContentTypeType">
  <xs:restriction base="xs:string">
      <xs:enumeration value="text" />
      <xs:enumeration value="image" />
      <xs:enumeration value="audio" />
      <xs:enumeration value="video" />
      <xs:enumeration value="application" />
      <xs:enumeration value="font" />
  </xs:restriction>
</simpleType>


5.3.3.4    Switching within Adaptation Sets

Switching refers to the presentation of decoded data from one Representation up to a certain time t,
and presentation of decoded data of another Representation from time t onwards; for details, refer to
subclause 4.3.
The Switching element as defined in Table 6 provides instructions of switch points within an Adaptation
Set and the permitted switching options as defined in Table 7. When this element is present, it signals
opportunities for simple switching across Representations in one Adaptation Set. This element may be
used instead of the attributes @segmentAlignment or @bitstreamSwitching.
Table 7 defines different switching strategies that provide instructions to the client on the procedures
to switch appropriately within an Adaptation Set.




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                                        Table 6 — Switch point signalling
      Element or Attribute Name                  Use                               Description
       Switching                                            Switching logic description for the associated Rep-
                                                            resentation
           @interval                               M        specifies the interval between two switching points in
                                                            the scale of the @timescale on Representation level.
                                                            Any Segment for which the earliest presentation time
                                                            minus the @t value of the S element describing the
                                                            segment is an integer multiple of the product of
                                                            @timescale and @interval is a switch-to opportunity,
                                                            i.e. it enables to switch to this Representation with the
                                                            switching strategy as defined by the @type value.
                                                            The value should be chosen such that the resulting time
                                                            matches MPD start time of segments, otherwise no
                                                            switching will be described.
           @type                                  OD        specifies the switching strategy for the switch points
                                                            identified in by the @interval attribute. Switching
                                               default:
                                                            strategies are defined in Table 7.
                                               'media'

                                         Table 7 — Switching strategies
        Type                                                    Description
media                  Media level switching: in this case, switching is possible at the switch point by decoding
                       and presenting switch-from Representation up to switch point t, initializing the switch-
                       to Representation with the associated Initialization Segment and continue decoding and
                       presenting the switch-to Representation from time t onwards.
bitstream              Bitstream switching: in this case, switching is possible at the switch point by decoding and
                       presenting switch-from Representation up to switch point t, and continue decoding and
                       presenting the switch-to Representation from time t onwards. More specifically, the con-
                       catenation of two Representations at the switch point results in a "conforming Segment se-
                       quence" as defined in 4.5.4 with the media format as specified in the @mimeType attribute.
                       Initialization of the switch-to Representation is not necessary and is not recommended.
                       In order to enable this feature, it is recommended to use the same Initialization Segment
                       for all Representations in the Adaptation Set, i.e. the highest profile/level is signaled in the
                       Initialization Segment.

The XML schema snippet is as follows:

<!-- Switching        -->
<xs:complexType name="SwitchingType">
      <xs:attribute name="interval" type="xs:unsignedInt" use="required"/>
      <xs:attribute name="type" type="SwitchingTypeType"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>
<!--Switching Type type enumeration -->
<xs:simpleType name="SwitchingTypeType">
      <xs:restriction base="xs:string">
           <xs:enumeration value="media"/>
           <xs:enumeration value="bitstream"/>
      </xs:restriction>
</xs:simpleType>




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5.3.3.5    Switching across Adaptation Sets

Representations in two or more Adaptation Sets may provide the same content. In addition, the
content may be time-aligned and may be offered such that seamless switching across Representations
in different Adaptation Sets is simplified. Typical examples are the offering of the same content with
different codecs, for example H.264/AVC and H.265/HEVC and the content author wants to provide
such information to the receiver in order to seamlessly switch Representations (as defined in subclause
4.5.1) across different Adaptation Sets.
A content author may signal such seamless switching property across Adaptation Sets by
providing a Supplemental Descriptor along with an Adaptation Set with @schemeIdURI set to
urn:mpeg:dash:adaptation-set-switching:2016        and the @value is a comma-separated list of
Adaptation Set IDs that may be seamlessly switched to from this Adaptation Set.
If the content author signals the ability of Adaptation Set switching and as @segmentAlignment or @
subsegmentAlignment are set to TRUE, the (Sub)Segment alignment element shall be valid for all
Representations in all Adaptation Sets for which the @id value is included in the @value attribute of the
Supplemental descriptor.
If the content author signals the ability of Adaptation Set switching and Switching element is provided,
the signaled switch points apply for all Representations in all Adaptation Sets for which the @id value is
included in the @value attribute of the Supplemental descriptor.
As an example, a content author may signal that seamless switching across an H.264/AVC Adaptation
Set with AdaptationSet@id="4" and an HEVC Adaptation Set with AdaptationSet@id="5" is possible
by adding a Supplemental Descriptor to the H.264/AVC Adaptation Set with @schemeIdURI set to
urn:mpeg:dash:adaptation-set-switching:2016 and the @value="5" and by adding a Supplemental
Descriptor to the HEVC Adaptation Set with @schemeIdURI set to urn:mpeg:dash:adaptation-set-
switching:2016 and the @value="4".

In addition, if the content author signals the ability of Adaptation Set switching for any Adaptation
Sets then the parameters as defined for an Adaption Set shall also hold for all Adaptation Sets that are
included in the @value attribute. This constraint may result that the switching may only be signaled
with one Adaptation Set, but not with both as for example one Adaptation Set signaling may include all
spatial resolutions of another one, whereas it is not the case the other way around.

5.3.4     Media content component

5.3.4.1    Overview

Each Adaptation Set contains one or more media content components. The properties of each media
content component are described by a ContentComponent element or may be described directly on
the AdaptationSet element if only one media content component is present in the Adaptation Set.
ContentComponent elements are contained in an AdaptationSet element.

The semantics of the attributes and elements within a ContentComponent element are provided in
Table 8. The XML syntax of the ContentComponent element is provided in subclause 5.3.4.3.




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5.3.4.2     Semantics

                              Table 8 — Semantics of ContentComponent element
        Element or Attribute Name                 Use                              Description
      ContentComponent                                        Description of a content component.
          @id                                      O          specifies an identifier for this media component. The
                                                              attribute shall be unique in the scope of the contain-
                                                              ing Adaptation Set.
                                                              The value of this attribute should be the media
                                                              component identifier in the media segment (i.e. the
                                                              Track Id in ISOBMFF segments and PID in MPEG-2
                                                              TS segments) described by this ContentComponent
                                                              element.
                                                              Multiplexing of media components may also be
                                                              provided on elementary stream level, for example for
                                                              next generation audio codecs, different audio compo-
                                                              nents may be mixed. In this case, the id may also point
                                                              to specific components in a single elementary stream.
          @lang                                    O          Same semantics as in Table 5 for @lang attribute.
          @contentType                             O          Same semantics as in Table 5 for @contentType
                                                              attribute.
          @par                                     O          Same semantics as in Table 5 for @par attribute.
          @tag                                     O          specifies the tag of the Content Component which
                                                              may be used for selection purposes towards the
                                                              decoder.
          Accessibility                          0…N          Same semantics as in Table 5 for Accessibility
                                                              element.
          Role                                   0…N          Same semantics as in Table 5 for Role element.
          Rating                                 0…N          Same semantics as in Table 5 for Rating element.
          Viewpoint                              0…N          Same semantics as in Table 5 for Viewpoint element.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory, F=fixed
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
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5.3.4.3    XML syntax

<!-- Content Component -->
<xs:complexType name="ContentComponentType">
      <xs:sequence>
        <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
           <xs:element name="Role" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Rating" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="id" type="xs:unsignedInt"/>
      <xs:attribute name="lang" type="xs:language"/>
      <xs:attribute name="contentType" type="xs:string"/>
      <xs:attribute name="par" type="RatioType"/>
      <xs:attribute name="tag" type="TagType"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.3.5     Representation

5.3.5.1    Overview

Representations are described by the Representation element. Representation elements are contained
in an AdaptationSet element.
A Representation is one of the alternative choices of the complete set or subset of media content
components comprising the media content during the defined Period.
A Representation starts at the start of the Period PeriodStart and continues to the end of the Period, i.e.
the start of the next Period or the end of the Media Presentation.
Each Representation includes one or more media streams, where each media stream is an encoded
version of one media content component.
A Representation consists of one or more Segments.
Each Representation either shall contain an Initialization Segment or each Media Segment in the
Representation shall be self-initializing, i.e. the Media Segment itself conforms to the media type as
specified in the @mimeType attribute for this Representation.
When a Representation is not a dependent Representation, i.e. the @dependencyId attribute is absent,
then concatenation of the Initialization Segment, if present, and all consecutive Media Segments
in one Representation shall represent a conforming Segment sequence as defined in subclause 4.5.4
conforming to the media type as specified in the @mimeType attribute for this Representation.
Dependent Representations are described by a Representation element that contains a
@dependencyId attribute. Dependent Representations are regular Representations except that they
depend on a set of complementary Representations for decoding and/or presentation. The
@dependencyId contains the values of the @id attribute of all the complementary Representations, i.e.


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Representations that are necessary to present and/or decode the media content components contained
in this dependent Representation.
For any dependent Representation X that depends on complementary Representation Y, the m-th
Subsegment of X and the n-th Subsegment of Y shall be non-overlapping (as defined in subclause 4.5.3)
whenever m is not equal to n. For dependent Representations, the concatenation of the Initialization
Segment with the sequence of Subsegments of the dependent Representations, each being preceded by
the corresponding Subsegment of each of the complementary Representations in order as provided in
the @dependencyId attribute, shall represent a conforming Subsegment sequence as defined in subclause
4.5.4 conforming to the media format as specified in the @mimeType attribute for this dependent
Representation.
NOTE 1      When decoding of a dependent Representation is started from a SAP in the (Sub)Segment with number
i, the decoding process does not need to access data from the complementary Representation(s) from any earlier
(sub)segments than (sub)Segment with number i of the complementary Representation(s).

NOTE 2      In case a dependent Representation X depends on at least two complementary Representations
Yi, that are also dependent Representations depending, directly or indirectly, on the same complementary
Representation Z, then the concatenation as defined above results in a sequence conforming to the media
format if the Segments of Representation Z are concatenated only the first time encountered following the order
in the @dependencyId attributes starting from X. If following recursively the dependencies indicated in the
@dependencyId of Representations, certain Representations can be encountered more than once. In this case,
the corresponding Segments or Subsegments are expected to only be concatenated once, namely when first
encountered.

Associated Representations are described by a Representation element that contains an
@associationId attribute and optionally an @associationType attribute. Associated Representations
are Representations that provide information on their relationships with other Representations. As
opposed to complementary Representations, the segments of an associated Representation may be
optional for decoding and/or presentation of the Representations identified by @associationId. They
can be considered as supplementary or descriptive information, the type of the association being
specified by the @associationType attribute.
NOTE 3      @associationId and @associationType attributes can only be used between Representations that
are not in the same Adaptation Sets.

If a Representation is offered in a Media Presentation with MPD@type='dynamic', it is recommended that
means to compensate such drift be included. For more details, refer to A.8.
The semantics of the attributes and elements within a Representation are provided in Table 9. The XML
syntax of the Representation type is provided in subclause 5.3.5.3.

5.3.5.2     Semantics

                                Table 9 — Semantics of Representation element
       Element or Attribute Name                Use                             Description
      Representation                                     This element contains a description of a Representation.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
referring to those taken from the Base type that has been extended by this type.




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                                               Table 9 (continued)
      Element or Attribute Name                 Use                             Description
        @id                                      M       specifies an identifier for this Representation. The
                                                         identifier shall be unique within a Period unless the
                                                         Representation is functionally identical to another Rep-
                                                         resentation in the same Period.
                                                         The identifier shall not contain whitespace characters.
                                                         If used in the template-based URL construction as de-
                                                         fined in subclause 5.3.9.4.4, the string shall only contain
                                                         characters that are permitted within an HTTP-URL
                                                         according to IETF RFC 3986.
        @bandwidth                               M       Consider a hypothetical constant bitrate channel of
                                                         bandwidth with the value of this attribute in bits per
                                                         second (bps). Then, if the Representation is continuous-
                                                         ly delivered at this bitrate, starting at any SAP that is
                                                         indicated either by @startWithSAP or by any Segment
                                                         Index box, a client can be assured of having enough
                                                         data for continuous playout providing playout begins
                                                         after @minBufferTime * @bandwidth bits have been
                                                         received (i.e. at time @minBufferTime after the first bit
                                                         is received).
                                                         For dependent Representations, this value specifies the
                                                         bandwidth according to the above definition for the ag-
                                                         gregation of this Representation and all complementary
                                                         Representations.
                                                         For details, see subclause 5.3.5.4.
        @qualityRanking                          O       specifies a quality ranking of the Representation rela-
                                                         tive to other Representations in the same Adaptation
                                                         Set. Lower values represent higher quality content. If
                                                         not present then no ranking is defined.
        @dependencyId                            O       specifies all complementary Representations the
                                                         Representation depends on in the decoding and/or
                                                         presentation process as a whitespace-separated list of
                                                         values of @id attributes.
                                                         If not present, the Representation can be decoded and
                                                         presented independently of any other Representation.
                                                         This attribute shall not be present where there are no
                                                         dependencies.
        @associationId                           O       specifies all Representations the Representation is
                                                         associated with in the decoding and/or presentation
                                                         process as a whitespace-separated list of values of
                                                         Representation@id attributes.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
referring to those taken from the Base type that has been extended by this type.




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                                               Table 9 (continued)
       Element or Attribute Name                Use                             Description
         @associationType                        O       specifies, as a whitespace-separated list of values,
                                                         the kind of association for each Representation the
                                                         Representation has been associated with through the @
                                                         associationId attribute. Values taken by this attribute
                                                         are 4 character codes for track reference types regis-
                                                         tered in MP4 registration authority.
                                                         This attribute shall not be present when
                                                         @associationId is not present.
                                                         When present, this attribute shall have as many values
                                                         as the number of identifiers declared in the
                                                         @associationId attribute.
         @mediaStreamStructureId                 O       The attribute may be present for Representations con-
                                                         taining video and its semantics are unspecified for any
                                                         other type of Representations.
                                                         If present, the attribute @mediaStreamStructureId
                                                         specifies a whitespace-separated list of media stream
                                                         structure identifier values. If media streams share
                                                         the same media stream structure identifier value, the
                                                         media streams shall have the following characteristics:
                                                         —    The media streams have the same number of
                                                              stream access points of type 1 to 3.

                                                         —    The values of TSAP, TDEC , TEPT, and TPTF of the
                                                              i-th SAP of type 1 to 3 in one media stream are
                                                              identical to the values of TSAP, TDEC , TEPT, and TPTF,
                                                              respectively, of the i-th SAP of type 1 to 3 in the
                                                              other media streams for any value of i from 1 to the
                                                              number of SAPs of type 1 to 3 in any of the media
                                                              streams.

                                                         —    A media stream formed by concatenating the
                                                              media stream of a first Representation until ISAU
                                                              (exclusive) of the i-th SAP of type 1 to 3 and the
                                                              media stream of a second Representation (having
                                                              the same media stream structure identifier value
                                                              as for the first Representation) starting from
                                                              the ISAU (inclusive) of the i-th SAP of type 1 to 3
                                                              conforms to the specification in which the media
                                                              stream format is specified for any value of i from 1
                                                              to the number of SAPs of type 1 to 3 in either media
                                                              stream. Furthermore, the decoded pictures have an
                                                              acceptable quality regardless of type of the stream
                                                              access point access unit used.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
referring to those taken from the Base type that has been extended by this type.




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                                               Table 9 (continued)
      Element or Attribute Name                 Use                             Description
                                                         All media stream structure identifier values for one
                                                         Adaptation Set shall differ from those of another Adap-
                                                         tation Set.
                                                         If not present, then for this Representation no similari-
                                                         ties to other Representations are known.
                                                         Indicating multiple media stream structure identifier
                                                         values for a Representation can be useful in cases where
                                                         switching between Representations A and B as well as
                                                         between Representations B and C is allowed at non-IDR
                                                         intra pictures, but switching between Representations
                                                         A and C would cause too severe a degradation in the
                                                         quality of the leading pictures and is hence not allowed.
                                                         To indicate these permissions and restrictions, Rep-
                                                         resentation A would contain
                                                         @mediaStreamStructureId equal to “1”, Representa-
                                                         tion B would contain @mediaStreamStructureId equal
                                                         to “1 2”, and Representation C would contain
                                                         @mediaStreamStructureId equal to “2”
        CommonAttributesElements                 —       Common Attributes and Elements (attributes and ele-
                                                         ments from base type RepresentationBaseType). For
                                                         more details, see subclause 5.3.7.
        BaseURL                                0…N       specifies a Base URL that can be used for reference res-
                                                         olution and alternative URL selection. For more details,
                                                         refer to the description in subclause 5.6.
        SubRepresentation                      0…N       specifies information about a Sub-Representation that
                                                         is embedded in the containing Representation.
                                                         For more details, see subclause 5.3.6.
        SegmentBase                             0...1    specifies default Segment Base information.
                                                         For more details, see subclause 5.3.9.
        SegmentList                            0 ... 1   specifies the Segment List information.
                                                         For more details, see subclause 5.3.9.
        SegmentTemplate                        0 ... 1   specifies the Segment Template information.
                                                         For more details, see subclause.3.9.
Key
For attributes: M=mandatory, O=optional, OD=optional with default value, CM=conditionally mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @; list of elements and attributes is in italics bold
referring to those taken from the Base type that has been extended by this type.




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5.3.5.3     XML syntax

<!-- Representation -->
<xs:complexType name="RepresentationType">
      <xs:complexContent>
           <xs:extension base="RepresentationBaseType">
                 <xs:sequence>
                <xs:element name="BaseURL" type="BaseURLType" minOccurs="0"
maxOccurs="unbounded"/>
                <xs:element name="SubRepresentation" type="SubRepresentationType"
minOccurs="0" maxOccurs="unbounded"/>
                      <xs:element name="SegmentBase" type="SegmentBaseType" minOccurs="0"/>
                      <xs:element name="SegmentList" type="SegmentListType" minOccurs="0"/>
                      <xs:element name="SegmentTemplate" type="SegmentTemplateType"
minOccurs="0"/>
                 </xs:sequence>
                 <xs:attribute name="id" type="StringNoWhitespaceType" use="required"/>
                 <xs:attribute name="bandwidth" type="xs:unsignedInt" use="required"/>
                 <xs:attribute name="qualityRanking" type="xs:unsignedInt"/>
                 <xs:attribute name="dependencyId" type="StringVectorType"/>
                 <xs:attribute name="associationId" type="StringVectorType"/>
                 <xs:attribute name="associationType" type="ListOf4CCType"/>
                 <xs:attribute name="mediaStreamStructureId" type="StringVectorType"/>
           </xs:extension>
      </xs:complexContent>
</xs:complexType>


<!-- String without white spaces -->
<xs:simpleType name="StringNoWhitespaceType">
      <xs:restriction base="xs:string">
           <xs:pattern value="[^\r\n\t \p{Z}]*"/>
      </xs:restriction>
</xs:simpleType>


5.3.5.4     Relation of Bandwidth and Minimum Buffer Time attributes

The MPD contains a pair of values for a bandwidth and buffering description, namely the Minimum
Buffer Time (MBT) expressed by the value of MPD@minBufferTime and bandwidth (BW) expressed by the
value of Representation@bandwidth. The following holds:
— The value of the minimum buffer time does not provide any instructions to the client on how long
  to buffer the media. The value however describes how much buffer a client should have under
  ideal network conditions. As such, MBT is not describing the burstiness or jitter in the network,
  it is describing the burstiness or jitter in the content encoding. Together with the BW value, it is a
  property of the content. Using the "leaky bucket" model, it is the size of the bucket that makes BW
  true, given the way the content is encoded.
— The minimum buffer time provides information that for each representation, the following shall be
  true: if the Representation (starting at any segment) is delivered over a constant bitrate channel
  with bitrate equal to value of the BW attribute then each access unit with presentation time PT is
  available at the client latest at time with a delay of at most PT + MBT.

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— In the absence of any other guidance, the MBT should be set to the maximum GOP size (coded video
  sequence) of the content, which quite often is identical to the maximum segment duration for the
  live profile or the maximum subsegment duration for the On-Demand profile. The MBT may be set
  to a smaller value than maximum (sub)segment duration but should not be set to a higher value.

5.3.5.5    Random Access to Representations

Random Access refers to start processing, decoding and presenting the Representation from the random
access point at time t onwards by initializing the Representation with the Initialization Segment, if
present and decoding and presenting the Representation from the signaled Segment onwards. Random
Access point may be signaled with the RandomAccess element as defined in Table 10.
Table 11 provides different random access point types.

                              Table 10 — Random Access Signalling
      Element or Attribute Name           Use                            Description
      RandomAccess                                 Random Access Information
          @interval                        M       specifies the position of the random access points in
                                                   the Representations. The information is specified in
                                                   the scale of the @timescale on Representation level.
                                                   Any Segment for which the MPD start time minus the
                                                   @t value of the S element describing the segment is an
                                                   integer multiple of the product of @timescale and
                                                   @interval is a random access opportunity, i.e. it ena-
                                                   bles randomly access to this Representation with the
                                                   random access strategy as defined by the @type value.
                                                   The value should be chosen such that the resulting time
                                                   matches MPD start time of segments, otherwise no
                                                   random access will be described.
          @type                           OD       specifies the random access strategy for the random
                                                   access points in by the @interval attribute.
                                        default:
                                       "closed"    The value shall use a type present in Table 11.
                                                   If the value of the type is unknown, the DASH Client
                                                   is expected to ignore the containing Random Access
                                                   element.
          @minBufferTime                   O       specifies a common duration used in the definition of
                                                   the Representation data rate (see @bandwidth attrib-
                                                   ute in subclauses 5.3.5.2 and 5.3.5.4).
                                                   If not present, then the value of the MPD level is in-
                                                   herited.




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                                                Table 10 (continued)
       Element or Attribute Name                 Use                             Description
           @bandwidth                             O        Consider a hypothetical constant bitrate channel of
                                                           bandwidth with the value of this attribute in bits per
                                                           second (bps). Then, if the Representation is continu-
                                                           ously delivered at this bitrate, starting at any RAP indi-
                                                           cated in this element a client can be assured of having
                                                           enough data for continuous playout providing playout
                                                           begins after @minBufferTime * @bandwidth bits have
                                                           been received (i.e. at time @minBufferTime after the
                                                           first bit is received).
                                                           For dependent Representations, this value specifies the
                                                           bandwidth according to the above definition for the
                                                           aggregation of this Representation and all complemen-
                                                           tary Representations.
                                                           For details, see subclause 5.3.5.4.
                                                           If not present, the value of the Representation is in-
                                                           herited.

                                        Table 11 — Random Access Strategies
       Type                                            Informative description
closed               Closed GOP random access. This implies that the segment is a Random Access Segment as
                     well as the segment starts with a SAP type of 1 or 2. SAP type 1 or 2 is a necessary condi-
                     tion, but not sufficient. In addition, all requirements of a Random Access Segment need to be
                     fulfilled.
open                 Open GOP random access. This implies that the segment is a Random Access Segment as
                     well as the segment starts with a SAP type of 1, 2 or 3. SAP type 1, 2 or 3 is a necessary
                     condition, but not sufficient. In addition, all requirements of a Random Access Segment need
                     to be fulfilled.
gradual              Gradual decoder refresh random access. This implies that the segment is a Random Access
                     Segment as well as the segment starts with a SAP type of 1, 2, 3 or 4. SAP type 1, 2, 3 or 4 is
                     a necessary condition, but not sufficient. In addition, all requirements of a Random Access
                     Segment need to be fulfilled.

The XML schema snippet is as follows:

<!-- Random Access          -->
<xs:complexType name="RandomAccessType">
      <xs:attribute name="interval" type="xs:unsignedInt" use="required"/>
      <xs:attribute name="type" type="RandomAccessTypeType" default="closed"/>
      <xs:attribute name="minBufferTime" type="xs:duration"/>
      <xs:attribute name="bandwidth" type="xs:unsignedInt"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>
<!-- Random Access Type type enumeration -->
<xs:simpleType name="RandomAccessTypeType">
      <xs:restriction base="xs:string">
           <xs:enumeration value="closed"/>
           <xs:enumeration value="open"/>
           <xs:enumeration value="gradual"/>
      </xs:restriction>
</xs:simpleType>


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5.3.6     Sub-Representation

5.3.6.1    Overview

Sub-Representations are embedded in regular Representations and are described by the
SubRepresentation element. SubRepresentation elements are contained in a Representation element.

The SubRepresentation element describes properties of one or several media content components that
are embedded in the Representation. It may for example describe the exact properties of an embedded
audio component (e.g. codec, sampling rate, etc.), an embedded sub-title (e.g. codec) or it may describe
some embedded lower quality video layer (e.g. some lower frame rate, etc.).
Sub-Representations and Representation share some common attributes and elements.
In case the @level attribute is present in the SubRepresentation element,
— Sub-Representations provide the ability for accessing a lower quality version of the Representation
  in which they are contained. In this case, Sub-Representations for example allow extracting the
  audio track in a multiplexed Representation or may allow for efficient fast-forward or rewind
  operations if provided with lower frame rate;
— the Initialization Segment and/or the Media Segments and/or the Index Segments shall provide
  sufficient information such that the data can be easily accessed through HTTP partial GET requests.
  The details on providing such information shall be defined by the media format in use. For media
  formats defined in this document, the Subsegment Index as defined in subclause 6.3.2.4 shall be used.
If the @level attribute is absent, then the SubRepresentation element is solely used to provide a more
detailed description for media streams that are embedded in the Representation.
The semantics of the attributes and elements within a Sub-Representation are provided in Table 12 of
subclause 5.3.6.2. The XML syntax of the Sub-Representation type is provided in subclause 5.3.6.3.

5.3.6.2    Semantics

                            Table 12 — Semantics of SubRepresentation element
        Element or Attribute Name                 Use                               Description
        SubRepresentation                                   specifies a Sub-Representation.
          @level                                   O        specifies the Sub-Representation level. If @level
                                                            attribute is present and for media formats used in this
                                                            document, a Subsegment Index as defined in subclause
                                                            6.3.2.4 shall be available for each Media Segment in the
                                                            containing Representation.
                                                            If not present, then the SubRepresentation element is
                                                            solely used to provide a more detailed description for
                                                            media streams that are embedded in the Representation.
          @dependencyLevel                         O        specifies the set of Sub-Representations within this
                                                            Representation that this Sub-Representation depends
                                                            on in the decoding and/or presentation process as a
                                                            whitespace-separated list of @level values.
                                                            If not present, the Sub-Representation can be decoded
                                                            and presented independently of any other Rep-
                                                            resentation.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold preceded with an @, List of elements and attributes is in italics bold referring
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                                                Table 12 (continued)
        Element or Attribute Name                 Use                               Description
          @bandwidth                              CM        Identical to the @bandwidth definition in Representa-
                                                shall be    tion, but applied to this Sub-Representation. This attrib-
                                               present if   ute shall be present if the @level attribute is present.
                                               @level is
                                                present
          @contentComponent                        O        if present, specifies the set of all media content
                                                            components that are contained in this Sub-Rep-
                                                            resentation as a whitespace-separated list of values of
                                                            ContentComponent@id values.
                                                            if not present, the Sub-Representation is not assigned to
                                                            a media content component.
          CommonAttributesElements                  -       Common Attributes and Elements (attributes and ele-
                                                            ments from base type RepresentationBaseType). For
                                                            details, see subclause 5.3.7.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold preceded with an @, List of elements and attributes is in italics bold referring
to those taken from the Base type that has been extended by this type.


5.3.6.3     XML syntax

<!-- SubRepresentation -->
<xs:complexType name="SubRepresentationType">
      <xs:complexContent>
           <xs:extension base="RepresentationBaseType">
                 <xs:attribute name="level" type="xs:unsignedInt"/>
                 <xs:attribute name="dependencyLevel" type="UIntVectorType"/>
                 <xs:attribute name="bandwidth" type="xs:unsignedInt"/>
                 <xs:attribute name="contentComponent" type="StringVectorType"/>
           </xs:extension>
      </xs:complexContent>
</xs:complexType>


5.3.7     Common attributes and elements

5.3.7.1     Overview

The elements AdaptationSet, Representation and SubRepresentation have assigned common attributes
and elements. The attributes and elements listed in Table 13 of subclause 5.3.7.2 may be present in all
three elements.
The semantics of the common attributes and elements are provided in Table 13 in subclause 5.3.7.2, the
syntax is provided in subclause 5.3.7.3.
The 'Use' column in Table 13 shall be interpreted that an attribute marked with 'M' shall be available
for a Representation, i.e. it shall either be present in the Representation element, or if not, it shall be in
the containing AdaptationSet element. An attribute marked with 'O' may be absent in both.




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5.3.7.2    Semantics

  Table 13 — Common Adaptation Set, Representation and Sub-Representation attributes and
                                        elements
      Element or Attribute Name                   Use                               Description
                                               (see sub-
                                                clause
                                                5.3.7.1)
      Common attributes and elements
          @profiles                                O           specifies the profiles which the associated Rep-
                                                               resentation(s) conform to of the list of Media Pres-
                                                               entation profiles as described in Clause 8. The value
                                                               shall be a subset of the respective value in any higher
                                                               level of the document hierarchy (Representation,
                                                               Adaptation Set, MPD).
                                                               If not present, the value is inferred to be the same as
                                                               in the next higher level of the document hierarchy.
                                                               For example, if the value is not present for a Rep-
                                                               resentation, then @profiles at the Adaptation Set
                                                               level is valid for the Representation.
                                                               The same syntax as defined in subclause 5.3.1.2 shall
                                                               be used.
          @width                                   O           specifies the horizontal visual presentation size of
                                                               the video media type on a grid determined by the
                                                               @sar attribute.
                                                               In the absence of @sar width and height are specified
                                                               as if the value of @sar were "1:1"
                                                               NOTE   The visual presentation size of the video is equal
                                                               to the number of horizontal and vertical samples used
                                                               for presentation after encoded samples are cropped in
                                                               response to encoded cropping parameters, “overscan”
                                                               signaling, or “pan/scan” display parameters, e.g. SEI
                                                               messages.
                                                               If not present on any level, the value is unknown.
          @height                                  O           specifies the vertical visual presentation size of the
                                                               video media type, on a grid determined by the @sar
                                                               attribute.
                                                               If not present on any level, the value is unknown.
          @sar                                     O           specifies the sample aspect ratio of the video media
                                                               component type, in the form of a string consisting of
                                                               two integers separated by ':', e.g.,"10:11". The first
                                                               number specifies the horizontal size of the encoded
                                                               video pixels (samples) in arbitrary units. The second
                                                               number specifies the vertical size of the encoded
                                                               video pixels (samples) in the same units as the hori-
                                                               zontal size.
                                                               If not present on any level, the value is unknown.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>..<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 13 (continued)
       Element or Attribute Name                  Use                               Description
                                               (see sub-
                                                clause
                                                5.3.7.1)
          @frameRate                               O           specifies the output frame rate (or in the case of in-
                                                               terlaced, half the output field rate) of the video media
                                                               type in the Representation. If the frame or field rate
                                                               is varying, the value is the average frame or half the
                                                               average field rate field rate over the entire duration
                                                               of the Representation.
                                                               The value is coded as a string, either containing two
                                                               integers separated by a "/", ("F/D"), or a single integer
                                                               "F". The frame rate is the division F/D, or F, respec-
                                                               tively, per second (i.e. the default value of D is "1").
                                                               If not present on any level, the value is unknown.
          @audioSamplingRate                       O           Either a single decimal integer value specifying the
                                                               sampling rate or a whitespace-separated pair of
                                                               decimal integer values specifying the minimum and
                                                               maximum sampling rate of the audio media compo-
                                                               nent type. The values are in samples per second.
                                                               If not present on any level, the value is unknown.
          @mimeType                                M           specifies the MIME type of the concatenation of the
                                                               Initialization Segment, if present, and all consecutive
                                                               Media Segments in the Representation.
          @segmentProfiles                         O           specifies the profiles of Segments that are essential
                                                               to process the Representation. The detailed seman-
                                                               tics depend on the value of the @mimeType attribute.
                                                               The contents of this attribute shall conform to
                                                               either the pro-simple or pro-fancy productions
                                                               of IETF RFC 6381:2011, subclause 4.5, without the
                                                               enclosing DQUOTE characters, i.e. including only the
                                                               unencodedv or encodedv elements respectively. As
                                                               profile identifier, the brand identifier for the Segment
                                                               as defined in Clause 6 shall be used.
                                                               If not present on any level, the value may be deducted
                                                               from the value of the @profiles attribute.
          @codecs                                  O           specifies the codecs present within the Representa-
                                                               tion. The codec parameters shall also include the
                                                               profile and level information where applicable.
                                                               For segment formats defined in this document, this
                                                               element shall be present and the contents of this
                                                               attribute shall conform to either the simp-list or
                                                               fancy-list productions of IETF RFC 6381:2011,
                                                               subclause 3.2, without the enclosing DQUOTE char-
                                                               acters. The codec identifier for the Representation's
                                                               media format, mapped into the name space for
                                                               codecs as specified in IETF RFC 6381:2011, subclause
                                                               3.3, shall be used.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>..<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 13 (continued)
      Element or Attribute Name                   Use                                Description
                                               (see sub-
                                                clause
                                                5.3.7.1)
        @maximumSAPPeriod                          O           when present, specifies the maximum SAP interval
                                                               in seconds of all contained media streams, where the
                                                               SAP interval is the maximum time interval between
                                                               the TSAP of any two successive SAPs of types 1 to 3
                                                               inclusive of one media stream in the associated Rep-
                                                               resentations.
                                                               If not present on any level, the value is unknown.
        @startWithSAP                              O           when present and greater than 0, specifies that in
                                                               the associated Representations, each Media Segment
                                                               starts with a SAP of type less than or equal to the
                                                               value of this attribute value in each media stream.
                                                               A Media Segment starts with a SAP in a media stream
                                                               if the stream contains a SAP in that Media Segment,
                                                               ISAU is the index of the first access unit that follows
                                                               ISAP and ISAP is contained in the Media Segment.
                                                               If not present on any level, the value is unknown.
        @maxPlayoutRate                            O           specifies the maximum playout rate as a multiple of
                                                               the regular playout rate, which is supported with the
                                                               same decoder profile and level requirements as the
                                                               normal playout rate.
                                                               If not present on any level, the value is 1.
        @codingDependency                          O           When present and 'true', for all contained media
                                                               streams, specifies that there is at least one access
                                                               unit that depends on one or more other access units
                                                               for decoding. When present and 'false', for any
                                                               contained media stream, there is no access unit that
                                                               depends on any other access unit for decoding (e.g.
                                                               for video all the pictures are intra coded). If not spec-
                                                               ified on any level, there may or may not be coding
                                                               dependency between access units.
        @scanType                                  O           specifies the scan type of the source material of
                                                               the video media component type. The value may be
                                                               equal to one of "progressive", "interlaced" and "un-
                                                               known". If not specified on any level, the scan type is
                                                               "progressive".
        @selectionPriority                        OD           specifies the selection priority for the described data
                                                               structures, i.e. the one described by the containing
                                               default=1
                                                               element. In the absence of other information, higher
                                                               numbers are the preferred selection over lower
                                                               numbers.
        @tag                                       O           specifies the tag of the Representation, Adaptation
                                                               Set or Preselection which may be used for selection
                                                               purposes towards the decoder.
                                                               NOTE   This attribute is primarily introduced for the
                                                               usage of Pre-Selections and Adaptation Sets, but fu-
                                                               ture use for Representation and Sub-Representations
                                                               is not precluded.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>..<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


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                                              Table 13 (continued)
       Element or Attribute Name                  Use                               Description
                                               (see sub-
                                                clause
                                                5.3.7.1)
          FramePacking                           0…N           specifies frame-packing arrangement information of
                                                               the video media component type.
                                                               When no FramePacking element is provided for a
                                                               video component, frame-packing shall not used for
                                                               the video media component.
                                                               For details, see subclauses 5.8.1 and 5.8.4.6
          AudioChannelConfiguration              0…N           specifies the audio channel configuration of the
                                                               audio media component type.
                                                               For details, see subclauses 5.8.1 and 5.8.4.7.
          ContentProtection                      0…N           specifies information about content protection
                                                               schemes used for the associated Representations.
                                                               For details, see subclauses 5.8.1 and 5.8.4.1.
          EssentialProperty                      0…N           specifies information about the containing element
                                                               that is considered essential by the Media Presenta-
                                                               tion author for processing the containing element.
                                                               For details, see subclause 5.8.4.8.
          SupplementalProperty                   0…N           specifies supplemental information about the con-
                                                               taining element that may be used by the DASH Client
                                                               optimizing the processing.
                                                               For details, see subclause 5.8.4.9.
          InbandEventStream                      0…N           specifies the presence of an inband event stream in
                                                               the associated Representations.
                                                               For details, refer to subclause 5.10.
          Switching                              0…N           Specifies a switch-to times and types for the asso-
                                                               ciated Representations. For more details, refer to
                                                               subclause 5.3.3.4.
                                                               These elements shall only be present if the
                                                               @timescale value is the same for all Representations
                                                               in one Adaptation Set and if the Segment Timeline is
                                                               used for segment duration signaling.
          RandomAccess                           0…N           Specifies a random access times and types for the
                                                               associated Representations. For more details, refer
                                                               to subclause 5.3.5.5.
                                                               These elements shall only be present if the
                                                               @timescale value is the same for all Representations
                                                               in one Adaptation Set and if the Segment Timeline is
                                                               used for segment duration signaling.
          GroupLabel                             0…N           specifies a summary label for a group of Labels. For
                                                               more details, refer to subclause 5.3.10.
          Label                                  0…N           specifies a textual description of the element that
                                                               may be used for annotation and selection purposes.
                                                               For more details, refer to subclause 5.3.10.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>..<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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5.3.7.3    XML syntax

<!-- Representation base (common attributes and elements) -->
<xs:complexType name="RepresentationBaseType">
      <xs:sequence>
        <xs:element name="FramePacking" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="AudioChannelConfiguration" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="ContentProtection" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="EssentialProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="SupplementalProperty" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="InbandEventStream" type="EventStreamType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Switching" type="SwitchingType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="RandomAccess" type="RandomAccessType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="GroupLabel" type="LabelType" minOccurs="0"
maxOccurs="unbounded"/>
           <xs:element name="Label" type="LabelType" minOccurs="0" maxOccurs="unbounded"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="profiles" type="xs:string"/>
      <xs:attribute name="width" type="xs:unsignedInt"/>
      <xs:attribute name="height" type="xs:unsignedInt"/>
      <xs:attribute name="sar" type="RatioType"/>
      <xs:attribute name="frameRate" type="FrameRateType"/>
      <xs:attribute name="audioSamplingRate" type="AudioSamplingRateType"/>
      <xs:attribute name="mimeType" type="xs:string"/>
      <xs:attribute name="segmentProfiles" type="ListOf4CCType"/>
      <xs:attribute name="codecs" type="xs:string"/>
      <xs:attribute name="maximumSAPPeriod" type="xs:double"/>
      <xs:attribute name="startWithSAP" type="SAPType"/>
      <xs:attribute name="maxPlayoutRate" type="xs:double"/>
      <xs:attribute name="codingDependency" type="xs:boolean"/>
      <xs:attribute name="scanType" type="VideoScanType"/>
      <xs:attribute name="selectionPriority" type="xs:unsignedInt"/>
      <xs:attribute name="tag" type="TagType"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>




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                                          Table 13 (continued)
<!-- Audio Sampling Rate -->
<xs:simpleType name="AudioSamplingRateType">
   <xs:restriction base="xs:UIntVector">
      <xs:minLength value="1"/>
      <xs:maxLength value="2"/>
   </xs:restriction>
</simpleType>


<!-- Stream Access Point type enumeration -->
<xs:simpleType name="SAPType">
      <xs:restriction base="xs:unsignedInt">
           <xs:minInclusive value="0"/>
           <xs:maxInclusive value="6"/>
      </xs:restriction>
</xs:simpleType>


<!-- Video Scan type enumeration -->
<xs:simpleType name="VideoScanType">
      <xs:restriction base="xs:string">
           <xs:enumeration value="progressive"/>
           <xs:enumeration value="interlaced"/>
           <xs:enumeration value="unknown"/>
      </xs:restriction>
</xs:simpleType>


<!-- Tag -->
<xs:simpleType name="TagType">
      <xs:restriction base="xs:string"/>
</xs:simpleType>


5.3.8     Subsets

5.3.8.1     Overview

Subsets are described by the Subset element contained in the Period element.
Subsets provide a mechanism to restrict the combination of active Adaptation Sets where an
active Adaptation Set is one for which the DASH Client is presenting at least one of the contained
Representations.
A Subset defines a set of one or more Adaptation Sets. The presence of a Subset element within a Period
element expresses the intention of the creator of the Media Presentation that a client should act as
follows: at any time, the set of active Adaptation Sets shall be a subset of the Adaptation Sets of one of
the specified Subsets. Any Adaptation Set not explicitly contained in any Subset element is implicitly
contained in all specified Subsets.
This implies that
— empty Subsets are not allowed.

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— no Subset should contain all the Adaptation Sets.
Each Adaptation Set for which the value of the @id is provided in the @contains attribute is contained in
this Subset.
The semantics of the attributes and elements within a Subset are provided in Table 14 of subclause
5.3.8.2. The XML syntax of the Subset type is provided in subclause 5.3.8.3.

5.3.8.2       Semantics

                                   Table 14 — Subset element semantics
      Element or Attribute Name            Use                                 Description
   Subset                                             specifies a Subset
        @contains                           M         specifies the Adaptation Sets contained in a Subset by pro-
                                                      viding a white-space separated list of the @id values of the
                                                      contained Adaptation Sets.
        @id                                  O        specifies a unique identifier for the Subset.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>..<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.3.8.3       XML syntax

<!-- Subset       -->
<xs:complexType name="SubsetType">
       <xs:attribute name="contains" type="UIntVectorType" use="required"/>
       <xs:attribute name="id" type="xs:string"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.3.9     Segments and Segment information

5.3.9.1       General

This clause defines the MPD information for Segments. Segment formats are defined in Clause 6.
Specifically, a Segment shall either be
— referenced by an HTTP-URL included in the MPD, where an HTTP-URL is defined as an <absolute-
  URI> according to IETF RFC 3986:2005, subclause 4.3, with a fixed scheme of “http” or “https”,
  possibly restricted by a byte range if a range attribute is provided together with the URL. The byte
  range shall be expressed as a byte-range-spec as defined in IETF RFC 2616, subclause 14.35.1. It is
  restricted to a single expression identifying a contiguous range of bytes, or
— included in the MPD with a data URL as defined in IETF RFC 2397. Data URLs shall only be used if
  explicitly permitted by the profile. In addition, the guidelines and recommendations in IETF RFC 2397
  should be taken into account.
Each Segment referenced through an HTTP-URL in the MPD is associated with a Segment availability
interval, i.e. a time window in wall-clock time at which the Segment can be accessed via the HTTP-
URL. The Segment availability interval window is described by a Segment availability start time and a
Segment availability end time.



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Representations are assigned Segment Information through the presence of the elements BaseURL,
SegmentBase, SegmentTemplate and/or SegmentList. The Segment Information provides information on
the location, availability and properties of all Segments contained in one Representation. Specifically,
information on the presence and location of Initialization, Media, Index and Bitstream Switching
Segments is provided.
The elements SegmentBase, SegmentTemplate and SegmentList may be present in the Representation
element itself. In addition, to express default values, they may be present in the Period and AdaptationSet
element. At each level at most one of the three, SegmentBase, SegmentTemplate and SegmentList, shall be
present. Further, if SegmentTemplate or SegmentList is present on one level of the hierarchy, then the
other one shall not be present on any lower hierarchy level.
SegmentBase, SegmentTemplate and SegmentList shall inherit attributes and elements from the same
element on a higher level. If the same attribute or element is present on both levels, the one on the lower
level shall take precedence over the one on the higher level.
Several mechanisms are available to specify the Segment Information. Specifically, each Representation
shall have assigned exactly one of the following choices to determine the Segment Information, either by
direct presence in the Representation element or by inheritance from the higher levels:
— one SegmentList element — for syntax and semantics, refer to subclause 5.3.9.3,
— one SegmentTemplate element — for syntax and semantics, refer to subclause 5.3.9.4,
— one or more BaseURL elements, at most one SegmentBase element, and no SegmentTemplate or
  SegmentList element. The SegmentBase element is defined in subclause 5.3.9.2.

NOTE      These rules do not prohibit the usage of the BaseURL element together with SegmentList or
SegmentTemplate. If the BaseURL is present together with the either the SegmentList or the SegmentTemplate,
then processing according to subclause 5.6 applies. All three elements SegmentBase, SegmentTemplate and
SegmentList share common elements based on the SegmentBase element. Furthermore, SegmentTemplate and
SegmentList share common attributes and elements. The common information is defined in subclause 5.3.9.2.

The derivation and details of Initialization, Media, Index and Bitstream Switching Segment Information
based on the above information are provided in subclause 5.3.9.5.

5.3.9.2     Segment base information

5.3.9.2.1     Overview

The SegmentBase element is sufficient to describe the Segment Information if and only if a single Media
Segment is provided per Representation and the Media Segment URL is included in the BaseURL element.
In case multiple Media Segments are present, either a SegmentList or a SegmentTemplate shall be used
to describe the Segment Information. SegmentList or a SegmentTemplate share the multiple Segment
base information as provided in subclause 5.3.9.2.2, Table 16.
If the Representation contains more than one Media Segment, then either the attribute @duration or the
element SegmentTimeline shall be present. The attribute @duration and the element SegmentTimeline
shall not be present at the same time.
Segments described by the Segment base information are referenced by an HTTP-URL conforming to
the type URLType as defined in Table 17.
The semantics of the attributes and elements for the SegmentBase element and the Segment base
information are provided in subclause 5.3.9.2.2, Table 15 and the multiple Segment base information
in Table 16 in subclause 5.3.9.2.2. The XML syntax of the Segment Base Information is provided in
subclause 5.3.9.2.3.




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5.3.9.2.2   Semantics

        Table 15 — Semantics of SegmentBase element and Segment Base Information type
        Element or Attribute Name                      Use                              Description
        SegmentBase                                                  specifies Segment base element.
        Segment Base Information                                     This element also specifies the type for the Seg-
                                                                     ment base information that is the base type for
                                                                     other elements.
            @timescale                                  O            specifies the timescale in units per seconds to
                                                                     be used for the derivation of different real-time
                                                                     duration values in the Segment Information.
                                                                     If not present on any level, it shall be set to 1.
                                                                     NOTE   This can be any frequency but typical-
                                                                     ly is the media clock frequency of one of the
                                                                     media streams (or a positive integer multiple
                                                                     thereof).
            @presentationTimeOffset                     O            specifies the presentation time offset of the
                                                                     Representation relative to the start of the Peri-
                                                                     od, i.e. the presentation time value of the media
                                                                     stream that shall be presented at the start of
                                                                     this Period.
                                                                     The value of the presentation time offset in sec-
                                                                     onds is the division of the value of this attrib-
                                                                     ute and the value of the @timescale attribute.
                                                                     If not present on any level, the value of the
                                                                     presentation time offset is 0.
            @presentationDuration                       O            specifies the presentation duration of the Rep-
                                                                     resentation in the Period.
                                                                     The value of the presentation duration in
                                                                     seconds is the division of the value of this
                                                                     attribute and the value of the @timescale at-
                                                                     tribute. Specifically, the sum of the value of the
                                                                     @presentationTimeOffset, if present, or 0
                                                                     otherwise and the value of this attribute is the
                                                                     last presentation time to be presented for this
                                                                     Representation.
                                                                     If not present on any level, the value of this
                                                                     attribute is unknown and the Representation
                                                                     should be presented until the end of the Period,
                                                                     i.e. until the presentation is terminated or until
                                                                     the next Period starts.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 15 (continued)
         Element or Attribute Name                     Use                             Description
             @timeShiftBufferDepth                      O            specifies the duration of the time shifting buff-
                                                                     er for this Representation that is guaranteed to
                                                                     be available for a Media Presentation with type
                                                                     'dynamic'. When not present, the value is of the
                                                                     @timeShiftBufferDepth on MPD level ap-
                                                                     plies. If present, this value shall be not smaller
                                                                     than the value on MPD level. This value of the
                                                                     attribute is undefined if the type attribute is
                                                                     equal to 'static'.
                                                                     NOTE   When operating in a time-shift buffer
                                                                     on a Representation with value larger than the
                                                                     time-shift buffer signalled on MPD level, not all
                                                                     Representations are necessarily available for
                                                                     switching.
             @indexRange                                O            specifies the byte range that contains the
                                                                     Segment Index in all Media Segments of the
                                                                     Representation.
                                                                     The byte range shall be expressed and for-
                                                                     matted as a byte-range-spec as defined
                                                                     in IETF RFC 7233:2014, subclause 2.1.. It is
                                                                     restricted to a single expression identifying a
                                                                     contiguous range of bytes.
                                                                     If not present, the value is unknown.
             @indexRangeExact                           OD           when set to 'true' specifies that for all Seg-
                                                                     ments in the Representation, the data outside
                                                      default
                                                                     the prefix defined by @indexRange contains
                                                     "false"
                                                                     the data needed to access all access units of all
                                                                     media streams syntactically and semantically.
                                                                     This attribute shall not be present if
                                                                     @indexRange is absent.
             @availabilityTimeOffset                    O            specifies an offset to define the adjusted seg-
                                                                     ment availability time. The value is specified in
                                                                     seconds, possibly with arbitrary precision.
                                                                     The offset provides the time how much earlier
                                                                     these segments are available compared to their
                                                                     computed availability start time for all Seg-
                                                                     ments of all associated Representation.
                                                                     The segment availability start time defined by
                                                                     this value is referred to as adjusted segment
                                                                     availability start time. For details on comput-
                                                                     ing the adjusted segment availability start
                                                                     time, refer to subclause 5.3.9.5.
                                                                     If not present, no adjusted segment availability
                                                                     start time is defined.
                                                                     NOTE   The value of "INF" implies availability of
                                                                     all segments starts at
                                                                     MPD@availabilityStartTime.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 15 (continued)
        Element or Attribute Name                      Use                             Description
           @availabilityTimeComplete                    O            specifies if all Segments of all associated Rep-
                                                                     resentation are complete at the adjusted availa-
                                                                     bility start time. The attribute shall be ignored
                                                                     if @availabilityTimeOffset is not present
                                                                     on any level.
                                                                     If not present on any level, the value is inferred
                                                                     to true.
                                                                     NOTE   If the value is set to false, then it can
                                                                     be inferred by the client that the segment is
                                                                     available at its announced location prior being
                                                                     complete.
           Initialization                             0 ... 1        specifies the URL including a possible byte
                                                                     range for the Initialization Segment.
                                                                     For the type definition, refer to Table 17.
           RepresentationIndex                        0 ... 1        specifies the URL including a possible byte
                                                                     range for the Representation Index Segment.
                                                                     For the type definition, refer to Table 17.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


                   Table 16 — Semantics of MultipleSegmentBaseInformation type
        Element or Attribute Name                      Use                             Description
        MultipleSegmentBaseInformation                               specifies multiple Segment base information.
           @duration                                    O            If present, specifies the constant approximate
                                                                     Segment duration.
                                                                     All Segments within this Representation ele-
                                                                     ment have the same duration unless it is the
                                                                     last Segment within the Period, which can be
                                                                     significantly shorter.
                                                                     The value of the duration in seconds is the divi-
                                                                     sion of the value of this attribute and the value
                                                                     of the @timescale attribute associated to the
                                                                     containing Representation.
                                                                     For more details, refer to subclause 5.3.9.5.3.
           @startNumber                                 O            specifies the number of the first Media Segment
                                                                     in this Representation in the Period.
                                                                     For details, refer to subclause 5.3.9.5.3.
           Segment Base Information                                  specifies Segment base information.
           SegmentTimeline                             0...1         specifies the timeline of arbitrary Segment
                                                                     durations
                                                                     For more details, see subclause 5.3.9.6.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 16 (continued)
         Element or Attribute Name                     Use                             Description
             BitstreamSwitching                        0 ... 1       specifies the URL including a possible byte
                                                                     range for the Bitstream Switching Segment.
                                                                     For the type definition, refer to Table 17.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


                              Table 17 — Semantics of elements of type URLType
      Element or Attribute Name               Use                                 Description
   Element of type URLType                                defines an HTTP-URL
       @sourceURL                               O         specifies the source URL part and shall be format-
                                                          ted either as an <absolute-URI> according to
                                                          IETF RFC 3986:2005, subclause 4.3, with a fixed scheme
                                                          of “http” or “https” or as a <relative-ref> according
                                                          to IETF RFC 3986:2005, subclause 4.2.
                                                          If not present, then any BaseURL element is mapped to
                                                          the @sourceURL attribute and the range attribute shall
                                                          be present.
       @range                                   O         specifies the byte range restricting the above HTTP-URL.
                                                          The byte range shall be expressed and formatted as a
                                                          byte-range-spec as defined in IETF RFC 7233:2014,
                                                          subclause 2.1. It is restricted to a single expression iden-
                                                          tifying a contiguous range of bytes.
                                                          If not present, the element refers to the entire resource
                                                          referenced in the @sourceURL attribute.




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5.3.9.2.3    XML-Syntax

<!-- Segment information base -->
<xs:complexType name="SegmentBaseType">
      <xs:sequence>
            <xs:element name="Initialization" type="URLType" minOccurs="0"/>
            <xs:element name="RepresentationIndex" type="URLType" minOccurs="0"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="timescale" type="xs:unsignedInt"/>
      <xs:attribute name="presentationTimeOffset" type="xs:unsignedLong"/>
      <xs:attribute name="presentationDuration" type="xs:unsignedLong"/>
      <xs:attribute name="timeShiftBufferDepth" type="xs:duration"/>
      <xs:attribute name="indexRange" type="xs:string"/>
      <xs:attribute name="indexRangeExact" type="xs:boolean" default="false"/>
      <xs:attribute name="availabilityTimeOffset" type="xs:double"/>
      <xs:attribute name="availabilityTimeComplete" type="xs:boolean"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


<!-- Multiple Segment information base -->
<xs:complexType name="MultipleSegmentBaseType">
      <xs:complexContent>
            <xs:extension base="SegmentBaseType">
                <xs:sequence>
                    <xs:element name="SegmentTimeline" type="SegmentTimelineType"
minOccurs="0"/>
                    <xs:element name="BitstreamSwitching" type="URLType" minOccurs="0"/>
                </xs:sequence>
                <xs:attribute name="duration" type="xs:unsignedInt"/>
                <xs:attribute name="startNumber" type="xs:unsignedInt"/>
            </xs:extension>
      </xs:complexContent>
</xs:complexType>


<!-- Segment Info item URL/range -->
<xs:complexType name="URLType">
      <xs:sequence>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="sourceURL" type="xs:anyURI"/>
      <xs:attribute name="range" type="xs:string"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>



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5.3.9.3     Segment list

5.3.9.3.1     Overview

The Segment list is defined by a SegmentList element. Each SegmentList element itself contains a list of
SegmentURL elements for a consecutive list of Segment URLs. Each Segment URL may contain the Media
Segment URL and possibly a byte range. The Segment URL element may also contain an Index Segment.
The semantics of the attributes and elements for the Segment list are provided in subclause 5.3.9.3.2,
Table 18. The XML syntax of the Segment Information is provided in subclause 5.3.9.3.3.

5.3.9.3.2     Semantics

                                 Table 18 — Semantics of SegmentList element
          Element or Attribute Name                    Use                             Description
          SegmentList                                                specifies Segment information.
             @xlink:href                                O            specifies a reference to a remote element entity
                                                                     that contains one or multiple elements of type
                                                                     SegmentList.
             @xlink:actuate                            OD            specifies the processing set, can be either
                                                                     "onLoad" or "onRequest"
                                                    default:
                                                  "onRequest"
             MultipleSegmentBaseInforma-                             Multiple Segment base information as defined
             tion                                                    in subclause 5.3.9.2, Table 16.
             SegmentURL                               0…N            specifies a Media Segment URL and a possibly
                                                                     present Index Segment URL
                 @media                                 O            in combination with the @mediaRange attrib-
                                                                     ute, specifies the HTTP-URL for the Media
                                                                     Segment.
                                                                     It shall be formatted as an <absolute-URI>
                                                                     according to IETF RFC 3986:2005, sub-
                                                                     clause 4.3, with a fixed scheme of “http” or
                                                                     “https” or as a <relative-ref> according to
                                                                     IETF RFC 3986:2005, subclause 4.2.
                                                                     If not present, then any BaseURL element is
                                                                     mapped to the @media attribute and the range
                                                                     attribute shall be present.
                 @mediaRange                            O            specifies the byte range within the resource
                                                                     identified by the @media corresponding to the
                                                                     Media Segment.
                                                                     The byte range shall be expressed and for-
                                                                     matted as a byte-range-spec as defined
                                                                     in IETF RFC 7233:2014, subclause 2.1. It is
                                                                     restricted to a single expression identifying a
                                                                     contiguous range of bytes.
                                                                     If not present, the Media Segment is the entire
                                                                     resource referenced by the @media attribute.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using @xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.



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                                              Table 18 (continued)
        Element or Attribute Name                      Use                             Description
               @index                                   O            in combination with the @indexRange at-
                                                                     tribute, specifies the HTTP-URL for the Index
                                                                     Segment.
                                                                     It shall be formatted as an <absolute-URI>
                                                                     according to IETF RFC 3986:2005, sub-
                                                                     clause 4.3, with a fixed scheme of “http” or
                                                                     “https” or as a <relative-ref> according to
                                                                     IETF RFC 3986:2005, subclause 4.2.
                                                                     If not present and the @indexRange not pres-
                                                                     ent either, then no Index Segment information
                                                                     is provided for this Media Segment.
                                                                     If not present and the @indexRange present,
                                                                     then the @media attribute is mapped to the
                                                                     @index. If the @media attribute is not present
                                                                     either, then any BaseURL element is mapped
                                                                     to the @index attribute and the @indexRange
                                                                     attribute shall be present.
               @indexRange                              O            specifies the byte range within the resource
                                                                     identified by the @index corresponding to
                                                                     the Index Segment. If @index is not present, it
                                                                     specifies the byte range of the Segment Index
                                                                     in Media Segment.
                                                                     The byte range shall be expressed and for-
                                                                     matted as a byte-range-spec as defined
                                                                     in IETF RFC 7233:2014, subclause 2.1. It is
                                                                     restricted to a single expression identifying a
                                                                     contiguous range of bytes.
                                                                     If not present, the Index Segment is the entire
                                                                     resource referenced by the @index attribute.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using @xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.




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5.3.9.3.3     XML-Syntax

<!-- Segment List -->
<xs:complexType name="SegmentListType">
      <xs:complexContent>
            <xs:extension base="MultipleSegmentBaseType">
                 <xs:sequence>
                <xs:element name="SegmentURL" type="SegmentURLType" minOccurs="0"
maxOccurs="unbounded"/>
                 </xs:sequence>
                 <xs:attribute ref="xlink:href"/>
                 <xs:attribute ref="xlink:actuate" default="onRequest"/>
            </xs:extension>
      </xs:complexContent>
</xs:complexType>


<!-- Segment URL         -->
<xs:complexType name="SegmentURLType">
      <xs:sequence>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="media" type="xs:anyURI"/>
      <xs:attribute name="mediaRange" type="xs:string"/>
      <xs:attribute name="index" type="xs:anyURI"/>
      <xs:attribute name="indexRange" type="xs:string"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.3.9.4     Segment template

5.3.9.4.1     Overview

The Segment template is defined by the SegmentTemplate element. In this case, specific identifiers that
are substituted by dynamic values assigned to Segments, to create a list of Segments. The substitution
rules are provided in subclause 5.3.9.4.4.
The semantics of the attributes and elements for the Segment list are provided in subclause 5.3.9.4.2,
Table 19. The XML syntax of the Segment Information is provided in subclause 5.3.9.4.3.

5.3.9.4.2     Semantics

                               Table 19 — Semantics of SegmentTemplate element
            Element or Attribute Name                  Use                        Description
          SegmentTemplate                                      specifies Segment template information.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


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                                              Table 19 (continued)
            Element or Attribute Name                  Use                         Description
             MultipleSegmentBaseInformation                    Provides the Multiple Segment base information
                                                               as defined in subclause 5.3.9.2.
             @media                                      O     specifies the template to create the Media Seg-
                                                               ment List.
                                                               For more details, refer to subclause 5.3.9.4.4.
             @index                                      O     specifies the template to create the Index Segment
                                                               List. If neither the $Number$ nor the $Time$
                                                               identifier is included, this provides the URL to a
                                                               Representation Index.
                                                               For more details, refer to subclause 5.3.9.4.4.
             @initialization                             O     specifies the template to create the Initialization
                                                               Segment. Neither $Number$ nor the $Time$ iden-
                                                               tifier shall be included.
                                                               For more details, refer to subclause 5.3.9.4.4.
             @bitstreamSwitching                         O     specifies the template to create the Bitstream
                                                               Switching Segment. Neither $Number$ nor the
                                                               $Time$ identifier shall be included.
                                                               For more details, refer to subclause 5.3.9.4.4.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.3.9.4.3    XML syntax

<!-- Segment Template -->
<xs:complexType name="SegmentTemplateType">
      <xs:complexContent>
            <xs:extension base="MultipleSegmentBaseType">
                <xs:attribute name="media" type="xs:string"/>
                <xs:attribute name="index" type="xs:string"/>
                <xs:attribute name="initialization" type="xs:string"/>
                <xs:attribute name="bitstreamSwitching" type="xs:string"/>
            </xs:extension>
      </xs:complexContent>
</xs:complexType>


5.3.9.4.4    Template-based Segment URL construction

The SegmentTemplate@media attribute, the SegmentTemplate@index attribute, the SegmentTemplate@
initialization attribute and the SegmentTemplate@bitstreamSwitching attribute each contain a
string that may contain one or more of the identifiers as listed in Table 20.
In each URL, the identifiers from Table 20 shall be replaced by the substitution parameter defined
in Table 16. Identifier matching is case-sensitive. If the URL contains unescaped $ symbols which do
not enclose a valid identifier then the result of URL formation is undefined. In this case, it is expected
that the DASH Client ignores the entire containing Representation element and the processing of the
MPD continues as if this Representation element was not present. The format of the identifier is also
specified in Table 20.


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Each identifier may be suffixed, within the enclosing '$' characters, with an additional format tag
aligned with the printf format tag as defined in IEEE 1003.1-2008[10] following this prototype:
     %0[width]d

The width parameter is an unsigned integer that provides the minimum number of characters to be
printed. If the value to be printed is shorter than this number, the result shall be padded with zeros. The
value is not truncated even if the result is larger.
The Media Presentation shall be authored such that the application of the substitution process results
in valid Segment URLs.
Strings outside identifiers shall only contain characters that are permitted within URLs according to
IETF RFC 3986.

                                    Table 20 — Identifiers for URL templates
     $<Identifier>$                     Substitution parameter                                Format
$$                        Is an escape sequence, i.e. "$$" is replaced with a     not applicable
                          single "$"
$RepresentationID$        This identifier is substituted with the value of the    The format tag shall not be
                          attribute Representation@id of the containing           present.
                          Representation.
$Number$                  This identifier is substituted with the number of the   The format tag may be present.
                          corresponding Segment, if $SubNumber$ is not pres-
                                                                                  If no format tag is present, a
                          ent in the same string.
                                                                                  default format tag with width=1
                          If $SubNumber$ is present, this identifier is substi-   shall be used.
                          tuted with the number of the corresponding Segment
                          sequence. For details, refer to subclauses 5.3.9.6.4
                          and 5.3.9.6.5.
$Bandwidth$               This identifier is substituted with the value of        The format tag may be present.
                          Representation@bandwidth attribute value.
                                                                                  If no format tag is present, a
                                                                                  default format tag with width=1
                                                                                  shall be used.
$Time$                    This identifier is substituted with the value of the    The format tag may be present.
                          MPD start time of the Segment being accessed.
                                                                                  If no format tag is present, a
                          For the Segment Timeline, this means that this
                                                                                  default format tag with width=1
                          identifier is substituted with the value of the
                                                                                  shall be used.
                          SegmentTimeline@t attribute for the Segment
                          being accessed. Either $Number$ or $Time$ may be
                          used but not both at the same time.
$SubNumber$               This identifier is substituted with the number of the   The format tag may be present.
                          corresponding Segment in a Seqment Sequence. This
                                                                                  If no format tag is present, a
                          identifier shall only be present if either $Number$
                                                                                  default format tag with width=1
                          or $Time$ are present as well. For details, refer to
                                                                                  shall be used.
                          subclauses 5.3.9.6.4 and 5.3.9.6.5.

5.3.9.5     Segment information

5.3.9.5.1     Overview

The Segment Information provides the following information:
— the presence or absence of Initialization, Index and Bitstream Switching Segment information,
— the HTTP-URL and possibly a byte range for each accessible Segment in each Representation, or the
  Segment directly in the MPD as a data URL as defined in IETF RFC 2397,
— all valid Segment URLs declared by the containing MPD,

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— for services with MPD@type='dynamic', the Segment availability start time and Segment availability
  end time of each Segment,
— an approximate Media Presentation start time of each Media Segment in the Media Presentation
  timeline within the Period.
The derivation of Initialization, Media, Index and Bitstream Switching Segment Information from the
elements SegmentBase, SegmentList and SegmentTemplate is provided in subclauses 5.3.9.5.2, 5.3.9.5.3,
5.3.9.5.4 and 5.3.9.5.5. Reference resolution as defined in subclause 5.6.4 and base URL selection as
defined in subclause 5.6.5 using BaseURL elements as defined in subclause 5.6 shall be applied to any URLs.

5.3.9.5.2    Initialization Segment information

Each Representation has assigned at most one Initialization Segment.
The presence of an Initialization Segment is indicated by the presence of SegmentBase.Initialization,
SegmentList.Initialization, the SegmentTemplate.Initialization element or the SegmentTemplate@
initialization attribute that may contain URL and byte range information or URL construction rules
for the Initialization Segment.
If neither Initialization element nor SegmentTemplate@initialization attribute are present for a
Representation then each Media Segment within the Representation shall be self-initializing.
For services with MPD@type='dynamic', the Segment availability start time of the Initialization Segment
is the sum of the value of the MPD@availabilityStartTime and the PeriodStart time as defined in
subclause 5.3.2.1 of the containing Period and the Segment availability end time of the Initialization
Segment is the largest Segment availability end time of any Media Segment in this Representation. For
Segment availability of Media Segments, refer to subclause 5.3.9.5.3.
The data structures retrieved from the Initialization URL are defined in subclause 6.2.2.

5.3.9.5.3    Media Segment information

If a Representation consists of more than one Media Segment, then this Representation has assigned
a list of consecutive Media Segments. The list may be specified explicitly by one or more SegmentList
elements or implicitly by a SegmentTemplate element.
Each entry in this Media Segment list has assigned the following parameters:
— a valid Media Segment URL and possibly a byte range,
— the number and position of the Media Segment in the Representation,
— the MPD start time of the Media Segment in the Representation providing an approximate
  presentation start time of the Segment in the Period,
— the MPD duration of the Media Segment providing an approximate presentation duration of the
  Segment.
The MPD start time and the MPD duration may be approximate and do not necessarily reflect the exact
Media Presentation time. For more details on the relation of MPD start times and Media Presentation
time, refer to subclause 7.2.1.
In order to obtain the list of Media Segment URLs, i.e. the URL for each Segment at a specific position k
in the list based on the Segment Information, the following shall apply:
— If SegmentTemplate element is present, the Template-based Segment URL construction in subclause
  5.3.9.4.4 shall be applied as follows.
      — If the Representation contains or inherits a SegmentTemplate element with $Number$ then the
        URL of the Media Segment at position k in the Representation is determined by replacing the


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          $Number$ identifier by (k−1) + (kstart−1) with kstart the value of the @startNumber attribute, if
          present, or 1 otherwise.
     — If the Representation contains or inherits a SegmentTemplate element with $Time$ then the URL
       of the media segment at position k is determined by replacing the $Time$ identifier by MPD
       start time of this segment, as described below.
— If one or more SegmentList elements are present then they contain a list of SegmentURL elements
  for a consecutive list of Media Segment URLs. The number of the first Segment in the list within
  this Period is determined by the value of the SegmentList@startNumber attribute, if present, or it
  is 1 in case this attribute is not present. The sequence of multiple SegmentList elements within a
  Representation shall result in Media Segment List with consecutive numbers.
— None of the above: in this case, only a single Media Segment shall be present with the URL provided
  by a BaseURL element and the SegmentBase element may be present.
For the derivation of the MPD start time and duration of each Media Segment in the list of Media
Segments, the position k of the Media Segment and the following information are used.
— If neither @duration attribute nor SegmentTimeline element is present, then the Representation
  shall contain exactly one Media Segment. The MPD start time is 0 and the MPD duration is obtained
  in the same way as for the last Media Segment in the Representation (see below for more details).
— If @duration attribute is present, then the MPD start time of the Media Segment is determined as
  (Number-NumberStart) times the value of the attribute @duration with NumberStart the value of the
  @startNumber attribute, and Number the segment number [e.g. (k−1) + NumberStart]. The MPD
  duration of the Media Segment is the value of the attribute @duration unless the Media Segment is
  the last one the Representation (see below for more details).
— If @duration attribute is not present and the SegmentTimeline element is present then rules in
  subclause 5.3.9.6 apply to determine the start time and duration of each Media Segment in the Media
  Segment list.
— To determine the duration of the only or the last Media Segment of any Representation in a
  Period, the MPD shall include sufficient information to determine the duration of the containing
  Period. For example, the MPD@mediaPresentationDuration, or Period@duration, or next
  Period@start may be present. The Media Presentation author should always provide a Segment as
  indicated by the duration of the Period, even if the Segment may not contain any media samples.
For services with MPD@type='dynamic', the Segment availability start time of a Media Segment is
the sum of
— the value of the MPD@availabilityStartTime,
— the PeriodStart time of the containing Period as defined in subclause 5.3.2.1,
— the MPD start time of the Media Segment, and
— the MPD duration of the Media Segment.
NOTE       By adding the MPD duration of the segment to the segment availability start time of the segment, the
segment availability start time of the first segment of each Period depends on the segment duration. This enables
to provide segments in Representations with shorter MPD duration earlier, for example to reduce latency for
certain Representations.

The Segment availability end time of a Media Segment is the sum of the Segment availability start time,
the MPD duration of the Media Segment and the value of the attribute @timeShiftBufferDepth for this
Representation.
If the @availabilityTimeOffset attribute is present for a Representation, then the adjusted segment
availability start time is determined by subtracting the value of @availabilityTimeOffset from the
Segment availability start time. This adjusted segment availability start time provides a time instant in

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wall-clock time at which a Segment becomes an available Segment. If the @availabilityTimeComplete
flag is set to false for such a Representation, then the entire Segment may not yet be available at the
adjusted segment availability start time.
The MPD shall include URL information for all Segments with an availability start time less than both
(i) the end of the Media Presentation and (ii) the sum of the latest time at which this version of the MPD
is available on the server and the value of the MPD@minimumUpdatePeriod.
The data structures retrieved from the URL referring to a Media Segment are defined in subclause 6.2.3.

5.3.9.5.4   Index Segment information

Each Segment typically has assigned Segment Index information that may be provided in an explicitly
declared Index Segment.
The presence of explicit Index Segment information is indicated
— by the presence of one RepresentationIndex element providing the Segment Index for the entire
  Representation, or
— by the presence of at least one of the two attributes @index and @indexRange in the SegmentList.
  SegmentURL element, or

— by the presence of SegmentTemplate@index attribute. If either $Number$ or $Time$ are present
  the Template-based Segment URL construction in subclause 5.3.9.4.4 shall be applied with number
  set to the number of the corresponding Media Segment. If not present, the SegmentTemplate@index
  attribute constitutes a reference to Representation Index.
The @indexRange attribute may also be used to provide the byte range for an index within a Media
Segment, where this is allowed by the Media Segment format. In this case the @index attribute shall not
be present and the range specified shall lie completely within any byte range specified for the Media
Segment.
The availability of Index Segments is identical to the availability to the Media Segments they
correspond to.
The data structures retrieved from the URL referring to an Index Segment are defined in subclause 6.2.4.

5.3.9.5.5   Bitstream Switching Segment information

Each Representation has assigned at most one Bitstream Switching Segment. The Bitstream Switching
Segment is only relevant in case the @bitstreamSwitching flag is set to 'true' and may enable the
creation of a conforming Segment sequence for Segments from different Representations.
The presence of a Bitstream Switching Segment is indicated by the presence of the BitstreamSwitching
element or the SegmentTemplate@bitstreamSwitching attribute that that may contain URL and byte
range information or construction rules for the URL.
If neither BitstreamSwitching element nor SegmentTemplate@bitstreamSwitching attribute are
present for a Representation and the @bitstreamSwitching flag is set to 'true', there are no Bitstream
Switching Segments.
The Segment availability time of the Bitstream Switching Segment is identical to the one specified for
the Initialization Segment in subclause 5.3.9.5.2.
The data structures retrieved from the URL referring to a Bitstream Switching Segment are defined in
subclause 6.2.5.




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5.3.9.6     Segment timeline

5.3.9.6.1     General

The SegmentTimeline element expresses the earliest presentation time and presentation duration
(in units based on the @timescale attribute) for each Segment in the Representation. The use is an
alternative to providing the @duration attribute and provides four additional features:
— the specification of arbitrary Segment durations,
— the specification of accurate Segment durations for one media stream where the duration expresses
  presentation duration of the Segment, and
— the signalling of discontinuities of the Media Presentation timeline for which no Segment data are
  present in a specific Representation.
— the ability to signal Segment sequences. For more details, refer to subclause 5.3.9.6.4. Segment
  sequences shall only be used if explicitly permitted by the profile in use.
For compactness, the syntax of this element includes run-length compression to express a sequence of
Segments having constant duration.
The SegmentTimeline element shall contain a list of S elements each of which describes a sequence
of contiguous segments of identical MPD duration. The S element contains a mandatory @d attribute
specifying the MPD duration, an optional @r repeat count attribute specifying the number of contiguous
Segments with identical MPD duration minus one and an optional @t time attribute. The value of the
@t attribute minus the value of the @presentationTimeOffset specifies the MPD start time of the first
Segment in the series.
The @r attribute has a default value of zero (i.e. a single Segment in the series) when not present. For
example, a repeat count of three means there are four contiguous Segments, each with the same MPD
duration. The value of the @r attribute of the S element may be set to a negative value indicating that
the duration indicated in @d is promised to repeat until the S@t of the next S element or if it is the last S
element in the SegmentTimeline element until the end of the Period or the next update of the MPD, i.e. it
is treated in the same way as the @duration attribute for a full period.
Any @d value shall not exceed the value of MPD@maxSegmentDuration.
The textual order of the S elements within the SegmentTimeline element shall match the numbering
(and thus time) order of the corresponding Media Segments.
When the SegmentTemplate is in use and the $Time$ identifier is present in the
SegmentTemplate@media then

— If a Segment Index ('sidx') box is present, then the values of the SegmentTimeline shall describe
  accurate timing of each Media Segment. Specifically, these values shall reflect the information
  provided in the Segment index ('sidx') box, i.e.
     — the value of @timescale shall be identical to the value of the timescale field in the first 'sidx' box,
     — the value of S@t shall be identical to the value of the earliest_presentation_time in the first
       'sidx' box of the Media Segment described in S,

     — the value of S@d shall be identical to sum of the values of all Subsegment_duration fields in the
       first 'sidx' box of the Media Segment described in S.
— If a Segment Index ('sidx') box is not present, then the derivation of the earliest presentation time
  shall be based on the media internal data. The details depend on the segment format in use and
  further restriction on the segment format may apply.
— The Segment URL for a Media Segment is obtained by replacing the $Time$ identifier by the earliest
  presentation time obtained from the SegmentTimeline.

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NOTE       As the earliest presentation time of the next Media Segment in the same Representation can be
derived from the actual Media Segment, e.g. by the use of the Segment Index, the Segment URL can be generated
without reading of the updated MPD that contains the update to the Segment Timeline.

The semantics of the attributes and elements for Segment Timeline are provided in subclause 5.3.9.6.2,
Table 21. The XML syntax of the Segment Timeline is provided in subclause 5.3.9.6.3.

5.3.9.6.2   Semantics

                            Table 21 — Semantics of SegmentTimeline element
      Element or Attribute Name                 Use                                 Description
        SegmentTimeline                                       specifies the Segment timeline information
            S                                   1 .. N        specifies Segment start time and duration for a con-
                                                              tiguous sequence of segments of identical durations,
                                                              referred to as series in the following.
                                                              NOTE   The S elements are ordered in sequence of
                                                              increasing values of the attribute @t.
                @t                                O           this value of this attribute minus the value of the
                                                              @presentationTimeOffset specifies the MPD start
                                                              time, in @timescale units, of the first Segment in the
                                                              series. The MPD start time is relative to the beginning
                                                              of the Period.
                                                              The value of this attribute shall be equal to or greater
                                                              than the sum of the previous S element earliest pres-
                                                              entation time and the sum of the contiguous Segment
                                                              durations.
                                                              If the value of the attribute is greater than what is
                                                              expressed by the previous S element, it expresses
                                                              discontinuities in the timeline.
                                                              If not present, then the value shall be assumed to be
                                                              zero for the first S element and for the subsequent
                                                              S elements, the value shall be assumed to be the
                                                              sum of the previous S element's earliest presenta-
                                                              tion time and contiguous duration [i.e. previous
                                                              S@t + @d * (@r + 1)].
                @n                                O           specifies the Segment number of the first Segment in
                                                              the series.
                                                              The value of this attribute shall be at least one greater
                                                              than the number of previous S elements plus the
                                                              @startNumber attribute value, if present. If the value
                                                              of @n is greater than one plus the previously calcu-
                                                              lated Segment number, it expresses that one or more
                                                              prior Segments in the timeline are unavailable.
                @d                                M           specifies the Segment duration or the duration of a
                                                              Segment sequence, in units of the value of the
                                                              @timescale.
                @k                               OD           specifies the number of Segments that are included in
                                                              a Segment Sequence. The attribute shall not be pres-
                                             default: 1
                                                              ent unless explicitly permitted by the profile.
                                                              For more details, refer to subclause 5.3.9.6.3.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.



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                                              Table 21 (continued)
      Element or Attribute Name                 Use                                Description
                @r                               OD           specifies the repeat count of the number of following
                                                              contiguous Segments or Segment Sequences with
                                             default: 0
                                                              the same duration expressed by the value of @d. This
                                                              value is zero-based (e.g. a value of three means four
                                                              Segments or Segment Sequences in the contiguous
                                                              series). A negative value of the @r attribute of the S
                                                              element indicates that the duration indicated in @d
                                                              attribute repeats until the start of the next S element,
                                                              the end of the Period or until the next MPD update.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.3.9.6.3     XML syntax

<!-- Segment Timeline -->
<xs:complexType name="SegmentTimelineType">
      <xs:sequence>
            <xs:element name="S" maxOccurs="unbounded">
                 <xs:complexType>
                      <xs:attribute name="t" type="xs:unsignedLong"/>
                      <xs:attribute name="n" type="xs:unsignedLong"/>
                      <xs:attribute name="d" type="xs:unsignedLong" use="required"/>
                      <xs:attribute name="r" type="xs:integer" default="0"/>
                      <xs:attribute name="k" type="xs:unsignedLong" default="1"/>
                      <xs:anyAttribute namespace="##other" processContents="lax"/>
                 </xs:complexType>
            </xs:element>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.3.9.6.4     Segment Sequences

Segment sequences in the Segment Timeline may be signaled with including a @k attribute in the S
element of the SegmentTimeline. The @k shall only be present if all of the following requirements are
fulfilled:
— the addressing scheme for the associated Representation is using Segment template with either
  $Number$ or hierarchical templating and sub-numbering as defined in subclause 5.3.9.6.5,

— the profile explicitly allows the usage of Segment sequences.
If @k is present and greater than 1, then it specifies that sequence described by @d is accurate in timing
but contains @k Segments.




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The MPD duration of the Segment is determined as the integer value of @d divided by the value of @k and
determines the MPD start time and therefore the Segment availability start time. MPD duration of the
Segments is not required to exactly match the media duration of the Segments.
The integer of the quotient of the value of @d and the value of @k of any S element shall not exceed the
quotient of @d and the value of @k minus 1 of any other S element in the Segment Timeline.
The concatenation of all Segments in a Segment sequence shall have an accurate segment duration
according of the value of @d.
Any Segment in a Segment sequence may carry inband events.

5.3.9.6.5   Hierarchical Templating and Sub-Numbering

If the Segment template contains a $SubNumber$ value and a Segment Timeline signaling with Segment
sequence is used, then
— if $Time$ is present, the $Time$ is replaced with the earliest presentation time of the Segment
  sequence for all Segments in the Segment Sequence,
— if $Number$ is present, the $Number$ is replaced with the number of the Segment sequence, i.e. with
  the number as if every Segment sequence in the Segment timeline is treated as single Segment,
— and in both cases the $SubNumber$ is replaced with the Segment number of the Segment Sequence,
  with 1 being the number of the first Segment in the sequence.
NOTE       The earliest presentation time of the next Segment Sequence in the same Representation can be
derived from the sum of the earliest presentation time of the current Segment Sequence and the duration of the
Segment resulting from the concatenation of all Media Segments in a Segment Sequence. In case of ISO BMFF, this
can be accomplished by summing the track runs of segments in the seqment sequence.

5.3.10 Label and Group Label

5.3.10.1 Overview

Labels provide the ability to annotate data structures in a DASH Media Presentation to provide a
description of the context of the element to which label is assigned. Such labels may for example be used
by a DASH Client or the associated application in order to provide a selection choice to the user. The
label may also be used for simple annotation in another context.
In addition, a GroupLabel element may be added on a higher level in order to provide a summary or title
of the labels collected in a group. An example may be that this is used in a menu in order to provide a
context of the menu of the labels.
All labels with the same @id shall be on the same level in the MPD. If a label is present on a lower level
with the same @id as present on a higher level, the element is expected to be ignored.
The label itself may have a language assigned that describes the language of the label. The label may be
used by the DASH Client in order to present the labels according to the user preferences.
The semantics of the label element and the group label element are provided in Table 22 and Table 23,
respectively, in subclause 5.3.10.2, the XML syntax is provided in subclause 5.3.10.3.

5.3.10.2 Semantics

                                 Table 22 — Semantics of Label element
      Element or Attribute Name               Use                              Description
Label                                                      The label and the actual text of the label that anno-
                                                           tates the element in the DASH Media Presentation


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                                             Table 22 (continued)
     Element or Attribute Name                 Use                                Description
   @id                                         OD            An identifier for the label. Labels with the same
                                            default: 0       value for this attribute belong to a label group.
   @lang                                        O            Specifies the language of the label. If not present,
                                                             the language of the label is unknown.

                                  Table 23 — Semantics of GroupLabel element
     Element or Attribute Name                 Use                                Description
GroupLabel                                                   The actual text of the group label that annotates the
                                                             element in the DASH Media Presentation
   @id                                         OD            An identifier for the group label. The id shall be
                                            default: 0       unique in the MPD for group labels. The id describes
                                                             the group label for Labels with the same value of the
                                                             ID as this the value of this attribute.
   @lang                                        O            Specifies the language of the label. If not present,
                                                             the language of the label is unknown.

5.3.10.3 XML Syntax

<!-- Label and Group Label -->
<xs:complexType name="LabelType">
      <xs:simpleContent>
           <xs:extension base="xs:string">
                 <xs:attribute name="id" type="xs:unsignedInt" default="0"/>
                 <xs:attribute name="lang" type="xs:language"/>
                 <xs:anyAttribute namespace="##other" processContents="lax"/>
           </xs:extension>
      </xs:simpleContent>
</xs:complexType>


5.3.11 Preselection

5.3.11.1 Overview

The concept of Preselection is primarily motivated for the purpose of Next Generation Audio (NGA)
codecs in order to signal suitable combinations of audio elements that are offered in different Adaptation
Sets. However, the Preselection concept is introduced in a generic manner such that it can be extended
and be used also for other media types and codecs.
Each Preselection is associated to a bundle. A bundle is a set of media components which may be
consumed jointly by a single decoder instance. Elements are addressable and separable components of
a bundle and may be selected or deselected dynamically by the application, either directly or indirectly
by the use of Preselections. Media components are mapped to Adaptation Sets by either a one-to-one
mapping or by the inclusion of multiple media components in a single Adaptation Sets. Furthermore,
Representations in one Adaptation Set may contain multiple media components that are multiplexed
on elementary stream level or on file container level. In the multiplexing case, each media component
is mapped to a Media Content component as defined in subclause 5.3.4. Each media component in the
bundle is therefore identified and referenced by the @id of a Media Content component, or, if only a
single media component is contained in the Adaptation Set, by the @id of an Adaptation Set.
Each bundle includes a main media component that contains the decoder specific information and
bootstraps the decoder. The Adaptation Set that contains the main media component is referred to as

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main Adaptation Set. The main media component shall always be included in any Preselection that is
associated to a bundle. In addition, each bundle may include one or multiple partial Adaptation Sets.
Partial Adaptation Sets may only be processed in combination with the main Adaptation Set.
A Preselection defines a subset of media component in a bundle that are expected to be consumed
jointly. A Preselection is identified by a unique tag towards the decoder. Multiple Preselection instances
can refer to the same set of streams in a bundle. Only media components of the same bundle can
contribute to the decoding and rendering of a Preselection.
In the case of next generation audio, a Preselection is a personalization option that is associated with one
or more audio components from one plus additional parameters like gain, spatial location to produce
a complete audio experience. A Preselection can be considered the NGA-equivalent of alternative audio
tracks containing complete mixes using traditional audio codecs.
A bundle, Preselection, main media component, main Adaptation Set and partial Adaptation Sets may
be defined by one of the two means:
— A preselection descriptor is defined in subclause 5.3.11.2. Such a descriptor enables simple setups
  and backward compatibility but may not be suitable for advanced use cases.
— A preselection element as defined in subclauses 5.3.11.3 and 5.3.11.4. The semantics of the
  Preselection element is provided in Table 24 in subclause 5.3.11.3, the XML syntax is provided in
  subclause 5.3.11.4.
The instantiation of the introduced concepts using both methods is provided in the following.
In both cases, if the Adaptation Set is not including the main Adaptation Set, then the Essential
descriptor shall be used together with the @schemeIdURI as defined in subclause 5.3.11.2.

5.3.11.2 Preselection Descriptor

A scheme is defined to be used with an Essential Descriptor as "urn:mpeg:dash:preselection:2016".
The value of the Descriptor provides two fields, separated by a comma:
— the tag of the Preselection;
— the id of the contained content components of this Preselection list as white space separated list in
  processing order. The first id defines the main media component.
If the Adaptation Set contains the main media component, then the Supplemental descriptor may be
used to describe contained Preselections in the Adaptation Set.
If the Adaptation Set does not contain the main media component then the Essential Descriptor shall
be used.
The bundle is inherently defined by all media components that are included in all Preselections that
include the same main media component. Preselections are defined by the metadata that is assigned
to each of the media components that are included in the Preselection. This signalling may be simple
for basic use cases but is expected to not provide a full coverage for all use cases. Therefore, the
Preselection element is introduced in subclause 5.3.11.3 to cover more advanced use cases.

5.3.11.3 Semantics of Preselection element

As an alternative to the Preselection descriptor, Preselections may also be defined through the
Preselection element as provided in Table 24. The selection of Preselections is based on the contained
attributes and elements in the Preselection element.




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                                Table 24 — Semantics of PreSelection element
        Element or Attribute Name                  Use                               Description
      Preselection
          @id                                      OD           specifies the id of the Preselection. This shall be
                                                                unique within one Period.
                                                default=1
          @preselectionComponents                   M           specifies the ids of the contained Adaptation Sets or
                                                                Content Components that belong to this Preselection
                                                                as white space separated list in processing order. The
                                                                first tag defines the main media component.
          @lang                                     O           same semantics as in Table 5 for @lang attribute.
           Accessibility                          0…N           specifies information about accessibility scheme.
                                                                For more details, refer to subclauses 5.8.1 and 5.8.4.3.
           Role                                   0…N           specifies information on role annotation scheme.
                                                                For more details, refer to subclauses 5.8.1 and 5.8.4.2.
           Rating                                 0…N           specifies information on rating scheme.
                                                                For more details, refer to subclauses 5.8.1 and 5.8.4.4.
           Viewpoint                              0…N           specifies information on viewpoint annotation scheme.
                                                                For more details, refer to subclauses 5.8.1 and 5.8.4.5.
           CommonAttributesElements                  -          specifies the common attributes and elements (at-
                                                                tributes and elements from base type Representa-
                                                                tionBaseType). For details, see subclause 5.3.7.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>..<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.3.11.4 XML Syntax for Preselection element

<!-- Preselection -->
<xs:complexType name="PreselectionType">
   <xs:complexContent>
      <xs:extension base="RepresentationBaseType">
         <xs:sequence>
        <xs:element name="Accessibility" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Role" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Rating" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
        <xs:element name="Viewpoint" type="DescriptorType" minOccurs="0"
maxOccurs="unbounded"/>
         </xs:sequence>
         <xs:attribute name="id" type="StringNoWhitespaceType" default="1"/>
      <xs:attribute name="preselectionComponents" type="StringVectorType"
use="required"/>
         <xs:attribute name="lang" type="xs:language"/>
      </xs:extension>
   </xs:complexContent>
</xs:complexType>


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5.4 Media Presentation Description updates

5.4.1    General

If MPD@type is set to 'dynamic', the MPD may be updated during the Media Presentation. Updates
typically extend the accessible Segment list for each Representation, introduce a new Period, update
Segment locations or terminate the Media Presentation.
When the MPD is updated
— the value of MPD@id, if present, shall be the same in the original and the updated MPD;
— the values of any Period@id attributes shall be the same in the original and the updated MPD, unless
  the containing Period element has been removed;
— the values of any AdaptationSet@id attributes shall be the same in the original and the updated
  MPD unless the containing Period element has been removed;
— any Representation with the same @id and within the same Period as a Representation appearing in
  the previous MPD shall provide functionally equivalent attributes and elements and shall provide
  functionally identical Segments with the same indices in the corresponding Representation in the
  new MPD.
If the attribute MPD@minimumUpdatePeriod is not present, no update to the MPD is expected, the attribute
MPD@mediaPresentationDuration or the Period@duration of the last Period shall be present and the
MPD shall remain valid until the Media Presentation end time.
If the attribute MPD@minimumUpdatePeriod is present, updates to the MPD are expected and restricted
in a sense that at the location where the MPD is available at a certain time, the MPD is also valid for the
duration of the value of the MPD@minimumUpdatePeriod attribute. Specifically, the following shall hold.
If the i-th version of the MPD is the last version of MPD till the end of the Media Presentation, let Texp(i)
be the Media Presentation end time.
Otherwise, let Texp(i) be the sum of the value of MPD@minimumUpdatePeriod and the wall-clock time at
which the i-th version of the MPD is updated [and replaced with the (i+1)-th version] at the location
where the MPD is available. The i-th MPD shall remain valid until Texp(i) in the following sense:
— all Segments with availability start time less than Texp(i) shall be available at their availability start
  times at the location advertised in the i-th MPD.
— all Representations have a Segment with an availability start time, Tavail, which is less than Texp(i)
  and with duration not less than [Texp(i)−Tavail].
NOTE 1      The actual duration of this Segment is not known at the client until this Segment or the updated MPD
is fetched and this Segment duration can be less than the previous Segment duration if it is the last Segment in
the Period or if the Segment Timeline is in place.

NOTE 2     It is possible that the clients do not know Texp(i), but they can each calculate a lower bound on Texp(i)
by adding MPD@minimumUpdatePeriod to the wall-clock time at which they request the MPD.

NOTE 3      The second condition above ensures that sufficient media is contained in each Representation to
present the Media Presentation up to Texp(i) for a client that begins playing each Segment at the earliest possible
time (its availability start time).

NOTE 4    The result of the MPD validity requirement is that all items a client expects to be able to retrieve (both
segments and MPD elements) are guaranteed to be available for retrieval during the periods that the client can
expect them to be accessible.

NOTE 5      An MPD can contain no Period element or only an early available Period can be provided. In this case,
updates to the MPD are expected in order to provide the start time of the first Period, which coincides with the
start of the actual Media Presentation.


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NOTE 6      An update of the MPD does not necessarily change the MPD but can only extend the validity of this MPD.

NOTE 7      If the @minimumUpdatePeriod is set to 0, then as a consequence of NOTE 2, all segments with
availability start time less than the request time of the MPD are available at the location advertised in the MPD.

5.4.2     MPD Reset

In certain cases, the DASH server may fail to produce an MPD update and may have to reset the entire
content on the server, but still offer the MPD at the same URL as part of an MPD update. Whereas such an
update may be inconsistent with the rules in subclause 5.4.1, it is expected that the client will continue
the service properly when such a reset occurs.
If the MPD author does such a reset, it shall signal the reset by providing either an Essential Descriptor
or a Supplemental Descriptor on MPD level with @schemeIdURI set to urn:mpeg:dash:reset:2016. If this
is signalled, the content author indicates that the MPD that results from this update does not need to
comply with MPD update rules in subclause 5.4.1. If an Essential Descriptor is used, the DASH Client
may terminate presentation, if the signal is not supported by the client.
DASH Clients receiving such an MPD as part of an MPD update are expected to continue using the
previous MPD as long as possible, but at most up to the time expressed by the sum of the availability
start time and the Period start time of the new MPD. At this time, the new MPD is expected to be used
for playout. Should the client not have available any media data until the updated MPD can be used for
playout, it is expected that the DASH Client conceals the gap in media time appropriately.
The updated MPD may be valid upon reception of the MPD including the reset signal, if the sum
of the availability start time and the Period start time of the new MPD is less than the current MPD
presentation time. In this case, a DASH Client may cancel decoding and presentation of media data from
the previous MPD overlapping the updated one.

5.5 MPD assembly

5.5.1     General

A mechanism for referencing a remote element entity from within a local MPD is defined. A subset of
W3C XLINK simple links is defined consisting of
— restricted syntax and semantics as specified in subclause 5.5.2, and
— the processing model as specified in subclause 5.5.3.
If the MPD is updated, then the rules in subclause 5.3 apply to the MPD after dereferencing all remote
element entities.

5.5.2     Syntax and semantics

Table 25 provides the XLINK attributes that are used in this document and shall be supported
accordingly.

                             Table 25 — XLINK attributes used in this document
         Attribute                                            Comments and Usage
@xlink:type                 Identifies the type of W3C XLINK being used.
                            In the context of this document, all references shall be W3C XLINK simple links. The
                            attribute @xlink:type is optional with fixed setting @xlink:type="simple".




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                                           Table 25 (continued)
        Attribute                                          Comments and Usage
@xlink:href             references the remote element entity by a URI as defined in IETF RFC 3986.
                        In the context of this document, such URIs shall exclusively be HTTP-URLs.
                        For example, cookies as defined in IETF RFC 6265 may be used in order to enable tar-
                        geted resolution of the same HTTP-URL provided in this attribute. Detailed require-
                        ments on the support and usage of such technologies are outside the scope of this
                        document.
@xlink:show             Defines the desired behaviour of the remote element entity once dereferenced from
                        within an MPD as defined in W3C XLINK.
                        In the context of this document, the attribute @xlink:show is optional with fixed setting
                        @xlink:show="embed".
                        NOTE   In W3C XLINK, the behaviour of conforming XLink applications when embedding
                        as a remote element entity is not defined. Thus, the actual behaviour for this document
                        is defined in subclause 5.5.3.
@xlink:actuate          Defines the desired timing of dereferencing a remote element entity from within an
                        MPD as defined in W3C XLINK. The following attribute values are allowed in this
                        document:

                        1)   onLoad: an application should dereference the remote element entity
                             immediately on loading the MPD. The remote element entity shall not contain
                             another @xlink:href with @xlink:actuate set to onLoad.

                        2)   onRequest (default): according to W3C Xlink, an application should dereference
                             the remote element entity only on a post-loading event triggered for the purpose
                             of dereferencing. In the context of this document, the application dereferences
                             the link only for those resources it needs (or anticipates it probably will need)
                             and at the time when it needs the content of the remote element entity for
                             playout. Examples include dereferencing a link in a Period element when the
                             play-time is expected to enter that Period, dereferencing an Adaptation Set link
                             when it appears to contain Representations that will be needed, and so on.

The restricted schema for XLINK in the context of the ISO/IEC 23009 series is referred to as "xlink.xsd"
in any schema in this document and defined in the files referenced in Annex B.

5.5.3    Processing

The following rules apply to the processing of URI references within @xlink:href:
1) URI references to remote element entities that cannot be resolved shall be treated as invalid
   references and invalidate the URI and all @xlink attributes included in the element containing @
   xlink:href shall be removed.

2) URI references to remote element entities that are inappropriate targets for the given reference
   shall be treated as invalid references (see below for the appropriate targets) and invalidate the URI
   and all @xlink attributes included in the element containing @xlink:href shall be removed.
3) URI references to remote element entities that contain another @xlink:href attribute with
   xlink:actuate set to onLoad are invalid circular references and invalidate the URI. In this case, all @
   xlink attributes included in the element containing @xlink:href shall be removed.

4) The xlink:href may contain a URN as urn:mpeg:dash:resolve-to-zero:2013. If this value is
   present, the element containing the xlink:href attribute and all @xlink attributes included in the
   element containing @xlink:href shall be removed at the time when the resolution is due.
5) If a URI reference is relative then reference resolution as defined in subclause 5.6.4 shall apply.




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The remote element entity referenced with @xlink:href within an element of the MPD (referred to as
MPD element) shall be formatted according to the following rules:
1) Only a single top-level element type of the same type as the MPD element shall be obtained from
   a remote element entity. However, multiple top-level elements of the same type may be obtained
   from a remote element entity unless explicitly restricted. All these elements shall have the same
   type as the element of the MPD containing xlink. If multiple top-level elements are obtained from
   the remote element entity, the elements shall be in appropriate order and the first element shall
   replace the element of the MPD containing the xlink. All additional top-level elements shall be
   inserted immediately after this element in the order in which they appear.
      NOTE      The remote element entity can be a non-valid XML document, when containing multiple top-level
      elements.

2) The remote element entity may contain another @xlink:href attribute with @xlink:actuate set
   to onRequest. In this case, the resolution to the referenced remote element entity is expected to
   happen only when the latter is needed again after processing the content in the returned document.
The remote element entity referenced from within an MPD (referred to as appropriate targets) shall be
embedded into the MPD by applying the following rules:
1) If the remote element entity is empty, all @xlink attributes shall be removed from the element in
   the MPD and the remaining attributes and child elements shall not be changed.
2) If the remote element entity is non-empty, the original element in the MPD that contains
   @xlink:href shall be replaced with the content in the remote element entity. If multiple top-level
   elements are obtained from the remote element entity, the elements shall be in appropriate order
   and the first element shall replace the MPD element. All other top-level elements shall be inserted
   immediately after this element in the order in which they are declared.
3) All XLINK attributes initially present in the MPD shall be removed after dereferencing is completed.
4) All resources in the remote element entity referenced by @xlink:href shall have an availability end
   time as specified by MPD@availabilityEndTime.

5.6 Base URL Processing

5.6.1    Overview

The BaseURL element may be used to specify one or more common locations for Segments and other
resources. Reference resolution as defined in subclause 5.6.4 shall be applied to each URL in the MPD.
Handling of multiple alternative base URLs is addressed in subclause 5.6.5.
The semantics of the attributes and elements for the Base URL are provided in 5.6.2, Table 26. The XML
syntax of the Base URL is provided in subclause 5.6.3.

5.6.2    Semantics

                                    Table 26 — Semantics of BaseURL element
      Element or Attribute Name                Use                             Description
   BaseURL                                               A URL that can be used as Base URL. The content of this
                                                         element is a URI string as described in subclause 5.6.4.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 26 (continued)
      Element or Attribute Name                Use                             Description
        @serviceLocation                        O        This attribute specifies a relationship between Base
                                                         URLs such that BaseURL elements with the same
                                                         @serviceLocation value are likely to have their URLs
                                                         resolve to services at a common network location, for
                                                         example a common Content Delivery Network.
                                                         If not present, no relationship to any other Base URL
                                                         is known.
        @byteRange                              O        If present, specifies HTTP partial GET requests may alter-
                                                         natively be issued by adding the byte range into a regular
                                                         HTTP-URL based on the value of this attribute and the
                                                         construction rules in E.2.
                                                         If not present, HTTP partial GET requests may not be
                                                         converted into regular GET requests.
                                                         NOTE   Such alternative requests are expected to not be
                                                         used unless the DASH application requires this. For more
                                                         details, refer to Annex E.
        @availabilityTimeOffset                 O        specifies an offset to define the adjusted segment availa-
                                                         bility time. For semantics, refer to Table 13.
                                                         If the value is present in SegmentBase then this attrib-
                                                         ute should not be present. If present in SegmentBase
                                                         and BaseURL, the value in BaseURL shall be ignored.
        @availabilityTimeComplete               O        specifies if all Segments of all associated Representation
                                                         are complete at the adjusted availability start time. For
                                                         semantics, refer to Table 13.
                                                         If the value is present in SegmentBase then this attrib-
                                                         ute should not be present. If present in SegmentBase
                                                         and BaseURL, the value in BaseURL shall be ignored.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.6.3     XML syntax

<!-- Base URL -->
<xs:complexType name="BaseURLType">
      <xs:simpleContent>
           <xs:extension base="xs:anyURI">
               <xs:attribute name="serviceLocation" type="xs:string"/>
               <xs:attribute name="byteRange" type="xs:string"/>
               <xs:attribute name="availabilityTimeOffset" type="xs:double"/>
               <xs:attribute name="availabilityTimeComplete" type="xs:boolean"/>
               <xs:anyAttribute namespace="##other" processContents="lax"/>
           </xs:extension>
      </xs:simpleContent>
</xs:complexType>




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5.6.4    Reference resolution

URLs at each level of the MPD are resolved according to IETF RFC 3986 with respect to the BaseURL
element specified at that level of the document or the level above in the case of resolving base URLs
themselves (the document "base URI" as defined in IETF RFC 3986:2005, subclause 5.1 is considered to
be the level above the MPD level). If only relative URLs are specified and the document base URI cannot
be established according to IETF RFC 3986 then the MPD should not be interpreted. URL resolution
applies to all URLs found in MPD documents.
In addition to the document level (the level above the MPD level), base URL information may be present
on the following levels:
— On MPD level in MPD.BaseURL element. For details, refer to subclause 5.3.1.2.
— On Period level in Period.BaseURL element. For details, refer to subclause 5.3.2.2.
— On Adaptation Set level in AdaptationSet.BaseURL element. For details, refer to subclause 5.3.3.2.
— On Representation level in Representation.BaseURL. For details, refer to subclause 5.3.5.2.

5.6.5    Alternative base URLs

If alternative base URLs are provided through the BaseURL element at any level, identical Segments shall
be accessible at multiple locations. In the absence of other criteria, the DASH Client may use the first
BaseURL element as "base URI". The DASH Client may use base URLs provided in the BaseURL element
as "base URI" and may implement any suitable algorithm to determine which URLs it uses for requests.
If a BaseURL element containing an absolute URL is present on any level, it overwrites any BaseURL
information present on a higher level.

5.7 Program information

5.7.1    Overview

Descriptive information on the program may be provided for a Media Presentation within the
ProgramInformation element.

When multiple ProgramInformation elements are present, the @lang attribute shall be present and each
element shall describe the Media Presentation sufficiently in the language defined by the value of the @
lang attribute.

For each language, the program information may specify title, source of the program, copyright
information, and a URL to more information.
The semantics of the attributes within the ProgramInformation element are provided in Table 27 of
subclause 5.7.2. The XML syntax of ProgramInformation element is provided in subclause 5.7.3.

5.7.2    Semantics

                                  Table 27 — Program information semantics
      Element or Attribute Name               Use                              Description
   ProgramInformation                                    specifies descriptive information about the program
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                               Table 27 (continued)
      Element or Attribute Name               Use                               Description
        @lang                                   O        Declares the language code(s) for this Program In-
                                                         formation. The syntax and semantics according to
                                                         IETF RFC 5646 shall be applied.
                                                         If not present, the value is unknown.
        @moreInformationURL                     O        If provided, this attribute specifies an absolute URL
                                                         which provides more information about the Media Pres-
                                                         entation.
                                                         If not present, the value is unknown.
        Title                                 0 ... 1    specifies the title for the Media Presentation.
        Source                                0 ... 1    specifies information about the original source (for ex-
                                                         ample content provider) of the Media Presentation.
        Copyright                             0 ... 1    specifies a copyright statement for the Media Pres-
                                                         entation, usually starting with the copyright symbol,
                                                         unicode U+00A9.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.7.3     XML syntax

<!-- Program Information -->
<xs:complexType name="ProgramInformationType">
      <xs:sequence>
           <xs:element name="Title" type="xs:string" minOccurs="0"/>
           <xs:element name="Source" type="xs:string" minOccurs="0"/>
           <xs:element name="Copyright" type="xs:string" minOccurs="0"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="lang" type="xs:language"/>
      <xs:attribute name="moreInformationURL" type="xs:anyURI"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.8 Descriptors

5.8.1     General

The descriptor elements are all structured in the same way, namely they contain a @schemeIdUri
attribute that provides a URI to identify the scheme and an optional attribute @value and an optional
attribute @id. The semantics of the element are specific to the scheme employed. The URI identifying
the scheme may be a URN or a URL.
In this document, specific elements for descriptors are defined in subclause 5.8.4.
The MPD does not provide any specific information on how to use these elements. It is up to the
application that employs DASH formats to instantiate the description elements with appropriate
scheme information. However, this document defines some specific schemes in subclause 5.8.5.


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DASH applications that use one of these elements must first define a Scheme Identifier in the form of
a URI and must then define the value space for the element when that Scheme Identifier is used. The
Scheme Identifier appears in the @schemeIdUri attribute.
In the case that a simple set of enumerated values is required, a text string may be defined for each
value and this string must be included in the @value attribute. If structured data is required then any
extension element or attribute may be defined in a separate namespace.
The @id value may be used to refer to a unique descriptor or to a group of descriptors. In the latter case,
descriptors with identical values for the attribute @id shall be synonymous, i.e. the processing of one of
the descriptors with an identical value for @id is sufficient.
Two elements of type DescriptorType are equivalent, if the element name, the value of the
@schemeIdUri and the value of the @value attribute are equivalent. If the @schemeIdUri is a URN, then
equivalence shall refer to lexical equivalence as defined in IETF RFC 8141:2017, Clause 3. If the
@schemeIdUri is a URL, then equivalence shall refer to equality on a character-for-character basis as
defined in IETF RFC 3986:2005, subclause 6.2.1. If the @value attribute is not present, equivalence is
determined by the equivalence for @schemeIdUri only. Attributes and element in extension namespaces
are not used for determining equivalence. The @id attribute may be ignored for equivalence
determination.
The semantics of the attributes within an element of the type DescriptorType are provided in Table 28
of subclause 5.8.2. The XML schema definition of DescriptorType is provided in subclause 5.8.3. The
specific descriptors follow these syntax and semantics.

5.8.2    Semantics of generic descriptor

                         Table 28 — Semantics of elements of type DescriptorType
      Element or Attribute Name               Use                                  Description
          Element of type                                specifies a descriptor.
          DescriptorType
             @schemeIdUri                      M         specifies a URI to identify the scheme. The semantics
                                                         of this element are specific to the scheme specified by
                                                         this attribute. The @schemeIdUri may be a URN or URL.
                                                         When a URL is used, it should also contain a month-date
                                                         in the form mmyyyy; the assignment of the URL must
                                                         have been authorized by the owner of the domain name
                                                         in that URL on or very close to that date, to avoid prob-
                                                         lems when domain names change ownership.
             @value                             O        specifies the value for the descriptor element. The value
                                                         space and semantics must be defined by the owners of
                                                         the scheme identified in the @schemeIdUri attribute.
             @id                                O        specifies an identifier for the descriptor. Descriptors
                                                         with identical values for this attribute shall be synony-
                                                         mous, i.e. the processing of one of the descriptors with
                                                         an identical value is sufficient.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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5.8.3     XML syntax of generic descriptor

<!-- Descriptor -->
<xs:complexType name="DescriptorType">
      <xs:sequence>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
      <xs:attribute name="schemeIdUri" type="xs:anyURI" use="required"/>
      <xs:attribute name="value" type="xs:string"/>
      <xs:attribute name="id" type="xs:string"/>
      <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.8.4     Specific descriptors

5.8.4.1    Content protection

For the element ContentProtection, the @schemeIdUri attribute is used to identify a content protection
descriptor scheme.
The ContentProtection descriptors should provide sufficient information, possibly in conjunction
with the @value and/or extension attributes and elements, such as the DRM system(s), encryption
algorithm(s), and key distribution scheme(s) employed, to enable a client to determine whether it can
possibly play the protected content. The ContentProtection element can be extended in a separate
namespace to provide information specific to a content protection scheme (e.g. particular key
management systems or encryption methods).
When no ContentProtection element is present, the content shall not be encrypted.
When multiple ContentProtection elements are present with different SystemID values, each element
shall describe a key management and protection scheme that is sufficient to access and present the
Representation.

5.8.4.2    Role

For the element Role, the @schemeIdUri attribute is used to identify the role scheme employed to identify
the role of the media content component. Roles define and describe characteristics and/or structural
functions of media content components.
One Adaptation Set or one media content component may have assigned multiple roles even within the
same scheme.
This document defines a simple role scheme in subclause 5.8.5.5.
In addition, this document defines other roles schemes to support signalling for multiple view signals in
subclause 5.8.5.6.

5.8.4.3    Accessibility

For the element Accessibility, the @schemeIdUri attribute is used to identify the accessibility scheme
employed. Accessibility is a general term used to describe the degree to which the DASH Media
Presentation is available to as many people as possible.
NOTE       Accessibility elements fulfil a very similar purpose with respect to media content components as
for Role elements but are specifically intended for accessibility.



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One Adaptation Set or one media content component may have assigned multiple accessibility purposes
even within the same scheme.
This document does not define a specific accessibility scheme, but the simple role scheme in subclause
5.8.5.5 may be used to express a minimum amount of accessibility information.

5.8.4.4     Rating

For the element Rating, the @schemeIdUri attribute is used to identify the rating scheme employed.
Ratings specify that content is suitable for presentation to audiences for which that rating is known to
be appropriate, or for unrestricted audiences.
NOTE        If an audience has a rating restriction, it is intended that content that has associated ratings is not
presented to that audience, unless at least one scheme is recognized and the rating value indicates that the
content is appropriate to that audience.

This document does not define a rating scheme.

5.8.4.5     Viewpoint

For the element Viewpoint, the @schemeIdUri attribute is used to identify the viewpoint scheme
employed.
Adaptation Sets containing non-equivalent Viewpoint element values contain different media content
components. The Viewpoint elements may equally be applied to media content types that are not video.
Adaptation Sets with equivalent Viewpoint element values are intended to be presented together. This
handling should be applied equally for recognized and unrecognized @schemeIdUri values.
This document does not define a viewpoint scheme.

5.8.4.6     Frame-packing

For the element FramePacking, the @schemeIdUri attribute is used to identify the frame-packing
configuration scheme employed.
Multiple FramePacking elements may be present. If so, each element shall contain sufficient information
to select or reject the described Representations.
NOTE       If the scheme or the value for all FramePacking elements are not recognized, the DASH Client is
expected to ignore the described Representations. A client can reject the Adaptation Set on the basis of observing
a FramePacking element.

The descriptor may carry frame-packing schemes using the URN label and values defined for
VideoFramePackingType in ISO/IEC 23001-8.

This document also defines frame-packing schemes in subclause 5.8.5.6. These schemes are maintained
for backward-compatibility, but it recommended to use the signalling as defined in ISO/IEC 23001-8.

5.8.4.7     Audio channel configuration

For the element AudioChannelConfiguration, the @schemeIdUri attribute is used to identify the audio
channel configuration scheme employed.
Multiple AudioChannelConfiguration elements may be present indicating that the Representation
supports multiple audio channel configurations. For example, it may describe a Representation that
includes MPEG Surround audio supporting stereo and multichannel.
NOTE 1     If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore
the descriptor.


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The descriptor may carry audio channel configuration using the URN label and values defined for
ChannelConfiguration in ISO/IEC 23001-8.

NOTE 2     In addition, a scheme for audio channel configuration is also defined in subclause 5.8.5.4. This scheme
is maintained for backward-compatibility, but it is preferable to use the signaling as defined in ISO/IEC 23001-8.

5.8.4.8    Essential Property Descriptor

For the element EssentialProperty, the Media Presentation author expresses that the successful
processing of the descriptor is essential to properly use the information in the parent element that
contains this descriptor unless the element shares the same @id with another EssentialProperty
element.
If EssentialProperty elements share the same @id, then processing one of the EssentialProperty
elements with the same value for @id is sufficient. At least one EssentialProperty element of each
distinct @id value is expected to be processed.
NOTE 1     If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore
the parent element that contains the descriptor.

Multiple EssentialProperty elements with the same value for @id and with different values for
@id may be present.

If one or more EssentialProperty elements sharing the same @id appear at the MPD level, this means
that successful processing of at least one of these descriptors is essential to properly access and/or
present the content described by this MPD.
NOTE 2     In the case when none of the EssentialProperty elements sharing the same @id can be successfully
processed, the DASH Client is expected to terminate the media presentation.

The removal of an EssentialProperty descriptor in an MPD shall not change the conformance of this
MPD to its associated schema and profile.

5.8.4.9    Supplemental Property Descriptor

For the element SupplementalProperty, the Media Presentation author expresses that the descriptor
contains supplemental information that may be used by the DASH Client for optimized processing.
NOTE       If the scheme or the value for this descriptor is not recognized, the DASH Client is expected to ignore
the descriptor.

Multiple SupplementalProperty elements may be present.

5.8.4.10 Asset Identifier

The AssetIdentifier is used to identify the asset on Period level. If two different Periods contain
equivalent Asset Identifiers then the content in the two Periods belongs to the same asset.
NOTE       If the scheme or the value for this descriptor is not recognized, the AssetIdentifier element can still
be used to understand the equivalence of Asset Identifiers across Periods. Processing of the descriptor scheme
and value by the DASH Client is not essential for normal operation.

5.8.4.11 UTC Timing Descriptor

Using the UTCTiming element, the Media Presentation author provides additional information for
the client to optionally obtain wall-clock time to be used in Media Presentation. If multiple schemes
are specified by the Media Presentation author, their order indicates their relative preference, first
having the highest, and the last having the least priority. However, the client may choose any method,
potentially having to deal with reduced accuracy.



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5.8.5     Specific scheme definitions

5.8.5.1     General

The definition of specific schemes (both syntax and semantics) to be used in any of the descriptor
elements requires the definition of the URI by the authors to link the content description to the Media
Presentation. In subclause 5.8.5, some schemes and scheme identifiers are defined to enable usage of
existing code points in combination with this document as well as to provide simple means to support
different functionalities.

5.8.5.2     Content protection

The following defines a set of URIs that identify specific content protection schemes, i.e. schemes
contained in the ContentProtection element:
— For Representations based on ISO/IEC 14496-12, the following URI is defined to indicate protection
  schemes identified by the Scheme Type within the Scheme Type Box of the Protection Scheme
  Information Box of the file:
     urn:mpeg:dash:mp4protection:2011

In this scheme, the value of the @value attribute shall be the 4CC contained in the Scheme Type Box,
suitably percent-encoded according to IETF RFC 8141, and may include the version number. The 4CC
and the version number, if present, shall be separated by a “:”. The version number shall be encoded as
up to 8 hexadecimal digits, where the leading '0's may be omitted.
— For Representations based on ISO/IEC 13818-1 (MPEG-2 Transport Stream), the following URI is
  defined to indicate the Conditional Access System used:
     urn:mpeg:dash:13818:1:CA_descriptor:2011

In this scheme, the value of the @value attribute shall be the 4-digit lower-case hexadecimal
Representation of the 16-bit CA_system_ID from the CA_descriptor as defined in ISO/IEC 13818-1.
— For Representations based on ISO/IEC 14496-12, a content protection scheme using the Protection
  System Specific Header Box defined in ISO/IEC 23001-7 may be identified in the ContentProtection
  element. In this case, a UUID URN as defined in IETF RFC 4122 indicating the UUID specified in the
  SystemId field of the Protection System Specific Header Box shall be used. This does not imply that
  such schemes cannot define alternative URNs, or that all UUID URNs refer to schemes of this type.
The syntax for the value field of the content protection descriptors shall follow the MP4-PROTECTION-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:

             MP4-PROTECTION-VALUE = VERSIONED-4CC


             VERSIONED-4CC = CCCC [ CCCC-VERSION ]
             CCCC = ALPHA ALPHA ALPHA ALPHA
             CCCC-VERSION = ":" 1*8HEX


             CA-DESCRIPTOR-VALUE = LHEX LHEX LHEX LHEX


             LHEX = DIGIT / "a" / "b" / "c" / "d" / "e" / "f"




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5.8.5.3    Frame-packing

The following defines a set of URIs that identify specific frame-packing arrangements, i.e. schemes
contained in the FramePacking element:
— For Adaptation Sets or Representations that contain a video component that conforms to
  ISO/IEC 14496-10[19], the URI urn:mpeg:dash:14496:10:frame_packing_arrangement_type:2011 is
  defined. The @value shall be value as defined for VideoFramePackingType in ISO/IEC 23001-8.
— For Adaptation Sets or Representations that contain a video component that conforms to
  ISO/IEC 13818-1, the URI urn:mpeg:dash:13818:1:stereo_video_format_type:2011 is defined.
  The @value shall be value as defined for VideoFramePackingType in ISO/IEC 23001-8.
The syntax for the value field of the frame packing descriptors shall follow the FRAME-PACKING-
ARRANGEMENT-TYPE-VALUE as defined in the following ABNF notation according to IETF RFC 5234:

              FRAME-PACKING-ARRANGEMENT-TYPE-VALUE = VIDEO-FRAME-PACKING-TYPE


              STEREO-VIDEO-FORMAT-TYPE = VIDEO-FRAME-PACKING-TYPE


              VIDEO-FRAME-PACKING-TYPE = 1*2DIGIT


5.8.5.4    Audio channel configuration schemes

The following defines a URI that identifies channel configuration signalling for Representations that
contain an audio component. The URI "urn:mpeg:dash:23003:3:audio_channel_configuration:2011"
is defined to indicate the channel configuration as defined by Table 68 (Channel Configurations,
meaning of channelConfigurationIndex, mapping of channel elements to loudspeaker positions') of
ISO/IEC 23003-3.
The URN "urn:mpeg:dash:outputChannelPositionList:2012" defines a list of output channel positions
to signal individual speaker positions. The @value shall be a space-delimited list of values as defined of
the OutputChannelPosition as defined in ISO/IEC 23001-8. For example, the @value for the subclause 7.1
channel configuration 2 high as 2/0/0, 5 mid as 3/0/2 and 0.1 low, where a/b/c indicates speaker count
in front, side and back, respectively and 0.1 indicates a subwoofer channel), is "2 0 1 4 5 3 17 18".

5.8.5.5    DASH role scheme

The URN "urn:mpeg:dash:role:2011" is defined to identify the role scheme defined in Table 29. Role@
value shall be assigned to Adaptation Sets that contain a media component type to which this role is
associated.

       Table 29 — Role@value attribute for scheme with a value "urn:mpeg:dash:role:2011"
       Role@value                                                      Description
caption                       Captions (see NOTE 3 below).
NOTE 1   A normal audio/video program labels both the primary audio and video as "main". However, when the two media
component types are not equally important, for example (a) video providing a pleasant visual experience to accompany a
music track that is the primary content or (b) ambient audio accompanying a video showing a live scene such as a sports
event, that is the primary content, the accompanying media can be assigned a "supplementary" role.
NOTE 2   Alternate media content components are expected to carry other descriptors to indicate in what way it differs
from the main media content components (e.g. a Viewpoint descriptor or a Role descriptor), especially when multiple
alternate media content components including multiple supplementary media content components are available.
NOTE 3   Open ("burned in") captions or subtitles would be marked as media type component "video" only, but having a
descriptor saying “caption” or “subtitle”.
NOTE 4   Role descriptors with values such as "subtitle", "caption", "description", "sign" or "metadata" may be used to enable
assignment of a "kind" value in HTML 5 applications for tracks exposed from a DASH MPD.



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                                                  Table 29 (continued)
        Role@value                                                     Description
subtitle                       Subtitles (see NOTE 3 below).
Main                           Main media component(s) which is/are intended for presentation if no other infor-
                               mation is provided.
alternate                      Media content component(s) that is/are an alternative to (a) main media content
                               component(s) of the same media component type (see NOTE 2 below).
supplementary                  Media content component that is supplementary to a media content component of a
                               different media component type (see NOTE 1 below).
commentary                     Experience that contains a commentary (e.g. director's commentary) (typically
                               audio).
dub                            Experience that contains an element that is presented in a different language from
                               the original (e.g. dubbed audio, translated captions).
description                    Textual or audio media component containing a textual description (intended for
                               audio synthesis) or an audio description describing a visual component.
sign                           Visual media component representing a sign-language interpretation of an audio
                               component.
metadata                       Media component containing information intended to be processed by application
                               specific elements.
enhanced-audio-                Experience containing an element for improved intelligibility of the dialogue.
intelligibility
emergency                      Experience that provides information, about a current emergency, that is intended
                               to enable the protection of life, health, safety, and property, and may also include
                               critical details regarding the emergency and how to respond to the emergency.
NOTE 1   A normal audio/video program labels both the primary audio and video as "main". However, when the two media
component types are not equally important, for example (a) video providing a pleasant visual experience to accompany a
music track that is the primary content or (b) ambient audio accompanying a video showing a live scene such as a sports
event, that is the primary content, the accompanying media can be assigned a "supplementary" role.
NOTE 2   Alternate media content components are expected to carry other descriptors to indicate in what way it differs
from the main media content components (e.g. a Viewpoint descriptor or a Role descriptor), especially when multiple
alternate media content components including multiple supplementary media content components are available.
NOTE 3   Open ("burned in") captions or subtitles would be marked as media type component "video" only, but having a
descriptor saying “caption” or “subtitle”.
NOTE 4   Role descriptors with values such as "subtitle", "caption", "description", "sign" or "metadata" may be used to enable
assignment of a "kind" value in HTML 5 applications for tracks exposed from a DASH MPD.

The syntax for the value field of the role descriptor shall follow the ROLE-VALUE as defined in the
following ABNF notation according to IETF RFC 5234:

        ROLE-VALUE = "caption" / "subtitle" / "main" / "alternate" / "supplementary"
        ROLE-VALUE =/ "commentary"/ "dub" / "description" / "sign" / "metadata"
        ROLE-VALUE =/ "enhanced-audio-intelligibility" / "emergency"


5.8.5.6     DASH Multiple views scheme

This scheme is defined for multiple views media content description.
This scheme may be used with the Role descriptor applied to a ContentComponent element of type
video or to an AdaptationSet element. If this scheme is applied to an AdaptationSet element containing
multiple views, each media content component of type video shall have a ContentComponent element
that contains the Role descriptor using this scheme. A Role element of this scheme is used to indicate
which views amongst the views comprising multiple presentable stereo pairs the contained media
content component or components represent. If N views are available that can be combined into M valid
stereo pairs, the Role with @schemeIdURI equal to "urn:mpeg:dash:stereoid:2011" signals which views
form a stereo pair and which one is the left view and which one is the right view of each stereo pair.
The @value of the Role element shall contain a space-delimited list of view indicators 'li' or 'rj' where i,

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j are non-negative decimal integers. A stereo pair i (0 <= i < M) is formed by using a view whose Role
element includes the view indicator 'li' as the left view and a view whose Role element contains the
view indicator 'ri' as the right view. Within the @value attribute, view indicators shall be ordered with
all left view indictors preceding all right view indicators and within each group in ascending order of
view index.
The syntax for the value field of the role descriptor shall follow the STEROID-VALUE as defined in the
following ABNF notation according to IETF RFC 5234:

      STEROID-VALUE = LEFT-VIEW-INDICATOR *[ SP LEFT-VIEW-INDICATOR ]                 RIGHT-VIEW-
      INDICATOR *[ SP RIGHT-VIEW-INDICATOR ]


      LEFT-VIEW-INDICATOR = "l" DECIMAL_DIGITS
      RIGHT-VIEW-INDICATOR = "r" DECIMAL_DIGITS


      DECIMAL_DIGITS = 1*DIGIT


5.8.5.7    DASH UTC Timing Schemes

This document defines several methods, specified in Table 30, by which DASH Clients can obtain wall-
clock times as used by the Media Presentation. Specifically, this clock is synchronized to the one used to
generate the MPD.

                              Table 30 — Different UTC timing Methods
               @schemeIdURI                                            Description
urn:mpeg:dash:utc:ntp:2014                   The identifier indicates that the @value contains a white-
                                             space separated list of servers that are recommended to be
                                             used in combination with the NTP protocol as defined in
                                             IETF RFC 5905 for getting the appropriate time.
                                             NOTE   Multiple servers can be used to improve accuracy.
                                             Use of NTP servers not specified in the @value attribute is
                                             allowed.
                                             For exact syntax of the value of the @value attribute, see below.
urn:mpeg:dash:utc:sntp:2014                  The identifier indicates that the @value contains a white-
                                             space separated list of servers that are recommended to be
                                             used in combination with the SNTP protocol as defined in
                                             IETF RFC 5905 for getting the appropriate time.
                                             For exact syntax of the value of the @value attribute, see below.
urn:mpeg:dash:utc:http-head:2014             The identifier indicates that the @value contains a white-
                                             space separated list of HTTP URLs that are recommended to
                                             be used in combination with the HTTP protocol as defined in
                                             IETF RFC 7230 for getting the appropriate time.
                                             The value of the @value attribute contains a white-space sep-
                                             arated list of HTTP URLs to which HTTP HEAD requests can
                                             be made to obtain the Date information in the HTTP Header
                                             providing the wall-clock time for this Media Presentation.
                                             For exact syntax of the value of the @value attribute, see below.




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                                        Table 30 (continued)
                  @schemeIdURI                                      Description
urn:mpeg:dash:utc:http-xsdate:2014        The identifier indicates that the @value contains a white-
                                          space separated list of HTTP URLs that are recommended to
                                          be used in combination with the HTTP protocol as defined in
                                          IETF RFC 7230 for getting the appropriate time.
                                          The value of the @value attribute contains a white-space sep-
                                          arated list of HTTP URLs to which HTTP GET requests can be
                                          made to obtain the timing information. The timing information
                                          is contained in the message body of the HTTP response to the
                                          above HTTP GET request and contains time value formatted
                                          according to xs:​dateTime as defined in W3C XML Schema Part
                                          2: Datatypes specification. This value is based on a wall clock
                                          synchronized to the one used to generate the MPD.
                                          For exact syntax of the value of the @value attribute, see below.
urn:mpeg:dash:utc:http-iso:2014           The identifier indicates that the @value contains a white-
                                          space separated list of HTTP URLs that are recommended to
                                          be used in combination with the HTTP protocol as defined in
                                          IETF RFC 7230 for getting the appropriate time.
                                          The value of the @value attribute contains a white-space sep-
                                          arated list of HTTP URLs to which HTTP GET requests can be
                                          made to obtain the timing information. The timing information
                                          is contained in the message body of the HTTP response to the
                                          above HTTP GET request and contains time value formatted
                                          according to ISO time code as defined in ISO/IEC 8601. This
                                          value is based on a wall clock synchronized to the one used to
                                          generate the MPD.
                                          For exact syntax of the value of the @value attribute, see below.
urn:mpeg:dash:utc:http-ntp:2014           The identifier indicates that the @value contains a white-
                                          space separated list of HTTP URLs that are recommended to
                                          be used in combination with the HTTP protocol as defined in
                                          IETF RFC 7230 for getting the appropriate time.
                                          The value of the @value attribute contains a white-space sep-
                                          arated list of HTTP URLs to which HTTP GET requests can be
                                          made to obtain the timing information. The timing information
                                          is contained in the message body of the HTTP response to the
                                          above HTTP GET request and contains time value formatted
                                          according to formatted according to NTP timestamp format
                                          in IETF RFC 5905. This value is based on a wall clock synchro-
                                          nized to the one used to generate the MPD.
                                          For exact syntax of the value of the @value attribute, see below.
urn:mpeg:dash:utc:direct:2014             The identifier indicates that the @value field, contains a time
                                          formatted according to xs:​dateTime as defined in W3C XML
                                          Schema Part 2: Datatypes specification. This value is based on
                                          a wall clock synchronized to the one used to generate the MPD.
                                          For exact syntax of the value of the @value attribute, see below.

The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:ntp:2014"     or set to "urn:mpeg:dash:utc:sntp:2014" shall follow the NTP-VALUE
as defined in the following ABNF notation according to IETF RFC 5234:

        NTP-VALUE = TIME-SERVER *[ WS TIME-SERVER ]
        TIME-SERVER = host [ ":" port ] ; host and port are declared in IETF RFC 3896 and
                                           ; augmented IETF RFC 6874

The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:http-head:2014", set to "urn:mpeg:dash:utc:http-xsdate:2014”, set to

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"urn:mpeg:dash:utc:http-iso:2014" or set to "urn:mpeg:dash:utc:ntp:2014" shall follow the HTTP-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:

      HTTP-VALUE = httpurl *[ WS httpurl ]         ; httpurl is defined in IETF RFC 1738

The syntax for the value field of the UTC Timing descriptor with @schemeIdURI set to
"urn:mpeg:dash:utc:direct:2014" shall follow the DIRECT-VALUE as defined in the following ABNF
notation according to IETF RFC 5234:

      DIRECT-VALUE = ["-"] 4DIGIT "-" 2DIGIT "-" 2DIGIT "T" 2DIGIT ":" 2DIGIT ":"
      2DIGIT [ "Z" / ( "+" / "-") 2DIGIT ":" 2DIGIT ]


5.8.5.8    Audio Receiver Mix

This clause defines a scheme for use in EssentialProperty or SupplementaryProperty to indicate that
two audio Adaptation Sets need to be mixed by the media engine prior to playback.
The @schemeIdUri attribute identifying the scheme is urn:mpeg:dash:audio-receiver-mix:2014.
The @value attribute shall contain the value of the AdaptationSet@id from an Adaptation Set with
content type audio attribute with which the current Adaptation Set needs to be mixed with in order to
provide complete audio experience.
An example of receiver mix is the case where a single audio Adaptation Set provides music and effects —
i.e. complete experience without dialogues, and one or more Adaptation Sets provide dialogues in different
languages. In this case, the dialogue Adaptation Sets depends on music and effects Adaptation Set.
The mixing requirement is unidirectional — i.e. requirement of mixing Representation A with
Representation B when A is selected does not imply mixing the two is required if B is selected.
The syntax for the value field of the audio receiver mix descriptor shall follow the AUDIO-RECEIVER-MIX-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:

      AUDIO-RECEIVER_MIX-VALUE = ADAPTATION-SET-ID


      ADAPTATION-SET-ID = DECIMAL_DIGITS
      DECIMAL_DIGITS = 1*DIGIT


5.8.5.9    DASH MPD Adaptation Set Linking scheme

The URN "urn:mpeg:dash:mpd-as-linking:2015" is defined in order to provide information that the
same Adaptation Set can be found in another MPD. The scheme may be used with Essential Property
Descriptors together with an EmptyAdaptationSet element or with Supplemental Property Descriptors.
The value provides
— a URL to the MPD, including appropriate anchors for Periods and Adaptation Set as defined in
  C.4.2, and
— optionally, a timeline offset field to synchronize the data added as a white-space separated second
  item. If the value is not present, then the media time on the original MPD and the linked MPD are
  identical. If a timeOffset field is added, then this value expresses the difference between the media
  time of the Adaptation Set of the linked MPD and the media time in the originating MPD. The number
  may be positive or negative. The timeoffset is in unit of @timescale of the linked Adaptation Sets.
The Descriptor shall only be used in combination with Adaptation Sets (regular or empty ones). If
all information is contained in the Adaptation Set, then a Supplemental Descriptor or an Essential
Descriptor may be used. If the Adaptation Set does neither contain a Representation element, nor an




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@xlink attribute, then an Empty Adaptation Set as well as an Essential Descriptor shall be used to
indicate that the Adaptation Set is not fully described in this MPD.
NOTE       This scheme can be used for many use cases. However, one specific use case is the server-based mosaic
channel as described in ISO/IEC TR 23009-3[20]. The use case can be fulfilled by the combination of the Spatial
Relationship Description (SRD) as defined in Annex H and this scheme. In this case, the same value of source_id
parameter in SRD scheme indicates the association among Adaptation Set(s) (regular and empty ones if present)
even though Representation is not present in an Empty Adaptation Set.

The syntax for the value field of the adaptation set linking descriptor shall follow the MPD-AS-LINKING-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:

        MPD-AS-LINKING-VALUE = MPD-URL [ WSP TIMELINE-OFFSET ]


        MPD-URL = httpurl   ; defined in IETF RFC 1738
        TIMELINE-OFFSET = "timeOffset=" ["-"] DECIMAL_DIGITS
        DECIMAL_DIGITS=1*DIGIT


5.8.5.10 Sub-Asset Identifier scheme

In DASH MPD, sub-assets across Periods can be identified using the sub asset Scheme Identifier. This
scheme is signaled using a specific SupplementalProperty descriptor at the Adaptation Set or Sub-
Representation level with @schemeIdUri attribute set to "urn:mpeg:dash:sai:2015".
If two different Adaptation Sets or Sub-Representation from different Periods contain Sub-Asset
Identifiers descriptors with the same @value attribute, then the content in the Representation(s)
contained in these Adaptation Sets represent, at least, the same sub-asset.
NOTE 1    The association between sub-assets and an Adaptation Set can change across Periods. For instance,
an Adaptation Set can be associated with a sub-asset of an asset in one Period but with another sub-asset of the
same asset in another Period.

NOTE 2    Sub-Asset Identifier descriptor can be used by DASH Clients to select Representation(s) to be
processed after a Period change.

A given Sub-Representation or Adaptation Set can contain more than one Sub-Asset Identifier descriptor
indicating that this Sub-Representation or the Representation(s) contained in this Adaptation Set,
respectively, represent more than one identified part of the asset.
NOTE 3     If the value for this descriptor is not recognized, the SubAsset Identifier descriptor can still be used
to understand the equivalence of sub-asset identifiers across Periods. Processing of the descriptor scheme and
value by the DASH Client is not essential for normal operation.

NOTE 4       Different Adaptation Sets or Sub-Representations in a Period do not contain the same SubAsset-
Identifier, i.e. the same @schemeIdUri and @value is dis-allowed.

The syntax for the value field of the Sub-Asset identifier descriptor shall follow the SAI-VALUE as defined
in the following ABNF notation according to IETF RFC 5234:

        SAI-VALUE = STRING


        STRING = *VCHAR


5.8.5.11 Client Authentication and Content Access Authorization

When client authentication and/or content access authorization functionality is needed, DASH may
be used with different schemes such as Open Authentication Technical Committee (OATC) Online
Multimedia Authorization Protocol (OMAP)[13], Open Standard for Authorization (OAuth) 2.0[14], OASIS
Security Assertion Markup Language (SAML)[15], 3GPP Generic Authentication Architecture (GAA)


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[16], or 3GPP Generic Bootstrapping Architecture (GBA)[17]. This section describes generic signaling to
support use of various authentication and authorization schemes.
Typical access control methods include blocking HTTP requests that do not include a security token
obtained by the authorization protocol wherein the security token is validated by a CDN before
downloading the requested Media Segment, or encrypting Media Segments so that playback will be
restricted unless the authorization protocol provides the client with a decryption key.
For client authentication, a service may limit content delivery to authenticated clients, and may use
client identification information such as certificates, cookies, and embedded keys to determine
subscription rights, etc. required to authorize playback of the Media Presentation. The details of such
a scheme are outside the scope of this document. A client that does not support the signaled content
access authorization would not be able to play the content.
NOTE       This subclause does not provide any requirements on client authentication or content access
authorization.

The signaling and setup of the specific scheme may be done outside the MPD level, e.g. a system applying
such a scheme may only permit access to the MPD if the client is authenticated or the content access is
authorized.
However, there are cases for which the MPD is provided without access control. In this case, client
authentication and content access authorization methods may be signaled in the MPD using Essential
Property Descriptors. The DASH Client may be offered with multiple options to access the entire Media
Presentation or specific parts of the Media Presentation, e.g. a specific Adaptation Set. An Essential
Property descriptor may be placed at the appropriate level, and, for example, the EssentialProperty@
schemeIdUri may signal the URN of the appropriate authentication or authorization method and the
EssentialProperty@value attribute may carry some scheme specific information. Other signaling may
be used, but the detailed signaling and semantics remain specific to a particular scheme.
There may be cases in which multiple options are provided to the client for client authentication and/
or content access authorization. In this case, the EssentialProperty@id value may be used to signal
functional equivalence of descriptors. In the absence of other information, the EssentialProperty@id
value may contain the following URNs:
— urn:mpeg:dash:client-authentication:2015 for client authentication.
— urn:mpeg:dash:content-authorization:2015 for content access authorization.
In this case,
— each EssentialProperty descriptor with EssentialProperty@id value of urn:mpeg:dash:client-
  authentication:2015 indicates a supported client authentication protocol. A client may select one of
  possibly multiple elements with that EssentialProperty@id value, and a scheme that it recognizes
  based on the @schemeIdUri attribute; and execute that protocol using any information included in
  the @value attribute and any extension elements defined by that particular authentication scheme.
— each EssentialProperty descriptor with EssentialProperty@id value of urn:mpeg:dash:content-
  authorization:2015 indicates a supported content access authorization protocol. A client may
  select one of possibly multiple elements with that EssentialProperty@id value, and a scheme
  that it recognizes based on the @schemeIdUri attribute; and execute that protocol using any
  information included in the @value attribute and any extension elements defined by that particular
  authorization scheme.
A DASH Client that is successfully authenticated as an authenticated player and authorized for playback
of some or all Representations or Adaptation Sets in the MPD may request and play the authorized
content.




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5.8.5.12 Audio Interactivity Descriptor

A scheme is defined to be used with an Essential Property or Supplemental Property Descriptor as
"urn:mpeg:dash:audio-interactivity:2016".

This descriptor indicates if the associated audio content (Adaptation Set, Preselection or Representation)
contains media components that are enabled for user interactivity through associated metadata. The
descriptor is used e.g. to facilitate user interface (UI) resource management in the receiving client.
Interactivity involves user interaction with elements, i.e. the user can modify dynamically for example
the gain, spatial position or mute/unmute status of audio elements. Therefore, a UI is required to enable
this kind of personalization during playback. A supplemental descriptor should be used if a UI is not
mandatory to select and play the corresponding audio elements. An essential descriptor should be used
if a UI is mandatory in order to play the corresponding audio elements. The @value attribute is owned
by the codec in use. The detailed semantics of the descriptor are also owned by the codec in use.

5.9 DASH metrics descriptor

5.9.1    Overview

This document does not define mechanisms for reporting metrics; however, it does define a set of
metrics and a mechanism that may be used by the service provider to trigger metric collection and
reporting at the clients, if a reporting mechanism is available. The trigger mechanism is based on the
Metrics element in the MPD. The element contains the list of DASH Metrics for which the measurements
are desired, the time interval and the granularity for the measurements, as well as the scheme according
to which the metric reporting is desired.
The semantics of the attributes within the Metrics element are provided in Table 31 of subclause 5.9.2.
The XML syntax of Metrics element is provided in 5.9.3.
The semantics of the Reporting element are provided in subclause 5.9.4.

5.9.2    Semantics

                                    Table 31 — Semantics of Metrics element
      Element or Attribute Name                Use                              Description
        Metrics                                           DASH metric element
          @metrics                              M         specifies all DASH Metrics that the client is desired to
                                                          report as a list of DASH Metric keys. The keys shall be
                                                          used as defined in Annex D, separated by a comma.
          Range                               0 ... N     specifies the time period during which DASH Metrics
                                                          collection is requested. When not present, DASH Met-
                                                          rics reporting is requested for the whole duration of the
                                                          content.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                              Table 31 (continued)
       Element or Attribute Name               Use                               Description
             @starttime                         O         specifies the start time of the DASH Metrics collection
                                                          operation. When not present, DASH Metrics collection is
                                                          requested from the beginning of content consumption.
                                                          For services with MPD@type='dynamic', the start time
                                                          is indicated in wall clock time by adding the value of
                                                          this attribute to the value of the
                                                          MPD@availabilityStartTime attribute.
                                                          For services with MPD@type='static', the start time is
                                                          indicated in Media Presentation time and is relative to
                                                          the PeriodStart time of the first Period in this MPD.
                                                          NOTE   For example, if MPD@availabilityStartTime is
                                                          14:30 and the metrics collection is intended to start at
                                                          14:45, then @starttime is 0:15.
             @duration                          O         specifies the duration of the DASH metrics collection
                                                          interval. The value of the attribute expresses in Media
                                                          Presentation time.
                                                          If not present, the value is identical to the Media Pres-
                                                          entation duration.
          Reporting                           1 ... N     specifies information about the requested reporting
                                                          method and formats.
                                                          For more details, refer to subclause 5.9.4.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.


5.9.3    XML syntax

<!-- Metrics -->
<xs:complexType name="MetricsType">
       <xs:sequence>
           <xs:element name="Range" type="RangeType" minOccurs="0" maxOccurs="unbounded"/>
           <xs:element name="Reporting" type="DescriptorType" maxOccurs="unbounded"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="metrics" type="xs:string" use="required"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


<!-- Metrics Range -->
<xs:complexType name="RangeType">
       <xs:attribute name="time" type="xs:duration"/>
       <xs:attribute name="duration" type="xs:duration"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>




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5.9.4    Metric reporting

DASH Clients should collect metrics based on the Metric element and report the collected metrics using
one of the reporting schemes in the Reporting descriptor in the Metrics element.
It is expected that elements containing unrecognized reporting schemes are ignored by the DASH Client.
If multiple Reporting elements are present, it is expected that the client processes one of the recognized
reporting schemes.
No reporting scheme is specified in this document. It is expected that external specifications may define
formats and delivery for the reporting data. External specifications defining a reporting scheme should
take specific care to respect privacy issues.

5.10 Events

5.10.1 Overview

Events may be provided in the MPD or within a Representation in order to signal aperiodic information
to the DASH Client or to an application. Events are timed, i.e. each event starts at a specific media
presentation time and typically has a duration. Events include DASH specific signalling or application-
specific events. In the latter case, a proper scheme identifier identifies the application such that the
DASH Client can forward the event to the proper application.
Events of the same type are clustered in Event Streams. This enables a DASH Client to subscribe to an
Event Stream of interest and ignore Event Streams that are of no relevance or interest.
Two ways of signalling events are provided, namely:
— events signalled in the MPD as defined in subclause 5.10.2,
— events signalled inband in the Representation as defined in subclause 5.10.3.
DASH-specific events are defined in subclause 5.10.4.

5.10.2 MPD Events

5.10.2.1 Overview

Events may be signalled in the MPD. A sequence of events assigned to the media presentation time may
be provided in the MPD on Period level. Events of the same type are summarized in an Event Stream
that is specified by an EventStream element in a Period element. Events shall terminate at the end of a
Period even if the start time is after the Period boundary or duration of the event extends beyond the
Period boundary.
The EventStream element is structured in a similar way as the descriptor defined in subclause 5.8,
namely it contains a @schemeIdUri attribute that provides a URI to identify the scheme and an optional
attribute @value. The semantics of the element are specific to the scheme employed. The URI identifying
the scheme may be a URN or a URL.
A Period shall contain at most one EventStream element with the same value of the @schemeIdUri attribute
and the value of the @value attribute, i.e. all Events of one type shall be clustered in one Event Stream.
As Event Streams contain timed events, also a time scale attribute @timescale is provided to assign
events to a specific media presentation time within the Period. The timed events themselves are
described by the Event element.




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This document does not provide any specific information on how to use Event Streams. It is up to
the application that employs DASH formats to instantiate the description elements with appropriate
scheme information. However, this document defines some specific schemes in subclause 5.10.4.
NOTE       A DASH application that uses one of these elements defines a Scheme Identifier in the form of a URI
and then defines the value space for the element when that Scheme Identifier is used. The Scheme Identifier
appears in the @schemeIdUri attribute.

The semantics of the attributes within the EventStream element are provided in Table 32 of subclause
5.10.2.2 and the semantics of the attributes within the Event element are provided in Table 33 of
subclause 5.10.2.2. The XML syntax of EventStream and Event element is provided in subclause 5.10.2.3.

5.10.2.2 Semantics

                                    Table 32 — Event Stream Semantics
  Element or Attribute Name              Use                                  Description
   EventStream                                     specifies event Stream
       @xlink:href                        O        specifies a reference to an external EventStream element
       @xlink:actuate                    OD        specifies the processing instructions, which can be either
                                                   "onLoad" or "onRequest".
                                       default:
                                     onRequest     This attribute shall not be present if the @xlink:href attrib-
                                                   ute is not present.
       @schemeIdUri                       M        identifies the message scheme. The string may use URN or
                                                   URL syntax. When a URL is used, it is recommended to also
                                                   contain a month-date in the form mmyyyy; the assignment
                                                   of the URL must have been authorized by the owner of the
                                                   domain name in that URL on or very close to that date. A URL
                                                   may resolve to an Internet location, and a location that does
                                                   resolve may store a specification of the message scheme.
       @value                             O        specifies the value for the event stream element. The value
                                                   space and semantics must be defined by the owners of the
                                                   scheme identified in the @schemeIdUri attribute.
       @timescale                         O        specifies the timescale in units per seconds to be used for the
                                                   derivation of different real-time duration values in the Event
                                                   elements.
                                                   If not present on any level, it shall be set to 1.
       Event                            0 ... N    specifies one event. For details see Table 33.
                                                   Events in Event Streams shall be ordered such that their pres-
                                                   entation time is non-decreasing.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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                                         Table 33 — Event Semantics
      Element or Attribute Name               Use                               Description
          Event                                          specifies an event and contains the message of the
                                                         event, formatted as a string. The content of this element
                                                         depends on the event scheme.
             @presentationTime                OD         specifies the presentation time of the event relative to
                                           default: 0    the start of the Period.
                                                         The value of the presentation time in seconds is the divi-
                                                         sion of the value of this attribute and the value of the
                                                         @timescale attribute.
                                                         If not present, the value of the presentation time is 0.
             @duration                          O        specifies the presentation duration of the event.
                                                         The value of the duration in seconds is the division of
                                                         the value of this attribute and the value of the
                                                         @timescale attribute.
                                                         If not present, the value of the duration is unknown.
             @id                                O        specifies an identifier for this instance of the event.
                                                         Events with equivalent content and attribute values in
                                                         the Event element shall have the same value for this
                                                         attribute.
                                                         The scope of the @id for each Event is with the same @
                                                         schemeIdURI and @value pair.
             @messageData                       O        specifies the value for the event stream element. The
                                                         value space and semantics must be defined by the
                                                         owners of the scheme identified in the @schemeIdUri
                                                         attribute.
                                                         NOTE   This attribute is an alternative to specifying a
                                                         complete XML element(s) in the Event. It is useful when
                                                         an event leans itself to a compact string representation.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
Elements are bold; attributes are non-bold and preceded with an @.




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5.10.2.3 XML-Syntax

<!-- Event Stream -->
<xs:complexType name="EventStreamType">
       <xs:sequence>
           <xs:element name="Event" type="EventType" minOccurs="0" maxOccurs="unbounded"/>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute ref="xlink:href"/>
       <xs:attribute ref="xlink:actuate" default="onRequest"/>
       <xs:attribute name="schemeIdUri" type="xs:anyURI" use="required"/>
       <xs:attribute name="value" type="xs:string"/>
       <xs:attribute name="timescale" type="xs:unsignedInt"/>
</xs:complexType>


<!-- Event     -->
<xs:complexType name="EventType">
       <xs:sequence>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
       </xs:sequence>
       <xs:attribute name="presentationTime" type="xs:unsignedLong" default="0"/>
       <xs:attribute name="duration" type="xs:unsignedLong"/>
       <xs:attribute name="id" type="xs:unsignedInt"/>
       <xs:attribute name="messageData" type="xs:string"/>
       <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


5.10.3 Inband Event Signalling

5.10.3.1 Overview

Event streams may be multiplexed with Representations by adding the event messages as part of the
Segments. The event streams may be present in selected Representations, in one or several selected
Adaptation Sets only or in all Representations. For example, one possible configuration is one where
only the audio Adaptation Sets may contain inband events.
In order to identify the Representations that carry the event stream, the presence of Events shall be
signalled in the MPD as defined in subclause 5.10.3.2.
If more than one Representation carries event streams with the same @schemeIdUri and the same
@value, the streams shall be semantically equivalent, i.e. processing one Representation is sufficient.

The format of the box to signal events in the media stream is provided in subclause 5.10.3.3.

5.10.3.2 MPD Signalling

An inband event stream that is present in a Representation shall be indicated by an InbandEventStream
element on Adaptation Set or Representation level. The InbandEventStream type is defined in subclause
5.10.2, Table 32.


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One Representation may contain multiple inband Event streams, each indicated by a separate
InbandEventStream element.

5.10.3.3 Event message box

5.10.3.3.1 General

The Event Message box ('emsg') provides signalling for generic events related to the media presentation
time. The same semantics as for an event defined in the MPD specified in subclause 5.10.2 applies.
The Event Message box ('emsg') also provides signalling that are specific for the DASH operations. The
event scheme identifier and the events are defined in subclause 5.10.4.
A Media Segment if encapsulated in ISO BMFF may contain one or more event message ('emsg') boxes. If
present, any 'emsg' box shall be placed before any 'moof' box.
The carriage of event messages in the MPEG-2 TS is described in subclause 5.10.3.3.5.
Event message boxes with scheme identifiers that are not defined in the MPD should not be present.
If a DASH Client detects an event message box with a scheme that is not defined in MPD, the client is
expected to ignore it.

5.10.3.3.2 Definition

Box Type: 'emsg'
Container: Segment
Mandatory: No
Quantity: Zero or more

5.10.3.3.3 Syntax
aligned(8) class DASHEventMessageBox extends FullBox('emsg', version, flags=0){
   if (version==0) {
      string            scheme_id_uri;
      string            value;
      unsigned int(32) timescale;
      unsigned int(32) presentation_time_delta;
      unsigned int(32) event_duration;
      unsigned int(32) id;
   } else if (version==1) {
      unsigned int(32)      timescale;
      unsigned int(64)      presentation_time;
      unsigned int(32)      event_duration;
      unsigned int(32)      id;
      string                scheme_id_uri;
      string                value;
   }
   unsigned int(8)   message_data[];
}


5.10.3.3.4 Semantics

— scheme_id_uri: is a null-terminated ('C') string in UTF-8 characters that identifies the message
  scheme. The semantics and syntax of the message_data[] are defined by the owner of the scheme
  identified. The string may use URN or URL syntax. When a URL is used, it is recommended to also
  contain a month-date in the form mmyyyy; the assignment of the URL must have been authorized
  by the owner of the domain name in that URL on or very close to that date. A URL may resolve to an
  Internet location, and a location that does resolve may store a specification of the message scheme.
— value: is a null-terminated ('C') string in UTF-8 characters that specifies the value for the event. The
  value space and semantics must be defined by the owners of the scheme identified in the scheme_id_
  uri field.


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— timescale provides the timescale, in ticks per second, for the time delta and duration fields within
  version 0 of this box.
— presentation_time_delta provides the Media Presentation time delta of the media presentation
  time of the event and the earliest presentation time in this segment. If the segment index is present,
  then the earliest presentation time is determined by the field earliest_presentation_time of the
  first 'sidx' box. If the segment index is not present, the earliest presentation time is determined as
  the earliest presentation time of any access unit in the media segment. The timescale is provided in
  the timescale field.
— presentation_time provides the Media Presentation time of the event measured on the Movie
  timeline, in the timescale provided in the timescale field.
— event_duration provides the duration of event in media presentation time. In version 0-, the
  timescale is indicated in the timescale field; in version 1, the timescale of the MovieHeaderBox is
  used. The value 0xFFFF indicates an unknown duration.
— id: a field identifying this instance of the message. Messages with equivalent semantics shall have
  the same value, i.e. processing of any one event message box with the same id is sufficient.
— message_data: body of the message, which fills the remainder of the message box. This may be empty
  depending on the above information. The syntax and semantics of this field must be defined by the
  owner of the scheme identified in the scheme_id_uri field.

5.10.3.3.5 Carriage of the Event Message Box in MPEG-2 TS

A Media Segment if encapsulated in MPEG-2 Transport Stream may contain one or more event message
('emsg') boxes encapsulated into transport stream packets.
Transport stream packets carrying the 'emsg' box shall use a reserved fixed PID value of 0x0004.
The transport stream packet carrying the start of the ′emsg′ box shall have the payload_unit_start_
indicator field set to '1', and the packet payload will start with the 'emsg' box. The complete Box.type
field shall be present in this first packet, and the payload size shall be at least 8 bytes.
The continuation of box data occupies the following transport stream packets from the same PID. The
last packet carrying the end of the box is padded using adaptation field stuffing bytes.
A segment shall contain only complete boxes. If @bitstreamSwitching is set, and subsegments are used,
a subsegment shall contain only complete ′emsg′ boxes.
For any packet with PID value of 0x0004, the value of the transport_scrambling_control field shall be
set to ′00′.

5.10.3.3.6 Inband Event Alignment

If AdaptationSet.InbandEventStream element is present and AdaptationSet@SegmentAlignment
attribute is present and non-false, event message boxes in non-overlapping Segments shall be aligned.
Let SR1(T) be a segment of Representation R1 with earliest presentation time T, and let the Adaptation
Set contain N representations. If SR1(T) contains one or more Event Message ('emsg') boxes, identical
'emsg' boxes shall be contained in each of the non-overlapping Segments SR2(T)…SRN(T).
NOTE 1     As a consequence, under the above constrains, all representations in the Adaptation Set contain events.

NOTE 2     If AdaptationSet@SegmentAlignment is an integer larger than 1, the alignment described above
applies only to non-overlapping Segments.

NOTE 3    If Segments are non-overlapping, but their EPT differ, alignment described above still applies, and
Event Message boxes are in the beginning of both Segments.




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5.10.4 DASH-specific events

5.10.4.1 Overview

DASH specific events that are of relevance for the DASH Client are signalled in the MPD. The URN
"urn:mpeg:dash:event:2012" is defined to identify the event scheme defined in Table 34.

For events using this schema, the 'emsg'.message_data[] field contains the DASHEvent structure
defined below:
aligned(8) struct DASHEvent
{
   string publish_time; // MPD@publishTime per sec. 5.10.4.3
   if ( 'emsg'.value == 2 )
   {
      string mpd_patch; // MPD patch, per sec. 5.10.4.3
   }
   if ( 'emsg'.value == 3 )
   {
      string mpd; // full MPD, per sec. 5.10.4.4
   }
}
                  Table 34 — InbandEventStream@value attribute for scheme with a value
                                           "urn:mpeg:dash:event:2012"

          @value                                                  Description
              1               indicates that MPD validity expiration events as defined in subclause 5.10.4.2 are
                              signalled in the Representation. MPD validity expiration is signalled in the event
                              stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                              presentation time smaller than the event time.
              2               indicates that MPD validity expiration events as defined in subclause 5.10.4.3 are
                              signalled in the Representation. MPD validity expiration is signalled in the event
                              stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                              presentation time smaller than the event time. In addition, the message includes
                              an MPD Patch as defined in subclause 5.10.4.3 in DASHEvent.mpd field within the
                              message_data field.
              3               indicates that MPD validity expiration events as defined in subclause 5.10.4.3 are
                              signalled in the Representation. MPD validity expiration is signalled in the event
                              stream as defined in subclause 5.10.4.2 at least in the last segment with earliest
                              presentation time smaller than the event time. In addition, the message includes a
                              complete MPD as defined in subclause 5.10.4.4 in DASHEvent.mpd field within the
                              message_data field.

NOTE     Additional  values      for     InbandEventStream@value                   when       @schemeIDURI          is
urn:mpeg:dash:event:2012 are reserved for ISO/IEC.

5.10.4.2 MPD validity expiration

MPD validity expiration events provide the ability to signal to the client that the MPD with a specific
publish time can only be used up to a certain media presentation time.
MPD validity expiration shall be signalled for all updates causing an extension of the timeline, except
for the following ones:
— The value of the MPD@minimumUpdatePeriod is changed,
— The value of a SegmentTimeline.S@r has changed,
— A new SegmentTimeline.S element is added.




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If the scheme_id_uri is set to "urn:mpeg:dash:event:2012" and the value is set to 1, then the fields in
the event message box shall document the following:
— the DASHEvent.publish_time field contains the publish time of an MPD, i.e. the value of the MPD@
  publishTime.

— The media presentation time beyond the event time (indicated time by presentation_time_delta)
  is correctly described only by MPDs with publish time greater than indicated value in the message_
  data field.

— the event duration expresses the remaining duration of Media Presentation from the event time. If
  the event duration is 0, Media Presentation ends at the event time. If 0xFFFF, the media presentation
  duration is unknown. In the case in which both presentation_time_delta and event_duration are
  zero, then the Media Presentation is ended.
This implies that clients attempting to process the Media Presentation at the event time or later are
expected to operate on an MPD with a publish time that is later than the indicated publish time in this box.
Event boxes in different segments may have identical id fields, but different values for presentation_
time_delta if the earliest presentation time is different across segments.

Figure 4 shows an example for MPD validity expiration method. An MPD signals the presence of the
scheme in one or several Representations. Once a new MPD gets available, that adds new information
not present in the MPD with @publishTime="2012-11-01T09:06:31.6", the expiration time of the
current MPD is added to the segment by using the emsg box. The information may be present in multiple
segments.




               Figure 4 — Example for MPD validity expiration to signal new Period


5.10.4.3 MPD Patch

For DASH events with value 2, an MPD patch shall be included in theDASHEvent structure, immediately
following the publish_time field. The payload of this message shall be a valid XML patch compliant to
XML Patch Operations framework, as defined in IETF RFC 5261.
The result of the patch application shall be parse-tree identical before any XLink resolution to the MPD
that would have been retrieved at event time.



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XPath selectors shall at least include a check on MPD@publishTime, and the last patch operation should
change the value of MPD@publishTime.

5.10.4.4 MPD Update Event

For DASH events with value 3, a complete MPD shall be included in the in the DASHEvent structure,
immediately following the publish_time field. The content of the mpd field shall be the MPD.

5.10.4.5 DASH Callback Event

5.10.4.5.1 General

DASH Callback events are indications in the content that it is expected by a DASH Client to issue an
HTTP GET request to a given URL and ignore the HTTP response. These event schemes are identified by
the URN "urn:mpeg:dash:event:callback:2015".
A content author may use such an event for tracking play-back of specific content on a server that is not
included in the media path.
The Status-Code field of the HTTP response should be 2xx; however, the client is expected to entirely
ignore the response.
NOTE 1      HTTP GET (as opposed to HEAD) is used in alignment with IAB VAST[18].

The message body of the HTTP response should be as small as possible or absent.
NOTE 2     The system adopting this functionality is expected to define appropriate means for secure handling of
this feature.

5.10.4.5.2 Inband event

Table 35 defines the message data and the expected actions for different @value values when the DASH
callback event is signaled as an Inband Event.

           Table 35 — Message data and expected actions for DASH call back inband event
   value           message_data[]                                       Action
      1         Valid HTTP/HTTPS URL     An HTTP GET request is expected to be issued to a URL contained in
                                         message_data[].
                                         The URL shall be a NULL-terminated string.
                                         HTTP response shall either not be provided or be provided such that it
                                         can be discarded.

5.10.4.5.3 MPD event

Table 36 defines the relevant parameters for a call back event signaled in the MPD.

              Table 36 — Relevant parameters for a call back event signaled in the MPD
                 Attribute                                               Value
EventStream@schemeIdUri                 "urn:mpeg:dash:event:callback:2015"
EventStream@value                       1
Event@messageData                       HTTP-URL
                                        HTTP response is expected to be discarded without parsing.




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5.10.4.6 Presentation Termination Event

DASH Presentation Termination events are indications that the currently playing Media Presentation is
ending at a time earlier than expected from the current MPD. This event can be either an inband event
or an MPD event. These events are identified by the URN "urn:mpeg:dash:event:ttfn:2016".
NOTE      The primary use case for this feature is when the client does not expect to get an MPD update.

Three values are defined according to Table 37.

           Table 37 — interpretation of value field of a Presentation Termination event
         value                                                Description
            0             indicates the end of presentation, including these of chained-to and fallback MPDs
            1             Indicates end of presentation. Presentation described in the chained-to MPD (if the
                          latter is present) is still valid.
                          NOTE   If the value of earliestTimeToResolve in the MPD chaining descriptor
                          is later than the time derived from 'emsg'.presentation_time_delta, this is
                          considered an error condition and triggers switch to the fallback presentation, if
                          possible.
            2             Indicates end of presentation due to an unspecified error condition. Fallback pres-
                          entation is still valid; hence the client is expected to switch to it.

5.11 MPD Chaining

5.11.1 General

MPD chaining provides a mechanism to indicate that, at the end of one Media Presentation, a new Media
Presentation starts. The end may be a regular end, or an early termination due to an error condition.
In order to enable this mechanism, the “chained-from” MPD may include an Essential or Supplemental
descriptor which points to the “chained-to” MPD location.
Two cases are differentiated, a regular chaining operation at the end of the chained-from MPD in 5.11.2
and a case for which the chained-to MPD is only played in case the “chained-from” MPD is terminated
early due to error conditions as defined in subclause 5.11.3 and serves as a fallback.

5.11.2 Regular Chaining

Regular chaining refers to the case that a Media Presentation is played until the end, and once the
Media Presentation is finished, a new chained Media Presentation is played instantaneously. A client
receiving the chained-from MPD is expected to play the chained-to MPD right after the chained-from
one. Each MPD has its own independent media timeline, but the DASH Client is expected to continue the
presentation to create a sequential presentation.
The chained-from MPD may be of type static or dynamic. The chained-to MPD may also be of type static
and type dynamic.
MPD chaining can for example be used for pre-roll ads or creating a sequence of programs using
multiple MPDs. In this case, the chained-from MPD may be of type static, whereas the chained-to MPD
may be of type dynamic. In this case, the client is expected to join the dynamic MPD at the live edge, or if
an anchor is presented as defined in C.4, at the indicated time in the anchor. The chained-from MPD may
contain an @xlink:href Period for personalization of the ad, whereas the chained-to MPD is common.
MPD chaining is signaled by using an Essential or Supplementary Descriptor on MPD level with @
schemeIdUri set to "urn:mpeg:dash:mpd-chaining:2016". Each MPD may contain at most one descriptor
for MPD chaining. The @value of this descriptor shall be composed of the whitespace-separated
parameters according to Table 38. If @value only contains the first parameter, no whitespace is needed.



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                               Table 38 — Semantics of value for MPD chaining
            Value parameters                    Use                          Description
    url                                          M         specifies the location of manifest to be played
                                                           manifest (chained-to MPD) after this MPD.
                                                           The client is expected, after playback of the
                                                           entire MPD, to download the chained-to MPD
                                                           from the location defined by this parameter and
                                                           play chained-to MPD without any delays (similar
                                                           to play back of a new period). In the case the url
                                                           does not return a valid MPD or any HTTP error
                                                           response, the client is expected to treat it as an
                                                           invalid MPD.
                                                           If the url has any anchor, it anchors the
                                                           chained-to MPD according to C.4.
    earliestTimeToResolve                        O         recommends the earliest media presentation
                                                           time in the chained-from MPD as a difference to
                                                           the end of the Media Presentation in millisec-
                                                           onds to fetch the chained-to MPD.
                                                           If not present, no recommendation is provided.

5.11.3 Fallback Chaining

Fallback chaining refers to the case that a Media Presentation is played, but once an error condition
occurs, a new chained Media Presentation may be played. Fallback chaining descriptor allows the
author to provide alternative content the client can switch to in case of error condition preventing it
from continuing normal playback.
An error condition triggering such processing is one of the following:
— Failure to of an MPD.
— Failure to download a media (sub)segment with a given value of earliest presentation time, after
  exhausting all possibilities of retrieving it (such as trying all BaseURLs and all Representations
  within an Adaptation Set), if the value of MPD@type is "static".
— Failure to retrieve a chained-to MPD.
— Unspecified error condition triggered via Presentation Termination event with value for fallback.
Fallback presentation descriptor provides a URL to an alternative MPD which should be played out once
one of the aforementioned error conditions makes it impossible to continue playback of the current
Media Presentation.
Fallback shall be signaled by a Supplementary Descriptor on MPD level with @schemeIdUri set to
"urn:mpeg:dash:fallback:2016". Each MPD may contain at most one Fallback Presentation descriptor.

The @value of this descriptor shall be one URL or a whitespace-separated list of URLs of the “chained-
to” MPD. If multiple URLs are provided, the content author expresses the preferences of using one of
those by the order with the first one having the highest preference.


6 Segment formats

6.1 General
The Segment formats specify the syntax and semantics of the resources that are associated with HTTP-
URLs identified by the MPD, or directly provided in data URLs. For example, an HTTP GET request to
a resource identified in the MPD is responded with an HTTP response including an entity body that
conforms to a segment format.

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Different Segment types are defined in subclause 6.2.
This document focuses on Segment formats based on MPEG container formats. Specifically,
— in subclause 6.3, Segment formats are described for use with Media Segments based on the ISO Base
  Media File Format as defined in ISO/IEC 14496-12;
— in subclause 6.4, Segment formats are described for use with Media Segments based on the MPEG-2
  Transport Stream as defined in the ISO/IEC 13818-1.
In both cases, the Segment formats are defined such that the Media Segment formats comply with the
respective container formats.
Guidelines for adding other Segment formats are provided in Annex F.

6.2 Segment types

6.2.1     General

Four different Segment types are defined:
— Initialization Segments containing initialization information for accessing the Representation in
  subclause 6.2.2,
— Media Segments containing encoded media content components in subclause 6.2.3,
— Index Segments primarily containing indexing information for Media Segments in subclause 6.2.4,
— Bitstream Switching Segments containing essential data to switch to the Representation to which it
  is assigned in subclause 6.2.5.

6.2.2     Initialization Segment

The Initialization Segment contains initialization information for accessing the Representation. The
Initialization Segment shall not contain any media data with an assigned presentation time.
NOTE      The Initialization Segment is conceptually processed by the media engine in Figure 2 to initialize the
media engines for enabling play-out of Media Segments of the containing Representation.

The Initialization Segment is media format specific and more details shall be defined for each media
format that permits or requires the presence of an Initialization Segment.

6.2.3     Media Segment

6.2.3.1    General

A Media Segment contains and encapsulates media streams that are either described within this Media
Segment or described by the Initialization Segment of this Representation or both.
In addition, a Media Segment
1) shall contain a number of complete access units.
2) should provide information on how to access the Media Presentation within this Segment, e.g. exact
   presentation time and an index. There is no requirement that a Media Segment starts with a SAP,
   but it is possible to signal in the MPD that all media streams in a Segments within a Representation
   start with a SAP.
3) shall contain only media streams that start with a SAP of type 1 or 2, if it is the first Media Segment
   in the Representation.


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4) shall contain sufficient information to time-accurately present each contained media component in
   the Representation. The time-accuracy enables a client to seamlessly switch Representations and
   jointly present multiple Representations.
5) may be divided into Subsegments by a Segment Index as defined in subclause 6.2.3.2. In some media
   formats, the Segment Index may be contained in the Media Segment. In other formats, the Segment
   Index may be included in a dedicated Index Segment. For more details on Index Segments, refer to
   subclause 6.2.4.
6) shall specify all Media Presentation times relative to the start of the Period and compensated
   with the value of the @presentationTimeOffset. The presentation time in Media Segments shall be
   accurate to ensure accurate alignment of all Representations in one Period. For more details, refer
   to subclause 7.2.1.
The Media Segment is media format specific and more details are specified for individual media formats.

6.2.3.2     Subsegments and Segment Index

Media Segments may contain multiple Subsegments. Each Subsegment shall contain a number
of complete access units. There may also be media-format-specific restrictions on Subsegment
boundaries. If a Segment is divided into multiple Subsegments, this division is described by a compact
Segment index, which provides the presentation time range in the Representation and corresponding
byte range in the Segment occupied by each Subsegment for one or more media streams. Clients may
download this index in advance and then issue requests for individual Subsegments.
NOTE       Segment Index information is conceptually processed by the DASH access client in Figure 2 in order to
access Subsegments by the use of HTTP partial GET requests.

In addition, the Segment Index provides timing and stream access information. This includes the earliest
presentation time of access units in each Subsegment of an indexed media stream and the presentation
time of the first SAP, if present.
If a Segment Index is present for at least one media stream, then for any media stream for which no
Segment Index is present, referred to as non-indexed stream, the following applies:
— every access unit of the non-indexed streams shall be a SAP of type 1.
— for each Subsegment, every non-indexed stream shall contain exactly one access unit within the
  Subsegment with presentation time less than or equal to the earliest presentation time of the
  Subsegment.
When multiple media streams are indexed in a single index file, the corresponding Segment Index for
different media streams should index the same number of Subsegments.
If no Segment Index is provided for a Media Segment, then the Media Segment constitutes one
Subsegment.
The Segment Index may be included in the Media Segment, typically in the beginning of the file.
Segment Index information may also be provided in separate Index Segments as defined in subclause
6.2.4. A Subsegment may itself be further subdivided using further Segment Indices. If a Subsegment
only contains media data but no Segment Index, it is referred to as Media Subsegment.
The Segment Index may contain additional Subsegment indexing information for accessing different
levels of Subsegments in a Media Subsegment. For more details, refer to subclause 6.2.3.3.
A generic mechanism for indexing of Media Segments is provided by the Segment Index ('sidx') box in
ISO/IEC 14496-12. This indexing applies to all media formats defined in this document. In this case,
— the earliest presentation time of a Subsegment is documented in the earliest_presentation_
  time field.




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— the byte range is document by the first_offset field and the reference_size field. If two Segment
  Index boxes document the same byte range, then the value of their first_offset field and their
  reference_size field shall be identical.

6.2.3.3    Subsegment Index

Media Subsegments may be indexed further to enable accessing different levels of Subsegments in a
Media Subsegment. This Subsegment Index may also be provided in separate Index Segments together
with the Segment Index.
A generic syntax and semantic for Subsegment indexing is provided by the Subsegment Index ('ssix')
in ISO/IEC 14496-12.

6.2.4     Index Segment

Index Segments contain information that is related to Media Segments and primarily contain indexing
information for Media Segments. An Index Segment may provide information for one or more Media
Segments.
The Index Segment may be media format specific and more details shall be defined for each media
format that permits Index Segments.

6.2.5     Bitstream Switching Segment

A Bitstream Switching Segment contains data essential for switching to the Representation it is
assigned to.
The Bitstream Switching Segment is media format specific and more details shall be defined for each
media format that permits Bitstream Switching Segments.

6.3 Segment formats for ISO base media file format

6.3.1     General

This subclause defines Segment formats based on the ISO Base Media File Format as specified in
ISO/IEC 14496-12. All Segment formats defined in subclause 6.3 shall contain one or more boxes in
accordance with the box structure of the ISO base media file format ISO/IEC 14496-12.
Refinements on generic concepts are introduced in subclause 6.3.2. Segment formats are defined for
Initialization Segments (subclause 6.3.3), Media Segments (subclause 6.3.4) and Self-Initializing Media
Segments (subclause 6.3.5). Bitstream Switching Segments and Index Segments are not defined for this
media format.

6.3.2     Preliminaries: Refinements of generic concepts

6.3.2.1    Subsegments

Media Subsegments for Media Segments based on the ISO base media file format are defined as a self-
contained set of one or more consecutive movie fragments; such a set contains one or more movie
fragment boxes with the corresponding media data ('mdat') box(es). A media data box containing data
referenced by a movie fragment ('moof') box shall follow that movie fragment box and precede the next
movie fragment box, if any, containing information about the same track.
For a Media Subsegment, the value of the reference_type field in the describing Segment Index ('sidx')
box shall be set to 0.




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6.3.2.2     Media stream access points

Different types of media stream access points for the ISO base media file format are defined in
ISO/IEC 14496-12:—, Annex I.

6.3.2.3     Segment Index

If the Segment Index is provided, the Segment Index ('sidx') box in ISO/IEC 14496-12 shall be used.
Exact definitions for the use of the Segment Index ('sidx') box with media formats based on the
ISO base media file format are specified in ISO/IEC 14496-12.

6.3.2.4     Subsegment Index

If the Subsegment Index is provided, the Subsegment Index ('ssix') box in ISO/IEC 14496-12 shall be
used. Exact definitions for the use of the Subsegment Index ('ssix') box for the use with media formats
based on the ISO base media file format are specified in ISO/IEC 14496-12.

6.3.3     Initialization Segment format

The Initialization Segment shall conform to the ISO base media file format.
The Initialization Segment shall contain an "ftyp" box, and a “moov” box. It shall not contain any "moof"
boxes. It may contain other boxes, such as the "pdin" box. The tracks in the "moov" box shall contain no
samples (i.e. the entry_count in the "stts", "stsc", and "stco" boxes shall be set to 0), and the "moov" box
is thus small.
NOTE 1     This can reduce the start-up time significantly as the Initialization Segment needs to be downloaded
before any Media Segment can be processed.

The "mvex" box shall be contained in the "moov" box to indicate that the client has to expect movie
fragments. The "mvex" box also sets default values for the tracks and samples of the following movie
fragments.
The Initialization Segment provides the client with the metadata that describes the encoding of the
media content, specifically of the Representation. The media engine in the client uses the information in
the "moov" box to identify the available media content components and their characteristics.
NOTE 2     It is expected that the media engine in the DASH Clients does not require any information in the MPD
for successful decoding and presentation of the contained media streams.

6.3.4     Media Segment types

6.3.4.1     General

Media Segments can be of different types: Delivery Unit Media Segments, simple Media Segments,
Random Access Media Segments, Switching Media Segments, Indexed Media Segments, Sub-Indexed
Media Segments.
All Media Segments shall conform to the general definitions in subclause 6.3.4.2. Additional type-
specific constraints are provided further below in subclause 6.3.4.
Further rules on Media Segments in combination with certain MPD attributes are provided in
subclause 7.3.
Media Segments may conform to multiple types. Conformance can be expressed by adding the brand(s)
to the 'styp' box as a compatible brand and, if applicable, as the major brand.
Unless explicitly mentioned differently, the boxes referred in subclause 6.3.4 are specified in
ISO/IEC 14496-12.


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6.3.4.2    Delivery Unit Media Segment

A Media Segment conforming to the Media Segment Format is defined as follows:
— Each Media Segment shall contain one or more whole self-contained movie fragments. A whole,
  self-contained movie fragment is a movie fragment ('moof') box and a media data ('mdat') box that
  contains all the media samples that do not use external data references referenced by the track runs
  in the movie fragment box.
— Each 'moof' box shall contain at least one track fragment.
— The 'moof' boxes shall not use external data references, the flag 'default-base-is-moof' shall
  be set, and data-offset shall be used, i.e. 'base-data-offset-present' shall not be used. This
  combination of settings is referred to as movie-fragment relative addressing for media data.
— Absolute byte-offsets shall not be used for this media data. In a movie fragment, the duration by
  which each track extends should be as close to equal as practical. In particular, as movie fragments
  are accumulated, the track durations should remain close to each other and there should be no
  'drift'.
— Each Media Segment may carry 'dums' in the Segment Type box ('styp') as a compatible brand. The
  conformance requirements of this brand are defined in this subclause.

6.3.4.3    Simple format type

A Media Segment conforming to the Simple Media Segment Format for DASH is defined as follows:
— It shall conform to the Delivery Unit Media Segment format as specified in subclause 6.3.4.2.
— Each 'traf' box shall contain a 'tfdt' box.
    NOTE       The track fragment adjustment box 'tfad' as defined in 3GPP TS26.244 can also be present.
    DASH Clients are discouraged to apply both the alignment established by the 'tfdt' and the time-shifting
    implied by the ′tfad′, which would result in a double correction.

— Each Simple Media Segment may contain one or more 'sidx' boxes. If present, the first 'sidx' box
  shall be placed before any 'moof' box and the first Segment Index box shall document the entire
  Segment.
— For the purpose of determining overlapping and non-overlapping segments, redundant samples as
  defined in ISO/IEC 14496-12 shall be ignored. In other words, the earliest presentation time of any
  access unit in the stream shall be computed without taking redundant samples into account.
— Each Media Segment may contain a 'styp' box and if present shall carry 'msdh' as a compatible
  brand. The conformance requirement of this brand is defined in this subclause.

6.3.4.4    Indexed Media Segment

A Media Segment conforming to the Indexed Media Segment Format is defined as follows:
— Each Media Segment shall comply with the Delivery Unit Media Segment as defined in subclause
  6.3.4.2 and in addition in each self-contained movie fragment, the movie fragment ('moof') box is
  immediately followed by its corresponding media data ('mdat').
— Each Media Segment shall contain one or more 'sidx' boxes. The first 'sidx' box shall be placed
  before any 'moof' box and shall document Subsegments that span the composition time of the entire
  Segment.
— Each Media Segment shall carry 'msix' as a compatible brand. The conformance requirements of
  this brand are defined in this subclause.



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6.3.4.5     Sub-Indexed Media Segment

A Media Segment conforming to the Sub-Indexed Media Segment Format is defined as follows:
— It shall conform to the indexed Media Segment format as specified in subclause 6.3.4.3.
— The Subsegment Index box ('ssix') shall be present and shall follow immediately the 'sidx' box
  that documents the same Subsegment. This immediately preceding 'sidx' shall only index Media
  Subsegments.
— It shall carry 'sims' in the Segment Type box ('styp') as a compatible brand. The conformance
  requirements of this brand are defined in this subclause.

6.3.4.6     Random Access Media Segment

A Media Segment conforming to the Random Access Media Segment Format is defined as follows:
— It shall conform to the Simple format as specified in subclause 6.3.4.3.
— The first access unit in each movie fragment in a Random Access Media Segment shall correspond
  to the Isau of a SAP of type 1, 2, or 3.
— The media segment shall carry sufficient information to access the media in the stream, e.g. all
  necessary encryption in combination with the Initialization Segment, if available.

6.3.5     Self-Initializing Media Segment formats

6.3.5.1     General format type

The Self-Initializing Media Segment is conformant with the ISO base media file format and defines the
DASH Self-Initializing Media Segment 'dsms' brand.
The Self-Initializing Media Segment is conformant with the ISO base media file format.
NOTE      Since one Representation only contains one self-initializing Media Segment, switching is expected to
happen within the Segment, e.g. at a Subsegment that contains a SAP.

6.3.5.2     Indexed self-initializing Media Segment

The Indexed Self-Initializing Media Segment conforms to the concatenation of an Initialization Segment
and a single Indexed Media Segment without the 'styp' box preceding the Media Segment and shall
carry 'dash' as a compatible brand.
The format of the Indexed self-initializing Media Segment is a conforming ISO base media file format
file and defines the 'dash' brand.

6.4 Segment formats for MPEG-2 transport streams

6.4.1     General

This subclause introduces Segment formats that are suitable to be used if Media Segments are valid
MPEG-2 TS, conforming to ISO/IEC 13818-1.
NOTE        It is possible to encapsulate MPEG-2 TS formatted media within an ISO base media file format. This
mode of operation is not discussed in this subclause. If MPEG-2 TS formatted media is encapsulated in an ISO base
media file format, then the rules as defined in subclause 6.3 apply.

Refinements on generic concepts are introduced in subclause 6.4.2. Segment formats are defined for
Initialization Segments (see subclause 6.4.3), Media Segments (see 6.4.4), Bitstream Switching Segments



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(see subclause 6.4.5) and Index Segments (see subclause 6.4.6). MPEG-2 TS specific box structures are
defined in subclause 6.4.7.

6.4.2     Preliminaries: Refinements of generic concepts

6.4.2.1    Subsegment

In the context of MPEG-2 TS based delivery formats, a Subsegment is defined as an indexed set of access
units consecutive in decode order. A subsegment shall contain complete access units for the indexed
media stream (i.e. stream for which reference_ID equals PID); however, it may contain incomplete PES
packets from other media streams.
These access units are encapsulated in one or more PES packets. Each PES packet is encapsulated into
one or more TS packets with the same PID value.

6.4.2.2    Media stream access points

For the case of MPEG-2 TS, a media stream is equivalent to an Elementary Stream as defined in
ISO/IEC 13818-1.
Different types of media stream access points are defined in ISO/IEC 14496-12:—, Annex I. The
same type definitions shall apply for the MPEG-2 TS. More specifically, in the case of MPEG-2 TS, a
SAP corresponds to an Elementary Stream Random Access Point, as defined in ISO/IEC 13818-1.
Consequently, ISAU is the position of the first (sync) byte of a TS packet with PID assigned to this
Elementary Stream. This TS packet contains the first byte of a PES packet, which, in turn, contains the
Elementary Stream Access Point. PES packet starting at ISAU shall contain only an integral number of
access units and shall contain a PTS.
NOTE 1       ISAU generally corresponds to the start of a TS packet with PID value for one Elementary Stream,
the payload_unit_start_indicator field set to '1', adaptation_field_control set to '11', and the random_
access_indicator field in the Adaptation Field is set to '1'. For SAP types 1-3, the random_access_indicator
field in the Adaptation Field is commonly set to '1' (this is the case unless no PES payload bytes are found within
the packet payload).

NOTE 2      Following the definitions in this subclause, the first packet of the PCR PID is present at or prior to
the TS packet at smallest ISAP. If PCRs are carried on a media PID, the first packet of this PID is the first packet
following the initialization data, and carries a PCR. In order to avoid changing the underlying content, the
implementer is able to choose adding a packet carrying only adaptation field with a PCR, but no payload. This
packet is placed prior to the smallest ISAU of any stream in this Representation.

NOTE 3      If Index Segment is provided, and the 'pcrb' box is present, PCR can be inferred from this box.

6.4.2.3    Segment Index

If the Segment Index is provided, the Segment Index ('sidx') box in ISO/IEC 14496-12 shall be used for
Segment Indexing. In addition to these definitions, the following conditions shall be met for a Segment
Index used to describe MPEG-2 TS based Media Segment:
— reference_ID field of 'sidx' box shall be the PID value of the indexed stream.
— All media offsets within 'sidx' boxes shall be to the first (sync) byte of a TS packet.
NOTE        Times within 'sidx' boxes are expressed in units of the timescale field, rather than in 90KHz
clock ticks.




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6.4.2.4     Subsegment Index

If the Subsegment Index is provided, the Subsegment Index ('ssix') box in ISO/IEC 14496-12 shall
be used for indexing byte ranges within a subsegment. In addition to these definitions, the following
conditions shall be met for a Segment Index used to describe MPEG-2 TS based Media Segment.
— All media offsets within 'ssix' boxes shall be to the first (sync) byte of a TS packet.

6.4.3     Initialization Segment types and formats

6.4.3.1     Initialization information

Initialization information is any information necessary to enable the media engine to start decoding
the payload of any TS packet belonging to any media stream within a (Sub)Segment.
Untimed initialization information includes PAT, CAT, PMT, EMM, and any other PSI information
possibly included by the Media Presentation author. Any additional information that does not alter the
Media Presentation timeline is allowed.
Time-varying initialization information is information that is required for the successful start of
playout but is different for at least two Subsegments or Segments within a Representation.
Mandatory initialization information summarizes information that shall be present prior to any media
data to enable decoding and presentation. As a consequence, mandatory initialization information
includes at least the following information, in this order:
— PAT (untimed, unless changes within the Representation);
— PMT (untimed, unless changes within the Representation);
— PCR (time-varying).
If MPEG-2 Conditional Access is used, ECM is considered mandatory untimed initialization information
if it does not change for the whole duration of the Period; otherwise it is considered mandatory time-
varying initialization information.

6.4.3.2     Initialization Segment

An Initialization Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
The concatenation of an Initialization Segment with any Media Segment shall have the same presentation
duration as the original Media Segment.
The Initialization Segment shall contain mandatory untimed initialization information as defined in
subclause 6.4.3.1. Time-varying initialization information shall not be present in the Initialization
Segment, i.e.
— PCR-bearing packets shall not be present in the Initialization Segment;
— ECM may be present as long as it does not change within the entire Representation;
— Any PSI table may be present as long as it does not change within the entire Representation.
The Initialization Segment shall contain only complete sections.
Initialization Segment may or may not be present. If it is not present for a given Representation, all Media
Segments belonging to this Representation shall be self-initializing. Also, if an Initialization Segment is
used, not all initialization information needs to reside in the Initialization Segment, only presence of
complete initialization information in the concatenation of Initialization Segment and Media Segment is
required.



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6.4.4     Media Segment types and formats

6.4.4.1    General

All Media Segments shall conform to the basic Media Segment in subclause 6.4.4.2.
Further rules on Media Segments in combination with certain MPD attributes are provided in
subclause 7.4.

6.4.4.2    Basic Media Segment

A Media Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
As a consequence of the requirement in subclause 5.3.5.1, the concatenation of consecutive Media
Segments of the same Representation shall also yield a valid MPEG-2 TS conforming to ISO/IEC 13818-1.
In addition, the following conditions shall be met:
— Media Segments shall contain complete MPEG-2 TS packets,
— Media Segments shall contain exactly one program,
— All time-varying initialization information shall be present between ISAP and ISAU and/or in the
  Index Segment, if present,
— No Media Segment shall depend on initialization information appearing in any preceding Media
  Segment.
Media Segments should contain only complete PES packets and sections. Each PES packet should be
comprised of one or more complete access units in each packet. Media Segments should contain only
complete access units.

6.4.4.3    Content Protection

All information necessary for decrypting, or locating information required to decrypt, the encrypted
TS packets in a (Sub)Segment shall be present before the encrypted packet(s) to which they apply, either
in the same (Sub)Segment, and/or in the Initialization Segment (if used). As an example, this requires
the presence of the ECM necessary for decrypting the first encrypted packet of the (Sub)Segment is
within the (Sub)Segment before such a packet. A Subsegment may not have an ECM preceding the first
encrypted packet if the location of this ECM can be determined using an Index Segment.
NOTE       Sub-Representations can be arranged such that information such as ECM is included in all Sub-
Representations that need them, for example by assigning the ECM an individual level and add dependency on all
relevant Sub-Representations on this level.

6.4.4.4    Self-initializing Media Segment

A Self-initializing Media Segment conforms to the basic Media Segment as defined in subclause 6.4.4.2
and in addition shall contain at least all mandatory untimed and timed initialization information as
defined in subclause 6.4.3.1.
All required initialization information as defined in subclause 6.4.3.1 should be present prior to any
media data.

6.4.5     Bitstream Switching Segment

A Bitstream Switching Segment shall be a valid MPEG-2 TS, conforming to ISO/IEC 13818-1.
A Bitstream Switching Segment, when concatenated with any Media Segment, shall not alter the Media
Presentation timeline for the corresponding Media Segment.


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If initialization information is carried within a Bitstream Switching Segment, it shall be identical to the
one in the Initialization Segment, if present, of the Representation.
NOTE      Authors are encouraged to use Bitstream Switching Segments when there is a reasonable expectation
of non-conforming behaviour (such as continuity counter errors, etc.) at the concatenation point of two
consecutive Media Segments from different Representation, lack of correct initialization information (two
Representations with different initialization information).

6.4.6     Index Segment

6.4.6.1     General

Index Segments consist of a sequence of ISOBMFF-box-structures.
Index Segments may either be associated to a single Media Segment as specified in subclause 6.4.6.2
or may be associated to all Media Segments in one Representation as specified in subclause 6.4.6.3. An
Index Segment may also contain a Subsegment Index as specified in subclause 6.4.6.4 and any other
boxes defined in subclause 6.4.7.
It is recommended that Index Segments be at least provided for one media stream.
NOTE 1     Although the Media Segments are MPEG-2 TS based, Index Segments are reusing ISOBMFF-box-
structures. This allows the DASH access client in the model of Figure 2 to be universal and independent of the
Media Format.

NOTE 2       Index Segments are not valid ISOBMFF files, and complete implementation of ISOBMFF is not necessary
to utilize indexes in a MPEG-2 TS based client. A partial implementation would suffice, since only few ISOBMFF
boxes, such as 'styp', 'sidx', and 'ssix', are required in order to parse an MPEG-2 TS Index Segment.

Other box types may be present in an MPEG-2 TS Index Segment, but, if present, they shall not contain
information required to interpret the 'styp', 'sidx' or 'ssix' boxes.

6.4.6.2     Single Index Segment

A Single Index Segment indexes exactly one Media Segment and is defined as follows:
— Each Single Index Segment shall begin with a 'styp' box, and the brand 'sisx' shall be present in the
  'styp' box. The conformance requirement of the brand 'sisx' is defined in this subclause.
— Each Single Index Segment shall contain one or more 'sidx' boxes which index one Media Segment.
— A Single Index Segment may contain one or multiple 'ssix' boxes. If present, the 'ssix' shall follow
  the 'sidx' box that documents the same Subsegment without any other 'sidx' preceding the 'ssix'.
— A Single Index Segment may contain one or multiple 'pcrb' boxes as defined in subclause 6.4.7.2. If
  present, 'pcrb' shall follow the 'sidx' box that documents the same Subsegments, i.e. a 'pcrb' box
  provides PCR information for every subsegment indexed in the last 'sidx' box.

6.4.6.3     Representation Index Segment

A Representation Index Segment indexes all Media Segments of one Representation and is defined as
follows:
— Each Representation Index Segment shall begin with an 'styp' box, and the brand 'risx' shall
  be present in the 'styp' box. The conformance requirement of the brand 'risx' is defined by this
  subclause;
— Each Media Segment is indexed by one or more Segment Index box(es); the boxes for a given Media
  Segment are contiguous;
— Each Segment Index box may be followed by an 'ssix' and/or 'pcrb' box;


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— The Segment Index for each Media Segments is concatenated in order, preceded by a single Segment
  Index box that indexes the Index Segment. This initial Segment Index box shall have one entry in its
  loop for each Media Segment, and each entry refers to the Segment Index information for a single
  Media Segment.
The structure of a Representation Index Segment is shown in Figure 5. This figure illustrates a case
where a Representation Index Segment is provided and the Subsegment Index is used in order to enable
efficient trick mode operation. The figure shows four consecutive Subsegments, S0, S1, S2, and S3, each
indexed by an 'sidx' box, and two temporal layers within a video stream, I frames (L0) and P frames
(L1), indexed by an 'ssix' box.




                      Figure 5 — Structure of Representation Segment Index


6.4.6.4    Subsegment Index Segment

A Subsegment Index Segment shall conform to an Index Segment and shall also include a Subsegment
Index. A Subsegment Index Segment is defined as follows:
— It shall be either a Single Index Segment or a Representation Index Segment.
— The Subsegment Index box ('ssix') shall be present and shall follow immediately the 'sidx' box
  that documents the same Subsegment. The value of the reference_type field shall be equal to 0 for
  this Subsegment in this immediately preceding Segment Index ('sidx') box. If the ′pcrb′ box is
  present, it shall follow 'ssix'.
— It shall carry 'ssss' in the Segment Type box ('styp') as a compatible brand. The conformance
  requirement of this brand is defined in this subclause.




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6.4.7     Boxes used with MPEG-2 TS Index Segments

6.4.7.1     General

Index Segments may contain additional auxiliary information contained in boxes conforming to the
ISO base media file format boxes. Boxes exclusively relevant for the MPEG-2 TS Media Segments are
documented in subclause 6.4.7.

6.4.7.2     MPEG-2 TS PCR information box

6.4.7.2.1     Definition

Box Type: 'pcrb'
Container: File
Mandatory: No
Quantity: Zero or one
Signals the PCR information for MPEG-2 TS.

6.4.7.2.2     Syntax
aligned(8) class MPEG2TSPCRInfoBox extends Box(′pcrb′, 0) {
      unsigned int(32)   subsegment_count;
      for( i=1; i <= subsegment_count; i++){
            unsigned int(42)   pcr;
            unsigned int(6)    pad = 0;
      }
}
6.4.7.2.3     Semantics

— subsegment_count is a positive integer specifying the number of Subsegments for which partial
  Subsegment information is specified in this box. subsegment_count shall be equal to reference_
  count in the last Segment Index box.

— pcr for each iteration of the loop indicates the MPEG-2 TS PCR corresponding to the first (sync)
  byte of the first MPEG-2 TS packet in the media Subsegment corresponding to the current iteration.
  If this TS packet carries a PCR, its value will be different from the one specified in this field, since
  ISO/IEC 13818-1 defines PCR as relative to the byte containing the last bit of the program_clock_
  reference_base field.


7 Combined semantics of MPD and Segment formats

7.1 Overview
An MPD and the referenced Segments comprise a Media Presentation. The formats for these two key
components of a DASH-compatible Media Presentation are defined in Clauses 5 and 6. In this clause,
Media Presentation authoring rules are provided on how the MPD and different Segment formats may
be combined to establish a complete Media Presentation.
Specifically, aspects are addressed that deal with the Segment, that have special alignment with the
Segments of other Representations to enable and simplify seamless switching and joint presentation.
General Media Presentation authoring rules are provided in subclause 7.2 and specific ones for each
media format are provided in the remainder of Clause 7. Specifically, rules when using the ISO base




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media file format are provided in subclause 7.3 and the rules when using the MPEG-2 TS are provided in
subclause 7.4. Guidelines for other formats are provided in Annex F.
NOTE        Representation metadata present in the MPD can also be repeated in the media streams, e.g. in an
Initialization Segment or a Media Segment. The Media Presentation is expected be provided such that no
mismatch between these two values occurs. If it does, the value in the media stream itself takes precedence over
values expressed in the MPD, especially when used in the media decoding process. In addition, it is is important
to consider that metadata in the MPD is primarily used for selection of Representations by the DASH Client,
whereas data in the media stream is used by the media decoder in order to establish the decoding and rendering
process. Metadata in the MPD is preferably added if the Media Presentation author expects that the DASH Client
can make use of this information in the selection process.

7.2 General

7.2.1   Media Presentation timeline

One of the key features in DASH is that encoded versions of different media components share a
common timeline. The presentation time of access unit within the media content is mapped to the
global common presentation timeline for synchronization of different media components and to enable
seamless switching of different coded versions of the same media components.
The presentation times within each Period are relative to the PeriodStart time of the Period minus the
value of the @presentationTimeOffset, TO, of the containing Representation. This means for an access
unit with a presentation time T P signalled in the media stream, the Media Presentation time relative to
the PeriodStart is T M=T P−TO.
Media Segments should not contain any presentation time TP that is smaller than the value of the
@presentationTimeOffset, TO. However, if this is the case, then presentation of the Media Segment is
expected to only take place for presentation times greater than or equal to TO.
In case the @duration attribute is used for the signalling of the duration of Segments, then the MPD
start times as defined in subclause 5.3.9.5.3 should provide an approximation of the Media Presentation
time T M within the Period. Specifically, the difference between MPD start time and presentation time
TP shall not exceed 50 % of value of @duration divided by the value of the @timescale attribute. In case
the Segment Timeline is used for the signalling of the duration of Segments, then the MPD start times as
defined in subclause 5.3.9.5.3 shall provide exactly the Media Presentation time T M within the Period,
i.e. the MPD start time is the earliest presentation time of the Segment.
At the start of a new Period, the playout procedure of the media content components may need to be
adjusted at the end of the preceding Period to match the PeriodStart time of the new Period as there
may be small overlaps or gaps with a Representation at the end of the preceding Period. Overlaps
(respectively gaps) may result from Media Segments with actual presentation duration of the media
stream longer (respectively shorter) than indicated by the Period duration. Also in the beginning of a
Period if the earliest presentation time T P of any access unit of a Representation is not equal to TO then
the playout procedures need to be adjusted accordingly.
There may be cases where the Media Presentation author observes issues in generating media,
especially for live services. This can be because the input signal to the encoder is not available or the
encoder is down. Generally, the Media Presentation author should address these issues by providing
redundant architectures or by the use of specific outage or blackout signals. Also, if the format in use
permits, empty Segments or zero duration Segments may be used.
However, if such remedies are not available, the Media Presentation author may signal gaps in the
timeline. If the Segment Timeline is in use as defined in subclause 5.3.9.6, the gaps in the timeline may
be explicitly signaled. Alternatively, gaps in the segment timeline may be signaled by leaving gaps.
If no such means are available, early termination Periods may be used as defined in subclause 5.3.2. In
this case, the gaps at the end of the Period may be longer than indicated above. A client is expected to
overcome such outages and continue the Media Presentation with the availability of a new Period.


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For the case when MPD@type is "dynamic" and the attribute MPD@suggestedPresentationDelay is present,
then the sum of value of the MPD@availibilityStartTime, the PeriodStart value, the presentation time
within the Period of an access unit, T M, and the value of the attribute MPD@suggestedPresentationDelay
provides a mapping of the presentation time of each access unit to the wall-clock time, for example to
express synchronization with a content internal time or for other reasons to enable synchronization of
presentation to the wall-clock.
Further media format specific definitions of presentation time may be defined.

7.2.2    Segment Index

If a Segment Index is present in a Media Segment of one Representation within an Adaptation Set, then
the following shall hold:
— the order of Segment Index boxes for multiple media streams induces an ordering on the media
  content components equal to the order in which a Segment Index box for a media stream for each
  component first appears. This ordering shall be the same for all Segments of all Representations
  of an Adaptation Set. As a consequence, if there is a Segment Index for a media content component
  in one Segment, there shall be a Segment Index for that media component in all Segments in this
  Adaptation Set.
— non-indexed media streams in all Representations of an Adaptation Set shall have the same access
  unit duration.

7.2.3    Segment alignment

The requirements stated in subclause 5.3.3.2 shall apply.

7.2.4    Subsegment alignment

The requirements stated in subclause 5.3.3.2 shall apply.

7.3 Media Presentation based on the ISO base media file format

7.3.1    General

The Media Presentation as introduced in Clauses 5 and 6 is instantiated in this subclause using the
ISO base media file format as defined in ISO/IEC 14496-12 as Segment formats.
An ISOBMFF-based DASH Media Presentation is described by an MPD as specified in subclause 5.1. The
MIME type of the MPD shall be as defined in Annex C.
The general rules defined in subclause 7.2 shall apply.
The @mimeType attribute of each Representation shall be provided according to IETF RFC 4337.
Additional parameters may be added according to IETF RFC 6381.
If present, the @SegmentProfiles shall provide a whitespace-separated list of the individual Segment
profile identifiers.
The following Segment types and formats may be used:
— Initialization Segments complying with formats as defined in subclause 6.3.3.
— Media Segments complying with formats as defined in subclause 6.3.4.2.
— Self-Initializing Media Segments complying with formats as defined in subclause 6.3.5.




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For ISOBMFF-based Media Presentation, the following applies:
1) In all cases for which a Representation contains more than one Media Segment, the following
   applies:
    i)    The Initialization Segment as defined in subclause 6.3.3 shall be present.
    ii) Media Segments shall not be self-initializing. The Media Segment format is defined in
        subclause 6.3.4.
    iii) If the Media Segment is the last Media Segment in the Representation, this Media Segment may
         carry the 'lmsg' compatibility brand. If the Media Segment is not the last Media Segment in
         the Representation, the 'lmsg' compatibility brand shall not be present. The 'lmsg' type is
         defined in this subclause.
2) In case a Representation contains only a single Media Segment, then one of the following two
   options are valid.
    — One Initialization Segment as defined in subclause 6.3.3 and one Media Segment as defined in
      subclause 6.3.4 that is not self-initializing.
    — One Self-Initializing Media Segment as defined in subclause 6.3.5.
Index Segments may be present.
The content authoring rules for the Media Segments in combination with certain MPD attributes for
ISOBMFF-based DASH are provided in subclause 7.3.2.
In case Sub-Representations are used, the rules in subclause 7.3.4 shall apply.

7.3.2     Media presentation timeline

The presentation time T P internal in the media that maps the media to the Media Presentation timeline
shall be relative to the movie timeline, i.e. they are composition times after the application of any edit
list for the track, as defined in ISO/IEC 14496-12:—, 8.16.3.
It is recommended that the @timescale attribute in the MPD matches the timescale field in the
Media Header Box of a present track. If the Segment Index ('sidx') box is present, then it is further
recommended that the track for which the Segment Index ('sidx') box appears first in the Media
Segment is the track defining the value of the @timescale attribute.

7.3.3     Authoring Rules for specific MPD attributes

7.3.3.1    Segments starting with media stream access points

No additional requirements beyond those stated in subclauses 5.3.3.2 and 6.3.2.2 are defined.

7.3.3.2    Bitstream switching

If the @bitstreamSwitching is set to 'true' for a set of Representations within an Adaptation Set, the
conditions stated in subclause 5.3.3.2 shall be satisfied and the Bitstream Switching Segment shall not
be present.
As a consequence of @bitstreamSwitching being set to 'true', at least the following conditions are
satisfied:
— The track IDs for the same media content component are identical for each Representation in each
  Adaptation Set.
— The conditions required for setting the @segmentAlignment attribute to a value other than 'false'
  for the Adaptation Set are fulfilled.

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— The conditions required for setting (i) the @startWithSAP attribute to 2 for the Adaptation Set, or
  (ii) the conditions required for all Representations within the Adaptation Set to share the same
  value of @mediaStreamStructureId and setting the @startWithSAP attribute to 3 for the Adaptation
  Set, are fulfilled.

7.3.4    Sub-Representations

If a SubRepresentation element is present in a Representation in the MPD and the attribute
SubRepresentation@level is present, then the Media Segments in this Representation shall conform to
a Sub-Indexed Media Segment as defined in subclause 6.3.4.4. The Initialization Segment shall contain
the Level Assignment ('leva') box.
The attribute @level specifies the level to which the described Sub-Representation is associated to
in the Subsegment Index. The information in Representation, Sub-Representation and in the Level
Assignment ('leva') box contains information on the assignment of media data to levels.
Media data should be ordered such that each level provides an enhancement compared to the lower levels.

7.3.5    Segment Timeline without Segment Index

If the Segment Timeline is in use and the $Time$ templating is applied and no Segment Index ('sidx')
box is present in the Media Segment, then:
— a single track shall be present in the Media Segment;
— a single movie fragment header shall be present in the Media Segment;
— the baseMediaDecodeTime in the 'tfdt' of the first movie fragment shall be the earliest presentation
  time of the Segment and may be used for generating the URL for this segment;
— the sum of all sample_duration of track run boxes ('trun') of the only track fragment box shall be
  the presentation duration of the Segment and may therefore be used to derive the address of the
  next Media Segment from the actual Media Segment without requiring an updated MPD.

7.4 Media Presentation based on MPEG-2 TS

7.4.1    General

In this subclause, a Media Presentation is instantiated based on Media Segment Formats using the
MPEG-2 TS as defined in ISO/IEC 13818-1. A MPEG-2 TS-based DASH Media Presentation is described
by an MPD as specified in subclause 5.2. The MIME type of the MPD shall be as defined in Annex C.
The general rules defined in subclause 7.2 shall apply.
The @mimeType attribute of each Representation shall be "video/mp2t".
The following Segment types and formats may be used:
— Initialization Segments complying with formats as defined in subclause 6.4.3,
— Media Segments complying with formats as defined in subclause 6.4.4,
— Bitstream Switching Segments complying with formats as defined in subclause 6.4.5,
— Index Segments complying with formats as defined in subclause 6.4.6.
The @segmentProfiles attribute may be absent. If present, it is expected to be ignored.
If the Segment Timeline is in use and the $Time$ templating is applied, the Segment Index shall be
present.


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7.4.2     Media presentation timeline

The presentation time T P internal in the media that maps the media to the Media Presentation timeline
shall be the one defined by the PTS in the MPEG-2 TS.
More specifically, for one Representation, let PTS(i) be the PTS of the ith access unit in the media stream.
Furthermore, let PTSA(i) be PTS(i) adjusted for 33-bit rollovers, i.e. calculated as if PTS had an infinite
amount of bits.
T P calculation is based on differences between PTS(i) and PTS(0), and therefore T P(i)=[PTSA(i)−
PTS0]*S/90 000 with PTS0 typically PTS(0). With appropriate scaling, PTS0 can be derived from the
value of @presentationTimeOffset attribute.
NOTE        If Index Segment is used, S is provided by in the timescale field of the 'sidx' box.

If a media stream contains a discontinuity, the PTSA(i) calculation assumes relative timing is maintained.
Therefore, PTSA(i) is adjusted by the difference between the value of PCR of the first PCR-bearing packet
after the discontinuity and its interpolated PCR value (calculated using the pre-discontinuity PCR rate).
In case of discontinuities, it is recommended to add a new Period to reset the value of
@presentationTimeOffset.

It is recommended that the @timescale attribute in the MPD match the clock frequency S of the
elementary streams. If the Segment Index ('sidx') box is present, then it is further recommended that
the media stream for which the Segment Index ('sidx') box that appears first in the Index Segment is
the elementary stream defining the value of the @timescale attribute.

7.4.3     Authoring rules for specific MPD attributes

7.4.3.1    Segments starting with Media stream access points

No additional requirements beyond those stated in subclauses 5.3.3.2 and 6.4.2.2 are defined.

7.4.3.2    Segment alignment

If the @segmentAlignment attribute is not set to 'false', the requirements stated in subclauses 5.3.2
and 5.3.3.2 shall be met. In addition, the Media Segment shall contain only complete PES packets and
sections and only complete access units for each PID, and the first PES packet shall contain a PTS
timestamp.

7.4.3.3    Subsegment alignment

If the @subsegmentAlignment flag is not set to 'false', the semantics as defined in subclause 5.3.3.2
shall apply. In particular, for an MPEG-2 TS-based Media Presentation, a Subsegment shall contain only
complete PES packets and sections for each PID, and the first PES packet from each elementary stream
shall contain a PTS.

7.4.3.4    Bitstream switching

If @bitstreamSwitching flag is set to 'true' for a set of Representations within an Adaptation Set, then
the conditions stated in subclause 5.3.3.2 shall be satisfied. In addition, the conditions in subclause
5.3.3.2 shall not only hold for the entire sequence from i=1,...,M, but for any consecutive sequence of
segments with any start index iS=1,...,M and any end index iE=iS,...,M.
If @bitstreamSwitching flag is set to 'true', the Bitstream Switching Segment may be present, indicated
by BitstreamSwitching in the Segment Information. In this case, for any two Representations, X and Y,
within the same Adaptation Set, concatenation of Media Segment i of X, Bitstream Switching Segment
of Representation Y, and Media Segment i+1 of Representation Y shall be a MPEG-2 TS conforming to
ISO/IEC 13818-1.


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As a consequence of the conformance rule as stated in subclause 5.3.3.2, at least the following conditions
are satisfied if @bitstreamSwitching flag is set to 'true':
— The conditions required for setting the @startWithSAP attribute to 2 for the Adaptation Set, or
  the conditions required for all Representations within the Adaptation Set sharing the same value
  of @mediaStreamStructureId and setting the @startWithSAP attribute of the Adaptation Set 3, are
  fulfilled.
— The conditions required for setting the @segmentAlignment attribute not set to 'false' for the
  Adaptation Set are fulfilled.
— PCR shall be present in the Segment prior to the first byte of a TS packet payload containing media
  data, and not inferred from the 'pcrb' box.

7.4.4    Sub-Representations

If a SubRepresentation element is present in a Representation in the MPD and the SubRepresentation@
level is present, then an Index Segment shall be present and shall conform to the format defined in
subclause 6.4.6.4.
The Subsegment Index box shall contain at least one entry for the value of SubRepresentation@level
and for each value provided in the SubRepresentation@dependencyLevel. The remaining attributes of
the SubRepresentation element should provide sufficient information such that the data contained in
the Sub-Representation can be differentiated from the containing Representation as for the MPEG-2 TS
no inband assignment of levels is provided.
If Subsegment Index is used for extraction of temporal subsequences, PCR should precede the first bytes
of media within the range indicated in the Subsegment index. Also, encryption keys (if used) should not
change within the duration of a Subsegment.


8 Profiles

8.1 Definition
Profiles of DASH are defined so as to enable interoperability and the signaling of the use of features.
A profile imposes a set of specific restrictions. Those restrictions are typically on features of the
Media Presentation Description (MPD) document and on Segment formats, but may also be on content
delivered within Segments, such as on media content types, media format(s), codec(s), and protection
formats, or on quantitative measures such as bit-rates, Segment durations and sizes, as well as
horizontal and vertical visual presentation size. Profiles defined in this document define restrictions
on features of this document and on Segment formats only (e.g. not codec types). Externally defined
profiles may additionally impose restrictions on other aspects.
NOTE 1      A profile can also be understood as permission for DASH Clients that only implement the features
required by the profile to process the Media Presentation (MPD document and Segments). However, as DASH
Client operation is not specified normatively in this document, it is also unspecified how a DASH Client conforms
to a particular profile. Hence, profiles merely specify restrictions on MPD and Segments rather than DASH Client
behaviour.

A profile has an identifier, which is a URI. The profiles with which an MPD complies are indicated in the
MPD@profiles attribute as a comma-separated list of profile identifiers. Profile identifiers defined in this
document are URNs and shall conform to IETF RFC 8141. Externally defined profiles may use profile
identifiers that are URNs or URLs. When a URL is used, it should also contain a month-date in the form
mmyyyy; the assignment of the URL must have been authorized by the owner of the domain name in
that URL on or very close to that date, to avoid problems when domain names change ownership.
An MPD is conforming when it satisfies the following:
1) The MPD is valid in terms of the schema defined in the files referenced in Annex B.

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2) The MPD conforms to the requirements defined in this document.
3) The MPD conforms to each of the profiles indicated in the MPD@profiles attribute as specified below.
When ProfA is included in the MPD@profiles attribute, the MPD is modified into a profile-specific MPD for
profile conformance checking using the following ordered steps:
1) The MPD@profiles attribute of the profile-specific MPD contains only ProfA.
2) An AdaptationSet element for which @profiles does not or is not inferred to include ProfA is
   removed from the profile-specific MPD.
3) A Representation element for which @profiles does not or is not inferred to include ProfA is removed
   from the profile-specific MPD.
4) All elements or attributes that are either (i) in this document and explicitly excluded by ProfA, or
   (ii) in an extension namespace and not explicitly included by ProfA, are removed from the profile-
   specific MPD.
5) All elements and attributes that “may be ignored” according to the specification of ProfA are
   removed from the profile-specific MPD.
An MPD is conforming to profile ProfA when it satisfies the following:
1) ProfA is included in the MPD@profiles attribute.
2) The profile-specific MPD for ProfA is valid in terms of the schema defined in the files referenced in
   Annex B.
3) The profile-specific MPD for ProfA conforms to the normative semantics defined in this document.
4) The profile-specific MPD for ProfA conforms to the restrictions specified for ProfA.
A Media Presentation is conforming to profile ProfA when it satisfies the following:
1) The MPD of the Media Presentation is conforming to profile ProfA as specified above.
2) There is at least one Representation in each Period in the profile-specific MPD for ProfA.
3) The Segments of the Representations of the profile-specific MPD for ProfA conform to the
   restrictions specified for ProfA.
NOTE 2     In other words, each MPD contains at least one Representation in each Period, which fulfils the
requirements of a profile listed in MPD@profiles. There can be stricter rules on the occurrence of Representations
in the specified profiles. For example, it can be required that there is at least one Representation for each media
type that contains or is inferred to have the profile identifier of a specific profile.

This document defines six profiles.
External organizations or individuals may define restrictions, permissions and extensions by using this
profile mechanism. It is recommended that such external definitions be not referred to as profiles, but
as Interoperability Points. Such an interoperability points may be signalled in the @profiles parameter
once a URI is defined. The owner of the URI is responsible to provide sufficient semantics on the
restrictions and permission of this interoperability point.
Three profiles are defined relying on the ISO base media FF as Segment formats. Both the ISO Base
media file format On Demand profile defined in subclause 8.3 and the ISO Base media file format live
profile defined in subclause 8.4 are a subset of the ISO Base media file format main profile defined in
subclause 8.5. Two profiles are defined for MPEG-2 TS based Media Segment formats: The MPEG-2 TS
simple profile defined in subclause 8.7 is a subset of the MPEG-2 TS main profile defined in subclause
8.6. All profiles are a subset of the full profile is defined in subclause 8.2.




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8.2 Full profile

8.2.1    General

The full profile includes all features and Segment Types defined in this document.
The full profile is identified by the URN "urn:mpeg:dash:profile:full:2011".

8.2.2    Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.3 or 7.4 shall apply.
— The elements and attributes listed in subclause 5.2.3.2 may be ignored.

8.2.3    Segment format constraints

Representations and Segment formats shall conform to the following constraints:
— Representations shall comply either with the formats defined in subclause 7.3, referring to the
  Segment formats in subclause 6.3, or to the formats defined in subclause 7.4, referring to the
  Segment formats in subclause 6.4.

8.3 ISO Base media file format On Demand profile

8.3.1    General

This profile is intended to provide basic support for On-Demand content. The primary constraints
imposed by this profile are the requirement that each Representation is provided as a single Segment,
that Subsegments are aligned across Representations within an Adaptation Set and that Subsegments
begin with Stream Access Points. This permits scalable and efficient use of HTTP servers and simplifies
seamless switching.
The On-Demand profile is identified by the URN "urn:mpeg:dash:profile:isoff-on-demand:2011".

8.3.2    Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the segments as defined in subclause 7.3 shall apply.
— Representations not inferred to have @profiles equal to the profile identifier as defined in subclause
  8.3.1 may be ignored.
     NOTE        A necessary condition to comply with the restrictions defined in subclause 7.3 is that the @
     mimeType equals video/mp4, audio/mp4, or application/mp4.

— The elements and attributes listed in subclause 5.2.3.2 may be ignored.
— MPD@type shall be "static".
— The Subset element may be ignored.
— Neither the Period.SegmentList element nor the Period.SegmentTemplate element shall be present.
— For Adaptation Sets conforming to this profile:
     — if either the AdaptationSet.SegmentList or the AdaptationSet.SegmentTemplate element is
       present in an AdaptationSet element then this AdaptationSet element may be ignored;


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    — if either the Representation.SegmentList or the Representation.SegmentTemplate element is
      present in a Representation element then this Representation element may be ignored;
    — if the Representation element does not contain a BaseURL element then this Representation
      element may be ignored;
    — AdaptationSet elements with AdaptationSet@subsegmentAlignment not present or set to
      'false' may be ignored;

    — Representation elements with a @subsegmentStartsWithSAP value absent, zero or greater than
      3 may be ignored;
    — Representation elements with @subsegmentStartsWithSAP value equal to 3 may be ignored if
      both the following conditions hold:
        — the containing Adaptation Set contains more than one Representation, and
        — no other Representation has the same value for @mediaStreamStructureId.
— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an @xlink:href.

8.3.3   Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for
this profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.
— Each Representation shall have one Segment that complies with the Self-Initializing Media Segment
  as defined in subclause 6.3.5.2.
— All Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be placed before any Movie
  Fragment ('moof') boxes.
— Index Segments shall not be present. However, a RepresentationIndex element or a
  @indexRange attribute may be present to signal the byte range for Segment Index within a Media
  Segment.

8.4 ISO Base media file format live profile

8.4.1   General

This profile is optimized for live encoding and may achieve latency of a few seconds by encoding and
immediate delivery of short Segments consisting of one or more movie fragments of ISO file format,
typically with relatively short duration. Each movie fragment may be requested as soon as available
using a template generated URL, so it is not normally necessary to request an MPD update prior to each
Segment request. Segments are constrained so that accessing Representations at Segment boundaries
is enabled and seamless switching within one Adaptation Set may be performed by first processing
(i.e. downloading, decoding and presenting) the come-from Representations and then processing the
go-to Representation. Although the profile is optimized for live services, the MPD@type attribute may
be set to 'static' to distribute non-live content, for example in case a live Media Presentation is
terminated, but kept available as On-Demand service.
The ISO Live profile is identified by the URN "urn:mpeg:dash:profile:isoff-live:2011".




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8.4.2    Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and segments as defined in subclause 7.3 shall apply.
— The elements and attributes listed in subclause 5.2.3.2 may be ignored.
— Representations not inferred to have @profiles equal to the profile identifier as defined in subclause
  8.4.1 may be ignored.
— In addition, Representation elements contained in an AdaptationSet element complying to this
  profile shall have the following constraints:
     — Representation elements with @startWithSAP value (either supplied directly or inherited from
       the containing AdaptationSet) equal to 3 may be ignored if both the following conditions hold:
          — the containing Adaptation Set contains more than one Representation, and
          — no other Representation has the same value for @mediaStreamStructureId.
     — The SegmentTemplate element shall be present on at least one of the three levels, the Period
       level containing the Representation, the Adaptation Set containing the Representation, or on
       Representation level itself.
     — Representation elements with a @startWithSAP value (either supplied directly or inherited
       from the containing) absent, zero or greater than 3 may be ignored.
     — AdaptationSet elements with a @segmentAlignment value 'false' or absent may be ignored.
     — Representation elements with @startWithSAP value (either supplied directly or inherited from
       the containing Adaptation Set) equal to 3 may be ignored if both of the following conditions hold:
          — the containing Adaptation Set contains more than one Representation, and
          — no other Representation has the same value for @mediaStreamStructureId.
— Subset elements may be ignored.
— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an @xlink:href.
— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the original
  and the updated MPD.

8.4.3    Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for
this profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.
— Each Representation shall have one Initialization Segment and at least one Media Segment.
— Media Segments containing multiple Media Components shall comply with the formats defined in
  subclause 6.3.4.3, i.e. the brand 'msix'.
— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be placed
  before any Movie Fragment ('moof') boxes.
— Index Segments shall not be present.



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8.5 ISO Base media file format main profile

8.5.1   General

This profile is identified by the URN "urn:mpeg:dash:profile:isoff-main:2011".

8.5.2   Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and segments as defined in subclause 7.3 shall apply.
— The elements and attributes listed in subclause 5.2.3.2 may be ignored.
— Representations not inferred to have @profiles equal to the profile identifier as defined in subclause
  8.5.1 may be ignored.
— The Subset element may be ignored.
— Elements using the @xlink:href attribute may be ignored from the MPD. The Representations
  conforming to this profile are those not accessed through an Adaptation Set that uses an
  @xlink:href.

— For Adaptation Sets conforming to this profile:
    — Representation elements with a @startWithSAP value greater than 3 or contained in an
      AdaptationSet element with @subsegmentStartsWithSAP value greater than 3 may be ignored.

    — If MPD@type is 'dynamic',
        — AdaptationSet elements with a @segmentAlignment value 'false' or absent may be ignored;
        — Representation elements with a @startWithSAP value (either supplied directly or inherited
          from the containing AdaptationSet) absent or zero may be ignored.
    — Representation elements with @startWithSAP value (either supplied directly or inherited from
      the containing AdaptationSet) equal to 3 may be ignored if both the following conditions hold:
        — the containing Adaptation Set contains more than one Representation, and
        — no other Representation has the same value for @mediaStreamStructureId.

8.5.3   Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for
this profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.
— At least one SAP of type 1 to 3, inclusive, shall be present for each track in each Subsegment.
— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes shall be placed
  before any Movie Fragment ('moof') boxes.
— Each Media Segment of the Representations not having @startWithSAP present or having @
  startWithSAP value 0 or greater than 3 shall comply with the formats defined in subclause 6.3.4.3,
  i.e. the brand 'msix'.




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8.6 MPEG-2 TS main profile

8.6.1    General

This profile imposes little constraint on the Media Segment format for MPEG-2 Transport Stream
content.
This profile is identified by the URN "urn:mpeg:dash:profile:mp2t-main:2011".

8.6.2    Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.4 shall apply.
— The elements and attributes listed in subclause 5.2.3.2 may be ignored.
— Representations not complying with the restrictions defined in subclause 7.4 or not inferred to have
  @profiles equal to the profile identifier as defined in subclause 8.6.1 may be ignored.

— Representations not in group 0 may be ignored.
— Subset may be ignored.
— Representations containing the SegmentTimeline element may be ignored.
— It shall be possible to present a presentation conforming to this profile without resolving
  @xlink:href in AdaptationSet or SegmentList elements. Any initial Period elements using @
  xlink:href may be ignored, and the first non-excluded Period shall have an explicit @start attribute.
  After the first non-excluded Period, there shall be no Period using @xlink:href.
— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the original
  and the updated MPD.

8.6.3    Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for
this profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.

8.6.4    Comments and recommendations

The following may be used, if desired:
— Representations not complying with the restrictions defined in subclause 7.4 may still be present,
  but the presentation should be presentable if they are ignored;
— Both SegmentTemplate or SegmentList elements may be used; the normal case is the use of
  SegmentList elements; however, clients should be capable of handling SegmentTemplate elements.

For Representations conforming to this profile:
— Index Segments should be supplied.
— AdaptationSet elements containing Representations conforming to this profile should not set the
  value of the @segmentAlignment attribute (either supplied directly or inherited from the containing
  MPD) to 'false'.

— Representations conforming to this profile should set the value of the @startWithSAP to 1 or 2. @
  startWithSAP may be set to 3 if @mediaStreamStructureId is identical across Representations.

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8.7 MPEG-2 TS simple profile

8.7.1   General

This profile is a subset of MPEG-2 TS main profile as defined in subclause 8.6. It poses more restrictions
on content encoding and multiplexing in order to allow simple implementation of seamless switching.
This is achieved by guaranteeing that a media engine conforming to ISO/IEC 13818-1 can play any
bitstream generated by concatenation of consecutive segments from any Representation within the
same Adaptation Set.
This profile is identified by the URN "urn:mpeg:dash:profile:mp2t-simple:2011".

8.7.2   Media Presentation Description constraints

The Media Presentation Description shall conform to the following constraints:
— All MPD constraints of MPEG-2 TS Main Profile as defined in subclause 8.6.2 shall be obeyed.
— The elements and attributes listed in subclause 5.2.3.2 may be ignored.
— Representations not complying with the restrictions defined in subclause 7.4 or not inferred to have
  @profiles equal to the profile identifier as defined in subclause 8.7.1 may be ignored.

— If an Index Segment is provided, any Adaptation Set with @subsegmentAlignment set to 'false' may
  be ignored.
— Any Adaptation Set which contains more than one Representation and has @bitstreamSwitching
  not set to 'true' may be ignored.
— When the MPD is updated, the value of MPD@availabilityStartTime shall be the same in the original
  and the updated MPD.

8.7.3   Segment format constraints

For Representations and Segments referred to by the Representations in the profile-specific MPD for
this profile, the following constraints shall be met:
— Representations shall comply with the formats defined in subclause 7.4, referring to the Segment
  formats in subclause 6.4.
— All Media Segment constraints of MPEG-2 TS main profile as defined in subclause 8.6.3 shall be obeyed.
— PSI information, including versions, shall be identical within all Representations contained in an
  AdaptationSet.
— If MPEG-2 Conditional Access framework is used, the same ECM shall be valid for the whole
  Subsegment, or for the whole Segment if Index Segment is not present.
— For an Index Segment, any single Segment Index ('sidx') box may either reference media, or other
  'sidx', but the same 'sidx' box may not reference both.

8.7.4   Recommendations

For Representations conforming to this profile, it is recommended that:
— Index Segments be supplied,
— SegmentTemplate elements be used.




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8.8 ISO Base media file format extended live profile

8.8.1     General

This profile is largely an extension of ISO-BMFF Live profile as described in subclause 8.4 of this
document. The main extensions are non-exclusion of remote elements and features introduced in the
second edition of this document, such as events.
This profile also imposes additional restrictions on MPD and Segment format in order to simplify
implementations.
The ISO-Base media file format extended live profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-ext-live:2014".

8.8.2     Media Presentation Description constraints

8.8.2.1     General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.
— Periods which do not conform to the constraints in subclause 8.8.2.2 may not be presented.
— Representations not inferred to have @profiles equal to the profile identifier as defined in subclause
  8.8.1 may be ignored.

8.8.2.2     Constraints on Period elements

— The Subset element may be ignored.
— The Period.SegmentList element shall not be present.
— If a Period contains multiple Adaptation Sets with @contentType="video" then at least one
  Adaptation Set shall contain a Role element with @schemeIdUri="urn:mpeg:dash:role:2011" and @
  value="main" and each Adaptation Set containing such a Role element shall provide perceptually
  equivalent media streams.
— AdaptationSet elements that do not conform to subclause 8.8.2.3 may be ignored.

8.8.2.3     Constraints on AdaptationSet elements

— AdaptationSet element can be ignored unless AdaptationSet.SegmentTemplate is present and/or
  for each Representation within this Adaptation Set Representation.SegmentTemplate element is
  present;
— AdaptationSet element that contains more than one Representation can be ignored unless all of the
  following hold:
     — AdaptationSet@SegmentAlignment is present and has value of 'true' or '1';
     — AdaptationSet@startsWithSAP is present and has value of 1 or 2;
— Representation elements that do not conform to subclause 8.8.2.4 may be ignored.

8.8.2.4     Constraints on Representation elements

— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific parameters
  may be added to the value of the MIME type attribute.

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— If Representation.InbandEventStream or SubRepresentation.InbandEventStream are present, this
  Representation can be ignored.

8.8.3     Segment format constraints

Representations and Segments complying to this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3.
— In Media Segments, all Segment Index ('sidx') and Subsegment Index ('ssix') boxes, if present,
  shall be placed before any Movie Fragment ('moof') boxes.
— Index Segments shall not be present.

8.8.4     Inband Events

If an AdaptationSet element inferred to have this profile within contains an InbandEventStream element,
and InbandEventStream@schemeIdUri has value "urn:mpeg:dash:event:2012", all representations
within this adaptation set shall contain aligned inband events.
NOTE 1      MPD validity expiration inband events (see subclause 5.10.4.2) are essential for correct presentation
of content formatted for the ISO-BMFF Extended Live profile.

NOTE 2     The author can assume that, for each value of MPD@publishTime they announce using MPD validity
expiration event(s), the DASH Client receives and processes at least one Event Message ('emsg') box with this
value in course of normal playback of this Period.

8.9 ISO Base media file format extended On Demand profile

8.9.1     General

This profile is largely an extension of ISO-BMFF On Demand profile as described in subclause 8.3. The
main extensions are non-exclusion of remote elements and features introduced in the second edition of
this document.
This profile also imposes additional restrictions on MPD and Segment format in order to simplify
implementations.
The ISO-Base media file format extended On Demand profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-ext-on-demand:2014".

8.9.2     Media Presentation Description constraints

8.9.2.1    General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.
— Periods which do not conform to the constraints in subclause 8.9.2.2 may not be presented.
— Representations not inferred to have @profiles equal to the profile identifier as defined in subclause
  8.9.1 may be ignored.
— MPD@type shall be "static".

8.9.2.2    Constraints on Period elements

— The Subset element may be ignored.


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— Neither the Period.SegmentList element nor the Period.SegmentTemplate element shall be present.
— If a Period contains multiple Adaptation Sets with @contentType="video" then at least one
  Adaptation Set shall contain a Role element with @schemeIdUri="urn:mpeg:dash:role:2011" and @
  value="main" and each Adaptation Set containing such a Role element shall provide perceptually
  equivalent media streams.
— AdaptationSet elements that do not conform to subclause 8.9.2.3 may be ignored.

8.9.2.3     Constraints on AdaptationSet elements

— AdaptationSet element can be ignored unless for each Representation within this Adaptation Set
  Representation.BaseURL is present.

— If either the AdaptationSet.SegmentList or the AdaptationSet.SegmentTemplate element is present
  in an AdaptationSet element then this AdaptationSet element may be ignored.
— If an AdaptationSet element contains more than one Representation element, then this
  AdaptationSet element can be ignored unless AdaptationSet@subsegmentAlignment is present and
  has value of 'true'; and AdaptationSet@subsegmentStartsWithSAP is present and has value of 1 or 2.
— Representation elements that do not conform to subclause 8.9.2.4 may be ignored.

8.9.2.4     Constraints on Representation elements

— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific parameters
  may be added to the value of the MIME type attribute.
— If either the Representation.SegmentList or the Representation.SegmentTemplate element is
  present in a Representation element then this Representation element may be ignored.
— If the Representation element does not contain a BaseURL element then this Representation element
  may be ignored.
— If Representation consists of a single Segment that complies with Indexed Media Segment or Indexed
  Self-Initializing Media Segment, this Representation element can be ignored unless SegmentBase@
  indexRange is present.

8.9.3     Segment format constraints

Representations and Segments complying to this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3, referring to the Segment
  formats in subclause 6.3.
— Each Representation shall have one Segment that either (i) complies with the Indexed Self-
  Initializing Media Segment as defined in subclause 6.3.5.2 or (ii) complies with the Self-Initializing
  Media Segment as defined in subclause 6.3.5.1 and the Index Segment is present.
— For Indexed Self-Initializing Media Segments all Segment Index ('sidx') and Subsegment Index
  ('ssix') boxes shall be placed before any Movie Fragment ('moof') boxes.
— Event Message ('emsg') boxes shall not be present.




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8.10 ISO Base media file format common profile

8.10.1 General

This profile is a restricted combination of both extended profiles described in subclauses 8.8 and 8.9.
Use of this profile implies that one can have a mix of two profiles in a single MPD, but not within the
same Period.
The ISO-Base media file format common profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-common:2014".

8.10.2 Media Presentation Description constraints

8.10.2.1 General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD and the Segments as defined in subclause 7.3 shall apply.
— Periods which do not conform to the constraints in subclause 8.10.2.2 may not be presented.
— MPD@profiles shall contain "urn:mpeg:dash:profile:isoff-common:2014".

8.10.2.2 Constraints on Period elements

— Each Period shall conform either to constraints in subclause 8.8.2.2 or to constraints in subclause
  8.9.2.2.

8.10.3 Segment format constraints

Segments referred from Periods complying to constraints in subclause 8.8.2.2 shall conform to
subclause 8.8.3.
Segments referred from Periods complying to constraints in subclause 8.9.2.2 shall conform to
subclause 8.9.3.

8.11 ISO Base media file format broadcast TV profile

8.11.1 General

This profile provides a restricted profile primarily for distributing broadcast TV over broadcast and
broadband services, including service offerings for combined unicast and broadcast services. The
profile is based on ISO-BMFF. In order to enable those advanced use cases, this profile introduces the
main restrictions that follow compared to the extended live profile:
— Use a single @timescale for all Representations in one Adaptation Set.
— Use Segment Timeline for signaling of segment durations:
    — The timing of the segments in the MPD is accurate.
    — The Segment Timeline may be on Representation level to allow different segment durations in
      different Representations. However, it may be defaulted on Adaptation Set level.
    — The Segment Timeline may use open ended @r (−1) or closed @r (>=0).
    — The Segment Timeline may use Segment sequences and Hierarchical Templating.
— Each Representation shall provide at least one RandomAccess element.


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— If an Adaptation contains more than one Representation, then at least one Switching element shall
  be present.
— Segment alignment and start with SAP signalling may be used for backward compatible deployments
  but should generally not be used.
— Data URLs as defined in IETF RFC 2397 may be used for Initialization Segments.
The ISO-Base media file format broadcast TV profile is identified by the following URN:
"urn:mpeg:dash:profile:isoff-broadcast:2015".

8.11.2 Media Presentation Description constraints

8.11.2.1 General

The Media Presentation Description shall conform to the following constraints:
— The rules for the MPD as defined in subclause 7.3 shall apply.
— The rules for the Segments as defined in subclause 7.3.5 shall apply.
— Periods which do not conform to the constraints in subclause 8.11.2.2 may not be presented
— Representations not inferred to have @profiles equal to the profile identifier as defined in subclause
  8.11.1 may be ignored

8.11.2.2 Constraints on Period elements

— The Subset element may be ignored.
— The Period.SegmentList element shall not be present.
— AdaptationSet elements that do not conform to subclause 8.11.2.3 may be ignored.

8.11.2.3 Constraints on AdaptationSet elements

— AdaptationSet element may be ignored unless AdaptationSet.SegmentTemplate is present and/or
  for each Representation within this Adaptation Set Representation.SegmentTemplate element is
  present;
— AdaptationSet element may be ignored unless AdaptationSet.RandomAccess is present and/or for
  each Representation within this Adaptation Set Representation.RandomAccess element is present;
— AdaptationSet element that contains more than one Representation may be ignored unless
  AdaptationSet.Switching is present and/or for each Representation within this Adaptation Set
  Representation.Switching element is present and all the SegmentTemplate elements conform to
  subclause 8.11.2.5;
— InBandEventStream shall only be used on Adaptation Set level;
— Representation elements that do not conform to subclause 8.11.2.4 may be ignored.

8.11.2.4 Constraints on Representation elements

— Representations with value of the @mimeType attribute other than video/mp4, audio/mp4,
  application/mp4, or text/mp4 may be ignored. Additional profile or codec specific parameters
  may be added to the value of the MIME type attribute.
— Representation elements may be ignored if Representation. RandomAccess element is not present
  and also no AdaptationSet.RandomAccess element is present.


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— InBandEventStream shall not be present on Representation level.
— Segment Timeline shall be used for signaling of segment durations and the following restrictions
  shall apply:
    — The timing of the segments in the MPD shall be accurate.
    — The Segment Timeline may be open ended @r (−1) or closed @r (>=0).
    — The Segment Timeline may contain Segment Sequences as defined in subclause 5.3.9.6.4 and
      Hierarchical Templating as defined in subclause 5.3.9.6.5.
— The Segment Timeline may be on Representation level to allow different segment durations in
  different Representations. However, it may be defaulted on Adaptation Set level.

8.11.2.5 Constraints on SegmentTemplate elements

— @initialization attribute may include data URLs as defined in IETF RFC 2397.

8.11.3 Segment format constraints

Representations and Segments complying with this profile shall meet the following constraints:
— Representations shall comply with the formats defined in subclause 7.3.5.
— If Segment Sequences as defined in subclause 5.3.9.6.4 and Hierarchical Templating as defined in
  subclause 5.3.9.6.5 are used, then the first Segment of a Segment Sequence shall not carry 'dums'
  brand in the Segment Type box ('styp') as major brand and all other Segments of the Segment
  Sequence shall carry 'dums' brand in the Segment Type box ('styp') as major brand.

8.11.4 MPD Updates and Inband Event Streams

In order for a DASH Client to operate without frequent MPD requests and use the information contained
in Inband Event Streams, the content authoring needs to obey certain rules.
In case of MPD@type="dynamic" and the MPD indicates that one or several Representation(s) contain an
inband event stream in order to signal MPD validity expirations, then the following applies:
— The MPD@publishTime shall be present.
— The MPD@minimumUpdatePeriod should be set to a small number, preferably 0.
— For each newly published MPD that includes changes that are not restricted to any of the following
  (e.g. a new Period):
    — The value of the MPD@minimumUpdatePeriod is changed,
    — The value of a SegmentTimeline.S@r has changed,
    — A new SegmentTimeline.S element is added, and
    — Any information that is no longer in the availability time window.
    The following shall be done:
    — a new MPD shall be published with a new publish time MPD@publishTime;
    — an 'emsg' box shall be added to each segment of each Representation that contains an
      InbandEventStream element with

        — scheme_id_uri="urn:mpeg:dash:event:2012",
        — @value either set to 1 or set to 3,

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          — the value of the MPD@publishTime of the previous MPD as the message_data.




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                                              Annex A
                                           (informative)

                           Example DASH Client behaviour


A.1 General
The information on client behaviour is purely informative and does not imply any normative procedures
on DASH Client implementations. However, this information may serve as a guideline to better
understand certain features of the formats in the normative parts of this document.


A.2 Overview
A DASH Client is guided by the information provided in the MPD. This example assumes that the MPD@type
is 'dynamic'. The behaviour in case MPD@type being 'static' is basically a subset of the description here.
The description in this annex assumes that the client has access to the MPD at time FetchTime, at its
initial location if no MPD.Location element is present, or at a location specified in any present MPD.
Location element. FetchTime is defined as the time at which the server processes the request for the
MPD from the client. The client typically should not use the time at which it actually successfully
received the MPD but should take into account delay due to MPD delivery and processing. The fetch is
considered successful either if the client obtains an updated MPD or if the client verifies that the MPD
has not been updated since the previous fetching.
The following example client behaviour may provide a continuous streaming experience to the user:
1) The client parses the MPD, selects a collection of Adaptation Sets suitable for its environment based
   on information provided in each of the AdaptationSet elements. The selection of Adaptation Sets
   may also take into account information provided by the AdaptationSet@group attribute and any
   constraints of a possibly present Subset element.
2) Within each Adaptation Set, it selects one Representation, typically based on the value of the
   @bandwidth attribute, but also taking into account client decoding and rendering capabilities. Then
   the client creates a list of accessible Segments for each Representation for the actual client-local
   time NOW measured in wall-clock time taking into account the procedures introduced in A.3.
3) The client accesses the content by requesting entire Segments or byte ranges of Segments. The
   client requests Media Segments of the selected Representation by using the generated Segment list.
4) The client buffers media for at least a duration matching the value of @minBufferTime attribute
   before starting the presentation. Then, once it has identified a Stream Access Point (SAP)
   for each of the media streams in the different Representations, it starts rendering (in wall-
   clock-time) of this SAP not before MPD@availabilityStartTime + PeriodStart + TSAP and not
   after MPD@availabilityStartTime + PeriodStart +TSAP + @timeShiftBufferDepth provided the
   observed throughput remains at or above the sum of the @bandwidth attributes of the selected
   Representations (if not, longer buffering may be needed). For services with MPD@type='dynamic',
   rendering the SAP at the sum of MPD@availabilityStartTime + PeriodStart + TSAP and the value of
   MPD@suggestedPresentationDelay is recommended, especially if synchronized play-out with other
   devices adhering to the same rule is desired.
5) Once the presentation has started, the client continues consuming the media content by continuously
   requesting Media Segments or parts of Media Segments. The client may switch Representations
   taking into account updated MPD information and/or updated information from its environment,
   e.g. change of observed throughput. With any request for a Media Segment containing a stream


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     access point, the client may switch to a different Representation. Seamless switching can be
     achieved, as the different Representations are time-aligned. Advantageous switching points are
     announced in the MPD and/or in the Segment Index, if provided.
6) With the wall-clock time NOW advancing, the client consumes the available Segments. As NOW
   advances, the client possibly expands the list of available Segments for each Representation
   according to the procedures specified in A.3 If the following conditions are both true, an updated
   MPD should be fetched:
     i)    if the attribute MPD@minimumUpdatePeriod is present, and
     ii) the current playback time gets within a threshold (typically described by at least the sum of
         the value of the @minBufferTime attribute) and the value of the @duration attribute (or the
         equivalent value in case the SegmentTimeline is used) of the media described in the MPD for
         any consuming or to be consumed Representation.
7) If the conditions in 6) are true, the client should fetch a new MPD, and update FetchTime. Once
   received, the client takes into account the possibly updated MPD and the new FetchTime in the
   regeneration of the accessible Segment list for each Representation.
In the following clauses, a brief overview on Segment list generation, seeking, support for trick modes
and switching Representations is provided.


A.3 Segment list generation
A.3.1 General
Assume that the DASH Client has access to an MPD. This clause describes how a client may generate
a Segment list for one Representation as shown in Table A.1 from an MPD obtained at FetchTime at a
specific client-local time NOW. In this description, the term NOW is used to refer to “the current value of
the clock at the reference client when performing the construction of an MPD Instance from an MPD”.
A client that is not synchronized with a DASH server, which is in turn is expected to be synchronized
to UTC, may experience issues in accessing Segments as the Segment availability times provided by
the server and the local time NOW may not be synchronized. Therefore, DASH Clients are expected to
synchronize their clocks to a globally accurate time standard.

                                   Table A.1 — Segment list in example client
     Parameter Name              Cardinality                               Description
Segments                                 1     Provides the Segment URL list.
    InitializationSegment               0, 1   Describes the Initialization Segment. If not present, each Media
                                               Segment is self-initializing.
           URL                           1     The URL where to access the Initialization Segment (the client may
                                               add a byte range to the URL request if one is provided in the MPD).
    MediaSegment                        1…N    Describes the accessible Media Segments.
           startTime                     1     The MPD start time of the Media Segment in the Period relative to
                                               the start time of Period.
           duration                      1     The MPD duration for the Segment
           URL                           1     The URL where to access the Media Segment, possibly combined
                                               with a byte range.
    IndexSegment                        1…N    Describes the accessible Index Segments, if present.
           URL                           1     The URL where to access the Index Segment, possibly combined
                                               with a byte range.

According to subclause 5.3.9, there are three different ways to describe and generate a Segment List.
This description focuses on the first two where either a SegmentList element or a SegmentTemplate


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element is present. The case with a single Media Segment using BaseURL element and SegmentBase
element is considered straightforward.
Segments are available at their assigned URL if at wall-clock time NOW the Segment availability start time
is smaller than or equal to NOW and the Segment availability end time is larger than or equal to NOW.
Furthermore, assume that for a Representation in a Period, the Segment list is indexed with i=1, ..., N.

A.3.2 Period Start and End Times
Assume that for an MPD with fetch time FetchTime:
— the MediaPresentationDuration is provided either as the value of MPD@mediaPresentationDuration if
  present, or as the sum of PeriodStart + Period@duration of the last Period.
— the Period start time is provided as PeriodStart according to subclause 5.3.2.1 for any Period in
  the MPD.
— the Period end time referred as PeriodEnd is determined as follows: for any Period in the MPD except
  for the last one, the PeriodEnd is obtained as the value of the PeriodStart of the next Period. For the
  last Period in the MPD:
    — if the MPD@minimumUpdatePeriod attribute is not present, then PeriodEnd is defined as the end
      time of the Media Presentation, i.e. MPD@availabilityStartTime + MediaPresentationDuration.
    — if the MPD@minimumUpdatePeriod attribute is present, then PeriodEnd                        is defined
      as the smaller value of FetchTime + MPD@minimumUpdatePeriod                                and MPD@
      availabilityStartTime + MediaPresentationDuration.

A.3.3 Start Time and Duration
In case the Segment base information contains the @duration attribute, then
— the regular duration d is obtained as d=@duration/@timescale,
— the MPD start time MediaSegment[i].startTime is obtained as (i−1)*d,
— the MPD duration MediaSegment[i].duration is obtained as d unless this Segment is the last Segment
  in this Period, then the MediaSegment[i].duration is obtained as PeriodEnd−MediaSegment.
  StartTime[i].
In case the Segment base information contains a SegmentTimeline element with NS S elements referred
as s=1, ..., NS, then
— the t[s] is the value of @t of the s-th S element divided by the value of the @timescale attribute,
— the o is the value of @presentationTimeOffset for this Representation divided by the value of the @
  timescale attribute,

— the d[s] is the value of @d of the s-th S element divided by the value of the @timescale attribute,
— if the value of @r is greater than or equal to 0,
    — the r[s] is one more than the value of @r of the s-th S element, and
    — N=0
— for s=1, ... NS
    — N=N + 1
    — MediaSegment[N].startTime=t[s]−o


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     — MediaSegment[N].duration=d[s]
     — for j=1, ..., r[s]
          — N=N + 1
          — MediaSegment[N].startTime=MediaSegment[N− 1].startTime + d[s]
          — MediaSegment[N].duration=d[s]
— else
     — the MPD duration MediaSegment[i].duration is obtained as d[0] unless this Segment is the
       last Segment in this Period, then the MediaSegment[i].duration is obtained as PeriodEnd−
       MediaSegment.StartTime[i].
If neither the @duration nor the SegmentTimeline element is given, then
— N=1,
— MediaSegment.startTime[1]=0,
— MediaSegment.duration[1]=PeriodEnd – PeriodStart.
If the Representation contains or inherits one or more SegmentList elements, providing a set of explicit
URL(s) for Media Segments, then all N Segment URLs are provided.
If the Representation contains or inherits a SegmentTemplate element with $Number$ then the URL of
the Media Segment i, MediaSegment.URL[i], is obtained by replacing the $Number$ identifier by i−1 + @
startNumber in the SegmentTemplate@media string.

If the Representation contains or inherits a SegmentTemplate element with $Time$ then the URL
of the Media Segment i, MediaSegment.URL[i], is obtained by replacing the $Time$ identifier by
MediaSegment[i].startTime in the SegmentTemplate@media string, as described in subclause 5.3.9.5.3.

A.3.4 Media Segment list restrictions
The Media Segment List is restricted to a list of accessible Media Segments, which may be a subset of
the Media Segments of the complete Media Presentation. The construction is governed by the current
value of the clock at the client NOW which is greater than or equal to the FetchTime of the MPD.
Segments may only be accessed during their Segment availability times. Generally, Any Segment may
only be available for any time NOW between MPD@availabilityStartTime and MPD@availabilityEndTime.
For times NOW outside this window, no Segments are available.
In addition, for services with MPD@type='dynamic', the Segment availability start time Tavail[i]
for a Segment i in a specific Period is determined as MPD@availabilityStartTime + PeriodStart +
MediaSegment[i].startTime + MediaSegment[i].duration + @availabilityTimeOffset and the Segment
availability end time is determined as MPD@availabilityStartTime + PeriodStart + MediaSegment[i].
startTime + @timeshiftBufferDepth + 2*MediaSegment[i].duration + @availabilityTimeOffset. If the
attribute @availabilityTimeOffset is not present, the value is assumed to be 0.
In case of MPD updates, assume the variable CheckTime associated to an MPD with FetchTime
is defined as the sum of the fetch time of this operating MPD and the value of the attribute MPD@
minimumUpdatePeriod, i.e. CheckTime = FetchTime + MPD@minimumUpdatePeriod. The CheckTime is defined
on the MPD-documented media time axis; when the client's playback time reaches CheckTime - MPD@
minBufferTime, it should fetch a new MPD.

Therefore, based on an MPD that was fetched at fetch time FetchTime and has associated a check time
CheckTime, the largest index imax that is accessible at time NOW for the last Period in the MPD is imax =
maxi { Tavail[i] <= min(CheckTime, NOW) }.



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A.4 Seeking
Assume that a client attempts to seek to a specific Media Presentation time TM in a Representation
relative to the PeriodStart time. According to subclause 7.2.1, the presentation times within each Period
are relative to the PeriodStart time of the Period minus the value of the @presentationTimeOffset, TO, of
the containing Representation.
Based on the MPD, the client has access to the MPD start time and Media Segment URL of each Segment
in the Representation, along with Index Segment URL, if present. The Segment number of the Segment
most likely to contain media samples for Media Presentation time TM is obtained as the maximum
Segment index i*, for which the start time MediaSegment[i].startTime is smaller than or equal to the
TM. The Segment URL is obtained as MediaSegment[i*].URL.
Timing information in the MPD may be approximate due to issues related to placement of Stream
Access Points, alignment of media tracks and media timing drift. As a result, the Segment identified
by the procedure above may begin at a time slightly after T M and the media data for presentation time
may be in the previous Media Segment. In case of seeking, either the seek time may be updated to
equal the first sample time of the retrieved Media Segment, or the preceding Media Segment may be
retrieved instead. However, during continuous playout, including cases where there is a switch between
alternative versions, the media data for the time between TM and the start of the retrieved Segment is
always available.
For accurate seeking to a presentation time TM, the DASH Client needs to access Stream Access Points
(SAP). To determine the SAP in a Media Segment in case of DASH, the client may, for example, use the
information in the Segment Index, if present, to locate the stream access points and the corresponding
presentation time in the Media Presentation.
In the case that the Media Presentation is based on the ISO base media file format and a Segment is a
movie fragment, it is also possible for the client to use information within the 'moof' and 'mdat' boxes,
for example, to locate Stream Access Points in the media and obtain the necessary presentation time
from the information in the movie fragment and the Segment start time derived from the MPD. If no
SAP with presentation time before the requested presentation time T M is available, the client may either
access the previous Segment or may just use the first SAP as the seek result. When Media Segments
start with a SAP, these procedures are simplified.
In the case that the Media Presentation is based on MPEG-2 TS, the presentation units corresponding
to the desired presentation time T M can be identified by using the indexing information, if present,
in conjunction with the differential value of the presentation time stamps (PTS) within the Media
Segment. For example, if T M,S denotes the presentation time corresponding to the last SAP leading the
desired seek time tp, with a corresponding PTS denoted as PTSs, then the desired seek position within
the media has a PTS expressed as: [(T M−T M,S)*timescale + PTSS%233].
Also, not necessarily all information of the Media Segment needs to be downloaded to access the
presentation time T M. The client may for example initially request the Segment Index from the
beginning of the Media Segment using partial HTTP GET. By use of the Segment Index, Segment timing
can be mapped to byte ranges of the Segment. By continuously using partial HTTP GET requests, only
the relevant parts of the Media Segment may be accessed for improved user experience and low start-
up delays.


A.5 Support for trick modes
The client may pause or stop a Media Presentation. In this case, the client simply stops requesting Media
Segments or parts thereof. To resume, the client sends requests to Media Segments, starting with the
next Subsegment after the last requested Subsegment.
If a specific Representation or SubRepresentation element includes the @maxPlayoutRate attribute, then
the corresponding Representation or Sub-Representation may be used for the fast-forward trick mode.
The client may play the Representation or Sub-Representation with any speed up to the regular speed
times the specified @maxPlayoutRate attribute with the same decoder profile and level requirements

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as the normal playout rate. If a specific Representation or SubRepresentation element includes the @
codingDependency attribute with value set to 'false', then the corresponding Representation or Sub-
Representation may be used for both fast-forward and fast-rewind trick modes.
Sub-Representations in combination with Index Segments and Subsegment Index boxes may be used
for efficient trick mode implementation. Given a Sub-Representation with the desired @maxPlayoutRate,
ranges corresponding to SubRepresentation@level all level values from SubRepresentation@
dependencyLevel may be extracted via byte ranges constructed from the information in Subsegment
Index Box. These ranges can be used to construct more compact HTTP GET request.


A.6 Switching Representations
Based on updated information during an ongoing Media Presentation, a client may decide to switch
Representations. Switching to a “new” Representation is equivalent to tuning in or seeking to the new
Representation from the time point where the "old" Representation has been presented. Once switching
is desired, the client should seek to a SAP for each media stream in the “new” Representation at a
desired presentation time tp later than and close to the current presentation time. Presenting the “old”
Representation up to (but not included) the presentation time of the SAP in the “new” Representation
and presenting the “new” Representation from the presentation time of the SAP enables seamless
switching.
If @segmentAlignment is set to true and the @startWithSAP is set to 1 or 2 then the client may switch at
any Segment boundary
— by just concatenating Segments with consecutive Segment numbers from different Representations,
  if @bitstreamSwitching flag is set to true on the parent Adaptation Set, or
— by loading the Initialization Segment or Bitstream Switching Segment for the new Representation
  before processing the new Segment.
No overlap downloading and decoding is required.
If @segmentAlignment is set to true and the @startWithSAP is set to 3 and the Representation@
mediaStreamStructureId is identical for the two Representations, then the client may switch at any
Segment boundary by just concatenating Segments with consecutive Segment numbers from different
Representations, without re-initialization of the media decoder. @bitstreamSwitching should be set to
true in this case.
The same can be achieved on Subsegment level with @subsegmentAlignment set to true and
@subsegmentStartsWithSAP the same values and conditions as above.


A.7 Reaction to error codes
The DASH access client provides a streaming service to the user by issuing HTTP requests for Segments
at appropriate times. The DASH access client may also update the MPD by using HTTP requests. In
regular operation mode, the server typically responds to such requests with status code 200 OK (for
regular GET) or status code 206 Partial Content (for partial GET) and the entity corresponding to the
requested resource. Other Successful 2xx or Redirection 3xx status codes may be returned.
HTTP requests may result in a Client Error 4xx or Server Error 5xx status code. Some guidelines are
provided in this subclause as to how an HTTP client may react to such error codes.
If the DASH access client receives an HTTP client or server error (i.e. messages with 4xx or 5xx error
code), the client should respond appropriately (e.g. as indicated in IETF RFC 7231) to the error code.
In particular, clients should handle redirections (such as 301 and 307) as these may be used as part of
normal operation.
If the DASH access client receives a repeated HTTP error for the request of an MPD, the appropriate
response may involve terminating the streaming service.

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If the DASH access client receives an HTTP client error (i.e. messages with 4xx error code) for the
request of an Initialization Segment, the Period containing the Initialization Segment may not be
available anymore or may not be available yet.
Similarly, if the DASH access client receives an HTTP client error (i.e. messages with 4xx error code) for
the request of a Media Segment, the requested Media Segment may not be available anymore or may not
be available yet. In both cases, the client should check if the precision of the time synchronization to a
globally accurate time standard is sufficiently accurate. If the clock is believed accurate, or the error re-
occurs after any correction, the client should check for an update of the MPD.
Upon receiving server errors (i.e. messages with 5xx error code), the client should check for an update of
the MPD. If multiple BaseURL elements are available, the client may also check for alternative instances
of the same content that are hosted on a different server.


A.8 Encoder clock drift control
Non-alignment between the end of a Representation in one Period and the start time of the next Period
may be caused by encoder clock inaccuracy. The client should align the Media Presentation time at each
Period start. In addition, significant deviations of the start time of Segments to the media time should
be detected and drift-compensating measures may be applied even before the start of the next Period
is reached.
Over a longer operation time, a difference in clock accuracy of the encoder and decoder may cause the
playback to lag behind real-time or to interrupt temporarily due to the client trying to access data faster
than real-time.
For ISO base media file format based, clients may avoid these anomalies by using the Producer
Reference Time boxes as follows. The pace r1 of the encoder clock in relation to the UTC is recovered
from Producer Reference Time boxes. If the relative pace r1 is less than 1, equal to 1, or greater than 1,
the encoder clock runs more slowly than the UTC, at an identical pace compared to the UTC, or faster
than the UTC, respectively. The pace r2 of the receiver playout clock in relation to UTC is created by
accessing a UTC source. A timescale multiplication factor c is equal to r1/r2. A presentation time on
a timeline of the receiver playout clock is derived for each sample or access unit by multiplying the
composition time of the sample (as indicated by the file format structures) or the presentation time of
the access unit (as indicated by the respective Program Elementary Stream header) by the timescale
multiplication factor c.
In case of MPEG-2 TS segments, PCR-based drift control may be used.


A.9 Playback across Period boundaries
From a client perspective, Period boundaries may require processing that makes fully continuous playout
impossible or at last practically complex. For example, the content may be offered with different codecs,
different language attributes, different protection and so on. The client is expected to play the content
continuously across Periods, but there may be implications in terms of implementation to provide fully
continuous and seamless playout. It may be the case that at Period boundaries, the presentation engine
needs to be reinitialised, for example due to changes in formats, codecs or other properties. This may
result in a re-initialisation delay. Such a re-initialisation delay should be minimized.
If the client presents media components of a certain Adaptation Set with a specific value foo for the
AdaptationSet@id in one Period, and if the following Period has assigned an identical Asset Identifier,
then the client is suggested to identify an associated Period and, in the absence of other information,
continue playing the content in the associated Adaptation Set, i.e the Adaptation Set with value foo for
the AdaptationSet@id.
If the client presents media components of a certain Sub-Representation in one Period, and if the
following Period has assigned an identical Sub-Asset Identifier, then the client is suggested to identify
an associated Period and, in the absence of other information, continue playing the content in the
associated Sub-Representation.

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If furthermore the Adaptation Sets are period-continuous or period-connected as defined in subclause
5.3.2.4, i.e. the presentation times are continuous and this is signaled in the MPD, then the client is
expected to seamlessly play (as defined in subclause 4.5.1) the content across the Period boundary.
Most suitably the client may continue playing the Representation in the Adaptation Set with the same
@id, but there is no guarantee that this Representation is available. In this case, the client is expected
to seamlessly switch (as defined in subclause 4.5.1) to any other Representation in the Adaptation Set.
If period continuity is signalled and if continuously playing, then the client should ignore the value of
the @presentationTimeOffset attribute and just continue processing the incoming Segments. If period
connectivity is signalled and if continuously playing, then the client is expected to inform the media
decoder on a timeline discontinuity obeying the value of @presentationTimeOffset attribute, but it may
continue processing the incoming Segments without for example re-initializing the media decoder.


A.10 Usage of Bandwidth and Min Buffer Time in DASH Client
In a simple and straightforward implementation, a DASH Client decides downloading the next segment
based on the following status information:
— the currently available buffer in the media pipeline, buffer,
— the currently estimated download rate, rate,
— the value of the attribute @minBufferTime, MBT,
— the set of values of the @bandwidth attribute for each Representation i, BW[i].
The task of the client is to select a suitable Representation i.
The relevant issue is that starting from a SAP on, the DASH Client can continue to playout the data. This
means that, at the current time, it does have buffer data in the buffer. Based on this model, the client can
download a Representation i for which BW[i] ≤ rate*buffer/MBT without emptying the buffer.
In this model, some idealizations typically do not hold in practice, such as constant bitrate channel,
progressive download and playout of Segments, no blocking and congestion of other HTTP requests, etc.
Therefore, a DASH Client should use these values with care to compensate such practical circumstances;
especially variations in download speed, latency, jitter, scheduling of requests of media components, as
well as to address other practical circumstances.
One example is if the DASH Client operates on Segment granularity. As in this case, not only parts of
the Segment (i.e. MBT) need to be downloaded, but the entire Segment, and if the MBT is smaller than the
Segment duration, then rather the segment duration needs to be used instead of the MBT for the required
buffer size and the download scheduling, i.e. download a Representation i for which BW[i] ≤ rate*buffer/
max_segment_duration.




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                                           Annex B
                                         (normative)

                                        MPD schema


The schema of the MPD for this document is provided at https:​//standards​.iso​.org/iso​-iec/23009/​
-1/ed​-3/en.




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                                                 Annex C
                                               (normative)

                                MIME type registration for MPD


C.1 General
This annex provides the formal MIME type registration for the MPD. It is referenced from the registry
at http:​//www​.iana​.org/.


C.2 MIME type and subtype
The MIME Type and Subtype are defined as follows:

— MIME media type name:                 application

— MIME subtype name:                    dash+xml

— Required parameters:                  None

— Optional parameters:                  The 'profiles' parameter as documented in Annex C.3.

— Encoding considerations:              UTF-8

— Security considerations:              The MPD is a Media Presentation Description and contains refer-
                                        ences to other resources. It is coded in XML, and there are risks
                                        that deliberately malformed XML can cause security issues. In
                                        addition, an MPD can be authored that causes receiving clients to
                                        access other resources; if widely distributed, this can be used to
                                        cause a denial-of-service attack.
                                        The Media Presentation Description (MPD) format does not in-
                                        corporate any active or executable content. However, other forms
                                        of material from outside sources can be referenced by an MPD,
                                        and this material can contain active or executable content. Such
                                        material is expected to be identified by its own MIME type, and
                                        the security considerations of that format should be taken into
                                        account.
                                        If operating in an insecure environment and required by the
                                        content/service provider, elements and attributes of MPD may
                                        be encrypted to protect their confidentiality by using the syntax
                                        and processing rules specified in the W3C Recommendation
                                        “XML Encryption Syntax and Processing”.
                                        If operating in an insecure environment and required by the
                                        content/service provider, the digital signing and verification
                                        procedures specified in the W3C Recommendation “XML Signa-
                                        ture Syntax and Processing” may be used to protect data origin
                                        authenticity and integrity of the MPD.

— Interoperability                      The specification defines a platform-independent expression of a
  considerations:                       presentation, and it is intended that wide interoperability can be
                                        achieved.


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— Published specification:            ISO/IEC 23009-1, Information technology — Dynamic adaptive
                                      streaming over HTTP (DASH) — Part 1: Media presentation de-
                                      scription and segment formats

— Applications which use this         Various
  media type:

— Additional information:
    — File extension(s):               mpd
    — Intended usage:                 common

— Other information/general           None
  comment:

— Author/Change controller:           ISO/IEC JTC1/SC29 (MPEG)


C.3 Profiles parameters

Parameter name:      profiles

Parameter value:     The 'profiles' parameter is an optional parameter that indicates one or more pro-
                     files to which the file claims conformance. The contents of this attribute shall con-
                     form to either the pro-simple or pro-fancy productions of IETF RFC 6381:2011,
                     subclause 4.5. The profile identifiers reported in the MIME type parameter should
                     match identically the profiles reported in the profiles attribute in the MPD itself
                     (see Clause 8).
EXAMPLE

application/dash+xml;profiles="urn:mpeg:dash:profile:full:2011,urn:3GPP:PSS:profile:DASH10"


C.4 MPD Anchors
C.4.1 General
URIs for resources with MIME type application/dash+xml may use URI fragment syntax to start a
presentation at a given time and a given state.
An MPD anchor is a set of Representations being presented and a time offset from the start of a period on
the media timeline. These are expressed using URI fragment syntax. This annex defines one temporal
parameter, position, and two context parameters, state and selection, in order to express the state of a
DASH media presentation.
URI fragment starts with the '#' character, and is a string terminating the URI. MPD fragments shall be
an ampersand-separated list of key=value pairs, with syntax and semantics of key and value parameters
defined in Table C.1 of C.4.2.




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C.4.2 Parameters

                                   Table C.1 — Parameters for MPD Anchors
      Key                          Value                                        Semantics
       T         Time or time range in the same format If the parameter starts from an integer, it signifies the
                 as defined in W3C Media Fragments     time since the beginning of the period indicated by the
                 URI 1.0 (basic).                      period parameter.
                 See W3C Media Fragments URI 1.0         If the t parameter is not present, its default value is t=0
                 (basic) for validity rules and recom-   (i.e. start from the beginning of the Period).
                 mended behaviour.
                                                         NOTE   If period parameter is not present, the default
                 Optionally, prefixed comma-separated Period is the first period of the presentation.
                 pair of numbers. See C.4.4 for validity
                                                         If the parameter starts from prefix posix: it signifies
                 rules and recommended behaviour.
                                                         the absolute time range defined in seconds of Coor-
                                                         dinated Universal Time (ITU-R TF.460-6). This is the
                                                         number of seconds since 01-01-1970 00:00:00 UTC.
                                                         Fractions of seconds may be optionally specified down
                                                         to the millisecond level.
                                                         The posix notation documents the absolute time in
                                                         the MPD.
                                                         This notation shall only be used if MPD@
                                                         availabilityStartTime is present.
                                                         This t=posix:xxx notation parameter shall not be used
                                                         if a period parameter is used. In addition, at most one
                                                         of the two parameters, period and t shall be present in
                                                         an anchor.
                                                         A special value "now' indicates the latest available seg-
                                                         ment, i.e. "live edge".
    period       String                                  Value of a Period parameter Period@id. If period
                                                         parameter is not present, the default value of the @id at-
                                                         tribute value of the Period with the earliest PeriodStart.
    track        string                                  Value of a single AdaptationSet@id
    group        string                                  Value of a single AdaptationSet@group

NOTE 1 Percent coding, defined in IETF RFC 5986, needs to be used for all reserved characters in
parameter values.

NOTE 2   Ability to address elements in the MPD depends on the Period@id, AdaptationSet@id and
AdaptationSet@group. Hence MPD authors are encouraged to put these attributes explicitly into the MPD if
they intend to make MPDs addressable.

C.4.3 Examples
42nd second of Period1 my.mpd#t=42&period=Period1
     my.mpd#t=42&period=Period1

42nd second from the start of the presentation, English 5.1 audio and video
     my.mpd#t=42&track=en51&track=vid

A range from 60s to 180s of the presentation
     my.mpd#t=60,180

Start a live stream at Wed, 21 Jan 2015 20:04:05 GMT
     my.mpd#t=posix:1421870645


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Start a live stream at Wed, 21 Jan 2015 20:04:05 GMT, English 5.1 audio and video
    my.mpd#t=posix:1421870645&track=en51&track=vid

A live stream range from Wed, 21 Jan 2015 20:04:05 GMT to Wed, 21 Jan 2015 23:44:33 GMT
    my.mpd#t=posix:1421870645,1421883873

Play the stream from the latest available segment to Wed, 21 Jan 2015 23:44:33 GMT
    my.mpd#t=posix:now,1421883873

Play the stream from the earliest available segment to Wed, 21 Jan 2015 23:44:33 GMT
    my.mpd#t=posix:0,1421883873

C.4.4 Handling UTC parameter
The following notation is used in this clause:
— N is the UTC time at the moment the URL is requested;
— E is the earliest available segment time in the current presentation at time N;
— F is the latest availability segment time in the current presentation;
— S is the start time in the posix anchor;
— T is the end time in the posix anchor.
If T is not specified, or larger than F, its value shall be considered to be equal to F.
If S is not specified, its value shall be considered to be equal to E. If S is “now”, its value is N.




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                                               Annex D
                                             (normative)

                                           DASH Metrics


D.1 General
This annex defines the ISO/IEC 23009-1 DASH Metrics. The normative aspects of the annex are defined
in D.4, namely the semantics of the metrics and the associated keys to be used for requesting the
collection of the metrics. The client reference model in D.2 and the observation points in D.3 serve as
background information.


D.2 DASH-Metrics client reference model
The DASH-Metrics client reference model is depicted in highlighting so-called observation points (OPs)
as defined in D.3.




                             Figure D.1 — DASH-Metrics client reference model

The DASH access client as defined in subclause 4.2 issues HTTP requests (for DASH data structures), and
receives HTTP request responses (containing DASH data structures). Data structures may typically be
MPDs, Segments or partial Segments. This input/output interface from the network towards the DASH
Client is referred to as observation point 1 (OP1).
Furthermore, the DASH Client delivers encoded media samples to the DASH-enabled application for
further processing and may receive also commands from it. This input/output interface of the DASH
Client towards the DASH-enabled application is referred to as observation point 2 (OP2).
NOTE       Further processing can include de-multiplexing (of audio/video) and/or decoding potentially
involving several buffers.

Finally, the DASH-enabled application delivers decoded media samples to the media output, which
displays the media to the user. This output interface towards the user is referred to as observation
point 3 (OP3).


D.3 Definition of observation points
D.3.1 General
This clause defines the observation points as depicted in Figure D.1.



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D.3.2 Observation point 1
The observation point 1 (OP1) is defined as:
— a set of TCP connections each defined by its destination IP address, initiation, connect and close times;
— a sequence of transmitted HTTP requests, each defined by its transmission time, contents, and the
  TCP connection on which it is sent; and
— for each HTTP response, the reception time and contents of the response header and the reception
  time of each byte of the response body.
NOTE      The contents of the response body is fully defined by the contents of the request and response headers.

D.3.3 Observation point 2
The observation point 2 (OP2) consists of encoded media samples. Each encoded media sample is
defined as:
— media type;
— decoding time;
— presentation time;
— the @id of the Representation from which the sample is taken; and
— the delivery time.

D.3.4 Observation point 3
The observation point 3 (OP3) consists of decoded media samples. Each decoded media sample is
defined as:
— the media type;
— the presentation timestamp of the sample (media time);
— the actual presentation time of the sample (real time); and
— the @id of the Representation from which the sample is taken (the highest dependency level if the
  sample was constructed from multiple Representations).


D.4 Semantics of the DASH metrics
D.4.1 General
This subclause provides the general QoE metric definitions and measurement framework.
The semantics are defined using an abstract syntax. Items in this abstract syntax have one of the
following primitive types (Integer, Real, Boolean, Enum, String) or one of the following compound types:
— Objects: an unordered sequence of (key, value) pairs, where the key always has string type and is
  unique within the sequence.
— List: an ordered list of items.
— Set: an unordered set of items.
Additionally, there are two kinds of timestamp defined, i.e. real time (wall-clock time) with type Real-
Time and media time with type Media-Time.



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Where lists are defined, the name 'entry' is used to define the format of each entry, but since lists
contain unnamed entries, this name would not appear in any concrete syntax.
Each metric is defined as a named list of entries that logically contains the metric information for the
entire Media Presentation. Reporting of these lists, whether done at the end of the Media Presentation
or incrementally during the Media Presentation, is outside the scope of this document.

D.4.2 TCP connections
Table D.1 contains the metric defining the list of TCP connections. The key in Table D.1 shall be used to
refer to the metric as defined in Table D.1.

                                        Table D.1 — List of TCP connections
Key                             Type              Description
TcpList                         List              List of HTTP request/response transactions
      Entry                     Object            An entry for a single HTTP request/response
           tcpid                Integer           Identifier of the TCP connection on which the HTTP request
                                                  was sent.
           dest                 String            IP Address of the interface over which the client is receiving the
                                                  TCP data.
           topen                Real-Time         The time at which the connection was opened (sending time of
                                                  the initial SYN or connect socket operation).
           tclose               Real-Time         The time at which the connection was closed (sending or recep-
                                                  tion time of FIN or RST or close socket operation).
           tconnect             Integer           Connect time in ms (time from sending the initial SYN to receiv-
                                                  ing the ACK or completion of the connect socket operation).

D.4.3 HTTP request/response transactions
Table D.2 contains the metric defining the List of HTTP Request/Response Transactions. The key in
Table D.2 shall be used to refer to the metric as defined in Table D.2.

                         Table D.2 — List of HTTP request/response transactions
Key                               Type            Description
HttpList                          List            List of HTTP request/response transactions
      Entry                       Object          An entry for a single HTTP request/response
            tcpid                 Integer         Identifier of the TCP connection on which the HTTP request
                                                  was sent.
            type                  Enum            This is an optional parameter and should not be included in
                                                  HTTP request/response transactions for progressive download.
                                                  The type of the request:
                                                  —   MPD

                                                  —   XLink expansion

                                                  —   Initialization Segment

                                                  —   Index Segment

                                                  —   Media Segment

                                                  —   Bitstream Switching Segment

                                                  —   other
            url                   String          The original URL (before any redirects or failures)


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                                            Table D.2 (continued)
Key                            Type             Description
          actualurl            String           The actual URL requested, if different from above
          range                String           The contents of the byte-range-spec part of the HTTP
                                                Range header.
          trequest             Real-Time        The real time at which the request was sent.
          tresponse            Real-Time        The real time at which the first byte of the response was received.
          responsecode         Integer          The HTTP response code.
          interval             Integer          The duration of the throughput trace intervals (ms), for success-
                                                ful requests only.
          trace                List             Throughput trace, for successful requests only.
                 Entry         Object           A single throughput measurement entry.
                     s         Real-Time        Measurement period start.
                     d         Integer          Measurement period duration (ms).
                     b         List             List of integers counting the bytes received in each trace inter-
                                                val within the measurement period.

NOTE 1     Information additional to that specified in the type can be returned, for example if a client makes a
request for a initialization information from a self-initializing Media Segment then Segment Index may also be
received.

NOTE 2     All entries for a given object have the same URL and range and so can easily be correlated. If there
were redirects or failures, there would be one entry for each redirect/failure. The redirect-to URL or alternative
url (where multiple have been provided in the MPD) appears as the actualurl of the next entry with the same
url value.

NOTE 3     The periods in Entry are expected to be those periods where the client was actively reading from
the TCP connections (i.e. they are expected to not include periods where the TCP connection is idle due to zero
receive window).

The end of the last measurement period in the trace shall be the time at which the last byte of the
response was received.
The interval and trace shall be absent for redirect and failure records.
The key HttpList(n,type) where n is a positive integer is defined for an HttpList with an interval of
n ms and type is one of MPD, XLinkExpansion, InitializationSegment, MediaSegment, IndexSegment
BitstreamSwitchingSegment or other. If type is not present, all HTTP transactions are requested to be
collected. If type is present, it specifies that the HTTP transactions concerning a resource equal to type
are requested to be collected. Multiple keys HttpList(n,type) with different values of n and type may be
present for a single @metrics attribute value.
An HTTP transaction that is not finished within a QoE metric collection period shall not be included in
the metrics.

D.4.4 Representation switch events
Table D.3 defines the metric for Representation switch events. The key in Table D.3 shall be used to
refer to the metric as defined in Table D.3.

                           Table D.3 — List of Representation switch events
Key                              Type                       Description
RepSwitchList                    List                       List of Representation switch events (a switch event
                                                            is the time at which the first HTTP request for a new
                                                            Representation, that is later presented, is sent)
         Entry                   Object                     A Representation switch event.

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                                                  Table D.3 (continued)
Key                                     Type                    Description
                   t                    Real-Time               Time of the switch event.
                   mt                   Media-Time              The media presentation time of the earliest access
                                                                unit (out of all media content components) played
                                                                out from the “to” Representation.
                   to                   String                  value of Representation@id identifying the
                                                                switch-to Representation.
                   lto                  Integer                 If not present, this metrics concerns the Representa-
                                                                tion as a whole. If present, lto indicates the value of
                                                                SubRepresentation@level within Representation
                                                                identifying the switch-to level of the Representation.

D.4.5 Buffer level
Table D.4 defines the metric for buffer level status events. The key in Table D.4 shall be used to refer to
the metric as defined in Table D.4.

                                           Table D.4 — List of buffer level
Key                                       Type              Description
BufferLevel                               List              List of buffer occupancy level measurements during
                                                            playout at normal speed.
       Entry                              Object            One buffer level measurement.
               t                          Real-Time         Time of the measurement of the buffer level.
               level                      Integer           Level of the buffer in milliseconds. Indicates the playout
                                                            duration for which media data of all active media compo-
                                                            nents is available starting from the current playout time.

The key is BufferLevel(n), where n is a positive integer defined to refer to the metric in which the
buffer level is recorded every n ms.

D.4.6 Play list
Decoded samples are generally rendered in presentation time sequence, each at or close to its specified
presentation time. A compact Representation of the information flow can thus be constructed from a list
of time periods during which samples of a single Representation were continuously rendered, such that
each was presented at its specified presentation time to some specific level of accuracy (e.g. ±10 ms).
Such a sequence of periods of continuous delivery is started by a user action that requests playout to
begin at a specified media time (this can be a "play", "seek" or "resume" action) and continues until
playout stops either due to a user action, the end of the content, or a permanent failure.
Table D.5 defines the play list event metric. The key in Table D.5 shall be used to refer to the metric as
defined in Table D.5.

                                                  Table D.5 — Play list
Key                                      Type              Description
PlayList                                 List              A list of playback periods. A playback period is the time
                                                           interval between a user action and whichever occurs
                                                           soonest of the next user action, the end of playback or a
                                                           failure that stops playback.
    Entry                                Object            A record of a single playback period.
        start                            Real-Time         Timestamp of the user action that starts the playback
                                                           period.


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                                           Table D.5 (continued)
Key                              Type               Description
       mstart                    Media-Time         The presentation time at which playout was requested
                                                    by the user action.
       starttype                 Enum               Type of user action which triggered playout:
                                                    —    New playout request (e.g. initial playout or seeking)

                                                    —    Resume from pause

                                                    —    Other user request (e.g. user-requested quality
                                                         change)

                                                    —    Start of a metrics collection period (hence earlier
                                                         entries in the play list not collected)
       trace                     List               List of periods of continuous rendering of decoded
                                                    samples.
          Entry                  Objects            Single entry in the list.
               representationid String              The value of the Representation@id of the Representa-
                                                    tion from which the samples were taken.
               subreplevel       Integer            If not present, this metrics concerns the Representa-
                                                    tion as a whole. If present, subreplevel indicates the
                                                    greatest value of any Subrepresentation@level being
                                                    rendered.
               start             Real-Time          The time at which the first sample was rendered.
               mstart            Media-Time         The presentation time of the first sample rendered.
               duration          Integer            The duration of the continuously presented samples
                                                    (which is the same in real time and media time). “Contin-
                                                    uously presented” means that the media clock continued
                                                    to advance at the playout speed throughout the interval.
               playbackspeed     Real               The playback speed relative to normal playback speed
                                                    (i.e.normal forward playback speed is 1.0).
               stopreason        Enum               The reason why continuous presentation of this Rep-
                                                    resentation was stopped. Either:
                                                    —    Representation switch (not relevant in case of
                                                         progressive download)

                                                    —    rebuffering

                                                    —    user request

                                                    —    end of Period

                                                    —    end of content

                                                    —    end of a metrics collection period

                                                    —    failure

NOTE      The trace can include entries for different representations that overlap in time, because multiple
representations are being rendered simultaneously, for example one audio and one video Representation.




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                                                    Annex E
                                                  (normative)

             Byte range requests with regular HTTP GET methods


E.1 Background
There are deployment environments where HTTP partial GET is not supported, or results in the return
of the entire, rather than partial target. This represents a problem for DASH Clients. It is expected that
these problems gradually disappear, but until this will be the case, a method is provided to not exclude
DASH Clients operating in these environments and service providers wanting to support such clients
are excluded from using this DASH standard to deploy media streaming services using the formats
defined in this document. Still it is expected that this annex will be deprecated in future editions of this
document.
To address these requirements, the BaseURL@byteRange attribute may be present. If present, it provides
indication that resources offered in the MPD that are requested by a HTTP partial GET (e.g. Segments
for which HTTP-URLs contain byte ranges or Subsegments) may also be requested using a regular HTTP
GET and mapping the information that is otherwise added in the Range header in case of a HTTP partial
GET into the request URI of a regular HTTP GET request. It is expected that DASH Clients only use this
method if HTTP partial GET requests fail. If DASH Clients only have this alternative to request segments
or Subsegments, then it is expected that they request single units of segments or Subsegments.


E.2 Construction rule
The BaseURL@byteRange attribute represents a template that may be used to construct a URL requesting
a byte range (a “byte range URL”) from a resource, given the original URL of the resource and the
required byte range. The result of issuing a GET request to this byte range URL without including the
HTTP Range header should be identical to the result of requesting the original URL with the byte range
specified in the HTTP Range header.
The BaseURL@byteRange contains a template string that contains one or more of the identifiers as listed
in Table E.1. The string shall contain identifiers $first$ and $last$ as specified in Table E.1.
The byte range URL shall be constructed from the template string by substituting the identifiers
specified in the first column of Table E.1 with the values specified in the second column of Table E.1. If
the $query$ identifier is not present in the template and the query portion of the original URL as defined
in IETF RFC 3986 is not empty, then the string “?” query shall be appended to the constructed URL.
If the template string contains unrecognized identifiers then the result of the URL construction is
unspecified. In this case, it is expected that the DASH Client ignores the entire containing ByteRange
element and the processing of the MPD continues as if this ByteRange element was not present.
Strings outside identifiers shall only contain characters that permit to form a valid HTTP-URL according
to IETF RFC 3986.

                              Table E.1 — Identifiers for Byte Range Templates
$<Identifier>$             Substitution parameter
$$                         Is an escape sequence, i.e. "$$" is replaced with a single "$"
$base$                     The identifier shall be substituted by the scheme ":" hier-part of the original URL
                           as defined in IETF RFC 3986.



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                                         Table E.1 (continued)
$<Identifier>$      Substitution parameter
$query$             The identifier shall be substituted by the query part of the original URL as defined in
                    IETF RFC 3986. If the query part of the original URL is empty then inclusion of this
                    identifier in the template shall cause removal of the separator character immediately
                    preceding the $query$ identifier in the template string if that character is not the "?"
                    character, or, otherwise, the separator character immediately following the $query$
                    identifier if present.
$first$             The identifier shall be substituted by the byte offset of the first byte in a range and shall be
                    identical to the value of 'first-byte-pos' of 'byte-range-spec' of IETF RFC 7231:2014,
                    2.1, if this request would be executed using a partial GET request.
$last$              The identifier is substituted by the byte offset of the last byte in the range; that is, the byte
                    positions specified are inclusive. It shall be identical to the value of 'last-byte-pos'
                    of 'byte-range-spec' of IETF RFC 7231:2014, 2.1, if this request would be executed
                    using a partial GET request.


E.3 Examples

Original URL                 http://cdn.example.com/movies/134532/audio/en/aac64.mp4?token=8
                             787r08f2gf087g28gf926
Byte Range                   1876-23456
BaseURL@byteRange            $base$/range/$first$-$last$
Byte range URL               http://cdn.example.com/movies/134532/audio/en/aac64.mp4/range/1876-
                             23456?token=8787r08f2gf087g28gf926




Original URL                 http://cdn.example.com/movies/134532/audio/en/aac64.mp4

Byte Range                   1876-23456
BaseURL@byteRange            $base$?$query$&range=$first$-$last$
Byte range URL               http://cdn.example.com/movies/134532/audio/en/aac64.
                             mp4?range=1876-23456




Original URL                 http://cdn.example.com/movies/134532/audio/en/aac64.mp4?token=8
                             787r08f2gf087g28gf926
Byte Range                   1876-23456
BaseURL@byteRange            $base$?$query$&range=$first$-$last$
Byte range URL               http://cdn.example.com/movies/134532/audio/en/aac64.mp4?token=8
                             787r08f2gf087g28gf926&range=1876-23456




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                                              Annex F
                                           (informative)

       Guidelines for extending DASH with other delivery formats


F.1 Adding delivery formats to DASH
In order to support use with DASH, a delivery format should have the property that decoding and
playback of any portion of the media can be achieved using a subset of the media that is only a constant
amount larger than the portion of the media to be played.
For example, a delivery format following this property is one for which the media is stored as a header
followed by a sequence of small blocks, with the property that any block can be decoded and played out
given only that block and the header. The definition of these blocks and the mapping to the Subsegments
in this document are encouraged. A Subsegment may be defined as a contiguous time interval of a
Segment and a contiguous byte range of a Segment for which no overlap in both dimensions with any
other Subsegment in the Segment exists.
Additionally, it is desirable that the delivery format supports some kind of “index” which enables the
byte range within the Segment corresponding to any given time range to be efficiently discovered.
A suitable unit is the indexing of Subsegments. It should be possible to discover the position in the
Segment of the index without downloading the whole Segment. The position of the index may also be
advertised in the MPD or the index may be provided as a separate Index Segment. The Segment Index
(′sidx′) or Subsegment Index (′ssix′), both defined in ISO/IEC 14496-12, may serve as a starting point
and/or may be directly applied to any other media format.


F.2 Media Presentation authoring rules
A specification for how to use a media container format with DASH should include:
— Definition of the MIME type for the Representation as a concatenation of Segments.
— Description of either a self-initializing Media Segment or the combination of an Initialization
  Segment and a Media Segment format.
In addition, the specification may further define:
— Index Segments;
— Bitstream switching segments;
— Interpretation of a media Stream Access Point (SAP), potentially different types as defined in
  subclause 4.5.2 in the context of the media container format. (The SAP types are fully defined in
  ISO/IEC 14496-12:—, Annex I and should not be re-defined, but the interpretation of those definitions
  in media-container-specific language may be necessary);
— Container-format-specific semantics for the @bitstreamSwitching, @segmentAlignment and @
  subsegmentAlignment. These should align with the definitions in this document.

Representation attributes present in the MPD may also be repeated in the media itself, e.g. in an
Initialization Segment or a Media Segment. The media content should be provided such that no
mismatch between these two values occurs. If it does, the value in the media itself is expected to take
precedence over values expressed in the MPD, especially when used in the media decoding process.



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                                              Annex G
                                           (informative)

                            MPD Examples and MPD Usage


G.1 Example MPD for ISO Base media file format On Demand profile
This subclause provides a simple example for a static presentation with self-initializing Media Segments,
multiple languages, subtitles, content protection and multiple base URLs. This MPD document describes
content available from two sources (cdn1 and cdn2) that has audio available in English or French at
rates of 64 kbits and 32 kbits and subtitles in German. Six versions of the video are provided at bitrates
between 256 kbit/s and 2 Mbit/s in different spatial resolutions. Content protection is applied.
The Media Presentation complies with the ISO Base media file format On Demand profile as defined in
subclause 8.3.

<?xml version="1.0"?>
<MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="static"
       mediaPresentationDuration="PT3256S"
       minBufferTime="PT1.2S"
       profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


       <BaseURL>http://cdn1.example.com/</BaseURL>
       <BaseURL>http://cdn2.example.com/</BaseURL>


       <Period>
           <!-- English Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en"
subsegmentAlignment="true" subsegmentStartsWithSAP="1">
            <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-
4D48-656164657221"/>
               <Representation id="1" bandwidth="64000">
                   <BaseURL>7657412348.mp4</BaseURL>
               </Representation>
               <Representation id="2" bandwidth="32000">




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                      <BaseURL>3463646346.mp4</BaseURL>
                 </Representation>
           </AdaptationSet>
           <!-- French Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40.2" lang="fr"
subsegmentAlignment="true" subsegmentStartsWithSAP="1">
            <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-
4D48-656164657221"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="dub"/>
                 <Representation id="3" bandwidth="64000">
                      <BaseURL>3463275477.mp4</BaseURL>
                 </Representation>
                 <Representation id="4" bandwidth="32000">
                      <BaseURL>5685763463.mp4</BaseURL>
                 </Representation>
           </AdaptationSet>
           <!-- Timed text -->
           <AdaptationSet mimeType="application/ttml+xml" lang="de">
                 <Role schemeIdUri="urn:mpeg:dash:role" value="subtitle"/>
                 <Representation id="5" bandwidth="256">
                      <BaseURL>796735657.xml</BaseURL>
                 </Representation>
           </AdaptationSet>
           <!-- Video -->
        <AdaptationSet mimeType="video/mp4" codecs="avc1.4d0228"
subsegmentAlignment="true" subsegmentStartsWithSAP="2">
            <ContentProtection schemeIdUri="urn:uuid:706D6953-656C-5244-
4D48-656164657221"/>
                 <Representation id="6" bandwidth="256000" width="320" height="240">
                      <BaseURL>8563456473.mp4</BaseURL>
                 </Representation>
                 <Representation id="7" bandwidth="512000" width="320" height="240">
                      <BaseURL>56363634.mp4</BaseURL>
                 </Representation>




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               <Representation id="8" bandwidth="1024000" width="640" height="480">
                   <BaseURL>562465736.mp4</BaseURL>
               </Representation>
               <Representation id="9" bandwidth="1384000" width="640" height="480">
                   <BaseURL>41325645.mp4</BaseURL>
               </Representation>
               <Representation id="A" bandwidth="1536000" width="1280" height="720">
                   <BaseURL>89045625.mp4</BaseURL>
               </Representation>
               <Representation id="B" bandwidth="2048000" width="1280" height="720">
                   <BaseURL>23536745734.mp4</BaseURL>
               </Representation>
          </AdaptationSet>
       </Period>
</MPD>


G.2 Example for ISO Base media file format Live profile
This subclause provides a simple example for a dynamic presentation, with multiple languages,
multiple base URLs, multiple video bitrates, and segments about two seconds in length for low latency
from live programming. At the time this MPD was fetched, 432 Segments of the dynamic presentation
were available so the wall clock time has been approximately 2011-12-25T12:44:24 UTC. All the video
Segments are aligned and start with a Stream Access Point. All the audio Segments are aligned so
language switching can be done with the non-language sound (e.g. music) seamlessly.
In this MPD, assuming that the first BaseURL element and the video Representation with id "v1" is
selected, and template results in http://cdn1.example.com/video/50000/$Time$.mp4v, the segment
list starting at number 0 results in
    http://cdn1.example.com/video/500000/0.mp4v
    http://cdn1.example.com/video/500000/180180.mp4v
    http://cdn1.example.com/video/500000/360360.mp4v
    http://cdn1.example.com/video/500000/540540.mp4v
    http://cdn1.example.com/video/500000/720720.mp4v
    ...




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The Media Presentation conforms to the ISO Base media file format Live profile in subclause 8.4.

<?xml version="1.0"?>
<MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="dynamic"
      minimumUpdatePeriod="PT2S"
      timeShiftBufferDepth="PT30M"
      availabilityStartTime="2014-10-17T17:17:05Z"
      minBufferTime="PT4S"
      profiles="urn:mpeg:dash:profile:isoff-live:2011"
      publishTime="2014-10-17T17:17:05Z">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <Period id="1">
           <!-- Video -->
           <AdaptationSet
                 mimeType="video/mp4"
                 codecs="avc1.4D401F"
                 frameRate="30000/1001"
                 segmentAlignment="true"
                 startWithSAP="1">
                 <BaseURL>video/</BaseURL>
            <SegmentTemplate timescale="90000" initialization="$Bandwidth%/init.mp4v"
media="$Bandwidth%/$Time$.mp4v">
                      <SegmentTimeline>
                            <S t="0" d="180180" r="432"/>
                      </SegmentTimeline>
                 </SegmentTemplate>
                 <Representation id="v0" width="320" height="240" bandwidth="250000"/>
                 <Representation id="v1" width="640" height="480" bandwidth="500000"/>




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               <Representation id="v2" width="960" height="720" bandwidth="1000000"/>
          </AdaptationSet>
          <!-- English Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en"
segmentAlignment="0" startWithSAP="1">
            <SegmentTemplate timescale="48000" initialization="audio/en/init.mp4a"
media="audio/en/$Time$.mp4a">
                   <SegmentTimeline>
                       <S t="0" d="96000" r="432"/>
                   </SegmentTimeline>
               </SegmentTemplate>
               <Representation id="a0" bandwidth="64000" />
          </AdaptationSet>
          <!-- French Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr"
segmentAlignment="0" startWithSAP="1">
            <SegmentTemplate timescale="48000" initialization="audio/fr/init.mp4a"
media="audio/fr/$Time$.mp4a">
                   <SegmentTimeline>
                       <S t="0" d="96000" r="432"/>
                   </SegmentTimeline>
               </SegmentTemplate>
               <Representation id="b0" bandwidth="64000" />
          </AdaptationSet>
       </Period>
</MPD>


G.3 Example for MPEG-2 TS Simple profile
This subclause introduces a simple example for a static presentation, with multiple languages, multiple
base URLs, multiple video bitrates, and segments about four seconds in length.
In this MPD, assuming that the first BaseURL element and the Representation with id "1400kbps" is
selected, and template results in http://cdn1.example.com/SomeMovie_1400kbps_$Number%05$.ts, the
segment list starting at number 0 results in
    http://cdn1.example.com/SomeMovie_1400kbps_00001.ts
    http://cdn1.example.com/SomeMovie_1400kbps_00002.ts
    http://cdn1.example.com/SomeMovie_1400kbps_00003.ts
    http://cdn1.example.com/SomeMovie_1400kbps_00004.ts
    http://cdn1.example.com/SomeMovie_1400kbps_00005.ts
    ...




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The Media Presentation conforms to the profile in subclause 8.7.

<?xml version="1.0" encoding="UTF-8"?>
<MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT6158S"
      availabilityStartTime="2011-05-10T06:16:42"
      minBufferTime="PT1.4S"
      profiles="urn:mpeg:dash:profile:mp2t-simple:2011"
      maxSegmentDuration="PT4S">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <Period id="42" duration="PT6158S">
           <AdaptationSet
                 mimeType="video/mp2t"
                 codecs="avc1.4D401F,mp4a"
                 frameRate="24000/1001"
                 segmentAlignment="true"
                 subsegmentAlignment="true"
                 bitstreamSwitching="true"
                 startWithSAP="2"
                 subsegmentStartsWithSAP="2">
                 <ContentComponent contentType="video" id="481"/>
                 <ContentComponent contentType="audio" id="482" lang="en"/>
                 <ContentComponent contentType="audio" id="483" lang="es"/>
                 <BaseURL>SomeMovie/</BaseURL>
                 <SegmentTemplate
                      media="$RepresentationID$_$Number%05d$.ts"
                      index="$RepresentationID$.sidx"
                      initialization="$RepresentationID$-init.ts"




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                   bitstreamSwitching="$RepresentationID$-bssw.ts"
                   duration="4"/>
               <Representation id="720kbps" bandwidth="792000" width="640" height="368"/>
               <Representation id="1130kbps" bandwidth="1243000" width="704" height="400"/>
               <Representation id="1400kbps" bandwidth="1540000" width="960" height="544"/>
               <Representation id="2100kbps" bandwidth="2310000" width="1120" height="640"/>
               <Representation id="2700kbps" bandwidth="2970000" width="1280" height="720"/>
               <Representation id="3400kbps" bandwidth="3740000" width="1280" height="720"/>
           </AdaptationSet>
       </Period>
</MPD>


G.4 Example for multiple stereo views
This subclause introduces a simple example for a stereo video presentation from three cameras in one
line where one stereo view is from the left-hand two cameras and the second is from the right-hand two
cameras.

<?xml version="1.0"?>
<MPD
       xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
       xmlns="urn:mpeg:dash:schema:mpd:2011"
       xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
       type="static"
       mediaPresentationDuration="PT3256S"
       minBufferTime="PT10.00S"
       profiles="urn:mpeg:dash:profile:isoff-main:2011">


       <BaseURL>http://www.example.com/</BaseURL>


       <!-- In this Period there are 3 views: coming from three lined up cameras: C1-C2-C3.




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          C1+C2 and C2+C3 each form a stereo pair but C1+C3 does not.
          C2 is taken as the base view for MVC while C1 and C3 are enhancement views -->
      <Period start="PT0.00S" duration="PT2000.00S">
           <SegmentList>
                 <Initialization sourceURL="seg-m-init.mp4"/>
           </SegmentList>
           <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
                 <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l1 r0"/>
                 <Representation id="C2" bandwidth="128000">
                      <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C2view-1.mp4"/>
                            <SegmentURL media="seg-m1-C2view-2.mp4"/>
                            <SegmentURL media="seg-m1-C2view-3.mp4"/>
                      </SegmentList>
                 </Representation>
           </AdaptationSet>
        <!-- The following Adaptation set contains a Representation functionally identical
to the Representation in the previous Adaptation set. Therefore, these both have the same
Representation@id. This is done for compatibility to 2D receivers that do not understand
the schemeIdURI of the Role Descriptor and may ignore the Adaptation set -->
           <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
                 <Representation id="C2" bandwidth="128000">
                      <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C2view-1.mp4"/>
                            <SegmentURL media="seg-m1-C2view-2.mp4"/>
                            <SegmentURL media="seg-m1-C2view-3.mp4"/>
                      </SegmentList>
                 </Representation>
           </AdaptationSet>
           <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">




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               <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l0"/>
               <Representation id="C1" dependencyId="C2" bandwidth="192000">
                   <SegmentList duration="10">
                       <SegmentURL media="seg-m1-C1view-1.mp4"/>
                       <SegmentURL media="seg-m1-C1view-2.mp4"/>
                       <SegmentURL media="seg-m1-C1view-3.mp4"/>
                   </SegmentList>
               </Representation>
           </AdaptationSet>
           <AdaptationSet mimeType="video/mp4" codecs="mvc1.760028">
               <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="r1"/>
               <Representation id="C3" dependencyId="C2" bandwidth="192000">
                   <SegmentList duration="10">
                       <SegmentURL media="seg-m1-C3view-1.mp4"/>
                       <SegmentURL media="seg-m1-C3view-2.mp4"/>
                       <SegmentURL media="seg-m1-C3view-3.mp4"/>
                   </SegmentList>
               </Representation>
           </AdaptationSet>
       </Period>


    <!-- In this Period there are only 2 views: C1+C2 form a stereo pair; C2 is the
base view for MVC and C1 is the enhancement view -->
       <Period duration="PT1256.00S">
           <SegmentList>
               <Initialization sourceURL="seg-m-init-2.mp4"/>
           </SegmentList>
           <AdaptationSet mimeType="video/mp4" codecs="avc1.640828">
               <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="r0"/>




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                 <Representation id="C2" bandwidth="128000">
                      <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C2view-201.mp4"/>
                            <SegmentURL media="seg-m1-C2view-202.mp4"/>
                      </SegmentList>
                 </Representation>
           </AdaptationSet>
           <AdaptationSet mimeType="video/mp4" codecs=" mvc1.760028">
                 <Role schemeIdUri="urn:mpeg:dash:stereoid:2011" value="l0"/>
                 <Representation id="C1" dependencyId="C2" bandwidth="192000">
                      <SegmentList duration="10">
                            <SegmentURL media="seg-m1-C1view-201.mp4"/>
                            <SegmentURL media="seg-m1-C1view-202.mp4"/>
                      </SegmentList>
                 </Representation>
           </AdaptationSet>
       </Period>
</MPD>


G.5 Example for SVC alternative streams
This simple example introduces a piece of SVC content split into three Representations with each
additional bitrate depending on the previous ones.

<?xml version="1.0"?>
<MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"




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       minBufferTime="PT1.2S"
       profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


       <BaseURL>http://cdn1.example.com/</BaseURL>
       <BaseURL>http://cdn2.example.com/</BaseURL>


       <!-- In this Period the SVC stream is split into three representations -->
       <Period>
           <AdaptationSet
               subsegmentAlignment="true"
               subsegmentStartsWithSAP="2"
               minBandwidth="512000"
               maxBandwidth="1024000"
               width="640"
               height="480"
               frameRate="30"
               lang="en">
               <!-- Independent Representation -->
               <Representation
                   mimeType="video/mp4"
                   codecs="avc1.4D401E,mp4a.40"
                   id="tag5"
                   bandwidth="512000">
                   <BaseURL>video-512k.mp4</BaseURL>
                   <SegmentBase indexRange="0-4332"/>
               </Representation>
               <!-- Representation dependent on above -->
               <Representation
                   mimeType="video/mp4"
                   codecs="avc2.56401E"
                   id="tag6"
                   dependencyId="tag5"
                   bandwidth="768000">
                   <BaseURL>video-768k.mp4</BaseURL>
                   <SegmentBase indexRange="0-3752"/>




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                 </Representation>
                 <!-- Representation dependent on both above -->
                 <Representation
                      mimeType="video/mp4"
                      codecs="avc2.56401E "
                      id="tag7"
                      dependencyId="tag5 tag6"
                      bandwidth="1024000">
                      <BaseURL>video-1024k.mp4</BaseURL>
                      <SegmentBase indexRange="0-3752"/>
                 </Representation>
           </AdaptationSet>
       </Period>
</MPD>


G.6 Example for trick play support
This subclause introduces a simple example for using Sub-Representations to support layered coding.

<?xml version="1.0"?>
<MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT1.2S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <!-- Period with a multiplexed stream with subrepresentations
          described for use with fast forward -->




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       <Period>
           <AdaptationSet
               mimeType="video/mp4"   codecs="avc2.4D401E,avc1.4D401E,mp4a.40"
               width="640" height="480" frameRate="30" lang="en"
               subsegmentAlignment="true" subsegmentStartsWithSAP="2">
               <ContentComponent id="0"    contentType="video"/>
               <ContentComponent id="1"    contentType="audio"/>
               <Representation id="tag0" bandwidth="512000">
                   <BaseURL>video-512k.mp4</BaseURL>
                <SubRepresentation level="0" contentComponent="0" bandwidth="128000"
codecs="avc1.4D401E" maxPlayoutRate="4"/>
                <SubRepresentation level="1" dependencyLevel="0" contentComponent="0"
bandwidth="320000" codecs="avc2.4D401E"/>
                <SubRepresentation level="2" contentComponent="1" bandwidth="64000"
codecs="mp4a.40"/>
                   <SegmentBase indexRange="7632" />
               </Representation>
           </AdaptationSet>
       </Period>
</MPD>


G.7 Example for content protected by multiple schemes
In the example below, example.com is a provider of CDN services and also a hosting service for movie
service providers MoviesSP. The English audio and the video tracks are encrypted and licensed by
MoviesSP. However, the French audio track is encrypted and licensed by a different service provider.
A hypothetical DRM standardization organization has registered a Scheme Type 'ZZZZ' with MP4REG
and documented how scheme specific licensing information is stored entirely within the content so
there is no additional information provided in the ContentProtection element. Since the scheme type is
registered and the rules for its use are documented, the "urn:mpeg:dash:mp4protection:2011" is used
for the @schemeIdUri and "ZZZZ" is the assigned @value.
In addition, a second DRM scheme is used that comes from a DRM vendor who has published
documentation of their system that declares that they use the DASH ContentProtection element with
a @schemeIdUri attribute value "http:​//example​.net/052011/drm". (This DRM vendor owns the domain
example.net as of May, 2011.) Documentation for this scheme states that there must always be two
URLs in the ContentProtection element that are placed in elements defined in the http://example.
net/052011/drm namespace. The License element contains a license token and the Content element




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contains a content token. Regardless of which service provider uses the protection product from this
DRM vendor, these rules must always be followed.

<?xml version="1.0"?>
<MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xmlns:drm="http://example.net/052011/drm"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="static"
      mediaPresentationDuration="PT3256S"
      minBufferTime="PT10.00S"
      profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


      <BaseURL>http://cdn.example.com/movie23453235/</BaseURL>


      <Period>
           <!-- Audio protected with a specified license -->
           <AdaptationSet         mimeType="audio/mp4" codecs="mp4a.40" lang="en"
                 subsegmentStartsWithSAP="1"
                 subsegmentAlignment="true">
                 <ContentProtection schemeIdUri="http://example.net/052011/drm">
                      <drm:License>http://MoviesSP.example.com/protect?license=kljklsdfiowek</
drm:License>


<drm:Content>http://MoviesSP.example.com/protect?content=oyfYvpo8yFyvyo8f</drm:Content>
                 </ContentProtection>
                 <Representation id="1" bandwidth="64000">
                      <BaseURL>audio/en/64.mp4</BaseURL>
                 </Representation>
           </AdaptationSet>
           <!-- Audio protected with embedded information defined by ′ZZZZ′ -->
           <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr"
                 subsegmentStartsWithSAP="1"
                 subsegmentAlignment="true">




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            <ContentProtection schemeIdUri="urn:mpeg:dash:mp4protection:2011"
value="ZZZZ"/>
               <Representation id="3" bandwidth="64000">
                    <BaseURL>audio/fr/64.mp4</BaseURL>
               </Representation>
           </AdaptationSet>
           <!-- Timed text in the clear -->
           <AdaptationSet mimeType="application/ttml+xml" lang="de">
               <Representation id="5" bandwidth="256">
                    <BaseURL>subtitles/de.xml</BaseURL>
               </Representation>
           </AdaptationSet>
           <!-- Video protected with a specified license -->
        <AdaptationSet mimeType="video/mp4" codecs="avc1" subsegmentAlignment="true"
subsegmentStartsWithSAP="2">
               <ContentProtection schemeIdUri="http://example.net/052011/drm">


<drm:License>http://MoviesSP.example.com/protect?license=jfjhwlsdkfiowkl</drm:License>


<drm:Content>http://MoviesSP.example.com/protect?content=mslkfjsfiowelkfl</drm:Content>
               </ContentProtection>
               <BaseURL>video/</BaseURL>
               <Representation id="6" bandwidth="256000" width="320" height="240">
                    <BaseURL>video256.mp4</BaseURL>
               </Representation>
               <Representation id="7" bandwidth="512000" width="320" height="240">
                    <BaseURL>video512.mp4</BaseURL>
               </Representation>
               <Representation id="8" bandwidth="1024000" width="640" height="480">
                    <BaseURL>video1024.mp4</BaseURL>
               </Representation>
           </AdaptationSet>
       </Period>
</MPD>


G.8 Example for usage of Role descriptor
In the following MPD example, "supplementary" audio Representations with ids "31" or "32" can be
presented together with "main" video Representation with id "11" or "12" since Viewpoint descriptors
are equivalent, i.e. the @schemeIdUri and the @value are equivalent. Similarly, the "supplementary" audio
Representation with ids "41" or "42" can be presented together with "alternate" video Representations
with ids "21" and "22".
NOTE       The MPD is not complete and only provides a description of the concept.




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<?xml version="1.0"?>
<!-- Attention: this is not a complete MPD and thus will not validate against the MPD
Schema -->
<MPD>
      <Period>
           <AdaptationSet mimeType="video/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp1"/>
                 <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
                 <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
                 <!-- ... -->
           </AdaptationSet>


           <AdaptationSet mimeType="video/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp2"/>
                 <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
                 <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
                 <!-- ... -->
           </AdaptationSet>


           <AdaptationSet mimeType="audio/mp4" group="1">
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>




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               <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp1"/>
               <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
               <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
               <!-- ... -->
           </AdaptationSet>


           <AdaptationSet mimeType="audio/mp4" group="1">
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
               <Viewpoint schemeIdUri="urn:mpeg:dash:viewpoint:2011" value="vp2"/>
               <Representation id="11" bandwidth="1024000"><!-- ... --></Representation>
               <Representation id="12" bandwidth="512000"><!-- ... --></Representation>
               <!-- ... -->
           </AdaptationSet>


       </Period>
       <!-- ... -->
</MPD>


G.9 Example for usage of Event Messaging
In the following MPD example, two types of Events are added. In the Event stream with @schemeIdU
ri="urn:org:example:xscte3", time-synchronous events are added to the program. The events have
a presentation time and a presentation duration. In addition, one Representation carries the MPD
validity expiry information in an Inband event stream and an ad break information for ad insertion
(assuming ANSI/SCTE 35 fields are used to represent the ad break parameters). The 'emsg' box may
contain information as follows:
scheme_id_uri             = "urn:org:example:xscte35"
value                     = 0x0602
timescale                 = 1000
presentation_time_delta   = 8000
event_duration            = 0xFFFFFFFF
id                        = 12356789
message_data[] =
                     <metadata label="Ad Insertion Trigger"
                         type="http://www.example.com/schemas/xscte35"
                         namespace="xscte35"
                         xmlns:xscte35="http://www.example.com/schemas/xscte35">
                         <xscte35:signal>
                             <id name="segmentEventId" value="1" />
                             <time name="start" value="10" />
                             <time name="end" value="20" />
                         </xscte35:signal>
                     </metadata>




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<?xml version="1.0"?>
<MPD
      xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
      xmlns="urn:mpeg:dash:schema:mpd:2011"
      xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
      type="dynamic"
      minimumUpdatePeriod="PT2S"
      timeShiftBufferDepth="PT30M"
      availabilityStartTime="2011-12-25T12:30:00"
      minBufferTime="PT4S"
      profiles="urn:mpeg:dash:profile:isoff-live:2011"
      publishTime="2011-12-25T12:30:00">


      <BaseURL>http://cdn1.example.com/</BaseURL>
      <BaseURL>http://cdn2.example.com/</BaseURL>


      <Period id="1">
           <EventStream schemeIdUri="urn:uuid:XYZY" timescale="1000" value="call">
                 <Event presentationTime="0" duration="10000" id="0" messageData="+ 1 800
10101010"/>
                 <Event presentationTime="20000" duration="10000" id="1" messageData="+ 1 800
10101011"/>
                 <Event presentationTime="40000" duration="10000" id="2" messageData="+ 1 800
10101012"/>
                 <Event presentationTime="60000" duration="10000" id="3" messageData="+ 1 800
10101013"/>
           </EventStream>
           <!-- Video -->
           <AdaptationSet
                 mimeType="video/mp4"
                 codecs="avc1.4D401F"
                 frameRate="30000/1001"
                 segmentAlignment="true"




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            startWithSAP="1">
            <BaseURL>video/</BaseURL>
            <SegmentTemplate timescale="90000" initialization="$Bandwidth%/init.mp4v"
media="$Bandwidth%/$Time$.mp4v">
                 <SegmentTimeline>
                     <S t="0" d="180180" r="432"/>
                 </SegmentTimeline>
            </SegmentTemplate>
            <Representation id="v0" width="320" height="240" bandwidth="250000"/>
            <Representation id="v1" width="640" height="480" bandwidth="500000"/>
            <Representation id="v2" width="960" height="720" bandwidth="1000000"/>
         </AdaptationSet>
         <!-- English Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="en"
segmentAlignment="0" startWithSAP="1">
            <SegmentTemplate timescale="48000" initialization="audio/en/init.mp4a"
media="audio/en/$Time$.mp4a">
                 <SegmentTimeline>
                     <S t="0" d="96000" r="432"/>
                 </SegmentTimeline>
            </SegmentTemplate>
            <Representation id="a0" bandwidth="64000">
                <InbandEventStream schemeIdUri="urn:mpeg:dash:event:2012" value="1"></
InbandEventStream>
                <InbandEventStream schemeIdUri="urn:org:example:event" value="avail"></
InbandEventStream>
            </Representation>
         </AdaptationSet>
         <!-- French Audio -->
        <AdaptationSet mimeType="audio/mp4" codecs="mp4a.40" lang="fr"
segmentAlignment="0" startWithSAP="1">
            <SegmentTemplate timescale="48000" initialization="audio/fr/init.mp4a"
media="audio/fr/$Time$.mp4a">




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                      <SegmentTimeline>
                            <S t="0" d="96000" r="432"/>
                      </SegmentTimeline>
                 </SegmentTemplate>
                 <Representation id="b0" bandwidth="64000" />
           </AdaptationSet>
      </Period>
</MPD>


G.10 Example for MPD Adaptation Set Linking
This example shows how to describe MPD Adaptation Set Linking scheme as defined in subclause 5.8.5.9.
In this example, main video is the server-based mosaic channel as described in ISO/IEC TR 23009-3.
The screen position in main video and MPD linking for each mosaic video are described by SRD scheme
and MPD Adaptation Set Linking scheme in the separate Adaptation Set(s).

<?xml version="1.0"?>
<MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/
XMLSchema-instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
type="dynamic" availabilityStartTime="2015-05-30T09:30:10Z" minimumUpdatePeriod="PT10S"
minBufferTime="PT1S" profiles="urn:mpeg:dash:profile:isoff-live:2011" publishTime="2015-05-
30T09:30:10Z">
      <ProgramInformation>
        <Title>Example of a DASH Media Presentation Description using Spatial
Relationships Description to indicate tiles of a video</Title>
      </ProgramInformation>
      <Period id="1">
           <!-- Mosaic Video -->
        <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
            <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,0,0,2,2,2,2"/>
                 <SupplementalProperty schemeIdUri="urn:mpeg:dash:sai:2014" value="1"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
            <Representation id="1" mimeType="video/mp4" codecs="avc1.42c01e" width="640"
height="360" bandwidth="226597" startWithSAP="1">




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                 <BaseURL> full_video_small.mp4</BaseURL>
                 <SegmentBase indexRangeExact="true" indexRange="837-988"/>
             </Representation>
            <Representation id="2" mimeType="video/mp4" codecs="avc1.42c01f" width="1280"
height="720" bandwidth="553833" startWithSAP="1">
                 <BaseURL> full_video_hd.mp4</BaseURL>
                 <SegmentBase indexRangeExact="true" indexRange="838-989"/>
             </Representation>
            <Representation id="3" mimeType="video/mp4" codecs="avc1.42c033" width="3840"
height="2160" bandwidth="1055223" startWithSAP="1">
                 <BaseURL> full_video_4k.mp4</BaseURL>
                 <SegmentBase indexRangeExact="true" indexRange="839-990"/>
             </Representation>
         </AdaptationSet>
         <!-- Tile 1/Service1 -->
         <EmptyAdaptationSet>
            <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service1/my.mpd#period=1&amp;as=video"/>
            <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,0,0,1,1,2,2"/>
         </EmptyAdaptationSet>
         <!--Tile /Service 2 -->
         <EmptyAdaptationSet>
            <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service2/my.mpd#period=1&amp;as=video timeOffset=70000"/>
            <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,1,0,1,1"/>
         </EmptyAdaptationSet>
         <!--Tile 3/Service 3 -->
         <EmptyAdaptationSet>
            <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service3/my.mpd#period=1&amp;as=video timeOffset=100000"/>




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            <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,0,1,1,1"/>
           </EmptyAdaptationSet>
           <!--Tile 4/Service 4 -->
           <EmptyAdaptationSet>
            <EssentialProperty schemeIdUri="urn:mpeg:dash:mpd-as-linking:2015"
value="http://example.com/service4/my.mpd#period=1&amp;as=video timeOffset=120000"/>
            <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
value="0,1,1,1,1"/>
           </EmptyAdaptationSet>
      </Period>
</MPD>


G.11 Remote Element Entity
<?xml version="1.0" encoding="utf-8"?>
<!--Single content continuing at the period boundary.-->
<MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/
XMLSchema-instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
minBufferTime="PT1.500000S" type="static" mediaPresentationDuration="PT704S" profiles="urn
:mpeg:dash:profile:isoff-live:2011">
      <Period id="0" duration="PT250S">
        <AssetIdentifier schemeIdUri="urn:org:dashif:asset-id:2013" value="md:cid:EIDR:10.
5240%2f0EFB-02CD-126E-8092-1E49-W"/>
        <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
maxFrameRate="24" par="16:9">
            <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="980104">
                <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_1M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_1M_video_init.mp4"/>
                 </Representation>
            <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1950145">




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                <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_2M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_2M_video_init.mp4"/>
               </Representation>
            <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3893089">
                <SegmentTemplate timescale="12288" presentationTimeOffset="1024"
duration="24576" media="BBB_720_4M_video_$Number$.mp4" startNumber="1"
initialization="BBB_720_4M_video_init.mp4"/>
               </Representation>
           </AdaptationSet>
           <AdaptationSet segmentAlignment="true">
            <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
audioSamplingRate="48000" startWithSAP="1" bandwidth="33434">
                 <AudioChannelConfiguration schemeIdUri="urn:mpeg:dash:23003:3:audio_
channel_configuration:2011" value="2"/>
                <SegmentTemplate timescale="48000" duration="94175"
media="BBB_32k_$Number$.mp4" startNumber="1" initialization="BBB_32k_init.mp4"/>
               </Representation>
           </AdaptationSet>
       </Period>
    <Period xlink:href="remote.period" xlink:actuate="onLoad" xmlns:xlink="http://www.
w3.org/1999/xlink"/>
       <Period id="2" duration="PT344S">
        <AssetIdentifier schemeIdUri="urn:org:dashif:asset-id:2013" value="md:cid:EIDR:10.
5240%2f0EFB-02CD-126E-8092-1E49-W"/>
        <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
maxFrameRate="24" par="16:9">
            <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="980104">
                <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
duration="24576" media="BBB_720_1M_video_$Number$.mp4" startNumber="126"
initialization="BBB_720_1M_video_init.mp4"/>




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                 </Representation>
            <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1950145">
                <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
duration="24576" media="BBB_720_2M_video_$Number$.mp4" startNumber="126"
initialization="BBB_720_2M_video_init.mp4"/>
                 </Representation>
            <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3893089">
                <SegmentTemplate timescale="12288" presentationTimeOffset="3073024"
duration="24576" media="BBB_720_4M_video_$Number$.mp4" startNumber="126"
initialization="BBB_720_4M_video_init.mp4"/>
                 </Representation>
           </AdaptationSet>
           <AdaptationSet segmentAlignment="true">
            <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
audioSamplingRate="48000" startWithSAP="1" bandwidth="33434">
                 <AudioChannelConfiguration schemeIdUri="urn:mpeg:dash:23003:3:audio_
channel_configuration:2011" value="2"/>
                <SegmentTemplate timescale="48000" presentationTimeOffset="11964416"
duration="94175" media="BBB_32k_$Number$.mp4" startNumber="126" initialization="BBB_32k_
init.mp4"/>
                 </Representation>
           </AdaptationSet>
      </Period>
</MPD>




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Contents of remote.period element:

<?xml version="1.0" encoding="UTF-8"?>
<MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/
XMLSchema-instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
minBufferTime="PT1.500000S" type="static" mediaPresentationDuration="PT704S" profiles="urn
:mpeg:dash:profile:isoff-live:2011">
<Period id="1" duration="PT110S" start="PT250S" xmlns="urn:mpeg:dash:schema:mpd:2011">
  <AdaptationSet segmentAlignment="true" maxWidth="1280" maxHeight="720"
maxFrameRate="24" par="16:9">
    <Representation id="1" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="927434">
      <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
media="ED_720_1M_MPEG2_video_$Number$.mp4" startNumber="1" initialization="ED_720_1M_
MPEG2_video_init.mp4" />
       </Representation>
    <Representation id="2" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="1865663">
      <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
media="ED_720_2M_MPEG2_video_$Number$.mp4" startNumber="1" initialization="ED_720_2M_
MPEG2_video_init.mp4" />
       </Representation>
    <Representation id="3" mimeType="video/mp4" codecs="avc1.4d401f" width="1280"
height="720" frameRate="24" sar="1:1" startWithSAP="1" bandwidth="3750115">
      <SegmentTemplate timescale="12288" presentationTimeOffset="1024" duration="61440"
media="ED_720_4M_MPEG2_video_$Number$.mp4" startNumber="1" initialization="ED_720_4M_
MPEG2_video_init.mp4" />
       </Representation>
  </AdaptationSet>
  <AdaptationSet segmentAlignment="true">
    <Representation id="4" mimeType="audio/mp4" codecs="mp4a.40.29"
audioSamplingRate="48000" startWithSAP="1" bandwidth="33026">
       <AudioChannelConfiguration schemeIdUri="urn:mpeg:dash:23003:3:audio_channel_
configuration:2011" value="2" />
      <SegmentTemplate timescale="48000" duration="239615" media="ED_MPEG2_32k_$Number$.
mp4" startNumber="1" initialization="ED_MPEG2_32k_init.mp4" />
       </Representation>
  </AdaptationSet>
</Period>
</MPD>


G.12 Directory Limit Support in Segment Template Based Delivery
In certain cases, if Segments are stored in directories and Segments, then the directory limit may be
reached. For example, consider a 9 hour asset with 2 second Segment duration with server directory
limit of 1 000 files. This VOD asset will result in 16 200 segments. With a server directory limit of
1 000 files per directory on the server, this would require 17 directories to store the segments.




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Segment Templates can only be changed at Period boundaries. However, by using Period continuity, this
issue can be solved in order to ensure continuous playout across Periods. Assuming a directory limit of
1 000 files, the following may be done:

<?xml version="1.0"?>
<MPD
xmlns:xsi="http://www.w3.org/2001/XMLSchema-instance"
xmlns="urn:mpeg:dash:schema:mpd:2011"
xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd"
type="dynamic" minimumUpdatePeriod="PT10S"
timeShiftBufferDepth="PT600S"
minBufferTime="PT2S"
profiles="urn:mpeg:dash:profile:isoff-main:2011"
publishTime="2014-10-17T17:17:05Z"
availabilityStartTime="2014-10-17T17:17:05Z">
   <Period id="1" start="PT0S">
    <BaseURL> http://example.com/1/</BaseURL>
<SegmentTemplate media="./$RepresentationID$/$Number$.m4s" initialization="$Representatio
nID$-init.mp4"/>
      <!-- Video -->
    <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.A1.80.L93.B0"
segmentAlignment="true" startWithSAP="1">
         <SegmentTemplate timescale="25" duration="25"/>
         <Representation id="v2048" bandwidth="2048000"/>
         <Representation id="v1024" bandwidth="1024000"/>
         <Representation id="v512" bandwidth="512000"/>
         <Representation id="v128" bandwidth="128000"/>
      </AdaptationSet>
      <!-- Audio -->
    <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2" segmentAlignment="true"
startWithSAP="1" bitstreamSwitching="true">
         <SegmentTemplate timescale="20" duration="20"/>
         <Representation id="a128" bandwidth="128000"/>




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       <Representation id="a64" bandwidth="64000"/>
       </AdaptationSet>
  </Period>
  <Period id="2" start="PT1000S">
   <BaseURL> http://example.com/2/</BaseURL>
<SegmentTemplate media="./$RepresentationID$/$Number$.m4s" initialization="$Representatio
nID$-init.mp4"/>
       <!-- Video -->
    <AdaptationSet id="1" mimeType="video/mp4" codecs="hev1.A1.80.L93.B0"
segmentAlignment="true" startWithSAP="1">
      <SupplementalProperty schemeIdUri="urn:mpeg:dash:period-continuity:2015"
value="1"/>
        <SegmentTemplate timescale="25" duration="25" presentationTimeOffset="25000"/>
        <Representation id="v2048" bandwidth="2048000"/>
        <Representation id="v1024" bandwidth="1024000"/>
        <Representation id="v512" bandwidth="512000"/>
        <Representation id="v128" bandwidth="128000"/>
       </AdaptationSet>
       <!-- Audio -->
    <AdaptationSet id="2" mimeType="audio/mp4" codecs="mp4a.40.2" segmentAlignment="true"
startWithSAP="1" bitstreamSwitching="true">
      <SupplementalProperty schemeIdUri="urn:mpeg:dash:period-continuity:2015"
value="1"/>
        <SegmentTemplate timescale="20" duration="20" presentationTimeOffset="20000"/>
        <Representation id="a128" bandwidth="128000"/>
        <Representation id="a64" bandwidth="64000"/>
   </AdaptationSet>
  </Period>
</MPD>


G.13 Data URLs
In order to minimize the http requests at startup or at Period boundaries, data URLs allow inclusion
of small data items as "immediate" data, as if it had been included externally. A server side example
processing for adding for example Initialization Segments is as follows:
— traverse the MPD tree, propagate templated initialization segment URLs (if any) down the MPD
  levels (Period, AdaptationSet) to the Representation level (only for the first Period).
— resolve the template (if any) potentially using BaseURL elements (if any), download the resolved
  IS and add a SegmentTemplate element with a "data:" URL scheme whose content is the base64
  encoded IS.
— For example, assume the following MPD part:




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<?xml version="1.0" encoding="UTF-8"?>
<MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-
instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd" mediaPresenta
tionDuration="PT3256S" minBufferTime="PT1.500000S" profiles="urn:mpeg:dash:profile:isoff-
live:2011">
      <Period>
        <AdaptationSet startWithSAP="2" segmentAlignment="true" id="1" sar="1:1"
mimeType="video/mp4">
            <InbandEventStream schemeIdUri="tag:rdmedia.bbc.co.uk,2014:events/
ballposition" value="1"/>
                 <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
                 <BaseURL>avc3-events/</BaseURL>
            <SegmentTemplate startNumber="1" timescale="1000" duration="3840" media="$Rep
resentationID$/$Number%06d$.m4s" initialization="$RepresentationID$/IS.mp4"/>
            <Representation id="960x540p50" codecs="avc3.64001f" height="540" width="960"
frameRate="50" scanType="progressive" bandwidth="2814440"/>
            <Representation id="192x108p6_25" codecs="avc3.42c015" height="108"
width="192" frameRate="25/4" scanType="progressive" bandwidth="31368"/>
           </AdaptationSet>
      </Period>
</MPD>




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This may be modified to move the templated @initialization attribute from the AdaptationSet.
SegmentTemplate element to each Representation.SegmentTemplate element and the information from
equivalent ISs is included. The resulting MPD looks as follows:

<?xml version="1.0" encoding="UTF-8"?>
<MPD xmlns="urn:mpeg:dash:schema:mpd:2011" xmlns:xsi="http://www.w3.org/2001/XMLSchema-
instance" xsi:schemaLocation="urn:mpeg:dash:schema:mpd:2011 DASH-MPD.xsd" mediaPresenta
tionDuration="PT3256S" minBufferTime="PT1.500000S" profiles="urn:mpeg:dash:profile:isoff-
live:2011">
       <Period>
        <AdaptationSet id="1" segmentAlignment="true" sar="1:1" mimeType="video/mp4"
startWithSAP="2" maxPlayoutRate="1">
            <InbandEventStream schemeIdUri="tag:rdmedia.bbc.co.uk,2014:events/
ballposition" value="1"/>
               <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
               <BaseURL>avc3-events/</BaseURL>
            <SegmentTemplate media="$RepresentationID$/$Number%06d$.m4s" timescale="1000"
duration="3840" startNumber="1"/>
            <Representation id="960x540p50" bandwidth="2814440" width="960" height="540"
frameRate="50/0" codecs="avc3.64001f" maxPlayoutRate="1" scanType="progressive">
                <SegmentTemplate initialization="data:video/mp4;base64,AAAAHGZ0eXBpc282AA
AAAWF2YzFpc29tZGFzaAAAAldtb292...AAAAAAAAAAAAAAAQc3RjbwAAAAAAAAAA"/>
               </Representation>
            <Representation id="192x108p6_25" bandwidth="31368" width="192" height="108"
frameRate="25/0" codecs="avc3.42c015" maxPlayoutRate="1" scanType="progressive">
                <SegmentTemplate initialization="data:video/mp4;base64,AAAAHGZ0eXBpc282AA
AAAWF2YzFpc29tZGFzaAAAAlNtb292...AAAAAAAAABBzdHNjAAAAAAAAAAAAAAAUc3RzegAAAAAAAAAAAAAAAAAA
ABBzdGNvAAAAAAAAAAA="/>
               </Representation>
           </AdaptationSet>
       </Period>
</MPD>




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                                               Annex H
                                              (normative)

                                Spatial Relationship Description


H.1 Spatial Relationship Description (SRD) scheme
The SRD scheme allows Media Presentation Description authors to express spatial relationships
between Spatial Objects. A Spatial Object is represented by either an Adaptation Set or a Sub-
Representation. As an example, a spatial relationship may express that a video represents a spatial part
of another full-frame video (e.g. a region of interest, or a tile).
The SupplementalProperty and/or EssentialProperty descriptors with @schemeIdUri equal to
"urn:mpeg:dash:srd:2014” and “urn:mpeg:dash:srd:dynamic:2016" may be used to provide spatial
relationship information associated to the containing Spatial Object. SRD information shall be contained
exclusively in these two MPD elements (AdaptationSet and SubRepresentation).
To preserve the compatibility with legacy clients, MPD shall use SupplementalProperty and
EssentialProperty in such a way that at least one Representation can be interpreted by legacy clients
after discarding the element containing EssentialProperty.
NOTE      Sub-Representation level SRDs can be used to represent Spatial Objects in one Representation
such as HEVC tiling streams. In that case, SRD descriptors can be present at Adaptation Set as well as Sub-
Representation levels.


H.2 SRD @value syntax
H.2.1 General
The @value of the SupplementalProperty or EssentialProperty elements using the SRD scheme is a
comma-separated list of values for SRD parameters.
When @value is not present, the SRD does not express any spatial relationship information at all and
can be ignored.

H.2.2 Common parameters
The source_id parameter provides a unique identifier, within the Period, for the source of the content.
It implicitly defines a coordinate system associated to this source. This coordinate system uses an
arbitrary origin (0; 0); the x-axis is oriented from left to right and the y-axis from top to bottom. All SRD
sharing the same source_id value have the same origin and axes orientations. Spatial relationships for
Spatial Objects using SRD with different source_id values are undefined.
For a given source_id value, a reference space is defined, corresponding to the rectangular region
encompassing the entire source content, whose top-left corner is at the origin of the coordinate system.
The total_width and total_height values in a SRD provide the size of this reference space expressed
in arbitrary units.
NOTE 1     There can be no Spatial Object in the MPD that covers the entire source of the content, e.g. when the
entire source content is represented by two separate videos.

MPD authors can express, using the spatial_set_id parameter, that some Spatial Objects, within a given
source_id, have a particular spatial relationship. For instance, an MPD author may group all Adaptation
Sets corresponding to tiles at a same resolution level. This way, the spatial_set_id parameter may be
used by the DASH Client to quickly select spatially related Spatial Objects. When there are two or more

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groups of full-frame videos which consist of one or more Spatial Objects with the same total_width and
total_height value, different values of spatial_set_id may be used to distinguish the groups of full-
frame video.
NOTE 2     ISO/IEC TR 23009-3 gives concrete examples showing how to use the spatial_set_id.

H.2.3 Specific parameters for static spatial description
For expressing static description within the scope of the Period, the following Scheme Identifier is used
"urn:mpeg:dash:srd:2014".

The object_x and object_y parameters (respectively object_width and object_height) express 2D
positions (respectively 2D sizes) of the associated Spatial Object in the coordinate system associated
to the source. The values of the object_x, object_y, object_width, and total_height parameters are
relative to the values of the total_width and total_height parameters, as defined above. Positions
(object_x, object_y) and sizes (object_width, object_height) of SRD sharing the same source_id
value may be compared after taking into account the size of the reference space, i.e. after the object_x
and object_width values are divided by the total_width value and the object_y and object_height
values divided by the total_height value of their respective descriptors.
NOTE       Different total_width and total_height values can be used in different descriptors to provide
positions and sizes information in different units.

   Table H.1 — EssentialProperty@value and/or SupplementalProperty@value attributes for the
                                     static SRD scheme
   EssentialProperty@value or
   SupplementalProperty@value         Use                             Description
             parameter
source_id                              M    non-negative integer in decimal representation providing the
                                            identifier for the source of the content
object_x                               M    non-negative integer in decimal representation expressing the
                                            horizontal position of the top-left corner of the Spatial Object in
                                            arbitrary units
object_y                               M    non-negative integer in decimal representation expressing the
                                            vertical position of the top-left corner of the Spatial Object in
                                            arbitrary units
object_width                           M    non-negative integer in decimal representation expressing the
                                            width of the Spatial Object in arbitrary units
object_height                          M    non-negative integer in decimal representation expressing the
                                            height of the Spatial Object in arbitrary units
total_width                            O    optional non-negative integer in decimal representation expressing
                                            the width of the reference space in arbitrary units.
                                            At each Period and for a given source_id value, the following
                                            rules apply:
Key
M=Mandatory, O=Optional




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                                            Table H.1 (continued)
   EssentialProperty@value or
   SupplementalProperty@value           Use                             Description
               parameter
                                              —    There shall be at least one descriptor providing a value for
                                                   the total_width parameter.

                                              —    If two or more descriptors provide different total_width
                                                   values, all other descriptors shall explicitly provide the
                                                   value of total_width.

                                              —    If the total_width value is provided in only one
                                                   descriptor, all other descriptors are assumed to use that
                                                   total_width value.

                                              —    The value of total_width shall be such that, for each
                                                   descriptor using this value of total_width, the sum
                                                   of object_x and object_width is smaller or equal to
                                                   total_width.
                                              When the value total_width is present, the value total_height
                                              shall be present.
total_height                            O     optional non-negative integer in decimal representation expressing
                                              the height of the reference space in arbitrary units.
                                              At each Period and for a given source_id value, the following
                                              rules apply:
                                              —    There shall be at least one descriptor providing a value for
                                                   the total_height parameter.

                                              —    If two or more descriptors provide different total_height
                                                   values, all other descriptors shall explicitly provide the
                                                   value of total_height.

                                              —    If the total_height value is provided in only one
                                                   descriptor, all other descriptors are assumed to use that
                                                   total_height value.

                                              —    The value of total_height shall be such that, for each
                                                   descriptor using this value of total_height, the sum
                                                   of object_y and object_height is smaller or equal to
                                                   total_height.
                                              When the value total_height is present, the value total_width
                                              shall be present.
spatial_set_id                          O     optional non-negative integer in decimal representation providing
                                              an identifier for a group of Spatial Object.
                                              When not present, the Spatial Object associated to this descriptor
                                              does not belong to any spatial set and no spatial set information
                                              is given.
                                              When the value of spatial_set_id is present, the value of
                                              total_width and total_height shall be present.
Key
M=Mandatory, O=Optional




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The syntax for the value field of the static spatial relationship description shall follow the STATIC-SRD-
VALUE as defined in the following ABNF notation according to IETF RFC 5234:

       STATIC-SRD-VALUE = source_id "," object_x "," object_y "," object_width ","
       object_height [ "," total_width [ "," total_height [ "," spatial_set_id ]]]


       source_id = DECIMAL_DIGITS
       object_x = DECIMAL_DIGITS
       object_y = DECIMAL_DIGITS
       object_width = DECIMAL_DIGITS
       object_height = DECIMAL_DIGITS
       total_width = DECIMAL_DIGITS
       total_height = DECIMAL_DIGITS
       spatial_set_id = DECIMAL_DIGITS


       DECIMAL_DIGITS = 1*DIGIT

H.2.4 Specific parameters for dynamic spatial description
For expressing dynamic description within the scope of the Period, the following Scheme Identifier is
used "urn:mpeg:dash:srd:dynamic:2016".
In the case the Spatial Object moves within the reference space, the coordinates of the Spatial Object
are time dependent and thus cannot be expressed as static values in a SRD. As a result, the SRD does
not provide directly the coordinates and size as in the static case but instead specifies the @id attribute
of the metadata Representation that provides the coordinates and size of the Spatial Object. This @id
attribute value is signalled in the coordinate_id parameter.
Examples of such scenarios include director′s view, object tracking view, person tracking view in video
conference applications, etc. For instance, the MPD author may offer two Spatial Objects, providing a
wide angle view and a close-up view of the same scene of a sport event. The close-up view follows the
action of the most popular athlete. But to ensure a satisfying Quality of Experience for the end-user, it is
essential to describe the position of the close-up view with respect to the wide angle view at any point
in time of the media content. This way, the end-user application can seamlessly switch from one video
to another providing a smooth zooming in and out transition for the end-user.

   Table H.2 — EssentialProperty@value and/or SupplementalProperty@value attributes for the
                                    dynamic SRD scheme
    EssentialProperty@value or
  SupplementalProperty@value pa-         Use                            Description
               rameter
source_id                                 M    non-negative integer in decimal representation providing the
                                               identifier for the source of the content
coordinate_id                             M    specifies the @id attribute of the Representation that provides
                                               the 2D coordinates of the Spatial Object as timed metadata
                                               track according to ISO/IEC 23001-10.
spatial_set_id                            O    optional non-negative integer in decimal representation pro-
                                               viding an identifier for a group of Spatial Object.
                                               When not present, the Spatial Object associated to this de-
                                               scriptor does not belong to any spatial set and no spatial set
                                               information is given.
Key
M=Mandatory, O=Optional



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The coordinates and size of a moving Spatial Object shall be provided by a Representation offering a 2D
Cartesian coordinate track ′2dcc′ as defined in ISO/IEC 23001-10. The @associationId attribute of this
metadata Representation shall contain the value of the attribute @id of the Representation containing
the moving Spatial Object. In addition, the @associationType attribute of this metadata Representation
shall be set to ′cdsc′. See H.3.3 for examples.
The following mapping between the ′2dcc′ sample parameters and the SRD parameters shall apply in
order to determine the coordinates and size of a Spatial Object whose coordinates and size is provided
as ′2dcc′ metadata Representation.

           2D Cartesian Coordinates Sample
                                                                            SRD parameters
                 (ISO/IEC 23001-10)
                        top_left_x                                              object_x
                        top_left_y                                              object_y
                            width                                            object_width
                           height                                            object_height
                     reference_width                                          total_width
                    reference_height                                         total_height

NOTE       The 2D Cartesian Coordinates Sample is a generic sample providing the position and size of a rectangle,
hence the more generic naming of these parameters compared to the SRD parameter′s names in ISO/IEC 23009-1.

The syntax for the value field of the dynamic spatial relationship description shall follow the DYNAMIC-
SRD-VALUE as defined in the following ABNF notation according to IETF RFC 5234:

        DYNAMIC-SRD-VALUE = source_id "," coordinate_id [ ","               spatial_set_id ]


        source_id = DECIMAL_DIGITS
        coordinate_id = STRING
        spatial_set_id = DECIMAL_DIGITS


        DECIMAL_DIGITS = 1*DIGIT
        STRING = *VCHAR




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H.3 Examples
H.3.1 Zoomed video
This subclause provides a simple example of a static presentation with 2 videos, one video representing
a zoomed part of the other video. The Media Presentation complies with the ISO Base media file format
On Demand profile as defined in subclause 8.3.

<?xml version="1.0"?>
<MPD
  xmlns="urn:mpeg:dash:schema:mpd:2011"
  type="static"
  mediaPresentationDuration="PT10S"
  minBufferTime="PT1S"
  profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


  <ProgramInformation>
    <Title>Example of a DASH Media Presentation Description using Spatial Relationship
Description to indicate that a video is a zoomed part of another</Title>
  </ProgramInformation>


  <Period>
       <!-- Panorama Video -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,3,3,3,3"/>
      <Representation mimeType="video/mp4" codecs="avc1.42c033" width="1920"
height="1080" bandwidth="1055223" startWithSAP="1">
           <BaseURL> panorama_video.mp4</BaseURL>
           <SegmentBase indexRangeExact="true" indexRange="839-990"/>
        </Representation>
       </AdaptationSet>




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       <!-- Zoomed Video -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,1,1,1,3,3"/>
      <Representation mimeType="video/mp4" codecs="avc1.42c028" width="1920"
height="1080" bandwidth="769458" startWithSAP="1">
           <BaseURL> zoomed_video.mp4</BaseURL>
           <SegmentBase indexRangeExact="true" indexRange="838-989"/>
         </Representation>
       </AdaptationSet>
   </Period>
</MPD>

H.3.2 Tiled video
This subclause provides a simple example of a static presentation of a video available in different
resolutions and of tiles of that video also available in different resolutions. The Media Presentation
complies with the ISO Base media file format On Demand profile as defined in subclause 8.3.

<?xml version="1.0"?>
<MPD
   xmlns="urn:mpeg:dash:schema:mpd:2011"
   type="static"
   mediaPresentationDuration="PT10S"
   minBufferTime="PT1S"
   profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


   <ProgramInformation>
    <Title>Example of a DASH Media Presentation Description using Spatial Relationship
Description to indicate tiles of a video</Title>
   </ProgramInformation>


   <Period>
      <!-- Main Video -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">




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        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="main"/>
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,2,2,2,2"/>
      <Representation mimeType="video/mp4" codecs="avc1.42c01e" width="640" height="360"
bandwidth="226597" startWithSAP="1">
          <BaseURL> full_video_small.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="837-988"/>
        </Representation>
      <Representation mimeType="video/mp4" codecs="avc1.42c01f" width="1280" height="720"
bandwidth="553833" startWithSAP="1">
          <BaseURL> full_video_hd.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="838-989"/>
        </Representation>
      <Representation mimeType="video/mp4" codecs="avc1.42c033" width="3840"
height="2160" bandwidth="1055223" startWithSAP="1">
          <BaseURL> full_video_4k.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="839-990"/>
        </Representation>
       </AdaptationSet>
       <!-- Tile 1 -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
        <Role schemeIdUri="urn:mpeg:dash:role:2011" value="supplementary"/>
        <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,0,1,1,2,2"/>
      <Representation mimeType="video/mp4" codecs="avc1.42c00d" width="640" height="360"
bandwidth="218284" startWithSAP="1">
          <BaseURL> tile1_video_small.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="837-988"/>
        </Representation>
      <Representation mimeType="video/mp4" codecs="avc1.42c01f" width="1280" height="720"
bandwidth="525609" startWithSAP="1">
          <BaseURL> tile1_video_hd.mp4</BaseURL>
          <SegmentBase indexRangeExact="true" indexRange="838-989"/>
        </Representation>




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      <Representation mimeType="video/mp4" codecs="avc1.42c028" width="1920"
height="1080" bandwidth="769514" startWithSAP="1">
             <BaseURL> tile1_video_fullhd.mp4</BaseURL>
             <SegmentBase indexRangeExact="true" indexRange="839-990"/>
         </Representation>
      </AdaptationSet>
      <!-- Tile 2 -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,0,1,1,2,2"/>
         …
      </AdaptationSet>
      <!-- Tile 3 -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,1,1,1,1,2,2"/>
         …
      </AdaptationSet>
      <!-- Tile 4 -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014" value="0,0,1,1,1,2,2"/>
         …
      </AdaptationSet>
   </Period>
</MPD>




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H.3.3 Tiled panorama with moving Region-of-Interest
This subclause provides a simple example of a video moving within a panorama composed of two
adjacent videos. The Media Presentation complies with the ISO Base media file format On Demand
profile as defined in subclause 8.3.

<?xml version="1.0"?>
<MPD
  xmlns="urn:mpeg:dash:schema:mpd:2011"
  type="static"
  mediaPresentationDuration="PT10S"
  minBufferTime="PT1S"
  profiles="urn:mpeg:dash:profile:isoff-on-demand:2011">


  <Period>
       <!-- Tiled Panorama (2 full HD video next to each other) -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
         value="1, 0, 0, 1920, 1080, 3840, 1080, 0"/>
      <Representation id="left_panorama" mimeType="video/mp4" codecs="avc1.42c01e"
bandwidth="5000000" width="1920" height="1080">
           <BaseURL>left_panorama.mp4</BaseURL>
         </Representation>
       </AdaptationSet>


    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <SupplementalProperty schemeIdUri="urn:mpeg:dash:srd:2014"
         value="1, 1920, 0, 1920, 1080, 3840, 1080, 0"/>
      <Representation id="right_panorama" mimeType="video/mp4" codecs="avc1.42c01e"
bandwidth="5000000" width="1920" height="1080">
           <BaseURL>right_panorama.mp4</BaseURL>
         </Representation>
       </AdaptationSet>


       <!-- Moving Region-of-Interest -->
    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
         <EssentialProperty schemeIdUri="urn:mpeg:dash:srd:2016"
          value="1, roi-coordinates"/>




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      <Representation id="zoomed" mimeType="video/mp4" codecs="avc1.42c01e"
bandwidth="5000000" width="1920" height="1080">
           <BaseURL>zoomed_part.mp4</BaseURL>
         </Representation>
      </AdaptationSet>


    <AdaptationSet segmentAlignment="true" subsegmentAlignment="true"
subsegmentStartsWithSAP="1">
      <Representation id="roi-coordinates" associationId="zoomed" associationType="cdsc"
codecs="2dcc" bandwidth="100">
           <BaseURL>roi_coordinates.mp4</BaseURL>
         </Representation>
      </AdaptationSet>


   </Period>
</MPD>




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                                            Annex I
                                          (normative)

                      Flexible Insertion of URL Parameters


I.1     General
This Annex describes how it is possible to configure URL parameters of media segment URLs, in a
similar fashion to the URL template mechanism. The core specification of DASH already allows building
media segment URLs containing static URL parameters. This Annex aims at providing more flexibility
and dynamicity in the way URL parameters are inserted.
Parameters are instantiated — a name-value pair is constructed by the client. Then parameters are
output — an instantiated key-value pair is written to either query parameters or headers, depending on
the output mode.
The mechanism described in this Annex allows several methods of instantiation:
— "Inheritance" from MPD URL parameters when the MPD is delivered over HTTP, i.e. extraction of
  one or more key-value pairs from the query string of the URL used to fetch MPD.
— Just-in-time server-side instantiation using the XLink mechanism.
— Header instantiation: given a header name, the parameter value is the value of the header.
— Client-side computation — specific feedback (uniquely identified by URN) is expected from the
  client side.
There are two output modes described by this Annex:
— Query parameters: parameters are written as key-value pairs in HTTP GET requests issued by the
  DASH Client.
— HTTP header: parameters are written as a list of key-value pairs in a DASH-specific HTTP header.
Flexible insertion of URL parameters is signaled through the use of EssentialProperty or
SupplementalProperty descriptors, with @schemeIdUri values defined below:

— Baseline segment URL parametrization scheme identified by URN "urn:mpeg:dash:urlparam:2014"
  and described in I.2. This scheme applies only to requests for media segments.
— Extended parametrization scheme applying to requests for media segments, MPD, XLink and
  callback events, and is a superset of the baseline scheme. This scheme is identified by URN
  "urn:mpeg:dash:urlparam:2016" and described in I.3.


I.2     Segment URL parametrization
I.2.1    General
Flexible insertion of URL parameters is signaled through the use of EssentialProperty or
SupplementalProperty descriptors, with @schemeIdUri equal to "urn:mpeg:dash:urlparam:2014".

A child element up:UrlQueryInfo shall be present in these descriptors, defined within the "urn:mpeg:da
sh:schema:urlparam:2014" namespace. The namespace prefix should be “up:”.




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As defined by this specification, each of these descriptors may be present at the MPD, Adaptation Set
or at the Representation level. Only SupplementalProperty descriptor may be present at the Period
level. When insertion of URL parameters is required for a Period, EssentialProperty descriptors shall
be inserted in all Adaptation Sets of that Period. At most one descriptor shall be present at each level.
When the insertion of URL parameters requires scheme-dependent computation, one or several
additional EssentialProperty or SupplementalProperty descriptors shall be present. These descriptors
shall carry an appropriate @schemeIdUri attribute referencing the scheme to be used, and provide
sufficient information to appropriately compute the required URL parameters (see I.2.4.2). Support of
these schemes is not in the scope of this specification.
The XML schema of the URL Query Information is provided below, including namespace and other
definitions. Specific types, elements and attributes are introduced in the remainder of this Annex.
The complete normative URL Query Info schema is provided below. In case of any inconsistencies the
schema below takes precedence both over the XML syntax snippets provided in this clause and all prose
text in this part of the standard.

<?xml version="1.0"?>
<xs:schema xmlns:xs="http://www.w3.org/2001/XMLSchema" xmlns:xlink="http://www.
w3.org/1999/xlink" xmlns="urn:mpeg:dash:schema:urlparam:2014" targetNamespace="urn:mpeg:da
sh:schema:urlparam:2014" elementFormDefault="qualified" attributeFormDefault="unqualified">
<xs:import namespace="http://www.w3.org/1999/xlink" schemaLocation="xlink.xsd"/>


<xs:element name="UrlQueryInfo" type="UrlQueryInfoType"/>


<xs:complexType name="UrlQueryInfoType">
      <xs:sequence>
        <xs:any namespace="##other" processContents="lax" minOccurs="0"
maxOccurs="unbounded"/>
      </xs:sequence>
   <xs:attribute name="queryTemplate" type="xs:string"/>
   <xs:attribute name="useMPDUrlQuery" type="xs:boolean"/>
   <xs:attribute name="queryString" type="xs:string"/>
   <xs:attribute ref="xlink:href"/>




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   <xs:attribute ref="xlink:actuate" default="onRequest"/>
   <xs:anyAttribute namespace="##other" processContents="lax"/>
</xs:complexType>


<xs:element name="ExtUrlQueryInfo" type="ExtendedUrlInfoType"/>
<xs:element name="ExtHttpHeaderInfo" type="ExtendedUrlInfoType"/>


<xs:complexType name="ExtendedUrlInfoType">
    <xs:complexContent>
          <xs:extension base="UrlQueryInfoType">
            <xs:attribute name="includeInRequests" type="xs:string" default="segment"/>
            <xs:attribute name="headerParamSource" type="xs:string" default=""/>
            <xs:attribute name="sameOriginOnly"        type="xs:boolean" default="false"/>
        </xs:extension>
    </xs:complexContent>
</xs:complexType>


</xs:schema>

I.2.2     URL Query Information

I.2.2.1    Overview

The UrlQueryInfo element describes how to build a URL query string, which is used in the media
segments URLs building process.
This query string can come from one of the three sources below:
— The URL of the MPD when the @useMPDUrlQuery is set;
— The @queryString attribute when present;
— The @queryString attribute, after any XLink resolution in case @xlink:href is present.
The @queryTemplate attribute describes which URL parameters contained in the query string are used
in the media segment URL building process, as well as the order of these parameters.
The semantics of the attributes and elements for the URL Query Information provided in I.2.2.2,
Table I.1. The XML syntax of the URL Query Information is provided in I.2.2.3.




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I.2.2.2     Semantics

                                Table I.1 — Semantics of UrlQueryInfo element
    Element or Attribute Name                Use                                 Description
    UrlQueryInfo                                        provides URL query string information
          @queryTemplate                  O (string)    provides URL parameters template information
                                                        This string shall contain one or more
                                                        $<ParamIdentifier>$ template identifiers, as listed in
                                                        Table I.2. These template identifiers are to be replaced to
                                                        build a query string (see I.2.3). If $<ParamIdentifier>$ is
                                                        not in Table I.2, it will be replaced with an empty string. If
                                                        the template has an opening $ without a matching closing
                                                        $, the result is undefined, and the client will act as if it did
                                                        not understand the EssentialProperty′s scheme.
                                                        When selection of URL parameters is enabled through the
                                                        use of $query:param$ template identifiers, URL param-
                                                        eters shall be defined as name=value pairs separated by
                                                        &, as defined by W3C HTML 4.01 Specification (section on
                                                        Forms#Form submission).
          @useMPDUrlQuery                 O (bool)      indicates that the URL parameters of the MPD URL are
                                                        used in the construction of media segment URLs.
                                           default:
                                            false       This attribute may only be present when the MPD is deliv-
                                                        ered over HTTP, and defaults to "false" when the MPD is
                                                        not delivered over HTTP.
                                                        If @queryString is present and the value of this attribute
                                                        is "true", concatenation of MPD parameter string and @
                                                        queryString shall be used for constructing the query
                                                        string of media segment URLs.
                                                        NOTE   Simple parameter signaling can be used
                                                        ("a=X&b=Y"), as well as scheme-dependent signaling
                                                        ("a=$urn:XYZ$&b=$urn:ABC$").
                                                        When scheme-dependent signaling is used, the scheme
                                                        shall be inserted between two enclosing $ characters. See
                                                        I.2.3.3 for further details.
                                                        When UrlQueryInfo element is present at more than ole
                                                        level of the hierarchical data model (e.g. MPD and Period),
                                                        there shall be at most one UrlQueryInfo element for
                                                        which @useMPDUrlQuery is true within this hierarchy.
                                                        See I.2.3.3 for further details.
          @queryString                    O (string)    provides a query string to be used in the construction of
                                                        media segment URLs.
                                                        NOTE   Simple parameter signaling can be used
                                                        ("a=X&b=Y"), as well as scheme-dependent signaling
                                                        ("a=$urn:XYZ$&b=$urn:ABC$").
                                                        When scheme-dependent signaling is used, the scheme
                                                        shall be inserted between two enclosing $ characters.See
                                                        I.2.3.3 for further details.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.



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                                               Table I.1 (continued)
   Element or Attribute Name                 Use                               Description
       @xlink:href                            O         specifies a reference to a remote UrlQueryInfo element
       @xlink:actuate                        OD         specifies the processing instructions, which can be either
                                                        "onLoad" or "onRequest".
                                           default:
                                         onRequest      This attribute shall not be present if the @xlink:href
                                                        attribute is not present.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.


                                      Table I.2 — Parameter identifiers
                   $<ParamIdentifier>$                         Substitution parameter
                  $$                          Is an escape sequence, i.e. "$$" is replaced with a
                                              single "$".
                  $querypart$                 This identifier is substituted with the query part
                                              of the computed query string (referred to as
                                              initialQueryString in I.2.3). This identifier shall
                                              not appear more than once in the template string,
                                              and shall not be mixed with other identifiers
                                              (e.g. $query:<param>$ below).
                                              The query part starts after the "?" sign and lasts
                                              until the "#" sign
                  $query:<param>$             This identifier is substituted with the value of the
                                              <param> parameter if this parameter is present
                                              in the query part of the computed query string
                                              (referred to as initialQueryString in I.2.3). If same
                                              <param> value appears more than once in the
                                              query string, the last value will be used. If <param>
                                              is not present, the empty string will be used.
                                              When this parameter selection is used, URL
                                              parameters shall be inserted in the query part of
                                              the URL as name=value pairs separated by the "&"
                                              symbol, according to W3C HTML 4.01 specifica-
                                              tion (section on Forms#Form submission)




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I.2.2.3    XML Syntax

<?xml version="1.0" encoding="utf-8"?>
<!-- Url query information -->
<xs:complexType name="UrlQueryInfoType">
   <xs:attribute name="queryTemplate" type="xs:string"/>
   <xs:attribute name="useMPDUrlQuery" type="xs:boolean"/>
   <xs:attribute name="queryString" type="xs:string"/>
   <xs:attribute name="xlink:href"/>
   <xs:attribute name="xlink:actuate" default="onRequest"/>
</xs:complexType>


<xs:element name="UrlQueryInfo" type="UrlQueryInfoType"/>

I.2.3 Modified template-based segment URL construction, according to UrlQueryInfo
element

I.2.3.1    General

When signalized through an appropriate descriptor, containing a UrlQueryInfo element, the following
media segment URL building process is performed.
The process is defined in the following steps:
1) If this UrlQueryInfo element is a remote element, it is dereferenced. This process is defined in
   subclause 5.5.
2) Initial query string (referred to as initialQueryString) is derived. This process is described in I.2.3.2.
3) Final query string (referred to as finalQueryString) is computed, according to @queryTemplate and
   initialQueryString. This process is described in I.2.3.3.
4) Final query string ( finalQueryString) is processed to build media segment URLs. This process is
   described in I.2.3.4.

I.2.3.2    Computation of an initial query string (initialQueryString)

The initial query string initialQueryString is constructed by concatenating the query strings, if present
and available, coming from the MPD URL (if @useMPDUrlQuery is set to "true") and @queryString
(possibly after dereferencing). If @useMPDUrlQuery is set to "true" and @queryString if present,
initialQueryString shall be a concatenation of query string from the MPD and @queryString string, in
this order.
When multiple strings are appended together, an "&" symbol shall be inserted at the start of the second
and following strings to be appended.

I.2.3.3    Computation of a final query string (finalQueryString)

A final query string finalQueryString is then computed by substituting URL parameters templates
present in @queryTemplate by their values provided in initialQueryString, according to Table I.2.
When two or more occurrences of URL query descriptors exist within an MPD, the finalQueryString
string used at the Representation level is a concatenation of the corresponding URL query strings of the
occurrences in their orders of appearance in the MPD hierarchy. The query coming from the MPD URL
is appended first. Thus, for each representation the concatenation shall be computed as a concatenation



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of Representation-level query string with (in this order) AdaptationSet-level string, Period-level query
string and, lastly, MPD-level query string.
Simple parameter signaling may be used (@queryString="a=X&b=Y"), as well as scheme-dependent
signaling (@queryString="a=$urn:XYZ$&b=$urn:ABC$"). In the latter case, the client needs to be aware of
the provided schemes, and has to compute appropriate values for them. Further, in this case, additional
EssentialProperty or SupplementalProperty descriptors, at the same level as the query descriptor,
shall be present to reflect that scheme-dependent signaling is used and required to be supported by the
client. These descriptors shall have the @schemeIdUri attribute set to the same value as used in the URL
parameter insertion description (i.e. to "urn:XYZ" or "urn:ABC" in the above example). Support of these
specific schemes is out of the scope of this specification.
A straightforward implementation of the process would do the following:
1) Create a parameter table out of concatenated initialQueryString. The latter is an ′&′-separated
   list of <param>=<value> strings, and each <param>=<value> string is converted into a single
   entry in the parameter table. E.g., for a string "param0=42" in initialQueryString we will have
   parameter["param0"]=42. If a string "param0=42" is followed by a string "param0=43" later in
   initialQueryString, then parameter["param0"]=43. If <param> is a URN, then <value> is computed
   by the client (and is an empty string otherwise).
2) Search for the "$query:" substring in the @queryTemplate attribute. For each appearance of
   this substring, the characters till the first ′$′ character are the parameter name (<param> in our
   notation). Substitute the complete $query<param>$ string (including the opening and the closing ′$′
   characters) with parameter[<param>]. E.g. given @queryTemplate="p0=$query:param0", and given
   parameter["param0"]=43 the result would be finalQueryString="p0=43".

I.2.3.4    Modified media segment URLs building process

The computed final query string finalQueryString is then concatenated to media Segment URLs.
If the original media segment URL does not contain any query (as defined in IETF RFC 3986),
an "?" character shall be inserted accordingly between the original media segment URL and the
finalQueryString when performing this concatenation.
If the original media segment URL already contains a query (as defined in IETF RFC 3986), an "&"
character shall be inserted between the original media segment URL and the finalQueryString when
performing this concatenation.
When Annex E is used together with flexible insertion of URL query parameters, processing of URL
query parameters descriptors shall occur first, followed by Annex E byte range requests building
process.

I.2.4     Examples

I.2.4.1    Example 1

Here, the intent is to re-use the URL parameters of the MPD URL in the media segments URLs.




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Assuming DASH MPD is accessible through: http:​//www​.example​.com/dash/urlparam1​.mpd​?token​=​
1234​&​ip​=​1​.2​.3​.4

<?xml version="1.0" encoding="utf-8"?>
<AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
  <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014" xmlns:up="urn:mpeg:dash:sc
hema:urlparam:2014">
      <up:UrlQueryInfo queryTemplate="$querypart$" useMPDUrlQuery="true"/>
   </EssentialProperty>
   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
  <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
sar="1:1" bandwidth="3000000"/>
  <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25"
sar="1:1" bandwidth="1500000"/>
</AdaptationSet>

1) Computation of an initial query string
     initialQueryString="token=1234&ip=1.2.3.4"
2) Computation of a final query
     finalQueryString="token=1234&ip=1.2.3.4"
3) Modified media segment URLs building process
     http://www.example.com/dash/video_1_3000000bps.mp4?token=1234&ip=1.2.3.4

     http://www.example.com/dash/video_2_3000000bps.mp4?token=1234&ip=1.2.3.4

     http://www.example.com/dash/video_3_3000000bps.mp4?token=1234&ip=1.2.3.4

I.2.4.2    Example 2

Here, the intent is to dynamically compute some URL parameters before adding them to the media
segments URLs.




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Assuming DASH MPD is accessible through http:​//www​.example​.com/dash/urlparam2​.mpd, and that
http:​//www​.example​.com/dash/xlinked​.mpd contains the following UrlQueryInfo element:

<up:UrlQueryInfo xmlns:up="urn:mpeg:dash:schema:urlparam:2014"
queryTemplate="$querypart$" queryString="param=justintimecomputedvalue"/>


<AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
  <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014" xmlns:up="urn:mpeg:dash:sc
hema:urlparam:2014">
    <up:UrlQueryInfo xlink:href="http://www.example.com/dash/xlinked.mpd"
xlink:actuate="onRequest"/>
   </EssentialProperty>
   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
  <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
sar="1:1" bandwidth="3000000"/>
  <Representation id="v1" codecs="avc3.4d401f" width="640" height="360"frameRate="25"
sar="1:1" bandwidth="1500000"/>
</AdaptationSet>

1) Computation of an initial query string (computed on request, according to xlink:actuate):
    initialQueryString="param=justintimecomputedvalue"
2) Computation of an final query string
    finalQueryString="param=justintimecomputedvalue"
3) Modified media segment URLs building process
    http://www.example.com/dash/video_1_3000000bps.mp4?param=justintimecomputedvalue

    http://www.example.com/dash/video_2_3000000bps.mp4?param=justintimecomputedvalue

    http://www.example.com/dash/video_3_3000000bps.mp4?param=justintimecomputedvalue

I.2.4.3    Example 3

Here the intent is asking the client for some feedback through URL parameters (GPS location here).
Assuming DASH MPD is accessible through http://www.example.com/dash/urlparam3.
mpd?pd=$urn:example:gps$, and that "urn:example:gps" informs the client that it should insert its GPS
coordinates.




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A SupplementalProperty descriptor with @schemeIdUri equal to "urn:example:gps" is added to the
MPD to indicate that the computation of URL parameters depends on an externally defined scheme.

<AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
  <SupplementalProperty schemeIdUri="urn:mpeg:dash:urlparam:2014" xmlns:up="urn:mpeg:dash
:schema:urlparam:2014">
      <up:UrlQueryInfo queryTemplate="$querypart$" useMPDUrlQuery="true"/>
   </SupplementalProperty>
   <SupplementalProperty schemeIdUri="urn:example:gps"/>
   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
  <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
sar="1:1" bandwidth="3000000"/>
  <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25"
sar="1:1" bandwidth="1500000"/>
</AdaptationSet>

1) Computation of an initial query string:
     initialQueryString="pd=$urn:​example:​g ps$"
2) Computation of a final query
     finalQueryString="pd=$urn:​example:​:​g ps$"
3) Modified media segment URLs building process
     http://www.example.com/dash/video_1_3000000bps.mp4?pd=computedGPSlocation

     http://www.example.com/dash/video_2_3000000bps.mp4?pd=computedGPSlocation

     http://www.example.com/dash/video_3_3000000bps.mp4?pd=computedGPSlocation

In this particular example, the client needs to be aware of the process to compute and provide GPS
location. How to achieve this is not part of DASH specification.

I.2.4.4    Example 4

Same example as example 1, except that only one single URL parameter is used.
Assuming DASH MPD is accessible through: http:​//www​.example​.com/dash/urlparam4​.mpd​?token​=​
1234​&​ip​=​1​.2​.3​.4

<AdaptationSet mimeType="video/mp4" segmentAlignment="true" startWithSAP="1"
maxWidth="1280" maxHeight="720" maxFrameRate="25" par="16:9">
  <EssentialProperty schemeIdUri="urn:mpeg:dash:urlparam:2014" xmlns:up="urn:mpeg:dash:sc
hema:urlparam:2014">
      <up:UrlQueryInfo queryTemplate="token=$query:token$" useMPDUrlQuery="true"/>
   </EssentialProperty>
   <SegmentTemplate duration="2" startNumber="1" media="video_$Number$_$Bandwidth$bps.mp4">
   </SegmentTemplate>
  <Representation id="v0" codecs="avc3.4d401f" width="1280" height="720" frameRate="25"
sar="1:1" bandwidth="3000000"/>
  <Representation id="v1" codecs="avc3.4d401f" width="640" height="360" frameRate="25"
sar="1:1" bandwidth="1500000"/>
</AdaptationSet>


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1) Computation of an initial query string
      initialQueryString="token=1234&ip=1.2.3.4"
2) Computation of a final query string
      finalQueryString="token=1234"
3) Modified media segment URLs building process
      http://www.example.com/dash/video_1_3000000bps.mp4?token=1234

      http://www.example.com/dash/video_2_3000000bps.mp4?token=1234

      http://www.example.com/dash/video_3_3000000bps.mp4?token=1234


I.3     Extended HTTP GET request parametrization
I.3.1    General
Extended parametrization scheme provides a superset of the capabilities of the baseline segment-only
scheme described in I.2 above. This scheme is identified by URN "urn:mpeg:dash:urlparam:2016".
The scheme extends the baseline scheme described in I.2 in the following ways:
— Parameters may be selectively embedded in MPD, XLink and callback requests, in addition to
  segment requests;
— Parameters may be instantiated from designated HTTP headers (from HTTP response);
— Parameters defined using the ExtHttpHeaderParameter element will be embedded into a custom
  HTTP header and not into the URL.
The scheme uses two elements, ExtUrlQueryInfo and ExtHttpHeaderInfo, both of which are extensions
of UrlQueryInfoType type defined in I.2.
The extended scheme is a functional modification of the one defined in I.2. For simplicity purposes the
complete extended mechanism is provided in I.3.4.

I.3.2    Semantics

                         Table I.3 — Semantics of ExtendedUrlInfoType element
          Element or Attribute Name                       Use                         Description
   ExtendedUrlInfoType                                               provides information for derivation of
                                                                     parameter string. This is an extension of
                                                                     UrlQueryInfoType element defined in
                                                                     Table I.1.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory.
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.




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                                               Table I.3 (continued)
           Element or Attribute Name                      Use                         Description
       @includeInRequests                                 OD         specifies which HTTP GET requests shall
                                                                     carry parameters. Value is a white-spaced
                                                        (default:
                                                                     concatenated list of the following keys:
                                                      "segment")
                                                                     1)   "segment" (all segment requests)",

                                                                     2)   "xlink" (all XLink resolution requests),

                                                                     3)   "mpd" (all MPD requests),

                                                                     4)   "callback" (all requests triggered by
                                                                          DASH callback events),

                                                                     5)   "chaining" (requests for chained-to MPDs,

                                                                     6)   "fallback" (requests for the alternative
                                                                          MPDs.



                                                                     Default value is "segment", i.e. parameters
                                                                     will be only sent with segment requests
                                                                     NOTE   Depending on the actual element
                                                                     used, parameter output goes either to query
                                                                     parameters (for ExtUrlQueryInfo) or HTTP
                                                                     headers (for ExtHttpHeaderInfo)
       @headerParamSource                                 OD         specifies HTTP responses from which HTTP
                                                                     header values, identified by the template
                                                     (default: "seg-
                                                                     $header:​header​-name$, should be extracted
                                                        ment")
                                                                     from. Value is a white-spaced concatenated
                                                                     list of the following keys :

                                                                     1)   "segment" (all segment requests)",

                                                                     2)   "xlink" (all XLink resolution requests),

                                                                     3)   "mpd" (all MPD requests),

                                                                     4)   "callback" (all requests triggered by
                                                                          DASH callback events).



                                                                     Default value: empty string (no header param-
                                                                     eters inspected)
                                                                     If this attribute is present then: (a) @
                                                                     queryTemplate attribute shall be present and
                                                                     shall contain the $header:<header-name>$
                                                                     identifier, and (b) neither @useMPDUrlQuery
                                                                     nor @queryString attribute shall be present.
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory.
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.




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                                               Table I.3 (continued)
           Element or Attribute Name                      Use                          Description
        @sameOriginOnly                                   OD          specifies that parameters must only be sent
                                                                      to the same origin they were instantiated
                                                                      from. In case of HTTP headers as source,
                                                                      the origin is defined as the origin of the
                                                                      HTTP request identified by the attribute @
                                                                      headerParamSource. In case the parameters
                                                                      are instantiated from the MPD or from the
                                                                      MPD URL, the origin is defined in both case by
                                                                      the MPD URL.
                                                                      Two origins are the same as defined by
                                                                      IETF RFC 6454, i.e. same scheme/host/port
                                                                      triple (see 5. Comparing Origins)
                                                                      Default value: false (no origin restrictions)
Key
For attributes: M=Mandatory, O=Optional, OD=Optional with Default Value, CM=Conditionally Mandatory.
For elements: <minOccurs>...<maxOccurs> (N=unbounded)
The conditions only hold without using xlink:href. If linking is used, then all attributes are "optional" and
<minOccurs=0>.
Elements are bold; attributes are non-bold and preceded with an @.

The following identifiers are defined, in addition to the ones defined in Table I.2

                                      Table I.4 — Parameter identifiers
$<ParamIdentifier>$                     Substitution parameter
$header:<header-name>$                  This identifier is substituted with the latest received value of the header-name
                                        HTTP header in the HTTP responses indicated by the @headerParamSource
                                        attribute.

I.3.3     XML Syntax

 <xs:complexType name="ExtendedUrlInfoType">
   <xs:complexContent>
        <xs:extension base="UrlQueryInfoType">
          <xs:attribute name="includeInRequests" type="xs:string" default="segment"/>
          <xs:attribute name="headerParamSource" type="xs:string" default=""/>
          <xs:attribute name="sameOriginOnly"                  type="xs:boolean" default="false"/>
        </xs:extension>
   </xs:complexContent>
</xs:complexType>


<xs:element name="ExtUrlQueryInfo" type="ExtendedUrlInfoType"/>
<xs:element name="ExtHttpHeaderInfo" type="ExtendedUrlInfoType"/>

I.3.4     Extended parameter generation

I.3.4.1    Theory of operation

HTTP(S) requests issued by a DASH Client may belong to one of the following types:
— MPD request to the MPD URL (e.g. as specified in MPD.Location).

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— XLink dereferencing request to URL specified in the @xlink:href attribute.
— Segment request.
— Callback request to URL specified in a DASH callback event (inband or MPD).
Parameter generation based on elements of type ExtendedUrlInfoType is defined in the following steps:
1) If this ExtendedUrlInfoType element is a remote element, it is dereferenced. This process is defined
   in subclause 5.5.
2) Initial query string (referred to as initialQueryString) is derived. This process is described in I.3.4.2.
3) Final query string (referred to as finalQueryString) is computed, according to @queryTemplate and
   initialQueryString. This process is described in I.3.4.3.
4) Final query string ( finalQueryString) is processed to build HTTP requests. This process is described
   in I.3.5.

I.3.4.2    Computation of an initial query string (initialQueryString)

The initial query string initialQueryString is constructed by concatenating the query strings for the
same type of request. One of the following ways of initialQueryString construction shall be used:
1) If @useMPDUrlQuery is "true", the query part of MPD URL shall be used as initialQueryString. If @
   queryString is also present, initialQueryString is a concatenation of the query part of MPD URL
   and @queryString, in this order.
2) If @headerParamSource is present and non-empty, initialQueryString shall consist of <header-
   name>=<value> pairs where <header-name> is the HTTP response header given in the @queryTemplate
   by the $header:<header-name>$ substitution parameter. The inspected responses are of the types
   appearing in @headerParamSource.
3) Otherwise the value of initialQueryString is given by @queryString.
When multiple strings are appended together, an "&" symbol shall be inserted at the start of the second
and following strings to be appended.

I.3.4.3    Computation of a final query string (finalQueryString)

A final query string finalQueryString is then computed by substituting URL parameter identifiers
present in @queryTemplate by their values provided in initialQueryString, according to Tables I.2 and
I.4. The process itself is equivalent to the one in described in I.2.3.2, with a notable addition of the
$header:<header-name>$ identifier.
When two or more occurrences of element of type ExtendedUrlInfoType exist within an MPD, the
finalQueryString used at each level is a concatenation of the corresponding at the current and all upper
levels of the hierarchical data model. For example, let us assume that a ExtUrlQueryInfo element is
present at both Period and MPD levels, the Period has the @xlink:href attribute and both the MPD.
ExtUrlQueryInfo@includeInRequests           and Period.ExtUrlQueryInfo@includeInRequests contain
the string "xlink". In this case, initialQueryString for the dereferencing will be a concatenation of
finalQueryString from MPD.ExtUrlQueryInfo and Period.ExtUrlQueryInfo in this order.
A straightforward implementation of the process would do the following:
1) Create a parameter table out of concatenated initialQueryString as defined in step 1 in I.2.3.2.
2) Replace the "$query:<param>" substrings with parameter[<header-name>] as described in step 2 in
   I.2.3.2.
3) Replace $header:<header-name>$ substring with parameter[<header-name>].


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I.3.5   Extended Parameter Output
In case ExtUrlQueryInfo element is used, the computed final query string finalQueryString is
concatenated to media Segment URLs (same process as in I.2.3.3). Percent encoding (per IETF RFC 3986)
may be needed as a last step of URL construction
In case ExtHttpHeaderInfo element is used, the output shall appear in a custom HTTP request header in
the following way:
1) Each "&" (ampersand) character in finalQueryString shall be replaced with a ", " (comma followed
   by space) string.
2) The resulting string is written as a value of a custom HTTP header MPEG-DASH-Param.




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                                                  Annex J
                                               (informative)

                                   Open GOP resolution change


A scheme is defined to be used with a Supplemental Property Descriptor as "urn:mpeg:dash:resolutio
nSwitching:2016".

It indicates which Representations allow for a seamless resolution switching at the start of any Segment
starting with a SAP type in the range of 1 to 3, inclusive.
If present, the descriptor shall only be placed on Adaptation Set or Representation level in the MPD
hierarchy.
@value of the supplemental property descriptor is a white-space separated list of two values as specified
in the following table:
                      SupplementalProperty@value attributes resolutionSwitching:​2016

  SupplementalProperty@value
                                         Use                              Description
              parameter
switchableTo                              M      specifies all Representations with representation switch
                                                 points specified with RandomAccess with @type equal to
                                                 "open", with Media Segment starting with SAP of type 3, or
                                                 with Media Subsegment starting with SAP of type 3 for which
                                                 the Representation contains additional media stream to
                                                 switch to, as a comma-separated list of values of @id attrib-
                                                 utes of these Representations.
switchingMimeType                         M      specifies, as a comma-separated list of values, the MIME type
                                                 of the concatenation of the Initialization Segment, if present,
                                                 and some consecutive Media (Sub)Segments in the Rep-
                                                 resentation and some consecutive Media (Sub)Segments that
                                                 start with a representation switch point as defined above and
                                                 belong to the Representation pointed by the respective list
                                                 item within switchableTo.
                                                 NOTE   The Representation contains a media stream conform-
                                                 ing to @mimeType and additionally one or more media streams
                                                 conforming to switchingMimeType that are only intended
                                                 for switching to another representation, as indicated by
                                                 switchableTo.
Key
M=Mandatory, O=Optional

The resolution switching descriptor shall not be present unless all access units in a segment N with
presentation time within [TEPT, TDEC) is constrained in such a way that they only depend on access
units of segment N or segment N-1.
NOTE        If a Representation is changed at segment N, where this descriptor is present, it might be necessary
to decode an additional media stream during segment N-1 different to the one conforming to the @codecs
attribute indicated at the "switch-from" representation, which presence is indicated by the presence of
switchingMimeType, in order to be able to decode all access units preceding the first SAP (i.e. in the interval
[TEPT,TDEC )) of segment N of the "switch-to" Representation.




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